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    Joshua A. Sussberg, P.C.
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    New York, New York 10022
    Telephone:      (212) 446-4800
    Facsimile:      (212) 446-4900

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                   )
    In re:                                                         )      Chapter 11
                                                                   )
    VOYAGER DIGITAL HOLDINGS, INC., et al.,1                       )      Case No. 22-10943 (MEW)
                                                                   )
                                       Debtors.                    )      (Jointly Administered)
                                                                   )

                        NOTICE OF FILING OF
   FIRST AMENDED DISCLOSURE STATEMENT RELATING TO THE SECOND
   AMENDED JOINT PLAN OF VOYAGER DIGITAL HOLDINGS, INC. AND ITS
 DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

             PLEASE TAKE NOTICE THAT on August 12, 2022, the Debtors filed the Disclosure

Statement Relating to the First Amended Joint Plan of Reorganization of Voyager Digital

Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code) [Docket

No. 288].


             PLEASE TAKE NOTICE THAT on October 5, 2022, the Debtors filed the First

Amended Disclosure Statement Relating to the Second Amended Joint Plan of Reorganization of




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC
      (8013). The location of the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY
      10003.




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Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy

Code (the “Initial Disclosure Statement”) [Docket No. 498].

        PLEASE TAKE FURTHER NOTICE that the Debtors hereby file a First Amended

Disclosure Statement Relating to the Second Amended Joint Plan of Voyager Digital Holdings,

Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code, attached hereto as

Exhibit A (the “First Amended Disclosure Statement”).

        PLEASE TAKE FURTHER NOTICE THAT a comparison between the the Initial

Disclosure Statement and the First Amended Disclosure Statement, is attached hereto as Exhibit

B.

        PLEASE TAKE FURTHER NOTICE that copies of the Initial Disclosure Statement,

First Amended Disclosure Statement, and other pleadings filed in the above-captioned chapter 11

cases   may     be    obtained   free   of   charge   by   visiting   the   website   of   Stretto   at

http://www.cases.stretto.com/Voyager. You may also obtain copies of any pleadings by visiting

the Court’s website at http://www.nysb.uscourts.gov in accordance with the procedures and fees

set forth therein.



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Dated: October 17, 2022        /s/ Joshua A. Sussberg
New York, New York             KIRKLAND & ELLIS LLP
                               KIRKLAND & ELLIS INTERNATIONAL LLP
                               Joshua A. Sussberg, P.C.
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                               Counsel to the Debtors and Debtors in Possession
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                                     Exhibit A

                         First Amended Disclosure Statement
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THE DEBTORS ARE NOT CURRENTLY SOLICITING VOTES ON A CHAPTER 11 PLAN. THIS
DISCLOSURE STATEMENT REMAINS SUBJECT TO APPROVAL BY THE BANKRUPTCY COURT.

THE DEBTORS WILL SEEK APPROVAL OF THE DISCLOSURE STATEMENT AT A HEARING ON
OCTOBER 19, 2022, OR SUCH OTHER DATE AS DETERMINED BY THE BANKRUPTCY COURT.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )      Chapter 11
                                                                         )
    VOYAGER DIGITAL HOLDINGS, INC., et al.,1                             )      Case No. 22-10943 (MEW)
                                                                         )
                                          Debtors.                       )      (Jointly Administered)
                                                                         )

                       FIRST AMENDED DISCLOSURE STATEMENT RELATING TO
             THE SECOND AMENDED JOINT PLAN OF VOYAGER DIGITAL HOLDINGS, INC. AND
             ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

 Joshua A. Sussberg, P.C.
 Christopher Marcus, P.C.
 Christine A. Okike, P.C.
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 New York, New York 10022
 Telephone:       (212) 446-4800
 Facsimile:       (212) 446-4900




1      The debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital, Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.
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               IMPORTANT INFORMATION REGARDING THIS DISCLOSURE STATEMENT
                       DISCLOSURE STATEMENT, DATED OCTOBER 17, 2022

           SOLICITATION OF VOTES TO ACCEPT OR REJECT THE SECOND AMENDED
                  JOINT PLAN OF VOYAGER DIGITAL HOLDINGS, INC. AND
       ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

 YOU ARE RECEIVING THIS DOCUMENT AND THE ACCOMPANYING MATERIALS BECAUSE AS
 OF THE VOTING RECORD DATE, YOU HELD A CLAIM AGAINST THE DEBTORS IN ONE OF THE
    FOLLOWING CLASSES AND THEREFORE YOU ARE ENTITLED TO VOTE ON THE PLAN:

      VOTING CLASSES                                    NAME OF CLASS UNDER THE PLAN
             3                                                 Account Holder Claims
             4                                              Alameda Loan Facility Claims
            5A                                             OpCo General Unsecured Claims
            5B                                            HoldCo General Unsecured Claims
            5C                                            TopCo General Unsecured Claims

                                          DELIVERY OF BALLOTS
 1.       Ballots must be actually received by Stretto, Inc. (“Stretto” or the “Claims, Noticing, and Solicitation
          Agent”) before the Voting Deadline (4:00 p.m., prevailing Eastern Time, on November 25, 2022).

 2.       Ballots may be returned by the following methods:

          a)    For Holders of Account Holder Claims: via electronic submission through the Claims, Noticing, and
                Solicitation Agent’s online voting portal at https://cases.stretto.com/Voyager/balloting.

          b) For Holders of Alameda Loan Facility Claims: via electronic submission through the Claims,
             Noticing, and Solicitation Agent’s online voting portal at https://cases.stretto.com/Voyager/balloting.

          c)    For Holders of General Unsecured Claims: (i) via electronic submission through the Claims,
                Noticing, and Solicitation Agent’s online voting portal at https://cases.stretto.com/Voyager/balloting;
                (ii) in the enclosed pre-paid, pre-addressed return envelope; or (ii) via first class mail, overnight
                courier, or hand delivery to the address set forth below:

                                              Voyager Ballot Processing
                                                      c/o Stretto
                                               410 Exchange, Suite 100
                                                  Irvine, CA 92602


 If you have any questions on the procedures for voting on the Plan, as defined herein, please contact the Claims,
 Noticing, and Solicitation Agent by emailing voyagerinquiries@stretto.com and referencing “In re Voyager –
 Solicitation Inquiry” in the subject line, or by calling (855) 473-8665 (Toll-Free) or (949) 271-6507 (International).
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           IMPORTANT INFORMATION ABOUT THIS DISCLOSURE STATEMENT

      THE DEBTORS ARE PROVIDING THE INFORMATION IN THIS DISCLOSURE STATEMENT
TO HOLDERS OF CLAIMS FOR PURPOSES OF SOLICITING VOTES TO ACCEPT OR REJECT THE
SECOND AMENDED JOINT PLAN OF VOYAGER DIGITAL HOLDINGS, INC. AND ITS DEBTOR
AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE. NOTHING IN THIS
DISCLOSURE STATEMENT MAY BE RELIED UPON OR USED BY ANY ENTITY FOR ANY OTHER
PURPOSE. BEFORE DECIDING WHETHER TO VOTE FOR OR AGAINST THE PLAN, EACH HOLDER
ENTITLED TO VOTE SHOULD CAREFULLY CONSIDER ALL OF THE INFORMATION IN THIS
DISCLOSURE STATEMENT, INCLUDING THE RISK FACTORS DESCRIBED IN ARTICLE VIII
HEREIN. IN THE EVENT OF ANY INCONSISTENCIES BETWEEN THE PLAN AND THE DISCLOSURE
STATEMENT, THE PLAN SHALL GOVERN.

      THE DEBTORS URGE EACH HOLDER OF A CLAIM TO CONSULT WITH ITS OWN
ADVISORS WITH RESPECT TO ANY LEGAL, FINANCIAL, SECURITIES, TAX, OR BUSINESS
ADVICE IN REVIEWING THIS DISCLOSURE STATEMENT, THE PLAN, AND THE PROPOSED
TRANSACTIONS CONTEMPLATED THEREBY. FURTHERMORE, THE BANKRUPTCY COURT’S
APPROVAL OF THE ADEQUACY OF THE INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT DOES NOT CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL OF THE PLAN.

      THIS DISCLOSURE STATEMENT CONTAINS, AMONG OTHER THINGS, SUMMARIES OF
THE PLAN, CERTAIN STATUTORY PROVISIONS, AND CERTAIN ANTICIPATED EVENTS IN THE
DEBTORS’ CHAPTER 11 CASES. ALTHOUGH THE DEBTORS BELIEVE THAT THESE SUMMARIES
ARE FAIR AND ACCURATE, THESE SUMMARIES ARE QUALIFIED IN THEIR ENTIRETY TO THE
EXTENT THAT THEY DO NOT SET FORTH THE ENTIRE TEXT OF SUCH DOCUMENTS OR
STATUTORY PROVISIONS OR EVERY DETAIL OF SUCH ANTICIPATED EVENTS. IN THE EVENT
OF ANY INCONSISTENCY OR DISCREPANCY BETWEEN A DESCRIPTION IN THIS DISCLOSURE
STATEMENT AND THE TERMS AND PROVISIONS OF THE PLAN OR ANY OTHER DOCUMENTS
INCORPORATED HEREIN BY REFERENCE, THE PLAN OR SUCH OTHER DOCUMENTS WILL
GOVERN FOR ALL PURPOSES. FACTUAL INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT HAS BEEN PROVIDED BY THE DEBTORS’ MANAGEMENT EXCEPT WHERE
OTHERWISE SPECIFICALLY NOTED. THE DEBTORS DO NOT REPRESENT OR WARRANT THAT
THE INFORMATION CONTAINED HEREIN OR ATTACHED HERETO IS WITHOUT ANY MATERIAL
INACCURACY OR OMISSION.

      IN PREPARING THIS DISCLOSURE STATEMENT, THE DEBTORS RELIED ON FINANCIAL
DATA DERIVED FROM THE DEBTORS’ BOOKS AND RECORDS AND ON VARIOUS ASSUMPTIONS
REGARDING THE DEBTORS’ BUSINESS. WHILE THE DEBTORS BELIEVE THAT SUCH FINANCIAL
INFORMATION FAIRLY REFLECTS THE FINANCIAL CONDITION OF THE DEBTORS AS OF THE
DATE HEREOF AND THAT THE ASSUMPTIONS REGARDING FUTURE EVENTS REFLECT
REASONABLE BUSINESS JUDGMENTS, NO REPRESENTATIONS OR WARRANTIES ARE MADE AS
TO THE ACCURACY OF THE FINANCIAL INFORMATION CONTAINED HEREIN OR ASSUMPTIONS
REGARDING THE DEBTORS’ BUSINESS AND THEIR FUTURE RESULTS AND OPERATIONS. THE
DEBTORS EXPRESSLY CAUTION READERS NOT TO PLACE UNDUE RELIANCE ON ANY
FORWARD-LOOKING STATEMENTS CONTAINED HEREIN.

       THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE, AND MAY NOT BE CONSTRUED
AS, AN ADMISSION OF FACT, LIABILITY, STIPULATION, OR WAIVER. THE DEBTORS OR ANY
OTHER AUTHORIZED PARTY MAY SEEK TO INVESTIGATE, FILE, AND PROSECUTE CLAIMS AND
MAY OBJECT TO CLAIMS AFTER THE CONFIRMATION OR EFFECTIVE DATE OF THE PLAN
IRRESPECTIVE OF WHETHER THIS DISCLOSURE STATEMENT IDENTIFIES ANY SUCH CLAIMS
OR OBJECTIONS TO CLAIMS.

     THE DEBTORS ARE MAKING THE STATEMENTS AND PROVIDING THE FINANCIAL
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AS OF THE DATE HEREOF,
UNLESS OTHERWISE SPECIFICALLY NOTED. ALTHOUGH THE DEBTORS MAY SUBSEQUENTLY
UPDATE THE INFORMATION IN THIS DISCLOSURE STATEMENT, THE DEBTORS HAVE NO

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AFFIRMATIVE DUTY TO DO SO AND EXPRESSLY DISCLAIM ANY DUTY TO PUBLICLY UPDATE
ANY FORWARD-LOOKING STATEMENTS, WHETHER AS A RESULT OF NEW INFORMATION,
FUTURE EVENTS, OR OTHERWISE. HOLDERS OF CLAIMS REVIEWING THIS DISCLOSURE
STATEMENT SHOULD NOT INFER THAT, AT THE TIME OF THEIR REVIEW, THE FACTS SET
FORTH HEREIN HAVE NOT CHANGED SINCE THIS DISCLOSURE STATEMENT WAS FILED.
INFORMATION CONTAINED HEREIN IS SUBJECT TO COMPLETION, MODIFICATION, OR
AMENDMENT. THE DEBTORS RESERVE THE RIGHT TO FILE AN AMENDED OR MODIFIED PLAN
AND RELATED DISCLOSURE STATEMENT FROM TIME TO TIME, SUBJECT TO THE TERMS OF
THE PLAN.

       THE DEBTORS HAVE NOT AUTHORIZED ANY ENTITY TO GIVE ANY INFORMATION
ABOUT OR CONCERNING THE PLAN OTHER THAN THAT WHICH IS CONTAINED IN THIS
DISCLOSURE STATEMENT. THE DEBTORS HAVE NOT AUTHORIZED ANY REPRESENTATIONS
CONCERNING THE DEBTORS OR THE VALUE OF THEIR PROPERTY OTHER THAN AS SET FORTH
IN THIS DISCLOSURE STATEMENT.

      IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT AND THE EFFECTIVE DATE
OCCURS, ALL HOLDERS OF CLAIMS OR INTERESTS (INCLUDING THOSE HOLDERS OF CLAIMS
WHO DO NOT SUBMIT BALLOTS TO ACCEPT OR REJECT THE PLAN, THOSE HOLDERS OF
CLAIMS WHO VOTE TO REJECT THE PLAN, OR THOSE HOLDERS OF CLAIMS AND INTERESTS
WHO ARE NOT ENTITLED TO VOTE ON THE PLAN) WILL BE BOUND BY THE TERMS OF THE
PLAN AND THE RESTRUCTURING TRANSACTION CONTEMPLATED THEREBY.

      THE CONFIRMATION AND EFFECTIVENESS OF THE PLAN ARE SUBJECT TO CERTAIN
MATERIAL CONDITIONS PRECEDENT DESCRIBED HEREIN AND SET FORTH IN ARTICLE IX OF
THE PLAN. THERE IS NO ASSURANCE THAT THE PLAN WILL BE CONFIRMED, OR IF
CONFIRMED, THAT THE CONDITIONS REQUIRED TO BE SATISFIED FOR THE PLAN TO GO
EFFECTIVE WILL BE SATISFIED (OR WAIVED).

     YOU ARE ENCOURAGED TO READ THE PLAN AND THIS DISCLOSURE STATEMENT IN
THEIR ENTIRETY, INCLUDING ARTICLE VIII, ENTITLED “RISK FACTORS” BEFORE
SUBMITTING YOUR BALLOT TO VOTE ON THE PLAN.

     THE BANKRUPTCY COURT’S APPROVAL OF THIS DISCLOSURE STATEMENT DOES NOT
CONSTITUTE A GUARANTEE BY THE BANKRUPTCY COURT OF THE ACCURACY OR
COMPLETENESS OF THE INFORMATION CONTAINED HEREIN OR AN ENDORSEMENT BY THE
BANKRUPTCY COURT OF THE MERITS OF THE PLAN.

      SUMMARIES OF THE PLAN AND STATEMENTS MADE IN THIS DISCLOSURE STATEMENT
ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THE PLAN. THE SUMMARIES OF THE
FINANCIAL INFORMATION AND THE DOCUMENTS ANNEXED TO THIS DISCLOSURE
STATEMENT OR OTHERWISE INCORPORATED HEREIN BY REFERENCE ARE QUALIFIED IN
THEIR ENTIRETY BY REFERENCE TO THOSE DOCUMENTS. THE STATEMENTS CONTAINED IN
THIS DISCLOSURE STATEMENT ARE MADE ONLY AS OF THE DATE OF THIS DISCLOSURE
STATEMENT, AND THERE IS NO ASSURANCE THAT THE STATEMENTS CONTAINED HEREIN
WILL BE CORRECT AT ANY TIME AFTER SUCH DATE. EXCEPT AS OTHERWISE PROVIDED IN
THE PLAN OR IN ACCORDANCE WITH APPLICABLE LAW, THE DEBTORS ARE UNDER NO DUTY
TO UPDATE OR SUPPLEMENT THIS DISCLOSURE STATEMENT.

      THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS INCLUDED FOR
PURPOSES OF SOLICITING VOTES FOR THE ACCEPTANCES AND CONFIRMATION OF THE PLAN
AND MAY NOT BE RELIED ON FOR ANY OTHER PURPOSE. IN THE EVENT OF ANY
INCONSISTENCY BETWEEN THE DISCLOSURE STATEMENT AND THE PLAN, THE RELEVANT
PROVISIONS OF THE PLAN WILL GOVERN.




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          SPECIAL NOTICE REGARDING FEDERAL AND STATE SECURITIES LAWS

NEITHER THIS DISCLOSURE STATEMENT NOR THE PLAN HAS BEEN FILED WITH THE UNITED
STATES SECURITIES AND EXCHANGE COMMISSION (THE “SEC”) OR ANY STATE AUTHORITY.
THE PLAN HAS NOT BEEN APPROVED OR DISAPPROVED BY THE SEC OR ANY STATE
SECURITIES COMMISSION, AND NEITHER THE SEC NOR ANY STATE SECURITIES COMMISSION
HAS PASSED UPON THE ACCURACY OR ADEQUACY OF THIS DISCLOSURE STATEMENT OR THE
MERITS OF THE PLAN. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THIS DISCLOSURE STATEMENT,
NOTHING IN THIS DISCLOSURE STATEMENT CONSTITUTES A FINDING UNDER U.S. FEDERAL
SECURITIES LAWS, FOREIGN SECURITIES LAWS OR ANY STATE SECURITIES LAWS AS TO
WHETHER CRYPTOCURRENCY, INCLUDING THE VOYAGER TOKENS, OR TRANSACTIONS
INVOLVING CRYPTOCURRENCY ARE SECURITIES. THE SEC AND ITS STAFF HAVE TAKEN THE
POSITION THAT CERTAIN CRYPTOCURRENCY ASSETS AND CERTAIN TRANSACTIONS
INVOLVING CRYPTOCURRENCY ASSETS FALL WITHIN THE DEFINITION OF A “SECURITY”
UNDER THE U.S. FEDERAL SECURITIES LAWS. THE DETERMINATION AS TO WHETHER A
CRYPTOCURRENCY ASSET OR A TRANSACTION INVOLVING CRYPTOCURRENCY MAY
CONSTITUTE A “SECURITY” UNDER APPLICABLE LAWS IS A DETERMINATION FOR THE SEC,
APPLICABLE STATE AND FOREIGN REGULATORY AUTHORITIES, AND COURTS WITH PROPER
JURISDICTION.

THIS DISCLOSURE STATEMENT CONTAINS “FORWARD-LOOKING STATEMENTS” WITHIN THE
MEANING OF THE PRIVATE SECURITIES LITIGATION REFORM ACT OF 1995. READERS ARE
CAUTIONED THAT ANY FORWARD-LOOKING STATEMENTS IN THIS DISCLOSURE STATEMENT
ARE BASED ON ASSUMPTIONS THAT ARE BELIEVED TO BE REASONABLE BUT ARE SUBJECT TO
A WIDE RANGE OF RISKS, INCLUDING RISKS ASSOCIATED WITH THE FOLLOWING:

      •   THE OVERALL HEALTH OF THE CRYPTOCURRENCY INDUSTRY;

      •   POPULARITY AND RATE OF ADOPTION OF CRYPTOCURRENCIES;

      •   THE DEBTORS’ REGULATORY LICENSES;

      •   THE POTENTIAL ADOPTION OF NEW GOVERNMENTAL REGULATIONS;

      •   THE DEBTORS’ TECHNOLOGY AND ABILITY TO ADAPT TO RAPID TECHNOLOGICAL
          CHANGE;

      •   THE RELIABILITY, STABILITY, PERFORMANCE AND SCALABILITY OF THE
          DEBTORS’ INFRASTRUCTURE AND TECHNOLOGY;

      •   THE DEBTORS’ FINANCIAL CONDITION, REVENUES, CASH FLOWS, AND EXPENSES;

      •   THE ADEQUACY OF THE DEBTORS’ CAPITAL RESOURCES AND LIQUIDITY;

      •   THE INTEGRATION AND BENEFITS OF ASSET AND PROPERTY ACQUISITIONS OR
          THE EFFECTS OF ASSET AND PROPERTY ACQUISITIONS OR DISPOSITIONS ON THE
          DEBTORS’ CASH POSITION AND LEVELS OF INDEBTEDNESS;

      •   GENERAL ECONOMIC AND BUSINESS CONDITIONS;

      •   EFFECTIVENESS OF THE DEBTORS’ RISK MANAGEMENT ACTIVITIES;



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      •   COUNTERPARTY CREDIT RISK;

      •   THE OUTCOME OF PENDING AND FUTURE LITIGATION;

      •   EXCHANGE RATE FLUCTUATIONS AND CRYPTOCURRENCY PRICE FLUCTUATIONS;

      •   PLANS, OBJECTIVES, AND EXPECTATIONS;

      •   RISKS IN CONNECTION WITH DISPOSITIONS; AND

      •   RISK OF INFORMATION TECHNOLOGY OR DATA SECURITY BREACHES OR OTHER
          CYBERATTACKS.

STATEMENTS CONCERNING THESE AND OTHER MATTERS ARE NOT GUARANTEES OF THE
DEBTORS’ AND THE WIND-DOWN DEBTORS’ FUTURE PERFORMANCE. THERE ARE RISKS,
UNCERTAINTIES, AND OTHER IMPORTANT FACTORS THAT COULD CAUSE THE DEBTORS’ AND
THE WIND-DOWN DEBTORS’ ACTUAL PERFORMANCE OR ACHIEVEMENTS TO BE DIFFERENT
FROM THOSE THEY MAY PROJECT, AND THE DEBTORS UNDERTAKE NO OBLIGATION TO
UPDATE THE PROJECTIONS MADE HEREIN OTHER THAN AS REQUIRED BY APPLICABLE LAW.
THESE RISKS, UNCERTAINTIES, AND FACTORS MAY INCLUDE THE FOLLOWING:

      •   THE RISKS AND UNCERTAINTIES ASSOCIATED WITH THE CHAPTER 11 CASES;

      •   THE DEBTORS’ ABILITY TO PURSUE THEIR BUSINESS STRATEGIES DURING THE
          CHAPTER 11 CASES;

      •   THE DEBTORS’ ABILITY TO MAINTAIN COMPLIANCE WITH LAWS AND
          REGULATIONS OR THE INTERPRETATION OR APPLICATION OF SUCH LAWS THAT
          CURRENTLY APPLY OR MAY BECOME APPLICABLE TO THE DEBTORS’ BUSINESS
          BOTH IN THE UNITED STATES AND INTERNATIONALLY;

      •   CHANGES TO A PARTICULAR CRYPTOCURRENCY ASSET’S OR PRODUCT
          OFFERING’S STATUS AS A “SECURITY” IN ANY RELEVANT JURISDICTION UNDER
          RELEVANT LAWS AND REGULATIONS OR REGULATORY INTERPRETATION
          THEREOF;

      •   LOSS OF CRITICAL BANKING OR INSURANCE RELATIONSHIPS;

      •   THE DIVERSION OF MANAGEMENT’S ATTENTION AS A RESULT OF THE CHAPTER 11
          CASES;

      •   INCREASED LEVELS OF EMPLOYEE ATTRITION AS A RESULT OF THE CHAPTER 11
          CASES;

      •   CUSTOMER RESPONSES TO THE CHAPTER 11 CASES;

      •   THE IMPACT OF A PROTRACTED RESTRUCTURING ON THE DEBTORS’ BUSINESS;

      •   THE DEBTORS’ ABILITY TO CONFIRM OR CONSUMMATE THE PLAN;

      •   THE DEBTORS’ INABILITY TO PREDICT THEIR LONG-TERM LIQUIDITY
          REQUIREMENTS AND THE ADEQUACY OF THEIR CAPITAL RESOURCES;




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      •   THE AVAILABILITY OF CASH TO MAINTAIN THE DEBTORS’ OPERATIONS AND FUND
          EMERGENCE COSTS;

      •   RISKS ASSOCIATED WITH WEAK OR UNCERTAIN GLOBAL ECONOMIC CONDITIONS
          AND THEIR IMPACT ON DEMAND FOR DIGITAL ASSETS;

      •   OTHER GENERAL ECONOMIC AND POLITICAL CONDITIONS IN THE UNITED STATES,
          INCLUDING THOSE RESULTING FROM RECESSIONS, POLITICAL EVENTS, ACTS OR
          THREATS OF TERRORISM, AND MILITARY CONFLICTS;

      •   INDUSTRY CONDITIONS,      INCLUDING        COMPETITION        AND   TECHNOLOGICAL
          INNOVATION;

      •   FLUCTUATIONS IN OPERATING COSTS;

      •   SHIFTS IN POPULATION AND OTHER DEMOGRAPHICS;

      •   LEGISLATIVE OR REGULATORY REQUIREMENTS; AND

      •   FLUCTUATIONS IN INTEREST RATES, EXCHANGE RATES, AND CURRENCY VALUES.

YOU ARE CAUTIONED THAT ALL FORWARD-LOOKING STATEMENTS ARE NECESSARILY
SPECULATIVE, AND THERE ARE CERTAIN RISKS AND UNCERTAINTIES THAT COULD CAUSE
ACTUAL EVENTS OR RESULTS TO DIFFER MATERIALLY FROM THOSE REFERRED TO IN SUCH
FORWARD-LOOKING STATEMENTS. THE LIQUIDATION ANALYSIS AND OTHER PROJECTIONS
AND FORWARD-LOOKING INFORMATION CONTAINED HEREIN AND ATTACHED HERETO ARE
ONLY ESTIMATES, AND THE TIMING AND AMOUNT OF ACTUAL DISTRIBUTIONS TO HOLDERS
OF ALLOWED CLAIMS, AMONG OTHER THINGS, MAY BE AFFECTED BY MANY FACTORS THAT
CANNOT BE PREDICTED. ANY ANALYSES, ESTIMATES, OR RECOVERY PROJECTIONS MAY OR
MAY NOT TURN OUT TO BE ACCURATE.

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I.         INTRODUCTION

         Voyager Digital Holdings, Inc. (along with its debtor affiliates, the “Debtors,” the “Company,”
or “Voyager”) and its debtor affiliates submit this disclosure statement (including all exhibits hereto and as may be
supplemented or amended from time to time, the “Disclosure Statement”), pursuant to section 1125 of the Bankruptcy
Code, to holders of Claims against and Interests in the Debtors in connection with the solicitation of votes for
acceptance of the Debtors’ Second Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates
Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 539] (as supplemented or amended from time to time,
the “Plan”). A copy of the Plan is attached hereto as Exhibit A and is incorporated herein by reference. The Plan
constitutes a separate chapter 11 plan for each of the Debtors.2

      THE DEBTORS BELIEVE THAT THE COMPROMISES AND SETTLEMENTS
CONTEMPLATED BY THE PLAN ARE FAIR AND EQUITABLE, MAXIMIZE THE VALUE OF THE
DEBTORS’ ESTATES, AND MAXIMIZE RECOVERIES TO HOLDERS OF CLAIMS. THE DEBTORS
BELIEVE THE PLAN IS THE BEST AVAILABLE OPTION FOR COMPLETING THE CHAPTER 11
CASES. THE DEBTORS STRONGLY RECOMMEND THAT YOU VOTE TO ACCEPT THE PLAN.

II.        PRELIMINARY STATEMENT

          The Debtors filed these Chapter 11 Cases in response to a short-term “run on the bank” caused by the
downturn in the cryptocurrency industry generally and the default of a significant loan made to a third party. Since
the Petition Date, the Debtors worked tirelessly to identify the most value-maximizing transaction for their customers
and other creditors on an expedited timeline. Ultimately, those efforts were successful. Following a two-week
competitive auction process, the Debtors selected the bid submitted by West Realm Shires Inc. (“FTX US” or
“Purchaser”) as the winning bid. The Debtors value FTX US’s bid at approximately $1.422 billion, comprised of (i)
the value of Cryptocurrency on the Voyager platform as of a date to be determined, which, as of September 26, 2022,
is estimated to be $1.311 billion, plus (ii) additional consideration which is estimated to provide at least approximately
$111 million of incremental value. Importantly, the FTX US bid can be effectuated quickly, provides a meaningful
recovery to creditors, and allows the Debtors to facilitate an efficient resolution of these chapter 11 cases, after which
FTX US’s market-leading, secured trading platform will enable customers to trade and store cryptocurrency.

         Under the Asset Purchase Agreement, FTX US will purchase all Cryptocurrency on the Voyager platform,
other than VGX, at fair market value as of a to be determined date. The fair market value of any Cryptocurrency other
than VGX will be calculated by Purchaser reasonably and in good faith based on market practice, available pricing
information, and mutually agreed principles.

          FTX US has offered to purchase all VGX in the Debtors’ Estates for a purchase price of $10 million. This
is a floor of what the Debtors will receive for VGX. The Debtors continue to work internally and with third parties in
an effort to identify a higher and better solution for VGX that is also compatible with the FTX US Asset Purchase
Agreement and are hopeful they will be able to do so. Any such alternative solution, to be acceptable, must deliver
value to the Debtors and their Estates that exceeds $10 million and must be compatible with the agreements between
the Debtors and FTX US. If the Debtors are unable to identify a higher and better solution for VGX, the Debtors will
accept FTX US’s offer and, as a result, VGX may decline in value and may have no value post-consummation of the
Plan.

         As described further in Article IV.C.6 of this Disclosure Statement, the Debtors will effectuate the transition
of Account Holders to the FTX US platform pursuant to the Customer Migration Protocol, which will be included in
the Plan Supplement and will be filed with the Bankruptcy Court in advance of the Voting Deadline. The Customer
Migration Protocol will provide, among other things, that only those Account Holders that become Transferred

2     Capitalized terms used but not otherwise defined herein have the meaning ascribed to such terms in the Plan or Asset Purchase
      Agreement, as applicable. Additionally, this Disclosure Statement incorporates the rules of interpretation located in Article I
      of the Plan. The summary provided in this Disclosure Statement of any documents attached to this Disclosure
      Statement, including the Plan, are qualified in their entirety by reference to the Plan and the documents being
      summarized. In the event of any inconsistencies between the terms of this Disclosure Statement and the Plan, the Plan
      shall govern.




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      Creditors at least one Business Day prior to the Effective Date and who maintain Cryptocurrency in their
      Account that is supported by FTX US will receive their initial distributions under the Plan in-kind (i.e., in the
      form of Cryptocurrency) deposited into their FTX US Accounts. If (x) Purchaser does not support the
      Cryptocurrency maintained by a Transferred Creditor in such Transferred Creditor’s Account, (y) a Transferred
      Creditor did not maintain Cryptocurrency in its Account, or (z) a Transferred Creditor becomes a Transferred Creditor
      after such date but before the final migration cut-off date 45 days after the Effective Date as contemplated in the
      Customer Migration Protocol, such Transferred Creditor will receive their share of the initial distribution in the form
      of USDC. Account Holders who do not become Transferred Customers will not be eligible to receive any portion of
      the initial distribution from FTX US. All distributions to such Account Holders and all other distributions will be
      made on a pro rata basis in cash from the Debtors’ Estates.

                It is anticipated that all Voyager customers will be transitioning to FTX US. In the event that a customer is
      not successfully transitioned to FTX US, such customer will not be eligible for the $50 Account Credit (as discussed
      below). Any customer that does not transition to FTX US at least one Business Day prior to the Closing Date will not
      receive the Transferred Cryptocurrency Value in kind. Instead, such Holder will receive a Cash distribution from the
      Debtor’s estates as and when such distributions are made pursuant to the Bankruptcy Code. Any subsequent
      distributions shall be made similarly in accordance with the Customer Migration Protocol or as otherwise provided in
      Article VI.C.8 of the Plan.

                 Below is a chart of estimated recoveries to hypothetical Holders of Account Holder Claims.3

Account

                         Customer                                       Customer
                          Claim                                         Recovery
                                                                                                     Illustrative
                         # of Coins         7/5 Coin                    Supported     Recovery                         Recovery     # of Coins
          Coin                                            Claim ($)                                Crypto Recovery
                          Claimed             Price                     on FTX US      Type                             Value       Recovered5
                                                                                                         %4

BTC                                  0.04    $20,157.69      $907.07        Yes         BTC                   70%         $636.85            0.03
ETH                                  0.19      1,131.60       214.41        Yes         ETH                   70%          150.54            0.10
DAI                             49.19              1.00        49.17        Yes         DAI                   70%           34.53           34.52
DOGE                           978.43              0.07        65.64        Yes        DOGE                   70%           46.09          758.59
ALGO                           123.83              0.31        38.07        Yes        ALGO                   70%           26.73           79.74
LINK                                 0.29          6.31          1.83       Yes        LINK                   70%            1.28            0.17
XRP                            122.38              0.33        39.79        No         USDC                   70%           27.94            N/A
HBAR                           130.66              0.06          8.05       No         USDC                   70%            5.65            N/A
BAND                            24.73              1.32        32.65        No         USDC                   70%           22.92            N/A
VGX                            249.05              0.24        59.32        No         USDC                   70%           41.65            N/A
TRAC                          1,471.96             0.19       286.88        No         USDC                   70%          201.42            N/A
GALA                          2,274.69             0.05       121.01        No         USDC                   70%           84.96            N/A
Claim

Value Claimed                                                                                                                         $1,823.90
Proportion of Total Platform Value                                                                                                        0.0001%

Illustrative Recovery

Crypto Recovery


      3     Recoveries are for illustrative purposes and may materially differ from the amount portrayed in the chart. Account Holder
            Claims shall be valued in U.S. dollars as of the Petition Date consistent with section 502(b) of the Bankruptcy Code.

      4     Illustrative cryptocurrency recovery is shown based on the estimated total fair market value of Voyager’s cryptocurrency
            assets based on 20-day average coin prices as of September 29th, 2022. Actual cryptocurrency recovery will be determined
            by cryptocurrency prices during the fair market value reference period prior to the Effective Date.

      5     Illustrative number of coins recovered based on recovery value divided by the 20-day average coin price as of September 29,
            2022. Actual cryptocurrency prices for purposes of denominating initial distributions will be determined by such supported
            cryptocurrency’s price during the fair market value reference period prior to the Effective Date.




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  Value Recovered (In Kind)                                                                                                           $896.01
  Value Recovered (Converted to U.S. Dollars)                                                                                          384.55
Crypto Value Recovered                                                                                                            $1,280.56
  % Crypto Recovery4                                                                                                                     70%

Other Value Recovered                                                                                                                  $32.67
  % Other Recovery6                                                                                                                       2%

Total Value Recovered                                                                                                             $1,313.23
% Total Recovery                                                                                                                         72%


             Prior to the Petition Date, Voyager operated a cryptocurrency trading platform that allowed customers to
   buy, sell, and store cryptocurrency on an easy-to-use and “accessible-to-all” platform. Using the Company’s mobile
   application, Voyager’s customers could earn rewards on the cryptocurrency assets stored on the Company’s platform
   and trade over 100 unique digital assets. Voyager’s mission since inception has been to provide customers with the
   tools to enter the cryptocurrency industry on their own terms in a way that is tailored to the needs of each customer.
   Voyager’s mobile application has been downloaded millions of times and had over 1.1 million active users as of
   July 5, 2022 (the “Petition Date”). In 2021, Voyager was one of the top ten most downloaded cryptocurrency mobile
   applications in the world.

             Recent events in the world economy roiled traditional markets and the cryptocurrency markets alike. The
   lingering effects of the COVID-19 pandemic, coupled with rampant inflation and the adverse effects of the war in the
   Ukraine on the world economy, contributed to a massive sell-off in traditional assets in early 2022. Total wealth in
   the United States declined by $5 trillion between January 2022 and May 2022. The cryptocurrency market is not
   immune to these macroeconomic trends and likewise experienced extreme market volatility in 2022. All major coins
   and cryptocurrency-focused companies experienced significant declines; in early September 2022, the aggregate value
   of the cryptocurrency market sank below $1 trillion for the first time since 2020. Several major liquidity events in the
   cryptocurrency space, including the implosion of Terra LUNA (“Luna”) (as discussed in Article VI.A.2 of this
   Disclosure Statement), accelerated the onset of a “crypto winter” and an industry-wide sell-off to manage risk in 2022.

            As described in more detail in Article VI(2)(b) below, in June 2022, it became apparent that the Company’s
   loan to Three Arrows Capital (“3AC” and such loan the “3AC Loan”), a cryptocurrency hedge fund based in
   Singapore, was in jeopardy of partial or full nonpayment. The Company’s loan to 3AC was one of its largest
   outstanding loans. On June 17, 2022, 3AC announced that it had suffered heavy losses due to massive exposure to
   Luna. The Company’s management team was acutely aware that nonpayment of the loan to 3AC, coupled with severe
   industry headwinds, would strain the Company’s ability to continue operating its trading platform. Accordingly, the
   Company’s management team immediately began to explore potential strategic solutions. The Company retained
   Kirkland & Ellis LLP (“Kirkland”) and Moelis & Company LLC (“Moelis”). The Company subsequently retained
   Berkeley Research Group (“BRG”) on June 30, 2022. The Company engaged in discussions with third parties and
   potential sources of new liquidity and ultimately obtained an unsecured loan from Alameda Ventures Ltd.
   (“Alameda”), a major participant in the cryptocurrency space. With the advice and assistance of Moelis, the Company
   began discussions with a host of third parties about a more long-term solution to the challenges facing the Company.
   Discussions with these third parties, however, ultimately revealed that an in-court process would be necessary to
   develop the most value-maximizing alternative available to the Company. Accordingly, the Debtors filed these
   Chapter 11 Cases on July 5, 2022.

            On the first day of these chapter 11 cases, the Debtors filed the Joint Plan of Reorganization of Voyager
   Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 17] (as
   6     Other recovery includes the estimated pro rata distribution to Account Holder Claims from (i) Voyager balance sheet cash,
         (ii) FTX US upfront cash consideration, (iii) FTX US earnout, (iv) other miscellaneous recoveries, including proceeds from
         the sale of investments and any 3AC Recovery, net of (i) payment in full of Administrative Claims, Secured Tax Claims,
         Priority Tax Claims, and Other Priority Claims and (ii) funding of the Wind-Down Reserve. Each Transferred Creditor will
         also receive the Account Credit from FTX US.

         For the purposes of the Disclosure Statement, “Account Credit” means $50 credited to each Transferred Creditor’s FTX US
         Account, subject to the terms and the conditions of the Asset Purchase Agreement.




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amended and restated from time to time, the “Standalone Plan”). The Standalone Plan contemplated a restructuring
that could be effectuated without a sale, and served as a floor for the Debtors’ marketing process. To that end, the
Debtors, with the assistance of Moelis and their other advisors, continued their prepetition marketing efforts during
these Chapter 11 Cases to canvas the market and identify interest in a transaction with a third-party investor
(the “Marketing Process”). Shortly after commencing these chapter 11 cases, the Debtors filed the Debtors’ Motion
Seeking Entry of an Order (I) Approving the Bidding Procedures and Related Dates and Deadlines, (II) Scheduling
Hearings and Objection Deadlines with Respect to the Debtors’ Sale, Disclosure Statement, and Plan Confirmation,
and (III) Granting Related Relief [Docket No. 126] (the “Bidding Procedures Motion”), which set a timeline for
interested parties to submit bids for an acquisition of the Debtors’ assets and procedures for conducting an auction if
multiple bids were received. On August 5, 2022, the Bankruptcy Court entered the Order (I) Approving the Bidding
Procedures and Related Dates and Deadlines, (II) Scheduling Hearings and Objection Deadlines with Respect to the
Debtors’ Sale, Disclosure Statement, and Plan Confirmation, and (III) Granting Related Relief [Docket No. 248]
(the “Bidding Procedures”) which, among others, established the Bid Deadline (as defined in the Bidding Procedures)
as September 6, 2022 at 12:00 p.m., prevailing Eastern Time and set the Auction (as defined in the Bidding Procedures)
for September 13, 2022 at 10:00 a.m., prevailing Eastern Time. Throughout the Marketing Process, the Debtors
evaluated Bids received from potential transaction parties in comparison both to other Bids received and the recoveries
contemplated by the Stand-Alone Plan as it provided a critical metric in the Debtors’ determination of their path
forward.7

        On the Bid Deadline, the Debtors received a number of bids from strategic investors and, accordingly
commenced an auction on September 13, 2022, for a sale of the Debtors’ business. The two-week Auction featured
hard-fought, arms-length negotiations with each participating bidder. At the conclusion of the Auction, the Debtors,
in an exercise of their business judgment and in consultation with the Committee, determined that the final bid
submitted by the Purchaser represented the most value-maximizing transaction available to the Debtors. Accordingly,
on September 26, 2022, the Debtors announced FTX US as the winning bidder,8 and on September 27, 2022, the
Debtors and the Purchaser entered into the asset purchase agreement memorializing the terms of the winning bid (the
“Asset Purchase Agreement”). [The Bankruptcy Court approved entry into the Asset Purchase Agreement on [●],
2022.]

         The Debtors seek to effectuate the transactions contemplated by the Asset Purchase Agreement (collectively,
the “Sale Transaction”) pursuant to the Plan. The Plan, among other things:

         •   contemplates payment in full of Administrative Claims, Secured Tax Claims, Priority Tax Claims, and
             Other Priority Claims;

         •   provides for the distribution of Cryptocurrency, Cash, and any remaining assets at OpCo (including any
             recovery on account of the 3AC Claims) to Account Holders and Holders of OpCo General Unsecured
             Claims, subject to the terms of the Asset Purchase Agreement;

         •   provides for distribution of Cash and other assets at HoldCo to Holders of HoldCo General Unsecured
             Claims;

         •   provides for distribution of Cash and other assets at TopCo to Holders of TopCo General Unsecured
             Claims;

         •   provides for any residual value at TopCo after payment in full of TopCo General Unsecured Claims to
             be distributed to Holders of Section 510(b) Claims, if any, and Holders of Existing Equity Interests;

         •   consensually conveys Alameda Loan Facility Claims and any recovery on account of such Alameda Loan
             Facility Claims to OpCo pursuant to the Asset Purchase Agreement; and



7   Certain dates in the Bidding Procedures were amended by Docket Nos. 328, 343, 365, and 442.

8   See Notice of Successful Bidder [Docket No. 457].




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         •    designates a Wind-Down Entity Trustee to wind down the Debtors’ affairs in accordance with the Plan.

         The Debtors believe that the Plan maximizes stakeholder recoveries in the Chapter 11 Cases. Accordingly,
the Debtors urge all Holders of Claims entitled to vote to accept the Plan by returning their ballots so that Stretto
actually receives such ballots by November 25, 2022, at 4:00 p.m. prevailing Eastern Time (the “Plan Voting
Deadline”). Assuming the Plan receives the requisite acceptances, the Debtors will seek the Bankruptcy Court’s
approval of the Plan at a hearing on December 6, 2022 at 11:00 a.m. (prevailing Eastern Time) (the “Confirmation
Hearing”).

III.     QUESTIONS AND ANSWERS REGARDING THIS DISCLOSURE STATEMENT AND THE
         PLAN

         A.        What is chapter 11?

         Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. In addition to permitting
debtor rehabilitation, chapter 11 promotes equality of treatment for creditors and similarly situated equity interest
holders, subject to the priority of distributions prescribed by the Bankruptcy Code.

         The commencement of a chapter 11 case creates an estate that comprises all of the legal and equitable interests
of the debtor as of the date the chapter 11 case is commenced. The Bankruptcy Code provides that the debtor may
continue to operate its business and remain in possession of its property as a “debtor in possession.”

         Consummating a plan of reorganization is the principal objective of a chapter 11 case. A bankruptcy court’s
confirmation of a plan binds the debtor, any person acquiring property under the plan, any creditor or equity interest
holder of the debtor (whether or not such creditor or equity interest holder voted to accept the plan), and any other
entity as may be ordered by the bankruptcy court. Subject to certain limited exceptions, the order issued by a
bankruptcy court confirming a plan provides for the treatment of the debtor’s liabilities in accordance with the terms
of the confirmed plan.

         B.        Why are the Debtors sending me this Disclosure Statement?

         The Debtors are seeking to obtain Bankruptcy Court approval of the Plan. Before soliciting acceptances of
the Plan, section 1125 of the Bankruptcy Code requires the Debtors to prepare a disclosure statement containing
adequate information of a kind, and in sufficient detail, to enable a hypothetical reasonable investor to make an
informed judgment regarding acceptance of the Plan and to share such disclosure statement with all holders of claims
and interests whose votes on the Plan are being solicited. This Disclosure Statement is being submitted in accordance
with these requirements.

         C.        Am I entitled to vote on the Plan?

          Your ability to vote on, and your distribution under, the Plan, if any, depends on what type of Claim or
Interest you hold. Each category of Holders of Claims or Interests, as set forth in Article III of the Plan pursuant to
section 1122(a) of the Bankruptcy Code, is referred to as a “Class.” Each Class’s respective voting status is set forth
below.




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 Class      Claim or Interest                        Status                    Voting Rights

    1       Secured Tax Claims                       Unimpaired                Not Entitled to Vote (Deemed to Accept)
    2       Other Priority Claims                    Unimpaired                Not Entitled to Vote (Deemed to Accept)
    3       Account Holder Claims                    Impaired                  Entitled to Vote
    4       Alameda Loan Facility Claims             Impaired                  Entitled to Vote
    5A      OpCo General Unsecured Claims            Impaired                 Entitled to Vote
    5B      HoldCo General Unsecured Claims          Impaired                  Entitled to Vote
    5C      TopCo General Unsecured Claims           Impaired                  Entitled to Vote
    6       Section 510(b) Claims                    Impaired                  Not Entitled to Vote (Deemed to Reject)
                                                     Unimpaired /              Not Entitled to Vote (Presumed to Accept)
    7       Intercompany Claims
                                                     Impaired
                                                     Unimpaired /              Not Entitled to Vote (Presumed to Accept)
    8       Intercompany Interests
                                                     Impaired
    9       Existing Equity Interests                Impaired                  Not Entitled to Vote (Deemed to Reject)

            D.        What will I receive from the Debtors if the Plan is consummated?

         The following chart provides a summary of the anticipated recovery to Holders of Claims and Interests under
the Plan. Any estimates of Claims and Interests in this Disclosure Statement may vary from the final amounts allowed
by the Bankruptcy Court. Your ability to receive distributions under the Plan depends upon the ability of the Debtors
to obtain Confirmation and meet the conditions necessary to consummate the Plan. Amounts in the far right column
under the heading “Liquidation Recovery” are estimates only and are based on certain assumptions described herein
and set forth in greater detail in the liquidation analysis attached hereto as Exhibit B (the “Liquidation Analysis”).

          In a hypothetical liquidation, Holders of Account Holder Claims and General Unsecured Claims would
likely receive a significantly reduced recovery relative to what such Holders would receive under the Plan. In
the event of a liquidation, the Bankruptcy Court may appoint a trustee (the “Liquidating Trustee”) to oversee and
effectuate the liquidation of the Debtors’ assets. The Liquidating Trustee’s fees and expenses would be paid by the
Debtors and would be paid prior to any Account Holder Claims or General Unsecured Claims. Given the novelty and
complexity of the Debtors’ business and the strong likelihood that any Liquidating Trustee appointed by the
Bankruptcy Court may have minimal cryptocurrency experience, the Liquidating Trustee’s fees and expenses and the
anticipated reduction in value obtained through the monetization of cryptocurrency by the Liquidating Trustee would
likely result in Account Holders and Holders of General Unsecured Claims receiving significantly reduced recoveries.

      THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE ESTIMATES
ONLY AND THEREFORE ARE SUBJECT TO CHANGE BASED ON, AMONG OTHER THINGS,
ALLOWED CLAIMS ARISING FROM THE REJECTION OF EXECUTORY CONTRACTS OR
UNEXPIRED LEASES AND THE RESOLUTION OF DISPUTED CLAIMS. FOR A COMPLETE
DESCRIPTION OF THE DEBTORS’ CLASSIFICATION AND TREATMENT OF CLAIMS AND
INTERESTS, REFERENCE SHOULD BE MADE TO THE ENTIRE PLAN.9




9       The recoveries set forth below may change based upon changes in the amount of Claims that are Allowed as well as other
        factors related to the Debtors’ business operations and general economic conditions.




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                                                                                                  Projected
                                                                                                                      Projected
             Claim or                                                                            Amount of                            Liquidation
Class                                                 Treatment                                                         Plan
             Interest                                                                          Allowed Claims                          Recovery
                                                                                                                      Recovery
                                                                                                  (in $mm)
                             Each Holder of an Allowed Secured Tax Claim shall                       $0.0                 NA              N/A
                             receive, in full and final satisfaction of such Allowed
                             Secured Tax Claim, at the option of the Wind-Down
        Secured Tax
1                            Entity, payment in full in Cash of such Holder’s
        Claims
                             Allowed Secured Tax Claim or such other treatment
                             rendering such Holder’s Allowed Secured Tax Claim
                             Unimpaired.
                             Each Holder of an Allowed Other Priority Claim shall                     $0.0                NA              N/A
                             receive, in full and final satisfaction of such Allowed
                             Other Priority Claim, at the option of the applicable
        Other Priority
2                            Debtor, payment in full in Cash of such Holder’s
        Claims
                             Allowed Other Priority Claim or such other treatment
                             rendering such Holder’s Allowed Other Priority Claim
                             Unimpaired.
                             Each Holder of an Allowed Account Holder Claim will                    $1,763.9              72%          51%-60%
                             receive in full and final satisfaction, compromise,
                             settlement, release, and discharge of such Allowed
                             Account Holder Claim:
                                  (i) its Pro Rata share of Transferred
                                        Cryptocurrency Value, in Cryptocurrency or
                                        Cash as provided in the Customer Migration
                                        Protocol;
                                  (ii) the right to become a Transferred Creditor as
                                        provided in the Customer Migration Protocol;
        Account Holder
3                                 (iii) its Pro Rata share of Distributable Cash; and
        Claims10
                                  (iv) to effectuate distributions from the Wind-
                                        Down Entity, its Pro Rata share of the Wind-
                                        Down Trust Units on account of any recovery
                                        of Wind-Down Trust Assets attributable to
                                        OpCo; provided that any distributions on
                                        account of Wind-Down Trust Units shall only
                                        be made following payment in full of Allowed
                                        Administrative Claims, Allowed Priority Tax
                                        Claims, Allowed Secured Tax Claims, and
                                        Allowed Other Priority Claims.
                             Pursuant to the Asset Purchase Agreement, on the                         $75.1               0%                  6%
                             Effective Date, the Alameda Loan Facility Claims shall                                   (as settled
                             be deemed Allowed, and all rights, titles, and interests                                  with the
                             in the Alameda Loan Facility Claims shall be                                             Holder of
        Alameda Loan                                                                                                   Alameda
4                            contractually conveyed to OpCo, and OpCo shall be
        Facility Claims                                                                                                  Loan
                             entitled to any recovery on account of the Alameda
                             Loan Facility Claims. The treatment of Class 4
                             Alameda Loan Facility Claims is contractually settled
                             pursuant to the Asset Purchase Agreement.


        10   Account Holder Claims shall be valued in U.S. dollars as of the Petition Date consistent with section 502(b) of the Bankruptcy
             Code.




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                                                                                              Projected
                                                                                                                Projected
             Claim or                                                                        Amount of                         Liquidation
Class                                               Treatment                                                     Plan
             Interest                                                                      Allowed Claims                       Recovery
                                                                                                                Recovery
                                                                                              (in $mm)
                                                                                                                  Facility
                                                                                                                 Claims)11
                            Each Holder of an Allowed OpCo General Unsecured                     $12.1             72%          51% - 60%
                            Claim will receive in full and final satisfaction,
                            compromise, settlement, release, and discharge of such
                            Allowed OpCo General Unsecured Claim:
                                (i) its Pro Rata share of Transferred
                                      Cryptocurrency Value, in Cryptocurrency or
                                      Cash as provided in the Customer Migration
                                      Protocol;
                                (ii) the right to become a Transferred Creditor as
                                      provided in the Customer Migration Protocol;
        OpCo General
5A      Unsecured               (iii) its Pro Rata share of Distributable OpCo Cash;
        Claims                        and
                                (iv) to effectuate distributions from the Wind-
                                      Down Entity, its Pro Rata share of the Wind-
                                      Down Trust Units on account of any recovery
                                      of Wind-Down Trust Assets attributable to
                                      OpCo; provided that any distributions on
                                      account of Wind-Down Trust Units shall only
                                      be made following payment in full of Allowed
                                      Administrative Claims, Allowed Priority Tax
                                      Claims, Allowed Secured Tax Claims, and
                                      Allowed Other Priority Claims.
                            Each Holder of an Allowed HoldCo General Unsecured                   $0.0               0%           0% - 0%
                            Claim will receive in full and final satisfaction,
                            compromise, settlement, release, and discharge of such
                            Allowed HoldCo General Unsecured Claim:
                                (i) its Pro Rata share of Distributable HoldCo
                                     Cash; and
                                (ii) to effectuate distributions from the Wind-
        HoldCo General               Down Entity, its Pro Rata share of the Wind-
5B      Unsecured                    Down Trust Units (if applicable) on account of
        Claims                       any recovery of Wind-Down Trust Assets
                                     attributable to HoldCo; provided that any
                                     distributions on account of Wind-Down Trust
                                     Units shall only be made following payment in
                                     full of Allowed Administrative Claims,
                                     Allowed Priority Tax Claims, Allowed
                                     Secured Tax Claims, and Allowed Other
                                     Priority Claims.




        11   The Alameda Loan Facility Claims are contributed to OpCo pursuant to the terms of the Asset Purchase Agreement and OpCo
             shall be entitled to the recovery on account of the Alameda Loan Facility Claims.




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                                                                                                  Projected
                                                                                                                     Projected
             Claim or                                                                            Amount of                           Liquidation
Class                                                 Treatment                                                        Plan
             Interest                                                                          Allowed Claims                         Recovery
                                                                                                                     Recovery
                                                                                                  (in $mm)
                             Each Holder of an Allowed TopCo General Unsecured                       $2.3                2%                  2%
                             Claim will receive in full and final satisfaction,
                             compromise, settlement, release, and discharge of such
                             Allowed TopCo General Unsecured Claim:
                                 (i) its Pro Rata share of Distributable TopCo
                                      Cash; and
                                 (ii) to effectuate distributions from the Wind-
        TopCo General                 Down Entity, its Pro Rata share of the Wind-
5C      Unsecured                     Down Trust Units (if applicable) on account of
        Claims                        any recovery of Wind-Down Trust Assets
                                      attributable to TopCo; provided that any
                                      distributions on account of Wind-Down Trust
                                      Units shall only be made following payment in
                                      full of Allowed Administrative Claims,
                                      Allowed Priority Tax Claims, Allowed
                                      Secured Tax Claims, and Allowed Other
                                      Priority Claims.
                             Each Holder of Allowed Section 510(b) Claims against                     N/A                NA                  NA
                             TopCo will receive, to effectuate distributions, if
                             applicable, from the Wind-Down Entity, its Pro Rata
                             share of the Wind-Down Trust Units (if applicable),
        Section 510(b)       provided that any distributions on account of Wind-
6
        Claims               Down Trust Units shall only be made following
                             payment in full of all Allowed Administrative Claims,
                             Allowed Priority Tax Claims, Allowed Secured Tax
                             Claims, Allowed Other Priority Claims, and Allowed
                             TopCo General Unsecured Claims.
                             On the Effective Date, all Intercompany Claims shall be,                $6.312              8%            4% - 5%
                             at the option of the Debtors, either (a) Reinstated or (b)
        Intercompany         converted to equity, otherwise set off, settled,
7
        Claims               distributed, contributed, cancelled, or released, in each
                             case in accordance with the Restructuring Transactions
                             Memorandum.
                             On the Effective Date, all Intercompany Interests shall                   $0                0%                  0%
                             be, at the option of the Debtors, either (a) Reinstated in
        Intercompany         accordance with Article III.G of the Plan or (b) set off,
8
        Interests            settled, addressed, distributed, contributed, merged,
                             cancelled, or released, in each case in accordance with
                             the Restructuring Transactions Memorandum.
                             Each Holder of Existing Equity Interests will receive, to                 $0                0%                  0%
        Existing Equity      effectuate distributions, if applicable, from the Wind-
9
        Interests            Down Entity, its Pro Rata share of the Wind-Down
                             Trust Units (if applicable), provided that any

        12   The recovery to Intercompany Claims reflects the assumption for purposes of the recovery analysis that the Intercompany
             Obligation by HoldCo to TopCo under the Promissory Note is a valid loan and all other Intercompany Obligations are capital
             contributions. The Intercompany Obligations and the analysis related thereto are described in greater detail in Article V.C.2
             herein.




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                                                                                          Projected
                                                                                                            Projected
           Claim or                                                                      Amount of                        Liquidation
Class                                             Treatment                                                   Plan
           Interest                                                                    Allowed Claims                      Recovery
                                                                                                            Recovery
                                                                                          (in $mm)
                           distributions on account of Wind-Down Trust Units
                           shall only be made following payment in full of all
                           Allowed Administrative Claims, Allowed Priority Tax
                           Claims, Allowed Secured Tax Claims, Allowed Other
                           Priority Claims, and Allowed TopCo General
                           Unsecured Claims.

                 E.       What will I receive from the Debtors if I hold an Allowed Administrative Claim?

                  In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Fee
        Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of Claims and
        Interests set forth in Article III of the Plan. The chart below summarizes the various unclassified claims and provides
        the relevant section of the Plan that addresses their treatment:

           Claim                                            Description of Claim                                     Plan Section

                                 A Claim against a Debtor for the costs and expenses of administration of the
                                 Chapter 11 Cases arising on or after the Petition Date and prior to the
                                 Effective Date pursuant to section 503(b) of the Bankruptcy Code and
                                 entitled to priority pursuant to sections 507(a)(2), 507(b), or 1114(e)(2) of
                                 the Bankruptcy Code, including: (a) the actual and necessary costs and
Administrative Claims                                                                                            Article II, Section A
                                 expenses incurred on or after the Petition Date until and including the
                                 Effective Date of preserving the Estates and operating the Debtors’ business
                                 and (b) Allowed Professional Fee Claims. For the avoidance of doubt, any
                                 Cryptocurrency inadvertently deposited to the Debtors’ account(s) after the
                                 Petition Date shall be returned in full to the sender.

                                 Any Administrative Claim by a Professional for compensation for services
                                 rendered or reimbursement of expenses incurred by such Professional
Professional Fee Claims                                                                                          Article II, Section B
                                 through and including the Effective Date to the extent such fees and expenses
                                 have not been paid pursuant to an order of the Bankruptcy Court.

                                 Any Claim of a Governmental Unit against a Debtor of the kind specified in
Priority Tax Claims                                                                                              Article II, Section C
                                 section 507(a)(8) of the Bankruptcy Code.

                 F.       How will my Account be transitioned to FTX US?

                  The Debtors will distribute a Customer Migration Protocol providing for the transition of Account Holders
        to the FTX US platform and delivery of Plan distributions to such Holders’ FTX US Accounts that will describe the
        transition process in further detail. It is currently anticipated that all Account Holders and Holders of OpCo General
        Unsecured Claims will transition to FTX US subject to their successful completion of FTX US’s “Know Your
        Customer” process and other procedural requirements. A separate notice will be sent to all Account Holders through
        the Voyager platform once the Customer Migration Protocol has been agreed upon by the Debtors and the Purchaser.
        This notice will describe the steps that Account Holders and Holders of Allowed OpCo General Unsecured Claims
        must take to transition their accounts to FTX US. All Account Holders and Holders of Allowed OpCo General
        Unsecured Claims should review this notice as soon as it becomes available.

                 G.       What if I am unable or unwilling to transition my Account to FTX US?

                  We expect that virtually all Account Holders will be transitioning to FTX US. In the event that a customer
        is not successfully transitioned to FTX US, such customer will not be eligible for the $50 Account Credit, and will not


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receive the Transferred Cryptocurrency Value in kind. They will instead receive a Cash distribution from the Debtor’s
estates as and when such distributions are made pursuant to the Bankruptcy Code.

         H.        What are the sources of Consideration and other consideration required to fund the Plan?

         The Plan will be funded with the proceeds of the Sale Transaction, which the Debtors value at approximately
$1.422 billion, consisting primarily of: (a) the value of all Voyager cryptocurrency as of a to be determined date,
which, at current market prices as of September 26, 2022, is estimated to be $1.311 billion, plus (b) additional
consideration estimated as providing at least approximately $111 million of incremental value that includes (i) a cash
payment of $51 million, (ii) an earn out of up to $20 million, (iii) the right of Transferred Creditors to receive a $50
Account Credit, (iv) a cash payment equal to the Acquired Cash, and (v) the transfer to the Debtors of all right, title,
and interest in the Alameda Loan Facility Claims.

         I.        Are any regulatory approvals required to consummate the Sale Transaction and confirm the
                   Plan?

        Voyager currently maintains state money transmission licenses or their equivalents (each, a “Money
Transmission License”) in seventeen (17) states,13 and has license applications pending14 in eighteen (18) states.15

          The Debtors have engaged with the state banking departments throughout the bankruptcy process and will
continue to actively do so with the goal of ensuring that the Sale Transaction and the Plan provides for compliance by
Voyager and the Purchaser, as applicable, with state money transmission laws as of the consummation of the Sale
Transaction. The state banking departments may have broad discretion as to the approvals required in connection
with the Sale Transaction, thus it is not possible to predict with certainty the scope of such approvals, whether they
will ultimately be granted, and the expected timeframes of the state banking departments’ determinations. There are
unresolved questions of law with respect to the intersection of state money transmission statutes and the Bankruptcy
Code and the answers to those questions may impact the ability of the state banking departments to require certain
approvals with respect to consummation of the Sale Transaction and confirmation of the Plan.

         As an initial matter, it is important to note that Money Transmission Licenses are not assets that can be
purchased or transferred; they are specific to the entity to which they are issued, and thus an acquisition of a licensed
entity must be conducted through a stock purchase or merger in which the licensed entity is the surviving entity for
the licenses to remain in effect.

          The Purchaser maintains money transmission licenses in most, but not all, of the states in which it operates.
Pursuant to the Asset Purchase Agreement, the Purchaser will not acquire Voyager’s Money Transmission Licenses;
rather, the Asset Purchase Agreement provides for the purchase by Purchaser of the Cryptocurrency of Voyager and
the transition of Account Holders and General Unsecured Creditors to FTX US Accounts, subject to the terms and



13   The Alaska Division of Banking and Securities suspended Voyager’s license on July 6, 2022 and subsequently reversed such
     suspension on July 14, 2022. There is a risk that one or more additional state banking departments may choose to suspend
     Voyager’s Money Transmission Licenses going forward.

14   On July 17, 2022, the North Dakota Department of Financial Institutions notified Voyager that it required Voyager’s pending
     money transmitter license application be withdrawn on grounds that it would not approve an application with an active
     bankruptcy filing. There is a risk that one or more additional state banking departments with which Voyager has pending
     applications may impose similar restrictions on Voyager going forward.

     The Debtors have two applications pending in New York: (a) a money transmitter license application and (b) a virtual currency
     business activity license application or “Bitlicense.” Voyager Digital NY, LLC, a non-operational affiliate of the Debtors,
     filed such applications.

15   Voyager also maintains a registration as a “money services business” with the Financial Crimes Enforcement Network
     (“FinCEN”) pursuant to federal money transmission laws. A change in ownership of an entity registered with FinCEN requires
     notice to FinCEN following consummation of the relevant transaction, but does not require prior regulatory approval.




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conditions set forth in the Asset Purchase Agreement. State banking departments may seek to limit or condition the
Purchaser’s acquisition of the Voyager assets to the extent that regulatory concerns are identified.

         Following consummation of the Sale Transaction, Voyager will take steps to (i) withdraw those money
transmission license applications that are pending with state banking departments and (ii) surrender those Money
Transmission Licenses it holds (the “Licensing Wind-Down Process”). Such Licensing Wind-Down Process will
require notice to, and in some cases approval by, those state banking departments in states where the Debtors have
applications pending or are licensed pursuant to the requirements set forth in each state money transmission statute
and as otherwise required by the relevant state banking departments.16

          J.        What happens to my recovery if the Plan is not confirmed or does not go effective?

         In the event that the Plan is not confirmed or does not go effective, there is no assurance that the Debtors will
be able to consummate the Restructuring Transactions. It is possible that any alternative transaction may provide
Holders of Claims and Interests with less than they would have received pursuant to the Plan. For a more detailed
description of the consequences of an extended chapter 11 case, or of a liquidation scenario, see Art. X.B of this
Disclosure Statement, titled “Best Interests of Creditors—Liquidation Analysis” and the Liquidation Analysis attached
hereto as Exhibit B.

          K.        If the Plan provides that I get a distribution, do I get it upon Confirmation or when the Plan
                    goes effective, and what is meant by “Confirmation,” “Effective Date,” and “Consummation”?

          “Confirmation” of the Plan refers to approval of the Plan by the Bankruptcy Court. Confirmation of the Plan
does not guarantee that you will receive the distribution indicated under the Plan. After Confirmation of the Plan by
the Bankruptcy Court, there are conditions that need to be satisfied or waived so that the Plan can go effective. Initial
distributions to Holders of Allowed Claims will only be made on the date the Plan becomes effective—the “Effective
Date”—or as soon as practicable thereafter, as specified in the Plan. See Article IX of the Plan for a description of
the conditions precedent to consummation of the Plan.

          L.        Is there potential litigation related to the Plan?

         Parties in interest may object to the approval of this Disclosure Statement and may object to Confirmation of
the Plan as well, which could potentially lead to litigation. See Article VIII.D.2 of this Disclosure Statement titled
“The Wind-Down Debtors May Be Adversely Affected by Potential Litigation, Including Litigation Arising Out of
the Chapter 11 Cases as well as Ongoing Regulatory Investigations.” for further discussion on this issue.

         As of the Petition Date, the Debtors were parties to certain litigation matters that arose in the ordinary course
of operating their business and could become parties to additional litigation in the future. Although the Debtors have
disputed, are disputing, or will dispute in the future the amounts asserted by such litigation counterparties, to the extent
these parties are ultimately entitled to a higher amount than is reflected in the amounts estimated by the Debtors herein,
the value of recoveries to Account Holders and Holders of General Unsecured Claims could change, and such changes
could be material.

         The Debtors may also reject Executory Contracts and Unexpired Leases, which may result in parties asserting
General Unsecured Claims for rejection damages. An increase in the estimated amount of rejection damages claims
could result in reduced recoveries for Account Holders and Holders of General Unsecured Claims. Finally, the
Debtors may object to certain Proofs of Claim, and any such objections ultimately could cause the total amount of
Allowed General Unsecured Claims to change. These changes could affect recoveries to Account Holders and Holders
of General Unsecured Claims, and such changes could be material.




16   The state approval process for the surrender of a license typically takes several months.




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         M.       Will there be releases and exculpation granted to parties in interest as part of the Plan?

         Yes, Article VIII of the Plan proposes to provide certain releases to the Released Parties and also provides
for exculpation of the Exculpated Parties. The release, exculpation, and injunction provisions that are contained in
the Plan are copied in Article IV of this Disclosure Statement, entitled “Releases.”

         On the Petition Date, the board of directors of Voyager Digital, LLC voted to appoint two independent
directors to the board of Voyager Digital, LLC and to establish a special committee (“Special Committee”). The
Special Committee is comprised of the newly appointed independent directors and was established to investigate
certain historical transactions, including the facts and circumstances related to the Debtors’ loan to 3AC
(the “Investigation”). On August 4, 2022, the Bankruptcy Court entered an order approving the appointment of Quinn
Emmanuel Urquhart & Sullivan, LLP as legal counsel to the Special Committee (the “Special Committee Counsel”)
with the mandate to conduct the Investigation. The Special Committee’s investigation, and the settlements reached
by the Special Committee that are incorporated into the Plan, are described in more detail in Article IV(2)(b)(i)-(ii)
below. As described in Article IV(2)(b)(i)-(ii), the potential estate claims the Special Committee identified as non-
frivolous are being settled pursuant to the Plan on the terms set forth herein.

         The Released Parties and the Exculpated Parties have made substantial and valuable contributions to the
Debtors’ chapter 11 process through, among other things, efforts to market and sell the Debtors’ assets and negotiate
and implement the Plan, which will maximize value for the benefit of all parties in interest. The Debtors’ Chief
Executive Officer, Mr. Ehrlich (“CEO”) and Chief Commercial Officer (and former Chief Financial Officer), Mr.
Psaropolous (“CCO”) are also making additional contributions to the Plan pursuant to the settlements reached with
the Special Committee. Accordingly, each of the Released Parties and the Exculpated Parties warrants the benefit of
the release and exculpation provisions.

         The Debtors believe that the releases and exculpations in the Plan are necessary and appropriate and meet
the requisite legal standard promulgated by the United States Court of Appeals for the Second Circuit. Moreover, the
Debtors will present evidence at the Confirmation Hearing to demonstrate the basis for and propriety of the release
and exculpation provisions.

        ALL HOLDERS OF CLAIMS THAT (I) VOTE TO ACCEPT THE PLAN AND WHO
AFFIRMATIVELY OPT INTO THE RELEASES PROVIDED BY THE PLAN; (II) VOTE TO REJECT THE
PLAN AND WHO AFFIRMATIVELY OPT INTO THE RELEASES PROVIDED BY THE PLAN;
OR (III) ABSTAIN FROM VOTING ON THE PLAN AND AFFIRMATIVELY OPT INTO TO THE
RELEASES PROVIDED IN THE PLAN WILL BE DEEMED TO HAVE EXPRESSLY,
UNCONDITIONALLY, GENERALLY, INDIVIDUALLY, AND COLLECTIVELY RELEASED AND
DISCHARGED ALL CLAIMS AND CAUSES OF ACTION AGAINST THE RELEASED PARTIES,
INCLUDING THE DEBTORS OR THE WIND-DOWN DEBTORS, AS APPLICABLE.

         N.       What is the deadline to vote on the Plan?

         The Voting Deadline is November 25, 2022, at 4:00 p.m. (prevailing Eastern Time).

         O.       How do I vote for or against the Plan?

          Detailed instructions regarding how to vote on the Plan are contained on the ballots distributed to Holders of
Claims that are entitled to vote on the Plan. To be counted as votes to accept or reject the Plan, each ballot (a “Ballot”)
must be properly executed, completed, and delivered in accordance with the instructions provided such that a vote
cast is actually received before the Voting Deadline by Stretto. See Article IX of this Disclosure Statement, entitled
“Solicitation and Voting Procedures.”

 IF YOU HAVE ANY QUESTIONS ABOUT THE SOLICITATION OR VOTING PROCESS, PLEASE
 CONTACT THE CLAIMS, NOTICING, AND SOLICITATION AGENT. ANY BALLOT RECEIVED
 AFTER THE VOTING DEADLINE OR OTHERWISE NOT IN COMPLIANCE WITH THE VOTING
 INSTRUCTIONS WILL NOT BE COUNTED EXCEPT AS DETERMINED BY THE DEBTORS.




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         P.       Why is the Bankruptcy Court holding a Confirmation Hearing?

         Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a hearing on Confirmation of
the Plan and recognizes that any party in interest may object to Confirmation of the Plan.

         Q.       When is the Confirmation Hearing set to occur?

         The Debtors will request that the Bankruptcy Court schedule the Confirmation Hearing for Tuesday,
December 6, 2022, at 11:00 a.m. (prevailing Eastern Time). The Confirmation Hearing may be adjourned from time
to time without further notice. The Bankruptcy Court, in its discretion and prior to the Confirmation Hearing, may
put in place additional procedures governing the Confirmation Hearing. Subject to section 1127 of the Bankruptcy
Code, the Plan may be modified, if necessary, prior to, during, or as a result of the Confirmation Hearing, without
further notice to parties in interest.

         Objections to Confirmation of the Plan must be filed and served on the Debtors, and certain other parties, by
November 25, 2022, at 4:00 p.m. (prevailing Eastern Time) in accordance with the notice of the Confirmation Hearing
that accompanies this Disclosure Statement.

         The Debtors will publish the notice of the Confirmation Hearing, which will contain the deadline for
objections to the Plan and the date and time of the Confirmation Hearing, in The New York Times (national edition)
and Financial Times to provide notification to those persons who may not receive notice by mail. The Debtors may
also publish the notice of the Confirmation Hearing in such trade or other publications as the Debtors may choose.

         R.       What is the purpose of the Confirmation Hearing?

          The confirmation of a plan of reorganization by a bankruptcy court binds the debtor, any issuer of securities
under a plan of reorganization, any person acquiring property under a plan of reorganization, any creditor or equity
interest holder of a debtor, and any other person or entity as may be ordered by the bankruptcy court in accordance
with the applicable provisions of the Bankruptcy Code. Subject to certain limited exceptions, the order issued by the
bankruptcy court confirming a plan of reorganization discharges a debtor from any debt that arose before the
confirmation of such plan of reorganization and provides for the treatment of such debt in accordance with the terms
of the confirmed plan of reorganization.

         S.       What is the effect of the Plan on the Debtors’ ongoing business?

         The Debtors are liquidating under chapter 11 of the Bankruptcy Code. Following Confirmation, the Plan
will be consummated on the Effective Date. On or after the Effective Date, and unless otherwise provided in the Plan,
the Wind-Down Trustee will commence the wind down of the Wind-Down Debtors in accordance with the terms of
the Plan. Additionally, upon the Effective Date, all actions contemplated by the Plan will be deemed authorized and
approved.

         T.       What steps did the Debtors take to evaluate alternatives to a chapter 11 filing?

         As described in Article VI herein, as well as in the Declaration of Stephen Ehrlich, Chief Executive Officer
of the Debtors, in Support of Chapter 11 Petitions and First Day Motions [Docket No. 15] (the “First Day
Declaration”), prior to the Petition Date, the Debtors evaluated numerous potential alternatives, including options
relating to mergers, sales, capital raising, and consensual recapitalizations, to provide stability and requisite
capitalization to their business enterprise in light of significant market volatility.

         U.       Who do I contact if I have additional questions with respect to this Disclosure Statement or
                  the Plan?

        If you have any questions regarding this Disclosure Statement or the Plan, please contact the Claims,
Noticing, and Solicitation Agent:

         By electronic mail at:
         voyagerinquiries@stretto.com with a reference to “In re Voyager – Solicitation Inquiry” in the subject line.



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         By telephone at:
         (855) 473-8665 (Toll-Free) or (949) 271-6507 (International)

         Copies of the Plan, this Disclosure Statement, and any other publicly filed documents in these Chapter 11
Cases are available upon written request to the Debtors’ Claims, Noticing, and Solicitation Agent at the address above
or by downloading the exhibits and documents from the website of the Debtors’ Claims, Noticing, and Solicitation
Agent at http://cases.stretto.com/Voyager (free of charge) or the Bankruptcy Court’s website at
https://www.nysb.uscourts.gov/ecf-and-pacer-information (for a fee).

IV.      THE DEBTORS’ PLAN

         A.       The Plan.

        The Plan contemplates liquidating the Debtors’ business and remaining assets under chapter 11 of the
Bankruptcy Code. The Plan contemplates the following key terms, among others described herein and therein:

                       1.   General Settlement of Claims and Interests

          Pursuant to section 1123 of the Bankruptcy Code, Bankruptcy Rule 9019 (as applicable), and in consideration
for the classification, distributions, releases, and other benefits provided under the Plan, upon the Effective Date, the
provisions of the Plan shall constitute a good-faith compromise and settlement of all Claims, Interests, Causes of
Action, and controversies released, settled, compromised, or otherwise resolved pursuant to the Plan. The Plan shall
be deemed a motion to approve the good-faith compromise and settlement of all such Claims, Interests, Causes of
Action, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute
the Bankruptcy Court’s approval of such compromise and settlement, as well as a finding by the Bankruptcy Court
that such settlement and compromise is fair, equitable, reasonable, and in the best interests of the Debtors and their
Estates. Subject to Article VI of the Plan, all distributions made to Holders of Allowed Claims and Allowed Interests
(as applicable) in any Class are intended to be and shall be final.

          The Debtors are working with the Committee (as defined in Article VII.C hereof) and other parties in interest
to resolve certain open issues and controversies, which may result in a settlement or settlements pursuant to
Bankruptcy Rule 9019 and may be included in the Plan. The Debtors believe that resolution of these issues or
controversies in advance of the Confirmation Hearing will facilitate closure to the Chapter 11 Cases and a more
efficient wind down of the Debtors. The Plan may be modified prior to the Confirmation Hearing to incorporate any
number of resolutions of the unresolved controversies. Any such resolution will be negotiated at arm’s-length with
the advisors representing the affected parties.

                       2.   Recoveries to Certain Holders of Claims and Interests

          The recoveries to Holders of Claims and Interests is described in Article III.D of this Disclosure Statement,
entitled “What will I receive from the Debtors if the Plan is consummated?”

                       3.   Releases

         The Plan contains certain releases, as described in Article III.M of this Disclosure Statement, entitled “Will
there be releases and exculpation granted to parties in interest as part of the Plan?” The release, exculpation, and
injunction provisions that are contained in the Plan are copied in pertinent part below.

         “Related Party” means, with respect to any Entity, in each case in its capacity as such with respect to such
         Entity, such Entity’s current and former directors, managers, officers, investment committee members,
         special committee members, equity holders (regardless of whether such interests are held directly or
         indirectly), affiliated investment funds or investment vehicles, managed accounts or funds, predecessors,
         participants, successors, assigns, subsidiaries, affiliates, partners, limited partners, general partners,
         principals, members, management companies, fund advisors or managers, employees, agents, trustees,
         advisory board members, financial advisors, attorneys, accountants, investment bankers, consultants,
         representatives, and other professionals and advisors.



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        “Released Parties” means, collectively, in each case in its capacity as such: (a) the Debtors; (b) the Wind-
        Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Purchaser Parties; (e)
        Alameda and each of its Related Parties; (f) each of the Released Professionals; and (g) each of the Released
        Voyager Employees (subject to the limitations contained in Article IV.E and Article IV.F of the Plan).

        “Released Professionals” means the following professionals retained by the Debtors, the Committee, or the
        Purchaser (as applicable): (i) Kirkland & Ellis LLP; (ii) Moelis & Company LLC; (iii) Berkeley Research
        Group, LLC; (iv) Bankruptcy Management Solutions, Inc. d/b/a Stretto; (v) Quinn Emanuel Urquhart &
        Sullivan LLP; (vi) Fasken Martineau DuMoulin LLP; (vii) Campbells Legal (BVI); (viii) McDermott Will
        & Emery LLP; (ix) FTI Consulting, Inc.; (x) Epiq Corporate Restructuring, LLC; (xi) Cassels, Brock &
        Blackwell LLP; (xii) Paul Hastings LLP; (xiii) Harney Westwood & Riegels LP (BVI); (xiv) Day Pitney
        LLP (solely in their capacity as counsel to the Debtors); (xv) Jenner & Block LLP; (xvi) Seyfarth Shaw LLP;
        (xvii) Alvarez & Marsal Holdings, LLC; (xviii) Blake, Cassels & Graydon LLP; and (xix) Sullivan &
        Cromwell LLP.

        “Released Voyager Employees” means all directors, officers, and Persons employed by each of the Debtors
        and their Affiliates serving in such capacity on or after the Petition Date but before the Effective Date (subject
        to the limitations contained in Article IV.E and Article IV.F of the Plan).

        “Releasing Parties” means, collectively, in each case in its capacity as such: (a) the Debtors; (b) the Wind-
        Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Released Professionals;
        (e) each of the Released Voyager Employees; (f) Alameda and each of its Related Parties; (g) each of the
        Purchaser Parties; (h) all Holders of Claims that vote to accept the Plan and affirmatively opt into the releases
        provided by the Plan; (i) all Holders of Claims that vote to reject the Plan and affirmatively opt into the
        releases provided by the Plan; and (j) all Holders of Claims or Interests that abstain from voting (or are
        otherwise not entitled to vote) on the Plan and affirmatively opt into the releases provided by the Plan.

                          (a)       Releases by the Debtors.

         Notwithstanding anything contained in the Plan to the contrary, on and after the Effective Date, in
exchange for good and valuable consideration, the adequacy of which is hereby confirmed, each Released Party
is hereby conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by each
and all of the Debtors, the Wind-Down Debtors, and their Estates, the Wind-Down Entity, and in each case on
behalf of themselves and their respective successors, assigns, and representatives, and any and all other Entities
who may purport to assert any Cause of Action, directly or derivatively, by, through, for, or because of, the
foregoing Entities, from any and all Causes of Action, including any derivative claims, asserted or assertable
on behalf of any of the Debtors, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort, or otherwise, that the Debtors would have been
legally entitled to assert in their own right (whether individually or collectively) or on behalf of the Holder of
any Claim against, or Interest in, a Debtor, based on or relating to, or in any manner arising from, in whole or
in part, the Debtors (including the management, ownership, or operation thereof), their capital structure, the
purchase, sale, or rescission of the purchase or sale of any Security of the Debtors, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Chapter 11 Cases and related adversary
proceedings, the Alameda Loan Facility, the Debtors’ out-of-court restructuring efforts, intercompany
transactions between or among a Debtor and another Debtor, the formulation, preparation, dissemination,
negotiation, filing, or consummation of the Definitive Documents or any Restructuring Transaction, contract,
instrument, release, or other agreement or document created or entered into in connection with the Definitive
Documents, the pursuit of consummation of the Plan, the administration and implementation of the
Restructuring Transactions or upon any other act or omission, transaction, agreement, event, or other
occurrence related to the Debtors taking place on or before the Effective Date; provided that, subject to the
D&O Settlement, nothing in Article VIII.A of the Plan shall be construed to release the Released Parties from
actual fraud, willful misconduct, or gross negligence as determined by a Final Order.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
section 1123(b) of the Bankruptcy Code and Bankruptcy Rule 9019, of the releases described in Article VIII.A
of the Plan by the Debtors, which includes by reference each of the related provisions and definitions contained


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in the Plan, and further, shall constitute the Bankruptcy Court’s finding that each release described in Article
VIII.A of the Plan is: (1) in exchange for the good and valuable consideration provided by the Released Parties;
(2) a good-faith settlement and compromise of such Causes of Action; (3) in the best interests of the Debtors
and all Holders of Claims and Interests; (4) fair, equitable, and reasonable; (5) given and made after due notice
and opportunity for hearing; (6) a sound exercise of the Debtors’ business judgment; and (7) except to the
extent contemplated by Article IV.E and Article IV.F of the Plan, a bar to any of the Debtors or Wind-Down
Debtors or their respective Estates or Wind-Down Entity asserting any Cause of Action related thereto, of any
kind, against any of the Released Parties or their property.

         Notwithstanding anything to the contrary contained herein, nothing in the Plan shall release, waive,
or otherwise limit the (i) rights, duties, or obligations of the Purchaser under the Asset Purchase Agreement
and (ii) the Non-Released D&O Claims, but such Non-Released D&O Claims shall remain subject to the
limitations contained in Article IV.E and Article IV.F of the Plan.

                          (b)      Release by Holders of Claims or Interests.

         Except as expressly set forth in the Plan, effective on the Effective Date, in exchange for good and
valuable consideration, the adequacy of which is hereby confirmed, each Released Party is hereby conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by each and all of the Releasing
Parties, in each case on behalf of themselves and their respective successors, assigns, and representatives, and
any and all other Entities who may purport to assert any Cause of Action, from any and all Causes of Action,
whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in
law, equity, contract, tort, or otherwise, including any derivative claims asserted or assertable on behalf of any
of the Debtors, that such Entity would have been legally entitled to assert in its own right (whether individually
or collectively or on behalf of the Holder of any Claim against, or Interest in, a Debtor or other Entity), based
on or relating to, or in any manner arising from, in whole or in part, the Debtors (including the management,
ownership, or operation thereof), their capital structure, the purchase, sale, or rescission of the purchase or
sale of any security of the Debtors, the subject matter of, or the transactions or events giving rise to, any Claim
or Interest that is treated in the Plan, the business or contractual arrangements between any Debtor and any
Released Party, the Alameda Loan Facility, the Debtors’ out-of-court restructuring efforts, intercompany
transactions between or among a Debtor and another Debtor, the formulation, preparation, dissemination,
negotiation, filing, or consummation of the Definitive Documents or any Restructuring Transaction, contract,
instrument, release, or other agreement or document created or entered into in connection with the Definitive
Documents, the pursuit of consummation of the Plan, the administration and implementation of the
Restructuring Transactions, or upon any other act or omission, transaction, agreement, event, or other
occurrence related to the Debtors taking place on or before the Effective Date, provided that nothing in Article
VIII.B of the Plan shall be construed to release the Released Parties from actual fraud, willful misconduct, or
gross negligence as determined by a Final Order.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in Article VIII.B of the Plan, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy
Court’s finding that each release described in Article VIII.B of the Plan is: (1) in exchange for the good and
valuable consideration provided by the Released Parties; (2) a good-faith settlement and compromise of such
Causes of Action; (3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair,
equitable, and reasonable; (5) given and made after due notice and opportunity for hearing; (6) a sound exercise
of the Debtors’ business judgment; and (7) except to the extent contemplated by Article IV.E and Article IV.F
of the Plan, a bar to any of the Releasing Parties or the Debtors or Wind-Down Debtors or their respective
Estates or Wind-Down Entity asserting any Cause of Action related thereto, of any kind, against any of the
Released Parties or their property.

         For the avoidance of doubt, any Contributed Third-Party Claims that Contributing Claimants elect
on their ballots or opt-in forms to contribute to the Wind-Down Entity are subject to the release and exculpation
provisions of this Plan to the extent they may be brought against Released Parties or Exculpated Parties.




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                           (c)      Exculpation

         Effective as of the Effective Date, to the fullest extent permissible under applicable law and without
affecting or limiting either the Debtor release or the third-party release, and except as otherwise specifically
provided in the Plan, no Exculpated Party shall have or incur, and each Exculpated Party is exculpated from
any Cause of Action for any act or omission arising on or after the Petition Date and prior to the Effective Date
based on the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation or filing, or
consummation of the Disclosure Statement, the Plan, the Special Committee Investigation, any Definitive
Documents or any Restructuring Transaction, contract, instrument, release, or other agreement or document
created or entered into in connection with the Disclosure Statement or the Plan, the filing of the Chapter 11
Cases, the pursuit of Confirmation, the pursuit of consummation of the Plan, the administration and
implementation of the Plan, including the issuance of Securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement (including, for the avoidance of doubt, providing any
legal opinion requested by any Entity regarding any transaction, contract, instrument, document, or other
agreement contemplated by the Plan or the reliance by any Exculpated Party on the Plan or the Confirmation
Order in lieu of such legal opinion), except for Causes of Action related to any act or omission that is determined
in a Final Order of a court of competent jurisdiction to have constituted actual fraud, willful misconduct, or
gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the advice of counsel
with respect to their duties and responsibilities pursuant to the Plan.

         The Exculpated Parties have, and upon Consummation of the Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the solicitation of votes
and distribution of consideration pursuant to the Plan and, therefore, are not, and on account of such
distributions shall not be, liable at any time for the violation of any applicable law, rule, or regulation governing
the solicitation of acceptances or rejections of the Plan or such distributions made pursuant to the Plan.

                           (d)      Injunction.

          Except as otherwise provided in the Plan or the Confirmation Order, all Entities who have held, hold,
or may hold Claims, Interests, Causes of Action, or liabilities that: (a) are subject to compromise and settlement
pursuant to the terms of the Plan; (b) have been released pursuant to Article VIII.A of the Plan; (c) have been
released pursuant to Article VIII.B of the Plan, (d) are subject to exculpation pursuant to Article VIII.C of the
Plan, or (e) are otherwise discharged, satisfied, stayed, or terminated pursuant to the terms of the Plan, are
permanently enjoined and precluded, from and after the Effective Date, from commencing or continuing in
any manner, any action or other proceeding, including on account of any Claims, Interests, Causes of Action,
or liabilities that have been compromised or settled against the Debtors, the Wind-Down Debtors, the Wind-
Down Entity, or any Entity so released or exculpated (or the property or estate of any Entity, directly or
indirectly, so released or exculpated) on account of, or in connection with or with respect to, any discharged,
released, settled, compromised, or exculpated Claims, Interests, Causes of Action, or liabilities.

        Upon entry of the Confirmation Order, all Holders of Claims and Interests and their respective current
and former directors, managers, officers, principals, predecessors, successors, employees, agents, and direct
and indirect Affiliates shall be enjoined from taking any actions to interfere with the implementation or
Consummation of the Plan. Each Holder of an Allowed Claim or Allowed Interest, as applicable, by accepting,
or being eligible to accept, distributions under the Plan, shall be deemed to have consented to the injunction
provisions set forth in Article VIII.D of the Plan.

        For more detail, see Article VIII of the Plan, entitled “Effect of Confirmation of the Plan” which is
incorporated herein by reference.

                      4.   Management Transition Plan

         Pursuant to the terms of the Plan, the Debtors shall implement the Management Transition Plan, the terms of
which shall be reasonably acceptable to Purchaser and the Committee and included in the Plan Supplement. The
Management Transition Plan shall help ensure that employees are available to provide transition services to the
Debtors to effectuate the Sale Transaction and to wind down the Debtors’ Estates.



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                       5.   Non-Released D&O Claims

           Any Claims or Causes of Action held by the Debtors or their respective estates against the Debtors’ Chief
Executive Officer and/or Chief Commercial Officer that are expressly related to approval of the 3AC Loan are not
released pursuant to the Plan (collectively, the “Non-Released D&O Claims”), and shall be assigned and transferred
to the Wind-Down Entity to be pursued, settled, or resolved by the Wind-Down Entity in accordance with the terms
of Article IV.F of this Plan and the D&O Settlement Agreements and subject to the Wind-Down Reserve. Any claims
against the D&O Liability Insurance Policies that the Debtors’ insurance transactions within the 90 days prior to the
Petition Date are avoidable under the Bankruptcy Code, applicable state law, or both (the “Non-Released Insurance
Claims”) shall be assigned and transferred to the Wind-Down Entity to be pursued, settled, or resolved solely by the
Wind-Down Entity in accordance with the terms of Article IV.F of this Plan and the D&O Settlement Agreements
and subject to the Non-Released D&O Claim Budget. The Wind-Down Entity shall be a successor to the Debtors’
rights, title, and interest in any Non-Released D&O Claims and Non-Released Insurance Claims, the Wind-Down
Entity shall have standing to pursue the Non-Released D&O Claims and the Non-Released Insurance Claims in
accordance with the terms of Article IV.F of this Plan and the D&O Settlement Agreements; provided that: (i) any
recovery by the Wind-Down Entity (and the beneficiaries thereof) on account of any Non-Released D&O Claim,
including in each case by way of settlement or judgment, shall be satisfied solely by and to the extent of the proceeds
of the Debtors’ available D&O Liability Insurance Policies (and/or from the D&O Carriers directly) after payment
from such D&O Liability Insurance Policies of any and all covered costs and expenses incurred in connection with
the defense of the Non-Released D&O Claims; (ii) any party, including any trustee or any beneficiary of the Wind-
Down Entity, seeking to execute, garnish, or otherwise attempt to collect on any settlement of or judgment in the Non-
Released D&O Claims shall do so solely upon available insurance coverage from the Debtors’ available D&O
Liability Insurance Policies; and (iii) no party shall (a) record any judgment against the Chief Executive Officer or
Chief Commercial Officer, or (b) otherwise attempt to collect, directly or indirectly, from the personal assets of the
Chief Executive Officer or Chief Commercial Officer with respect to the Non-Released D&O Claims. For the
avoidance of doubt, this provision does not enjoin, limit, or impair direct claims held by third parties against the
Debtors’ Chief Executive Officer or Chief Commercial Officer (if any) other than any direct claims held by Holders
of Claims or Interests that opt into the third party release in Article VIII.B of this Plan or any Contributed Third- Party
Claims that Contributing Claimants elect on their ballots or opt-in forms to contribute to the Wind-Down Entity, all
of which are subject to the release and exculpation provisions of this Plan to the extent they may be brought against
Released Parties or Exculpated Parties. Only upon the occurrence of the earlier of (x) a release being given as part of
any later settlement of the Non-Released D&O Claims and/or the Non-Released Insurance Claims; (y) final resolution
of any coverage claims asserted against the Debtors’ available D&O Liability Insurance Policies on account of the
Non-Released D&O Claims and/or the Non-Released Insurance Claims; or (z) exhaustion of the available insurance
coverage under the D&O Liability Insurance Policies, the Non-Released D&O Claims and the Non-Released
Insurance Claims shall be released and discharged without the need for further action or Bankruptcy Court order. For
the avoidance of doubt, any release of the Non-Released D&O Claims and/or the Non-Released Insurance Claims
shall not become effective until one of the three conditions stated in the preceding sentence above has been met.

          The Debtors currently maintain $20 million in total D&O insurance coverage consisting of: (i) a $5 million
primary policy with XL Specialty Insurance Company (the “XL Primary Policy”), (ii) a $5 million excess policy
issued by Euclid Financial and Relm Insurance Ltd. (the “Euclid/Relm Excess Policy”), and (iii) a $10 million excess
policy issued again by XL Specialty Insurance Company (the “XL Excess Policy”). The Debtors’ D&O insurance
program provides coverage to the directors and officers of Voyager and its subsidiaries and will convert to a six-year
tail period upon expiration or a change in control.

                       6.   Corporate Structure Upon Emergence

         On the Plan Effective Date, the Wind-Down Entity shall be formed for the benefit of the Wind-Down Entity
Beneficiaries, as determined by the Wind-Down Entity Agreement, to implement distributions of the Wind-Down
Entity Assets. The Wind-Down Entity shall have no objective to continue or engage in the conduct of a trade or
business, except to the extent reasonably necessary to, and consistent with, the purpose of the Wind-Down Entity.
Upon the transfer of the Wind-Down Entity Assets pursuant to the Wind-Down Entity Agreement, the Debtors shall
have no reversionary or further interest in or with respect to the Wind-Down Entity Assets. For all federal income tax
purposes, the Wind-Down Entity Beneficiaries will be treated as grantors and owners thereof, and it is intended that
the Wind-Down Entity be classified as a liquidating trust under Section 301.7701-4 of the Treasury Regulations.



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Accordingly, for federal income tax purposes, the transfer of assets to the Wind-Down Entity shall be deemed to occur
as (i) a first-step transfer of the Wind-Down Entity Assets to the Holders of Secured Tax Claims, Other Priority
Claims, Account Holder Claims, or General Unsecured Claims, as applicable, and (ii) a second-step transfer by such
Holders to the Wind-Down Entity. As a result, the beneficiaries of the Wind-Down Entity shall be treated for U.S.
federal income tax purposes as the grantors and owners of their respective share of the Wind-Down Entity Assets.
The foregoing treatment shall also apply, to the extent permitted by applicable law, for state and local income tax
purposes.

         As soon as possible after the transfer of the Wind-Down Entity Assets to the Wind-Down Entity, Wind-
Down Trustee shall make a good faith valuation of the Wind-Down Entity Assets. This valuation will be made
available from time to time, as relevant for tax reporting purposes. Each of the Debtors, the Wind-Down Trustee, and
the Holders of Claims receiving interests in the Wind-Down Entity shall take consistent positions with respect to the
valuation of the Wind-Down Entity Assets, and such valuations shall be utilized for all U.S. federal income tax
purposes. The Wind-Down Entity shall file annual information tax returns with the IRS as a grantor trust pursuant to
Treasury Regulations section 1.671-4(a) that will include information concerning certain items relating to the holding
or disposition (or deemed disposition) of the Wind-Down Entity Assets (e.g., income, gain, loss, deduction and credit).
Each Wind-Down Entity Beneficiary holding a beneficial interest in the Wind-Down Entity shall receive a copy of
the information returns and must report on its federal income tax return its share of all such items. The information
provided by the Wind-Down Entity will pertain to Wind-Down Entity Beneficiaries who receive their interests in the
Wind-Down Entity in connection with the Plan.

         The Wind-Down Entity shall, in an expeditious but orderly manner, make timely distributions to the
Wind-Down Entity Beneficiaries pursuant to the Plan and the Confirmation Order and not unduly prolong its duration.
The Wind-Down Entity shall be deemed a successor in interest to the Debtors. For the avoidance of doubt, the
Wind-Down Entity shall perform no actions other than receiving and distributing the Wind-Down Entity Assets, and
not for any other purpose (including conducting any claims reconciliation).

          The Wind-Down Trustee shall be the trustee responsible for executing the purpose of the Wind-Down Entity,
which shall continue to have all of the rights and powers granted to the Wind-Down Debtors as set forth in the Plan
and applicable non-bankruptcy law. The Wind-Down Trustee shall also have the rights, powers, and obligations set
forth in the Wind-Down Entity Agreement.

         B.       The Sale Transaction.

         The Debtors, led by Moelis, engaged in a thorough marketing process for the sale of all or substantially all
of the Debtors’ assets in accordance with the Bidding Procedures. The Debtors’ marketing process resulted in a sale
of substantially all assets to FTX US, and is described in Article VII.J of this Disclosure Statement, entitled “The Post-
Petition Sale Process.”

         C.      Means for Implementation of the Plan.

                       1.   Wind-Down Trust.

          On or after the Effective Date, the Wind-Down Trust will be established. The Wind-Down Trust shall be the
successor-in-interest to the Debtors, and the Wind-Down Trust shall be a successor to the Debtors’ rights, title, and
interest to the Wind-Down Trust Assets. The Wind-Down Trust will conduct no business operations and will be
charged with winding down the Debtors’ estates. The Wind-Down Trust shall be managed by the Wind-Down Trustee
and shall be subject to a Wind-Down Trust Oversight Committee. The Wind-Down Trust shall be administered in
accordance with the terms of the Wind-Down Trust Agreement and shall be subject to the Wind-Down Reserve and
the Non-Released D&O Claim Budget. For the avoidance of doubt, the Wind-Down Trust shall not have any right or
interest in any Cause of Action or Claim constituting an Acquired Asset.

         Prior to the Effective Date, any and all of the Debtors’ assets shall remain assets of the Estates pursuant to
section 1123(b)(3)(B) of the Bankruptcy Code and on the Effective Date the Wind-Down Trust Assets shall, subject
to the Wind-Down Trust Agreement, be transferred to and vest in the Wind-Down Trust or the Wind-Down Debtors,
as applicable. For the avoidance of doubt, to the extent not otherwise waived in writing, released, settled,
compromised, assigned or sold pursuant to a prior order or the Plan, the Wind-Down Entity specifically retains and


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reserves the right to assert, after the Effective Date, any and all of the Vested Causes of Action and related rights,
whether or not asserted as of the Effective Date, and all proceeds of the foregoing, subject to the terms of the Plan,
including without limitation Article IV.E and Article IV.F.

          Pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, only the Wind-Down Trust and the Wind-Down
Trustee shall have the right to pursue or not to pursue, or, subject to the terms hereof and the Wind-Down Trust
Agreement, compromise or settle any Wind-Down Trust Assets transferred to the Wind-Down Trust. On and after
the Effective Date, the Wind-Down Trust and the Wind-Down Trustee may, without further Bankruptcy Court
approval, commence, litigate, and settle any Vested Causes of Action or Claims relating to any Wind-Down Trust
Assets transferred to the Wind-Down Trust or rights to payment or Claims that belong to the Debtors as of the Effective
Date or are instituted by the Wind-Down Trust and Wind-Down Trustee on or after the Effective Date, except as
otherwise expressly provided herein and in the Wind-Down Trust Agreement. All of the Wind-Down Trust’s activities
shall be subject to the Wind-Down Reserve and the Non-Released D&O Claim Budget. The Wind-Down Trust shall
be entitled to enforce all defenses and counterclaims to all Claims asserted against the Debtors and their Estates,
including setoff, recoupment and any rights under section 502(d) of the Bankruptcy Code.

                      2.   Wind-Down Trustee and the Wind-Down Trust Oversight Committee Exculpation,
                           Indemnification, Insurance, and Liability Limitation.

        The Wind-Down Trustee, the Wind-Down Trust Oversight Committee, and all professionals retained by the
Wind-Down Trustee and the Wind-Down Trust Oversight Committee, each in their capacities as such, shall be deemed
exculpated and indemnified, except for fraud, willful misconduct, or gross negligence, in all respects by the Wind-
Down Debtors. The Wind-Down Trustee may obtain, on behalf of itself and the Wind-Down Trust Oversight
Committee, at the expense of the Wind-Down Debtors, commercially reasonable liability or other appropriate
insurance with respect to the indemnification obligations of the Wind-Down Debtors. The Wind-Down Trustee and
the Wind-Down Trust Oversight Committee may rely upon written information previously generated by the Debtors.

                      3.   Tax Returns.

          After the Effective Date, the Wind-Down Trustee shall complete and file all final or otherwise required
federal, state, and local tax returns for each of the Debtors and the Wind-Down Debtors, and, pursuant to section
505(b) of the Bankruptcy Code, may request an expedited determination of any unpaid tax liability of such Debtor or
its Estate for any tax incurred during the administration of such Debtor’s Chapter 11 Case, as determined under
applicable tax laws.

                      4.   Dissolution of the Wind-Down Debtors.

        Upon a certification to be Filed with the Bankruptcy Court by the Wind-Down Trustee of all distributions
having been made and completion of all its duties under the Plan and entry of a final decree closing the last of the
Chapter 11 Cases, the Wind-Down Debtors shall be deemed to be dissolved without any further action by the Wind-
Down Debtors, including the Filing of any documents with the secretary of state for the state in which the Wind-Down
Debtors is formed or any other jurisdiction. The Wind-Down Trustee, however, shall have authority to take all
necessary actions to dissolve the Wind-Down Debtors in and withdraw the Wind-Down Debtors from applicable
states.

                      5.   Statutory Committee and Cessation of Fee and Expense Payment

          On the Effective Date, any statutory committee appointed in the Chapter 11 Cases, including the Committee,
shall dissolve and members thereof shall be released and discharged from all rights and duties from or related to the
Chapter 11 Cases, except for the Filing of applications for compensation. The Wind-Down Debtors shall no longer
be responsible for paying any fees or expenses incurred by any statutory committee, including the Committee, after




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the Effective Date, except in connection with any fees or expenses for services rendered prior to the Effective Date
that are Allowed by the Bankruptcy Court.

                      6.   Customer Migration Protocol

        The Transferred Cryptocurrency Value will be determined prior to the Effective Date pursuant to the Asset
Purchase Agreement.

          As a general matter, the Customer Migration Protocol will provide that Purchaser will make initial
distributions to Transferred Creditors corresponding to their Pro Rata amounts of the Transferred Cryptocurrency
Value as contemplated in the Customer Migration Protocol. Subject to the conditions set forth in the Customer
Migration Protocol, if a Transferred Creditor has become a Transferred Creditor prior to one Business Day prior to
the Effective Date and FTX US supports the Cryptocurrency maintained by such Transferred Creditor in such
Transferred Creditor’s Account (e.g., BTC, ETH), Purchaser will credit to such Transferred Creditor’s FTX US
Account the Transferred Cryptocurrency Value in kind. Subject to the conditions set forth in the Customer Migration
Protocol, if (i) Purchaser does not support the Cryptocurrency maintained by a Transferred Creditor in such
Transferred Creditor’s Account, (ii) a Transferred Creditor did not maintain Cryptocurrency in an Account or (iii) a
Transferred Creditor becomes a Transferred Creditor after such date but before the final cut-off date 45 days after the
Effective Date as contemplated in the Customer Migration Protocol, Purchaser will credit to the FTX Account of such
Transferred Creditor USDC in an amount equal to the Transferred Cryptocurrency Value on a Pro Rata basis.

         Following such initial distributions to Transferred Creditors, the remaining Cash available on account of the
sale of Cryptocurrency to Purchaser under the Asset Purchase Agreement shall be paid by Purchaser to the Debtors
and applied by the Debtors to make initial distributions of Transferred Cryptocurrency Value to Holders of Allowed
Account Holder Claims and Allowed OpCo General Unsecured Claims that did not become Transferred Creditors by
the cut-off date provided in the Customer Migration Protocol.

         Purchaser shall have no responsibility to make any distributions other than the distributions to Transferred
Creditors of their Pro Rata share of Transferred Cryptocurrency Value as contemplated by the Customer Migration
Protocol. All other distributions shall be made by the Distribution Agent (other than Purchaser) or as the Distribution
Agent (other than Purchaser) shall otherwise determine.

                      7.   Election to Contribute Third-Party Claims

          Because aggregating all Contributed Third-Party Claims may enable the pursuit and settlement of such
litigation claims in a more efficient and effective manner, each Holder of a Claim or Interest may agree, by electing
on its ballot or opt-in form, to contribute its Contributed Third-Party Claims to the Wind-Down Entity. By electing
such option on its ballot or opt-in form, each Contributing Claimant agrees that, subject to the occurrence of the
Effective Date and the formation of the Wind-Down Entity, it will be deemed, without further action, (i) to have
irrevocably contributed its Contributed Third-Party Claims to the Wind-Down Entity, and (ii) to have agreed to
execute any documents reasonably requested by the Debtors or the Wind-Down Entity to memorialize and effectuate
such contribution. For the avoidance of doubt, any Contributed Third-Party Claims that Contributing Claimants elect
on their ballots or opt-in forms to contribute to the Wind-Down Entity are subject to the release and exculpation
provisions of this Plan to the extent they may be brought against Released Parties or Exculpated Parties.

          On the Effective Date, all Contributed Third-Party Claims will be irrevocably contributed to the Wind-Down
Entity and shall thereafter be Wind-Down Trust Assets for all purposes. In the event that a Contributed Third-Party
Claim is asserted or assertible against any Released Parties under the Plan, the Wind-Down Entity agrees not to pursue
such Contributed Third-Party Claims against such Released Parties, and such Contributed Third-Party Claim shall be
deemed released under the Plan. Except as set forth in the preceding sentence, no Person may rely on the absence of
a specific reference in the Plan, the Disclosure Statement, the Confirmation Order, the Wind-Down Trust Agreement,
the Plan Supplement, or any other document as any indication that the Wind-Down Trust will or will not pursue any
and all available Contributed Third-Party Claims against such Person. The Wind-Down Trust shall have, retain,
reserve, and be entitled to assert all Contributed Third-Party Claims fully to the same extent that the Contributing
Claimants could have asserted such claims prior to the Effective Date. For the avoidance of doubt, the Contributed




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Third-Party Claims shall not include the rights of any of the Contributing Claimants to receive the distributions under
the Plan on account of their Claims or Interests.

V.       THE DEBTORS’ BUSINESS OPERATIONS AND CAPITAL STRUCTURE

         A.        The Debtors’ Corporate Structure and History.

         Voyager was founded in 2018 by Stephen Ehrlich, Philip Eytan, Gaspard de Dreuzy, and Oscar Salazar, a
group of Wall Street and Silicon Valley entrepreneurs with extensive experience in the technology and finance sectors.
Voyager was founded to bring choice, transparency, and cost efficiency to cryptocurrency investors and was designed
to be “accessible to all” by focusing on the needs of retail customers.

         Voyager grew rapidly—in just four years, Voyager’s platform evolved from a small startup to an
industry-leading trading platform that reached a peak of 3.5 million users and over $5.9 billion of cryptocurrency
assets held. Voyager is a public company that began trading on the Toronto Stock Exchange in 2021 under the ticker
“VOYG.”17 A simplified version of the Debtors’ current corporate structure is as follows:




         B.        The Debtors’ Assets and Operations.

        Voyager’s primary operations consist of (i) a trading platform, (ii) custodial services through which
customers earn rewards on stored cryptocurrency assets, and (iii) lending and staking programs. All of the Company’s




17   On July 6, 2022, the Toronto Stock Exchange suspended all trading in VOYG.




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services are accessible through a mobile application that users can download on their smartphones and other smart
devices.

                   1.        The Trading Platform.

          Traditional trading platforms have largely focused on either retail investors or institutional investors, tailoring
features to one group at the exclusion of the other. Voyager’s founders understood that, though retail investors do not
need the full suite of services that an institutional-focused trading platform provides, retail investors deserve a
high-quality trading experience that maximizes their ability to invest in the cryptocurrency sector on an equal playing
field with other market participants.

          Voyager operates as a cryptocurrency trading platform, matching its customers with counterparties who can
facilitate the customer’s desired trade. The Company’s platform is simple and easy to use, but beneath the retail
customer-focused user interface is an institutional-grade trading platform built to provide Voyager’s customers with
high-quality trade execution across numerous digital currencies. The Company’s platform is unique as it surveys
more than a dozen exchanges and liquidity providers and executes trades through a proprietary algorithm that evaluates
the price, certainty of execution, reliability of the trading venue, and speed of execution to deliver each customer a
high-quality execution. Ultimately, Voyager’s customers know that they have access to a best-in-class trading
platform no matter how big or small their trade.

                   2.        Custodial Services.

         Digital currencies deposited by customers are stored on Voyager’s platform in omnibus wallets rather than
in individualized digital “wallets.” In exchange, Voyager customers earn rewards on deposits. Prior to the Petition
Date, rewards were primarily paid in three ways: (i) PIK Rewards, as defined below; and (ii) through the VGX Token
and the Voyager Loyalty Program, as defined below. To complement its custodial services and the Voyager Loyalty
Program, customers can sign up for the Voyager Debit Card.

         PIK Rewards. Customers who deposit certain currencies with Voyager earn payable-in-kind interest (“PIK
Rewards”) on their assets through the Voyager Earn Program, provided that such users maintain a minimum monthly
balance and keep their assets on the Company’s platform.

         Voyager Loyalty Program and VGX Token. Voyager token (“VGX” or “Voyager Token”) is a digital
currency issued and administered by the Company. VGX is primarily issued in connection with the Company’s loyalty
and rewards program (the “Voyager Loyalty Program”). Ownership of VGX entitles users to benefits on their
accounts operating through a tiered reward system. VGX is traded on the Coinbase Exchange under the ticker “VGX.”

          The Voyager Loyalty Program is similar to retail or restaurant loyalty programs where loyal users are
rewarded for continued use of the platform. Active users on the Voyager platform can earn a variety of rewards and
incentives, including higher referral bonuses, lower transaction fees, prioritized customer support, higher PIK Rewards
rates, and access to special events and investment opportunities.

                   3.        Staking.

        Staking offers another revenue avenue for Voyager by generating passive income on coins that are staked
through staking protocols without needing to sell the underlying cryptocurrency. This process involves committing
cryptocurrency assets to a project in exchange for a set rewards rate determined by each staking protocol.

                   4.        Voyager’s Lending Program.18

          Prior to the Petition Date, the Debtors lent cryptocurrency deposited on its platform to third parties. Such
third parties paid the Debtors a pre-negotiated interest rate that was payable in payment-in-kind (i.e., a Bitcoin loan
accrues interest payable in Bitcoin). During these chapter 11 cases, the Debtors recalled all outstanding loans made


18   The Lending Program is described in further detail in the First Day Declaration and in Article VI(A)(2)(b) of this Disclosure
     Statement.




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to third parties, with the exception of certain loans made to Galaxy Digital LLC. The Debtors expect to unwind the
loans made to Galaxy Digital LLC prior to confirmation.

                   5.        Voyager’s Investments.

         Prior to the Petition Date and in the ordinary course of business, Voyager made equity investments in certain
public and private companies primarily focused on venture capital initiatives. Such investments are in an aggregate
amount of approximately $9.7 million across 11 companies and yield varied amounts of dividends based on the terms
of such equity investments.

                   6.        Using Voyager’s Platform.

          Customers access the Company’s entire suite of services through Voyager’s mobile application
(the “Voyager App”). Customers sign up for a Voyager account on the Voyager App after digitally executing
Voyager’s customer agreement and linking their bank account or off-site cryptocurrency wallet to the platform to
facilitate the purchase of cryptocurrency or the transfer of the customer’s own cryptocurrency to the platform.

         The Company does not maintain a separate cryptocurrency wallet for each customer. Instead, all
cryptocurrency assets are commingled on an asset-by-asset basis and held in omnibus accounts in the name of Voyager
Digital, LLC. When a customer deposits crypto assets, the assets first enter Voyager’s self-custody wallet system
(such system, “Bedrock”). All deposits of crypto assets are subject to Voyager’s transaction monitoring program that
uses Chainalysis Pte. Ltd. (“Chainalysis”), a third-party vendor, to conduct blockchain review of crypto assets
transferred to the Voyager platform. If a customer’s external crypto wallet depositing crypto assets is flagged by
Chainalysis, Voyager is alerted by Chainalysis and Voyager conducts an investigation and takes appropriate actions,
up to and including restricting and offboarding the customer account. If the wallet passes Chainalysis verification,
then the relevant crypto assets are swept automatically from Bedrock for transfer to the applicable omnibus account
with a third-party custodian or self-custody solution, which Voyager controls.

         C.        The Debtors’ Capital Structure.

                   1.        The Debtors’ Debt Obligations.

          On June 22, 2022, Voyager Digital Holdings, Inc. entered into that certain agreement for the revolving credit
facility dated June 21, 2022 (the “Loan Agreement,” and such facility, the “Loan Facility”), with Alameda Ventures
Ltd. (“Alameda”) as lender, to provide a revolving credit facility of $200 million cash and USD Coin (“USDC,” and
such loans, the “Cash Loans”) and 15,000 Bitcoin (“BTC,” and such loans the “BTC Loans”) guaranteed by Voyager
Digital Ltd. As of the Petition Date, the total value of aggregate consideration available under the Loan Facility was
approximately $500 million.19 However, Debtor Voyager Digital Holdings, Inc. was only able to access 75 million
USDC under the Loan Facility due to borrowing restrictions. The aggregate value of the USDC outstanding is
$75 million.20

           The borrowers under the Loan Agreement can draw on the Loan Facility in U.S. dollars or USDC under the
Cash Loans or in BTC under the BTC Loans. The Loan Facility accrues interest on the outstanding principal balance
at a rate equal to five percent annually. Any accrued interest is due on December 31, 2024, the Loan Facility’s maturity
date. Repayment of any principal balance is required to be in the currency in which the amount was funded (if in
BTC, the repayment must be equal to the amount drawn down and outstanding at the time of repayment).

                   2.        The Debtors’ Intercompany Obligations.

         There are six intercompany obligations owed between the Debtors (collectively, the “Intercompany
Obligations”). The Intercompany Obligations comprise four Intercompany Obligations owed by OpCo to TopCo, one
Intercompany Obligation owed by OpCo to HoldCo, and one Intercompany Obligation owed by HoldCo to TopCo.

19   Assuming a Bitcoin price of $20,000.

20   As a stablecoin, USDC is pegged to $1 per coin.




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Whether any given Intercompany Obligation is a valid intercompany loan or a capital contribution depends on the
consideration of a number of relevant factors. Based on the Debtors’ preliminary analysis, it is likely that at least five
of the six Intercompany Obligations are capital contributions because TopCo received third-party equity investments
and subsequently pushed down such investments to OpCo to fund the Debtors’ operating business. In the event that
any Intercompany Obligation owed by OpCo one the one hand to TopCo or HoldCo on the other hand is determined
to be a loan, recoveries to Account Holders and Holders of OpCo General Unsecured Claims may be reduced. This
Disclosure Statement assumes that five out of the six Intercompany Obligations between the Debtors will be
recharacterized as capital contributions and will not be entitled to Pro Rata recoveries with other Holders of Claims at
the applicable Debtor entity.

          Below is a summary of each of the Intercompany Obligations and the Debtors’ conclusions regarding whether
the Intercompany Obligations are valid loans or capital contributions.

                             (a)      Intercompany Obligations by OpCo to TopCo.

                                 i.       The Loan Agreement between Voyager Digital Ltd., as Lender, and
Voyager Digital, LLC, as Borrower, dated February 12, 2021.

         On February 12, 2021, OpCo, as borrower, entered into that certain loan agreement with TopCo, as lender,
to document the $70 million unsecured loan previously received by OpCo from TopCo (the “February 2021 Term
Loan”). The February 2021 Term Loan matures on February 12, 2024 and accrues interest at a rate equal to LIBOR
plus 8.75% annually with interest payments due quarterly. No interest payments have ever been made by OpCo to
TopCo on account of the February 2021 Term Loan. The Debtors contemplated and entered into the February 2021
Term Loan after the amount had already been funded to OpCo solely to optimize tax positions in the most efficient
manner after TopCo received third-party equity investments and subsequently pushed down such investments to OpCo
to fund the Debtors’ operating business.

         As of the Petition Date, the balance under the February 2021 Term Loan was approximately $78.9 million
(including accrued interest).

           Based on the totality of the circumstances, the Debtors believe, if litigated, that there is a high likelihood that
the February 2021 Term Loan would be determined to be a capital contribution due to (i) the lack of repayment history,
(ii) the fact that the February 2021 Term Loan was documented significantly after the amount had already been funded
to OpCo, (iii) the fact that the February 2021 Term Loan was entered into solely to optimize tax positions, (iv) OpCo
is the primary operating entity for Voyager’s entire enterprise and TopCo was providing the necessary capital
contribution to allow OpCo to operate, (v) the source of repayment was solely dependent on OpCo’s business
performance, (vi) the identity of interest between OpCo and TopCo, (vii) the absence of security for the advance, and
(viii) the absence of a sinking fund to provide for repayment. Although the February 2021 Term Loan was formally
documented, other factors, including those mentioned above, support the conclusion that the February 2021 Term
Loan is most likely to be a capital contribution.

                                 ii.     The Revolving Credit Agreement between Voyager Digital Ltd., as
Lender, and Voyager Digital, LLC, as Borrower, dated February 12, 2021.

          On February 12, 2021, OpCo, as borrower, entered into that certain revolving credit agreement with TopCo,
as lender, to document the unsecured revolving credit facility with borrowing availability of up to $17.5 million
previously provided by TopCo to OpCo (the “February 2021 Revolving Loan”). The February 2021 Revolving Loan
matures on February 12, 2024 and accrues interest at a rate equal to LIBOR plus 7.50% annually with interest
payments due quarterly. No interest payments on behalf of the February 2021 Revolving Loan have ever been made
by OpCo to TopCo. The purpose of the February 2021 Revolving Loan was to provide OpCo with access to ongoing
working capital and operate the business for the enterprise. The Debtors contemplated and entered into the February
2021 Revolving Loan after the amount had already been funded to OpCo solely to optimize tax positions in the most
efficient manner after TopCo received third-party equity investments and subsequently pushed down such investment
to OpCo to fund the Debtors’ operating business.

        As of the Petition Date, the outstanding amount under the February 2021 Revolving Loan was approximately
$1.47 million (consisting of approximately $237,975 of principal borrowings and $1.47 million of accrued interest).


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         Based on the totality of the circumstances, the Debtors believe, if litigated, that there is a high likelihood that
the February 2021 Revolving Loan obligation would be determined to be a capital contribution due to (i) the lack of
repayment history, (ii) the fact that the February 2021 Revolving Loan was documented significantly after the amount
had already been funded to OpCo, (iii) the fact that the February 2021 Revolving Loan was entered into solely to
optimize tax positions, (iv) OpCo is the primary operating entity for Voyager’s entire enterprise and TopCo was
providing the necessary capital contribution to allow OpCo to operate, (v) the source of repayment was solely
dependent on OpCo’s business performance, (vi) the identity of interest between OpCo and TopCo, (vii) the absence
of security for the advance, and (viii) the absence of a sinking fund to provide for repayment. Although the February
2021 Revolving Loan was formally documented, other factors, including those mentioned above, support the
conclusion that the February 2021 Revolving Loan is most likely to be a capital contribution.

                                   iii.         The November 2021 Intercompany Obligation between Voyager
Digital Ltd. and Voyager Digital, LLC.

         In November 2021, TopCo received a third-party equity investment in amount of $75 million and pushed
such investment down in its entirety to OpCo to fund OpCo’s working capital for purposes of its business operations.

        As of the Petition Date, the outstanding amount on this November 2021 intercompany obligation was
approximately $79.27 million (including any accrued interest).

          Based on the totality of the circumstances, the Debtors believe, if litigated, that there is a high likelihood that
the November 2021 intercompany obligation would be determined to be a capital contribution due to (i) the absence
of instruments of indebtedness, (ii) no existence of a fixed maturity date or schedule of payments, (iii) no existence of
a fixed interest rate and interest payments, (iv) the source of repayment was solely dependent on OpCo’s business
performance, (v) the identity of interest between OpCo and TopCo, (vi) the absence of security for the advance, and
(vii) the absence of a sinking fund to provide for repayment.

                                      iv.       The May 2022 Intercompany Obligation between Voyager Digital
Ltd. and Voyager Digital, LLC.

        In May 2022, TopCo received a third-party equity investment in amount of $57 million and pushed such
investment down in its entirety to OpCo to fund OpCo’s working capital for purposes of its business operations.

        As of the Petition Date, the outstanding amount on this May 2022 intercompany obligation was
approximately $57.8 million (including any accrued interest).

          Based on the totality of the circumstances, the Debtors believe, if litigated, that there is a high likelihood that
the May 2022 intercompany obligation would be a capital contribution due to (i) the absence of instruments of
indebtedness, (ii) no existence of a fixed maturity date or schedule of payments, (iii) no existence of a fixed interest
rate and interest payments, (iv) the source of repayment was solely dependent on OpCo’s business performance, (v) the
identity of interest between OpCo and TopCo, (vi) the absence of security for the advance, and (vii) the absence of a
sinking fund to provide for repayment.

                            (b)       Intercompany Obligation by OpCo to HoldCo.

         In June 2022, HoldCo received a loan under the Alameda Loan Facility in the amount of $75 million from
Alameda for the purpose of providing funding directly to OpCo in light of the crypto industry downturn described in
Article VI.A-B of this Disclosure Statement. Accordingly, HoldCo pushed the entire investment down to OpCo to
fund OpCo’s platform.

        As of the Petition Date, the outstanding amount on this June 2022 intercompany obligation was
approximately $75 million.

          Based on the totality of the circumstances, the Debtors believe, if litigated, that there is a high likelihood that
the June 2022 intercompany obligation would be a capital contribution due to (i) the absence of instruments of
indebtedness, (ii) no existence of a fixed maturity date or schedule of payments, (iii) no existence of a fixed interest
rate and interest payments, (iv) the source of repayment was solely dependent on OpCo’s business performance, (v) the



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identity of interest between OpCo and HoldCo, (vi) the absence of security for the advance, and (vii) the absence of a
sinking fund to provide for repayment.

       Alameda disputes the treatment of this Intercompany Obligation. Pursuant to the Asset Purchase Agreement,
FTX US has agreed to contractually convey the Alameda Loan Facility Claims to OpCo.

                           (c)      Intercompany Obligation by HoldCo to TopCo.

          On October 26, 2021, HoldCo, as borrower, entered into that certain promissory note with TopCo, as lender,
in the amount of $6 million (the “Promissory Note”). The Promissory Note matures on September 30, 2024 and
accrues interest at a rate equal to LIBOR plus 8.75% annually with interest payments due quarterly. To date, no
interest payments on behalf of the Promissory Note have been made by HoldCo to TopCo. To comply with certain
Canadian laws, TopCo made a third-party investment into a private company and then contributed the acquired shares
of the third party company down to HoldCo. In exchange for the contribution of the third-party’s shares, TopCo and
HoldCo then entered into the Promissory Note.

        As of the Petition Date, the outstanding note amount was approximately $6.33 million (consisting of
approximately $6 million of principal borrowings and $329,943 of accrued interest).

         Based on the totality of the circumstances, the Debtors believe that, if litigated, the Promissory Note may be
determined to be a valid loan. Although the Promissory Note was entered into after the amount was already funded
to HoldCo, the fact that TopCo made a third-party equity investment into a privately-held company and then
contributed the acquired shares to HoldCo in exchange for the Promissory Note may result in the Promissory Note
being a loan.

                  3.       The Equity Interests in the Debtors.

         As of the Petition Date, the Debtors’ ultimate parent, Voyager Digital Ltd., has approximately 196,000,000
shares of common stock outstanding, approximately 9.49 percent of which is held by Alameda and its affiliates with
the remainder widely held by investors.

VI.      EVENTS LEADING TO THESE CHAPTER 11 CASES

         A.       Market and Industry-Specific Challenges.

                  1.       2020 and 2021 Market Conditions.

          The onset of the COVID-19 pandemic was a watershed moment in traditional markets and cryptocurrency
markets alike. Between February 12, 2020, and March 23, 2020, the Dow Jones Industrial Average lost 37 percent of
its value and the S&P 500 lost 34 percent of its value. The price of Bitcoin fell over 50 percent over the same time
period, and most other cryptocurrencies experienced similar declines.

          Fear of a lingering pandemic and its effect on the world economy drove many investors to exit the market
altogether. Voyager, however, continued to operate its trading platform through the entirety of the 2020 “COVID
Crash.” Customers were able to use the platform to trade despite extreme volatility in the markets, and interest and
rewards were paid out to qualifying customers as well. The Company’s response to market headwinds in 2020
solidified its status as a leading cryptocurrency trading platform—between 2020 and 2022, the number of users on the
Company’s platform grew from 120,000 to over 3.5 million.

         After the COVID Crash, traditional markets and cryptocurrency markets saw a short recovery period
followed by a period of sustained growth. Central banks and governments around the world (including, in particular,
the United States Federal Reserve) enacted relief programs and adopted quantitative easing monetary policies designed
to bridge the world economy to the end of the COVID-19 pandemic. Such policies contributed to growth in traditional
markets and cryptocurrency markets, and investment into new projects in the cryptocurrency industry skyrocketed.
Between its lowest point in 2020 and its highest point in 2021, the price of Bitcoin rose by over 1,000 percent. The
S&P 500 rose by nearly 100 percent over the same period.




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         In traditional markets, fears of new variants of the COVID-19 virus and a potential economic contraction
drove a series of sell-offs as equity markets moved sideways through the end of 2021. In the cryptocurrency space,
strong sell-offs in “risk-on” assets, like technology and early-stage equities, led to sell-offs in the cryptocurrency sector
as investors trimmed exposure. Increased regulatory scrutiny internationally also contributed to market pessimism,
and strong spot trading from institutional investors drove most cryptocurrencies to double-digit losses relative to
all-time highs.

        Ultimately, traditional markets closed 2021 with double-digit growth. On the surface, it seemed like markets
were beginning to recover from the COVID-19 pandemic and that the lingering effects of the pandemic would be
minimal. But discussions around a potential recession in 2022 began to materialize as inflation rose along with
concerns over whether world governments could navigate a “soft landing” into a slower economic period in 2022.

         The year 2022, to date, has been marked by historic levels of volatility in the traditional markets and
cryptocurrency markets. On February 24, 2022, Russia invaded Ukraine in a major escalation of the conflict between
the two countries (the “Ukrainian War”). The Ukrainian War had a swift and profound impact on the world economy.
In an effort to weaken Russia’s ability to pursue the war, Western countries imposed a series of financial, trade, and
travel sanctions against Russia, all of which measures contributed to a rampant increase in global commodity prices.
Equity markets were roiled as well. Between January 1, 2022, and the Petition Date, the S&P 500 shed 20 percent of
its value while the tech-heavy Nasdaq declined by nearly 30 percent over the same period. Rising inflation and
commodity prices contributed to investor pessimism and further sell-offs. In June 2022, market analysts officially
labeled 2022 as a bear market.

                   2.       Cryptocurrency Industry-Wide Sell-off.

        The widespread sell-off in traditional markets was mirrored in the cryptocurrency industry. All major
cryptocurrencies experienced significant declines in 2022; Bitcoin slumped 37.3 percent in June 2022 alone and was
down approximately 56 percent year-to-date as of the Petition Date. Companies in the cryptocurrency industry also
experienced significant equity declines as declining cryptocurrency prices pressured margins and investor pessimism
grew. In June 2022, the value of the aggregate cryptocurrency market slumped below $1 trillion for the first time
since January 2021. The severe distress of two industry participants—Terra and 3AC—exacerbated this
“cryptocurrency winter.” The eventual implosion of Terra and 3AC, and the resulting fallout, created the
“cryptopocalypse.”

                            (a)       The Terra Luna Collapse.

         Terra is an open-source blockchain protocol created by Terraform Labs. Similar to the Ethereum blockchain
(which issues Ether for use on its platform), Terra issued Luna, a cryptocurrency token that was used to execute
transactions on the Terra blockchain. In early May 2022, Luna traded at approximately $86 per share and had a market
capitalization of approximately $14 billion.

          Terra also issued TerraUSD (“UST”), an algorithmic stablecoin. Historically, UST traded at $1 per share.
UST maintained its “peg” to Luna via an arbitrage mechanism. If UST traded above $1, arbitrageurs bought $1 worth
of Luna for $1 and exchanged Luna for one UST worth more than a dollar, netting the difference as profit. If UST
traded below $1, arbitrageurs bought one UST for less than a dollar and exchanged it for $1 worth of Luna, netting
the difference as profit. These arbitrage trades push the price of UST back to $1 and were intended to keep the two
tokens equally scarce and limit oversupply or undersupply of either. To incentivize traders to burn Luna to create
UST, Terra allowed owners of UST to stake their UST in exchange for a 19.5 percent yield (payable in UST).

         On May 7, 2022, $2 billion of UST was unstaked and immediately sold. The sale moved UST’s per share
price down to $0.91. UST holders, already sensitive to price movements due to the sell-off in cryptocurrencies
generally, saw UST “de-peg” and rushed to unstake and sell their coins. Terra’s arbitrage trade was designed to
address this type of situation but was not designed to address a situation of this magnitude. Although traders moved
quickly to burn Luna and “arbitrage” the price of UST, traders realized that only $100 million of UST could be burned
for Luna each day. Due to high trading volume, $100 million of UST was insufficient to “re-peg” UST to $1.

       Massive selling pressure led to a downward spiral or, as known in traditional finance, a “death spiral”: traders
redeemed UST for Luna and sold their Luna, leading to a significant decrease in the price of Luna. Then traders



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attempted to “re-peg” Luna to UST by burning UST to create Luna, which in turn created an oversupply of Luna that
further exacerbated its price decline. Terra allegedly sold $2.2 billion of its Bitcoin reserves to enter the Luna/Terra
arbitrage efforts and re-peg the tokens but was unsuccessful. The per-share price of Luna fell from $82.55 to
$0.000001 in one week.

         The Terra/Luna blockchain protocol was widely viewed as a project with significant promise—Luna had
attracted significant interest from institutional investors and retail investors alike. The Luna collapse erased over
$18 billion of value and contributed to further sell-offs in the cryptocurrency sector.

                           (b)      The Making and Recalling of the Three Arrows Capital Loan.

         As described above, Voyager’s business model contemplated generating revenue in several different ways,
including by lending, in their business judgment, a portion of cryptocurrency held on its platform to institutional
borrowers.

         Voyager’s lending business was described and disclosed in Voyager’s public securities filings, which stated
that “[w]e earn fees from crypto assets lending activities with institutional borrowers,” including on “an unsecured …
basis,” and that “Voyager selects which and how much of its crypto assets are available for such lending activity.”21
Account Holders acknowledged and consented to this activity in the Customer Agreement, as follows:

          [P]articipants in the Rewards Program agree to allow Voyager to utilize Cryptocurrency held in
          the(ir) Account to be loaned to various third parties (each, a “Borrower”) determined at Voyager’s
          sole discretion (each, a “Loan”). Loans made to Borrowers may not be secured and the Borrowers
          may not be required to post collateral either to Voyager, or otherwise.22

          As of December 31, 2021, Voyager held approximately $5.88 billion in crypto assets on its platform.23 Of
that total, approximately $2.7 billion had been loaned to various counterparties as part of Voyager’s lending program.
At the time, the largest individual counterparty was Alameda Research, a crypto hedge fund founded by FTX CEO
Sam Bankman-Fried, which had borrowed approximately $1.6 billion and represented 61% of Voyager’s loan book.24
These loans were made largely on an unsecured basis in exchange for market-based returns that, in Voyager’s
judgment, corresponded with acceptable risk.




21
     December 31, 2021 Voyager Digital Ltd. Management Discussion and Analysis at 8, available at
     https://sedar.com/GetFile.do?lang=EN&docClass=7&issuerNo=00005648&issuerType=03&projectNo=033384
     05&docId=5134463.
22
     August 2021 Customer Agreement at 10; see also January 2022 Customer Agreement at 10 (same).
23
     Id. at 6.
24
     Id. 20-21.



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          In early 2022, Voyager was looking to diversify its available borrowers. 3AC was a well-known, prominent
participant in the crypto space.25 Between 2015 and 2020, 3AC experienced rapid growth and apparent extreme
profitability, becoming known as a “behemoth” in the industry.

          Given 3AC’s profile, Voyager sought out a relationship with the firm. On February 7, 2022, Voyager’s then-
CFO (now Chief Commercial Officer), Evan Psaropoulos, and Treasury Director Ryan Whooley had an initial call
with Tim Lo, an employee of 3AC’s over-the-counter trading affiliate. They discussed 3AC generally, including its
business objectives made it an appropriate counterparty for institutional borrowing. 3AC advised that it had substantial
interest given its size and investment philosophy. On February 11, 2022, Voyager and 3AC signed a mutual non-
disclosure agreement to permit the exchange of confidential information between the firms as they explored a lending
relationship. On February 13, 2022, 3AC provided Voyager with a statement signed by one of its founders, Kyle
Davies, containing only a single sentence stating that 3AC’s NAV as of January 1, 2022, was $3.729 billion. Unlike
other substantial borrowers of Voyager’s assets, 3AC did not provide a balance sheet (audited or unaudited). In
response to Voyager’s formal due diligence questionnaire, 3AC subsequently provided a description of its corporate
structure, certificates of good standing and incorporation, and a copy of its Anti-Money Laundering policies and
controls.

         On February 28, 2022, a Voyager team, including Mr. Psaropoulos, Mr. Whooley, Treasurer Jon Brosnahan
and others had a due diligence call with Messrs. Davies and Lo of 3AC. During the call, the Voyager team asked
questions about 3AC’s business and financial position, and ascertained from Mr. Davies that 3AC: (i) managed only

25
     See, e.g., The Block, “Three Arrows reports more than $1.2 billion position in Grayscale's GBTC,” January 4,
     2021, https://www.theblock.co/post/89928/three-arrows-reports-more-than-1-2-billion-position-in-grayscales-
     gbtc; Bloomberg, “Ex-High School Classmates Are Among the World’s Largest Crypto Holders,” May 25, 2021,
     https://www.bloomberg.com/news/articles/2021-05-25/ex-credit-suisse-traders-amass-billions-of-dollars-of-
     crypto?utm_medium=social&utm_content=business&utm_source=twitter&cmpid=socialflow-twitter-
     business&utm_campaign=socialflow-organic#xj4y7vzkg (describing Three Arrows Capital as “among the
     world’s biggest crypto holders with a portfolio worth billions of dollars”); Sydney Morning Herald, “School
     Friends Started Their Own Firm, Now They Are Among The World’s Largest Crypto Holders,” May 27, 2021,
     https://www.smh.com.au/business/markets/school-friends-started-their-own-firm-now-they-are-among-the-
     world-s-largest-crypto-holders-20210526-p57v6b.html (describing “the extent of the firm’s influence, when
     Three Arrows reported it owned a 5.6 per cent stake in the Grayscale Bitcoin Trust, a $US22 billion fund”);
     Messari Report, “Messari Crypto Thesis For 2022,” December 26, 2021, https://messari.io/pdf/messari-report-
     crypto-theses-for-2022.pdf (describing Three Arrows Capital founder Su Zhu as one of “the big guys” and noting
     that “Three Arrows Capital has amassed one of the largest funds in Asia, and boasts one of the top performing
     portfolios in their own right”); Bloomberg, “Fund Manager Who Called End of Last Crypto Winter Remains
     Bullish,” April 7, 2022, https://www.bloomberg.com/news/articles/2022-04-07/three-arrows-capital-s-su-zhu-
     remains-bullish-on-crypto-investments (noting that Three Arrows Capital’s “blockchain holdings alone are worth
     close to $10 billion”); FTX, Crypto Bahamas 2022 Su Zhu Speaker Profile, April 26, 2022,
     https://www.cryptobahamas.com/speakers/su-zhu-1 (describing Three Arrows Capital as “a leading investor in
     the cryptocurrency space”); Benzinga, “The Top 10 DeFi Projects To Watch In The Second Half Of 2020,” July
     30, 2020, https://www.benzinga.com/markets/cryptocurrency/20/07/16856475/the-top-10-defi-projects-to-
     watch-in-the-second-half-of-2020 (describing Three Arrows Capital as a “leading investor”); Benzinga, “Crypto
     Hedge Funds Bought Bitcoin At ‘A Reasonable Level’ During The Dip,” May 21, 2021,
     https://www.benzinga.com/markets/cryptocurrency/21/05/21239323/crypto-hedge-funds-bought-bitcoin-at-a-
     reasonable-level-during-the-dip-report (reporting “advice to investors” from 3AC co-founder Kyle Davies);
     Benzinga, “This Crypto Veteran Has 3 Potential Catalysts That Could Fuel A Bitcoin Market Comeback,” May
     22,      2022,      https://www.benzinga.com/markets/cryptocurrency/22/05/27339698/this-crypto-veteran-lists-
     potential-catalysts-that-could-push-bitcoin-market (describing Su Zhu as a “crypto veteran”); Benzinga, “What
     Does Etherium 2.0 Have To Do With The Celsius, 3AC, And Other Insolvencies?” June 15, 2022,
     https://www.benzinga.com/markets/cryptocurrency/22/06/27724295/what-does-ethereum-2-0-have-to-do-with-
     the-celsius-3ac-and-other-insolvencies (describing Three Arrows Capital as “a major investment firm”);
     Benzinga,      “What      Impact   Will     A   Recession      Have   On     Crypto?”     June    16,    2022,
     https://www.benzinga.com/22/06/27745465/what-impact-will-a-recession-have-on-crypto (describing Three
     Arrows Capital as “one of the biggest crypto hedge funds”).



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its founders’ assets; (ii) was involved in limited higher risk venture capital projects, and its venture activities involved
modest sums; (iii) was largely engaged in arbitrage trading, which was delta neutral, and thematic trading; (iv) limits
its own borrowing to 1x NAV; and (v) did not own positions larger than 1-3% of circulation of any given alt-coin, to
maximize its ability to exit quickly from such volatile assets. In response to requests for greater financial transparency,
Mr. Davies explained that 3AC only provided summary NAV statements to its lenders, and that it needed to treat all
lenders the same in this regard. When pressed, Messrs. Davies and Lo explained that 3AC previously had a bad
experience with a counterparty who had been given detailed financial information about 3AC. According to 3AC, the
counterparty had mimicked its trading strategy based on holdings information disclosed in those confidential
documents, to 3AC’s detriment. Given its commercial sensitivity, 3AC therefore only provided the net amount of
total assets under management minus total liabilities, without further details.

           The next day, on March 1, 2022, Voyager’s Risk Committee, which included certain officers and other
members of the treasury and legal teams, had a regularly scheduled meeting to discuss, among other matters,
Voyager’s lending, trading, and staking positions. During this meeting, the Risk Committee considered the merits of
entering into a new lending relationship with 3AC, as well as 3AC’s position regarding the limited amount of financial
information contained in the NAV statement. Those who participated on the due diligence call with Voyager’s co-
founder explained the rationale given by 3AC, and that this was an explanation that Voyager’s finance team and
executive leadership understood and found credible. The Risk Committee discussed the fact that 3AC represented
itself to have $3.7 billion in net asset value. Ultimately, no member of the Risk Committee objected to entering into
a lending relationship with 3AC.26 The decision to approve the 3AC Loan was ultimately made by the CEO, Stephen
Ehrlich, in consultation with Mr. Psaropoulos, as further described below.

         On March 4, 2022, Voyager entered into a master loan agreement with 3AC, pursuant to which Voyager
made several loans to 3AC between March 8, 2022 and May 5, 2022 in the aggregate amounts of 15,250 Bitcoins and
350 million USDC. The 3AC Loan was unsecured but callable at any time by Voyager, as per the terms of six
individual term sheets governing discrete advances from time to time. After Voyager approved 3AC as a borrower
on March 1, the Risk Committee was not subsequently consulted about the size or terms of any of the advances that
comprised the 3AC Loan. In general, Mr. Whooley would receive an in-bound borrowing request from 3AC and
would discuss terms for the specific loan request with Mr. Psaropoulos. Mr. Psaropoulos would obtain Mr. Whooley’s
recommendations about the size and terms of borrowing, at times consulting with Mr. Brosnahan as to any liquidity
concerns. Mr. Psaropoulos would then discuss each advance with Mr. Ehrlich and obtain the CEO’s official
authorization prior to executing the corresponding term sheet.

         As of April 3, 2022, Voyager had assets on platform of approximately of $5.64 billion, of which $3.1 billion
was on loan to third parties. At that time, approximately $935 million was on loan to 3AC, making it Voyager’s
second-largest borrower behind Alameda Research, to which Voyager had loaned approximately $1.23 billion.
Approximately two months later, on June 6, 2022, the amount of Voyager’s assets on platform had decreased
materially (in part due to market decline and in part due to customer withdrawals) to $3.39 billion, of which
approximately 25% had been lent to 3AC, and another 25% lent to Alameda Research.

         During the approximately three-month period between the start of the parties’ lending relationship and 3AC’s
default, Voyager engaged with 3AC on several occasions to monitor 3AC’s financial position, as part of Voyager’s
regular borrower outreach activity. During this period, Voyager sought and received a revised one-page NAV
statement from 3AC on March 23, 2022, again signed by 3AC co-founder Kyle Davies, stating that as of March 1,
2022, 3AC’s NAV was $3.218 billion.



26
     While no formal vote was taken by the Risk Committee to approve 3AC as a borrower, or the sufficiency of the
     due diligence conducted, this was not the function of the Risk Committee. The Risk Committee was established
     in 2021 as a consultative body consisting of members of Voyager management from different departments. The
     Risk Committee met regularly to discuss, among other things, Voyager’s overall financial position and any
     potential borrowers that members of the finance team believed, following due diligence, to be appropriate
     counterparties. No decision-making authority was delegated to the Risk Committee, and no votes were taken by
     the members of the Risk Committee, until May 4, 2022, when a charter for the Risk Committee was finalized and
     approved.



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          On approximately May 9, 2022, Luna de-pegged from UST, causing many investors in the crypto space to
suffer losses. Voyager promptly reached out to its borrowers to understand the impact (if any) of Luna’s unraveling
on their respective businesses. Specifically, concerning 3AC, Voyager’s Mr. Whooley spoke to Mr. Lo on May 11,
and he and Mr. Psaropoulos had dinner with Mr. Lo on May 12. On both occasions, Mr. Lo reported that 3AC were
early investors in LUNA but had limited exposure and therefore 3AC had suffered insignificant losses. In light of
this, Voyager did not believe it needed to recall the loans to 3AC.

         On May 23, 2022, Voyager received another revised one-page NAV statement from 3AC, again signed by
3AC co-founder Kyle Davies, stating that as of May 23, 2022, 3AC’s NAV was $2.574 billion. At this point, Voyager
ceased issuing further loans to 3AC despite requests from 3AC to borrow more.

         After declining 3AC’s request for more borrowing in the second half of May, communications between
Voyager and 3AC remained relatively quiet until June 12, the day that Celsius Network LLC (“Celsius”) lowered its
gates and paused withdrawals. Upon this occurrence, Voyager reached out again to all of its borrowers to inquire
about their financial health, including 3AC. On June 13, 2022, Mr. Psaropoulos held a Zoom videoconference with
Mr. Lo during which Mr. Lo informed him that 3AC had no exposure to Celsius. The next day, on June 14, 2022, Mr.
Lo sent a text message to Mr. Psaropoulos asking for a call “asap” after Voyager had already issued its press release
that day. Mr. Psaropoulos called Mr. Lo, who advised him that Voyager should recall all of its loans to 3AC because
he was concerned that the founders of 3AC were not responding to requests for information from Mr. Lo and other
employees. Mr. Psaropoulos immediately called Mr. Ehrlich to relay this alarming statement. Within hours, Voyager
had recalled all outstanding amounts loaned to 3AC.

          On June 15, 2022, one of 3AC’s founders stated that the fund had incurred significant losses on account of
its staked Luna position and had hired legal and financial advisors to explore potential liquidity solutions. 3AC did
not return any of the loaned assets, and on June 24, 2022, Voyager issued a notice of default and acceleration to 3AC.
On June 27, 2022, 3AC was ordered by a court in the British Virgin Islands to commence liquidation proceedings.

                                    i.        The Special Committee Investigation.

          On July 5, 2022, OpCo formally created the Special Committee consisting of newly appointed Independent
Directors Timothy Pohl and Jill Frizzley. The Special Committee was vested with the authority to, among other
things: (a) investigate any historical transactions, public reporting, or regulatory issues undertaken by OpCo that the
Special Committee deemed necessary or appropriate, and the facts and circumstances surrounding such transactions;
(b) interview and solicit information and views from management, representatives, consultants, advisors, or any other
party in connection with any historical transactions undertaken by OpCo that the Special Committee deems necessary
or appropriate; (c) request documentation and information regarding OpCo’s business, assets, properties, liabilities
and business dealings with respect to any historical transactions undertaken by Voyager that the Special Committee
deems necessary and appropriate to review; (d) perform any other activities consistent with the matters described
herein or as the Special Committee or Voyager’s board of directors otherwise deems necessary or appropriate; and (e)
conduct an independent investigation with respect to any potential estate claims and causes of action against insiders
of Voyager, including any claims arising from loans made to 3AC. The Special Committee was also vested with sole
authority to prosecute, settle, or extinguish any and all claims and causes of action arising from the historical
transactions investigated by the Special Committee. The Special Committee retained the Special Committee Counsel
to provide independent advice to, and act at the exclusive direction of, the Special Committee in connection with the
Special Committee’s mandate.27

        On August 23, 2022, the Debtors, the Special Committee, and the UCC entered into the Common Interest
Confidentiality Stipulation and Protective Order (the “Protective Order”) pursuant to which the parties (the “Common


27
     See Docket No. 125 ¶ 7 (application to employ Quinn Emanuel as counsel to the Special Committee, with
     authority to “among other things, (a) investigate any historical transactions relating to Voyager LLC, and
     (b) investigate any estate claims and causes of action against insiders of Voyager LLC, including claims arising
     from its loan to Three Arrows Capital, and (c) perform any other activities consistent with the foregoing that the
     Special Committee or Voyager LLC’s board otherwise deems necessary or appropriate”); Docket No. 242 (Order
     approving application).



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Interest Parties”) agreed to the protections afforded to “Confidential” and “Highly Confidential” discovery material.
Given the unique features of the Debtors’ Chapter 11 Cases, the Common Interest Parties agreed that the attorney-
client privilege and the attorney work-product doctrine would be preserved with respect to privileged documents and
information shared among counsel for the Common Interest Parties. The Bankruptcy Court entered the Protective
Order on September 13, 2022.

         During the Investigation, Special Committee Counsel sought and received information relating to, among
other things: Voyager’s loans to third parties, with a particular focus on the 3AC Loan; the diligence performed in
connection with those loans; Voyager’s Risk Committee; Voyager’s staking of customer cryptocurrency assets;
Voyager’s regulatory compliance; Voyager’s communications with the public; Voyager’s pre-petition payments to
insiders and certain third parties; and other aspects of Voyager’s business. Voyager collected and provided to the
Special Committee responsive documents from its internal hard copy and electronic files, its outside counsel, and
various third parties (e.g., cryptocurrency custodians and exchanges). Among many other things, Voyager collected
email, Slack communications, and, in certain cases, Telegram and cell phone data from a dozen Voyager employees,
including Voyager’s most senior officers and others. In addition to several voluminous spreadsheets of data, Voyager
produced more than 11,000 documents—collectively totaling more than 40,000 pages.

          In addition to reviewing the above-referenced documents, Special Committee Counsel also interviewed 12
Voyager employees, including Stephen Ehrlich (CEO), Gerard Hanshe (COO), Evan Psaropoulos (Chief Commercial
Officer), Ashwin Prithipaul (CFO), Pamela Kramer (CMO), David Brosgol (General Counsel), Marshall Jensen (Head
of Corporate Development), Ryan Whooley (Treasury Director), Jon Brosnahan (Treasurer), Brian Silard (Treasury
Team), David Brill (Deputy General Counsel), and Manisha Lalwani (in-house regulatory counsel). Collectively, the
interviews performed during the Special Committee’s Investigation lasted more than 55 hours, and covered in great
detail the range of topics most relevant to the Special Committee’s Investigation.

         Throughout the Special Committee’s Investigation, Special Committee Counsel was assisted by Kirkland
and BRG. BRG also hosted information sessions specific to staking with management and UCC Counsel in order to
address questions that would make time spent during the interviews most efficient, and provided necessary background
information and financial data to Special Committee Counsel upon request.

         Following the appointment of the UCC, Special Committee Counsel coordinated with the UCC’s
professionals. Specifically, Special Committee Counsel and UCC Counsel held several meetings concerning the
Investigation and/or the status and progress of the Investigation, and Special Committee Counsel permitted the UCC’s
professionals to sit in on—and ask questions during—the Special Committee’s interviews of the witnesses mentioned
above. In light of the protections of the Protective Order, no discovery was withheld from UCC’s counsel on the basis
of attorney-client privilege.

          Throughout the course of the Investigation, Special Committee Counsel provided regular updates to members
of the Special Committee. In particular, the Special Committee Counsel held five formal videoconference meetings
with the Special Committee, during which the Special Committee Counsel updated the Special Committee members
on the status of the Investigation, including facts learned, impressions obtained, and relevant legal documents and
standards. The members of the Special Committee were engaged, and asked many questions regarding the facts being
developed and potentially applicable legal theories. These meetings were in addition to the Independent Directors’
participation in several Board meetings concerning the Debtors’ general business and case trajectory including their
sale efforts.

                                    ii.      Investigation Report, Conclusions, and Proposed Settlements.

         At the conclusion of the Investigation, on October 7, 2022, Special Committee Counsel delivered to the
Special Committee its report (“Investigation Report”), setting forth, among other things, the factual record developed
over the course of the Investigation, the legal framework of potential estate causes of action, and Special Committee
Counsel’s legal conclusions and recommendations.

        The Special Committee met to discuss the contents of the Investigation Report with Special Committee
Counsel on October 10, 2022. The Special Committee found no fraud or theft by any director or officer of any of the
Debtors. The Special Committee also concluded that the estate does not have non-frivolous claims against any
Voyager director or officer other than potential claims against its CEO and CCO, related to the 3AC Loan, and that


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any such claims would be difficult to prove, with any judgment being even more difficult to collect.28 The Special
Committee negotiated independent settlements with each of the CEO and CCO as set forth in the Plan, subject to
approval of the Bankruptcy Court as part of Plan confirmation. These settlements are described in the following
table:29

     Debtors Retain Rights of      Upon receipt of personal financial contributions, described below, the Debtors will
     Recourse to D&O               release further claims against the CEO and CCO personally, provided that the
     Insurance                     Debtors will retain the right to seek maximum recovery under the Debtors’ D&O
                                   Liability Insurance Policies.

     Releases and Waivers by       CEO and CCO agree to release all Causes of Action they may have against the
     the Officers against the      Estates.
     Debtors
                                   CCO further agrees to subordinate 50% of his Account Holder Claim against the
                                   Debtors until all other Holders of Account Holder Claims are paid in full.

                                   CEO and CCO further agree that, because the Debtors are in bankruptcy, the
                                   Debtors are unable to provide advancement or indemnification to CEO and CCO,
                                   and CEO’s and CCO’s recourse is limited to the Management Liability Policy, the
                                   Excess Policies, and the Side-A Policy (except as set forth below). CEO and CCO
                                   shall be entitled to receive their salary and benefits for as long as they work for the
                                   Debtors and/or the Wind-Down Entity and retain the right to assert claims for
                                   advancement and indemnification up to the limits of any available coverage in the
                                   event any of the insurers that issued the Management Liability Policy, the Excess
                                   Policy, or the Side-A Policy denies coverage to CEO and/or CCO based upon or
                                   arising out of the lack of a formal claim for indemnification.

                                   CEO and CCO further agree to subordinate any and all rights and entitlements
                                   under the Cornerstone A-Side Management Liability Insurance Policy to Voyager
                                   Digital Ltd., Policy Number ELU184179-22, to any recovery by the Debtors and/or
                                   the Wind Down Entity on account of the Debtors’ and/or Wind Down Estate’s
                                   claims for the avoidance of the premium paid for the policy. For the avoidance of
                                   doubt, should coverage continue to be available under the Side-A Policy following
                                   resolution of the Debtors’ and/or the Wind Down Entity’s claims for the avoidance
                                   of the premium paid for the policy (whether by judgment or settlement or
                                   otherwise), Officer shall be entitled to seek coverage under the Side-A Policy.

     Reversal of Insider Bonus CEO agrees to the avoidance/unwinding of the transfer of $1,900,000 that CEO
     Payment                   received from the Debtors on or around February 28, 2022, with CEO paying
                               $1,125,000 to the Debtors in cash and assigning the right, if any, to any tax refund
                               for the balance.


     Commitment to Cooperate       CEO and CCO agree to remain at, and continue performing the responsibilities of,
                                   their position(s) with the Debtors and assist with the Debtors’ transition for at least
                                   30 days from the date of approval of the settlement; provided that the CCO shall
                                   have no obligation to remain at his position with the Debtors beyond January 15,
                                   2023 and the CEO shall have the right to pursue and engage in any employment

28
      Mr. Psaropoulos was CFO of Voyager Digital, LLC when it made all loans to 3AC.

29    The settlements are subject to definitive documentation and in the event the sworn financial information provided
      by either CEO or CCO to the Special Committee is materially inaccurate, the Special Committee reserves the
      right to void the D&O Settlement.



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                                   opportunity, business venture, consulting arrangement, or investment that may
                                   become available.


          The theoretical loss from the 3AC Loan would be equal to the amounts remaining to be collected from 3AC
in the 3AC Liquidation Proceeding, less any amounts actually collected in those proceedings. The amounts to be
realized from the proposed settlements (approximately $1.3 million - $2 million of personal assets plus recourse to up
to $20 million of D&O insurance) are just a small fraction of such loss. Nevertheless, the Special Committee made
the decision to settle, subject to Court approval, based on the fact that the individuals do not have personal assets
available to satisfy any potential judgment even if the claims were successfully prosecuted, whereas the cost of
prosecuting would likely dissipate the available D&O insurance coverage and the assets that are being paid through
the settlement in defense costs.

          The rationale for the Special Committee’s negotiation and recommendation for the settlements is based on
the following factors, among others: the relative strength of these claims, which (if pursued) would sound in breach
of fiduciary duty premised on alleged gross negligence on the part of the officers; the challenges involved in litigating
loss causation; the costs of litigating these claims, including attorneys’ and experts’ fees; the financial wherewithal of
the officers; and the risk of depletion of substantial portions of available insurance coverage which prioritizes the
rights of the officers to utilize the insurance for defense costs. The Special Committee believes, following due
diligence and negotiations led by Special Committee Counsel, and after several additional videoconference meetings
and written exchanges with Special Committee Counsel, that the settlements embodied in the Plan are in the best
interests of the estate. The Special Committee does not believe there are viable causes of action against insiders
beyond those potential claims mentioned with respect to CEO and CCO relating to the 3AC Loan.

         B.       The Alameda Loan.

          Once it appeared that its loan to 3AC might be at risk, Voyager’s management team immediately engaged in
efforts to identify sources of potential liquidity to stabilize the Company’s business and ensure that the Company
remained adequately capitalized. On June 22, 2022, the Company entered into the Alameda Loan Facility, which
provided the Company with up to $200 million cash and USDC and 15,000 Bitcoin subject to certain restrictions.

         C.       Retention of Restructuring Advisors and Initial Third-Party Outreach.

         In June 2022 the Debtors engaged Kirkland and Moelis to advise the Debtors in navigating the recent
challenges impacting the cryptocurrency industry. Beginning on or about June 20, 2022, Moelis initiated a dual-track
marketing process (the “Prepetition Marketing Process”) to solicit interest in two general deal structures: (a) a sale
transaction in which the Debtors’ entire business would be sold to either a financial sponsor or a strategic company in
the cryptocurrency industry and (b) a capital raise whereby a third party (individually or as part of a consortium) would
provide a capital infusion into the Debtors’ business enterprise (together, a “Transaction”) to allow the Debtors to
weather the volatility in public equity markets, the decline in cryptocurrency prices, and dislocation in the
cryptocurrency industry caused, in part, by the decline of 3AC and the collapse of the Terra Luna ecosystem, as
described below. Among the deal structures considered for the financing were additional debt facilities and the
issuance of preferred equity in exchange for capital.

         To that end, Moelis reached out to 60 potential financial and strategic partners across the globe (collectively,
the “Potential Counterparties”), including domestic and international strategic cryptocurrency-related businesses and
private equity and other investment firms that currently have crypto-related investments and/or historical experience
investing in the cryptocurrency industry. By the Petition Date, over 20 of the Potential Counterparties had entered
into confidentiality agreements with the Debtors. Parties who executed a confidentiality agreement received a copy
of the Debtors’ investor presentation and access to a virtual data room containing thousands of pages with certain
information regarding the Debtors’ business operations, finances, material contracts, tax information, and
incorporation documents. In addition, parties that signed confidentiality agreements were offered the opportunity to
participate in telephone conferences with the Debtors’ management team as well as to request additional due diligence
information.




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         Simultaneously with their efforts to identify a Potential Counterparty to effectuate a Transaction, the Debtors,
Moelis, and the Debtors’ other advisors began to analyze potential strategies to effectuate a stand-alone restructuring
without the participation of a third-party partner to consummate a Transaction.

         While the Debtors’ marketing efforts yielded one proposal for an out-of-court financing, the conditions
precedent to the proposal and the pro forma capital structure contemplated thereunder were not achievable, and no
other Potential Counterparty was willing to participate in an out-of-court Transaction on the timeline required. Among
other things, Potential Counterparties expressed concerns regarding current uncertainty in the cryptocurrency market
and assumed liabilities on an out-of-court basis. Potential Counterparties were similarly reticent to participate in an
out-of-court financing alone, and the Debtors determined that a group investment could not be marshalled among
other viable Potential Counterparties on the timeline required to consummate a Transaction on an out-of-court basis.

         The Prepetition Marketing Process produced multiple preliminary proposals from parties willing to
participate in an in-court Transaction. However, as of the Petition Date, all of the preliminary offers that the Debtors
received required more time to fully develop and structure and/or were not more attractive than a potential stand-alone
restructuring.

         D.        Governance Initiatives.

           On July 5, 2022, the Debtors undertook several actions to strengthen the independence and experience of
their boards of directors: (i) the board of Voyager Digital Ltd. voted to appoint Matthew Ray as an independent
director; (ii) the board of Voyager Digital Holdings, Inc. voted to appoint Scott Vogel as an independent director;
(iii) the member of Voyager Digital, LLC (“OpCo”) appointed Stephen Ehrlich, CEO of the Voyager Digital Holdings,
Inc., as a director and Tim Pohl and Jill Frizzley as independent directors; and (iv) the board of OpCo voted to
establish the Special Committee comprised of Mr. Pohl and Ms. Frizzley and tasked the Special Committee with,
among other things, investigating the Company’s historical lending practices, including the facts and circumstances
around the 3AC Loan.

         E.        Voyager’s Decision to Commence these Chapter 11 Cases.

         As the general cryptocurrency market continued to decline, Voyager, like other peer platforms, saw a
significant uptick in customer withdrawals—some of which was legitimate—putting additional strain on the
Company’s business and risking the Company’s ability to serve customers who remained on its platform.

          On June 23, 2022, Voyager reduced its daily withdrawal maximum from $25,000 to $10,000 per user per
day. Putting a cap on withdrawals was necessary to ensure that the Company could effectuate trades for customers
on its platform who elected to keep their cryptocurrency assets with Voyager as well as to stabilize the Company’s
business while it engaged in discussions with potential third-party sponsors. Ultimately, the initial withdrawal limits
maximized the Company’s ability to continue to provide brokerage services to its customers.30

          The Debtors hoped that lower withdrawal limits would allow them to stabilize their business. However, as
the cryptocurrency markets continued to trend downward, the Debtors realized that further steps were required to
preserve customer assets, avoid irreparable damage to the Debtors’ business, and ensure that their trading platform
operated smoothly for all customers. Accordingly, on July 1, 2022, Voyager froze all withdrawals and trading activity
on its platform.

          Though Voyager continued to rigorously diligence all potential restructuring transactions, it became clear
that a potential strategic transaction would only emerge after the Debtors petitioned for chapter 11 relief.




30   Approximately 97% of customers on Voyager’s platform have less than $10,000 in their accounts.




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VII.     EVENTS OF THE CHAPTER 11 CASES

         A.       The Stand-Alone Plan.

          On July 6, 2022, the Debtors filed the Joint Plan of Reorganization of Voyager Digital Holdings, Inc. and Its
Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 17]. On August 12, 2022, the Debtors
filed the First Amended Joint Plan of Reorganization of Voyager Digital Holdings, Inc. and Its Debtor Affiliates
Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 287] and accompanying disclosure statement [Docket
No. 288] (the “Stand-Alone Plan Disclosure Statement”). As discussed in greater detail in Article II herein, the
Stand-Alone Plan contemplated, among other things, distributing to Holders of Account Holder Claims their pro rata
share of the New Common Stock, available Cash, Coins, the Voyager Tokens, and the 3AC Recovery, each as defined
in the Stand-Alone Plan. The Stand-Alone Plan Disclosure Statement, among other things, also made clear that, in
parallel to pursuing the Stand-Alone Plan, the Debtors were pursuing a potential transaction to sell the Debtors to a
third party either through an asset sale pursuant to section 363 of the Bankruptcy Code or an alternative chapter 11
plan of reorganization.

         B.       First and Second Day Relief and Other Case Matters.

         On the Petition Date, the Debtors filed several motions (the “First Day Motions”) designed to facilitate the
administration of the Chapter 11 Cases and minimize disruption to the Debtors’ operations. A brief description of
each of the First Day Motions and the evidence in support thereof is set forth in the First Day Declaration. Following
hearings on July 8, 2022, and August 4, 2022 (the “Second Day Hearing”), the Bankruptcy Court entered orders
granting certain of the First Day Motions and applications on interim and final bases:

         (i)      The Joint Administration Order authorizing the Debtors to jointly administer and maintain one
                  docket for the chapter 11 cases of Voyager Digital, LLC and its Debtor affiliates [Docket No. 18];

         (ii)     The Foreign Representative Order authorizing Debtor Voyager Digital Ltd. to act as “foreign
                  representative” in a parallel insolvency case commenced in Canada under the Companies’ Creditors
                  Arrangement Act [Docket No. 52];

         (iii)    The Credit Matrix Order authorizing the Debtors to (a) file a consolidated list of creditors in lieu
                  of submitting a separate mailing matrix for each Debtor, (b) file a consolidated list of the Debtors’
                  50 largest unsecured creditors in lieu of filing lists for each Debtor; and (c) redact certain personal
                  identification information [Docket No. 54];

         (iv)     The Automatic Stay Order restating and enforcing the worldwide automatic stay,
                  anti-discrimination provisions, and ipso facto protections of the Bankruptcy Code and approving
                  the form and manner of notice thereof [Docket No. 55];

         (v)      The Schedules and Statements Order authorizing the Debtors to extend the deadline by which the
                  Debtors’ Schedules and Statements must be filed by 30 days [Docket No. 59];

         (vi)     Order Retaining Stretto as Noticing Agent authorizing the Debtors to retain Stretto, Inc. as
                  third-party claims and noticing agent [Docket No. 67];

         (vii)    The Wages Order authorizing the Debtors to continue paying prepetition wages and certain
                  administrative costs related thereto and continue employee benefits programs [Docket No. 233];

         (viii)   The Taxes Order authorizing the Debtors to pay certain taxes and fees that accrued or arose in the
                  ordinary course of business before the Petition Date [Docket No. 235];




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         (ix)      The Interim Cash Management Orders authorizing the Debtors to continue utilizing the Debtors’
                   prepetition cash management system [Docket Nos. 53 and 237] (the “Cash Management Motion”);31

         (x)       The NOL Order approving certain notifications and procedures regarding the transfer of, and
                   declarations of worthlessness with respect to, common stock of Voyager Digital Ltd. [Docket No.
                   238];

         (xi)      The Insurance Order authorizing the Debtors to honor existing insurance obligations [Docket No.
                   239]; and

         (xii)     The Case Management Order authorizing the Debtors to set the guidelines and requirements for
                   the administration of their Chapter 11 Cases, including for scheduling purposes [Docket No. 240].

          The First Day Motions, and all orders for relief granted in the Chapter 11 Cases, can be viewed free of charge
at https://cases.stretto.com/Voyager.

         The Debtors also filed several other motions subsequent to the Petition Date to facilitate the Debtors’
restructuring efforts and ease administrative burdens. Following the Second Day Hearing, the Bankruptcy Court
entered orders granting the following relief:

         (i)       The Interim Compensation Order approving procedures for the compensation of retained
                   professionals in these Chapter 11 Cases [Docket No. 236];

         (ii)      The Ordinary Course Professionals Order approving procedures for the retention and
                   compensation of certain professionals utilized by the Debtors in the ordinary course operation of
                   their businesses [Docket No. 244]; and

         (iii)     Applications to Retain Professionals postpetition pursuant to sections 327 and 328 of the
                   Bankruptcy Code, including:

                   i.        Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the Debtors
                             and Debtors in Possession [Docket No. 234];

                   ii.       Moelis & Company LLC as Investment Banker and Capital Markets Advisor for the
                             Debtors and Debtors in Possession [Docket No. 299];

                   iii.      Berkeley Research Group, LLC as Financial Advisors for the Debtors and Debtors in
                             Possession [Docket No. 297];

                   iv.       Quinn Emanuel Urquhart & Sullivan LLP as Special Counsel to Voyager Digital, LLC
                             [Docket No. 242]; and

                   v.        Stretto, Inc. as administrative advisor [Docket No. 241].

         The foregoing professionals, among others, are each integral to the Debtors’ restructuring efforts and ultimate
emergence from chapter 11. The postpetition compensation of all of the Debtors’ professionals retained pursuant to
sections 327 and 328 of the Bankruptcy Code is subject to the approval of the Bankruptcy Court.




31   On July 15, 2022, the Debtors filed a supplement to the Cash Management Motion that sought authorization to pay prepetition
     amounts owed on their corporate credit cards issued by Brex, Inc. (the “Supplemental Cash Management Motion”) [Docket
     No. 84]. On July 25, 2022, the Bankruptcy Court entered an order granting the Supplemental Cash Management Motion
     [Docket No. 138].




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         C.        Appointment of Unsecured Creditors’ Committee.

          On July 19, 2022, the U.S. Trustee appointed the official committee of unsecured creditors
(the “Committee”).32 The Debtors immediately engaged with the Committee to discuss the Debtors’ restructuring
efforts, the Plan, and Debtors’ proposed case timeline. The seven-member Committee is currently composed of the
following members: Russell G. Stewart, Jason Raznick, Brandon Mullenberg, Richard Kiss for Thincan Trust,
Christopher Moser, Byron Walker, and Melissa and Adam Freedman. The Committee selected McDermott Will &
Emery LLP as legal counsel and FTI Consulting, Inc. as financial advisor.33

         D.        Schedules and Statements.

          On July 8, 2022, the Bankruptcy Court entered the Order (I) Extending Time to File Schedules of Assets and
Liabilities, Schedules of Current Income and Expenditures, Schedules of Executory Contracts and Unexpired Leases,
Statements of Financial Affairs, and Rule 2015.3 Financial Reports, (II) Waiving Requirements to File List of Equity
Holders, and (III) Granting Related Relief [Docket No. 59] extending the deadline by which the Debtors were required
to file their schedules of assets and liabilities and statements of financial affairs (the “Schedules and Statements”) by
an additional 30 days for a total of 44 days after the Petition Date. Accordingly, the Debtors were required to file the
Schedules and Statements by no later than August 18, 2022. This schedule provided creditors with ample time to
analyze and evaluate scheduled claims in advance of Solicitation and the General Claims Bar Date.

         On August 18, 2022, August 19, 2022, August 22, 2022, and September 15, 2022, the Debtors filed their
Schedules and Statements [Docket Nos. 311, 312, 321, 429, and 430]. Interested parties may review the Schedules
and Statements and any amendments thereto free of charge at https://cases.stretto.com/Voyager.

         E.        Bar Date Motion.

          On July 18, 2022, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Setting Bar Dates for
Submitting Proofs of Claim, (II) Approving Procedures for Submitting Proofs of Claim, and (III) Approving Notice
Thereof [Docket No. 98] (the “Bar Date Motion”). On August 8, 2022, the Bankruptcy Court entered an order granting
the relief set forth in the Bar Date Motion [Docket No. 218] (the “Bar Date Order”), which established procedures and
set deadlines for filing Proofs of Claim against the Debtors and approved the form and manner of the bar date notice
(the “Bar Date Notice”). Pursuant to the Bar Date Order and the Bar Date Notice, the last date for certain persons and
entities to file Proofs of Claim in these Chapter 11 Cases is October 3, 2022, at 5:00 p.m. Eastern Time (the “General
Claims Bar Date”) and the last date for governmental units to file Proofs of Claim in the Debtors’ Chapter 11 Cases
is January 3, 2023, at 5:00 p.m. Eastern Time. The Bar Date Notice was served on August 3, 2022 [Docket No. 226]
and published in The New York Times (national and international editions) and the Financial Times (international
edition) on August 10, 2022 [Docket No. 272].

         F.        The FBO Motion.

         On July 14, 2022, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors
to (a) Honor Customer Withdrawals from the MC FBO Accounts, (b) Liquidate Cryptocurrency From Customer
Accounts With a Negative Balance, (c) Sweep Cash Held in Third-Party Exchanges, (d) Conduct Ordinary Course
Reconciliation of Customer Accounts, and (e) Continue to Stake Cryptocurrency; and (II) Granting Related Relief
[Docket No. 73] (the “FBO Motion”). The FBO Motion sought to continue certain ordinary course practices, including
(i) honoring customer withdrawals from the “for the benefit of” accounts (the “MC FBO Accounts,”) held at
Metropolitan Commercial Bank; (ii) liquidating customer accounts that hold a negative U.S. dollar balance and
sweeping the resulting cash from third-party exchanges into the Debtors’ operating accounts; (iii) engaging in ordinary
course reconciliation practices related to customer accounts; and (iv) staking cryptocurrency.

         On July 29, 2022, the Debtors filed a supplement to the FBO Motion [Docket No. 173], which provided
additional information on the prepetition procedures for processing customer withdrawal requests from the MC FBO

32   See Amended Notice of Appointment of Official Committee of Unsecured Creditors [Docket No. 106].

33   See Docket Nos. 403 and 404.




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Accounts, including, among other things, reconciliation of the MC FBO Accounts and funding of any deficit in the
MC FBO Accounts on account of ACH chargebacks. On July 30, 2022, Metropolitan Commercial Bank filed a
statement in support of the FBO Motion and Supplement [Docket No. 177]. On August 2, 2022, the Committee filed
a statement in support of the FBO Motion [Docket No. 193]. On August 5, 2022, the Bankruptcy Court entered the
Order (I) Authorizing the Debtors to (a) Honor Withdrawals from the MC FBO Accounts, (b) Liquidate
Cryptocurrency from Customer Accounts with a Negative Balance, (c) Sweep Cash Held in Third-Party Exchanges,
(d) Conduct Ordinary Course Reconciliation of Customer Accounts, and (e) Continue Staking Cryptocurrency; and
(II) Granting Related Relief] [Docket No. 247] (the “FBO Order”) approving the FBO Motion. The Debtors worked
closely with the Committee regarding the requested relief, and the FBO Order affords the Committee various
protections, including the requirement that the Debtors provide the Committee with written notice prior to staking or
unstaking cryptocurrency, information sufficient to evaluate staking positions, and Court oversight of staking activities
in the absence of agreement between the Committee and the Debtors. On August 11, 2022, the Debtors began
returning customer funds in the FBO Accounts. To date, the Debtors have returned approximately $245.75 million of
customer funds from the FBO Accounts.

         G.        The 3AC Liquidation Proceeding.

         On June 29, 2022, the Eastern Caribbean Supreme Court in the High Court of Justice Virgin Islands
(Commercial Division) (the “BVI Court”) entered an order appointing Russell Crumpler and Christopher Farmer of
Teneo (BVI) Limited as joint liquidators (“Joint Liquidators”) to conduct an orderly and equitable wind-down of 3AC
pursuant to Part 6 of the British Virgin Islands Insolvency Act, 2003 (“BVI Insolvency Act”). The liquidation of 3AC
(the “3AC Liquidation Proceeding”) is currently pending in the BVI Court.34 On July 1, 2022, 3AC filed a petition
with the United States Bankruptcy Court for the Southern District of New York seeking recognition of the 3AC
Liquidation Proceeding as a “foreign main proceeding” pursuant to chapter 15 of the Bankruptcy Code (the “3AC
Chapter 15 Proceeding”).35

         On July 18, 2022, in accordance with section 179 of the BVI Insolvency Act, the Joint Liquidators established
a committee of creditors to work closely with the Joint Liquidators to support the interests of all creditors in the 3AC
Liquidation Proceeding. Voyager was one of the the five creditors appointed to the committee.36 Voyager continues
to work diligently to maximize its recovery in the 3AC Liquidation Proceeding on account of the 3AC Loan (the “3AC
Recovery”). As set forth in greater detail in Article III.D of this Disclosure Statement, the 3AC Recovery, if any, will
be among the value distributed to Holders of Account Holder Claims and General Unsecured Claims under the Plan.

         H.        Litigation Matters.

                   1.        Certain Non-Bankruptcy Litigation Matters

         In the ordinary course of business, the Debtors are parties to certain lawsuits, legal proceedings, collection
proceedings, and claims arising out of their business operations. The Debtors cannot predict with certainty the
outcome of these lawsuits, legal proceedings, and claims. With certain exceptions, the filing of the Chapter 11 Cases
operates as a stay with respect to the commencement or continuation of litigation against the Debtors that was or could
have been commenced before the commencement of the Chapter 11 Cases. The filing of the Chapter 11 Cases likewise
generally stays any legal proceedings commenced to obtain possession of, or to exercise control over, the property of
the Debtors’ bankruptcy estate.

          Further, the Debtors are party to various other legal proceedings (including individual, class and putative
class actions as well as federal and state governmental investigations) covering a wide range of matters and types of
claims including, but not limited to, securities laws, contracts, and trademark disputes. Such matters are subject to
uncertainty and the outcome of individual matters is not predictable.


34   See In re Three Arrows Capital Limited, Case No. BVIHCOM2022/0119 (June 27, 2022).

35   See In re Three Arrows Capital, Ltd, Case No. 2210920 (Bankr. S.D.N.Y. July 1, 2022).

36   The other members of the 3AC creditors’ committee are Blockchain.com, CoinList, Digital Currency Group, and MatrixPort.




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                   2.        Certain Adversary Proceedings

                             (a)      Voyager Digital Holdings, Inc. v. De Sousa, et al.

         On July 6, 2022, a putative class-action litigation was filed in the Ontario Superior Court of Justice
(the “Canadian Class Action”).37 The Canadian Class Action alleges claims against Debtor Voyager Digital Ltd. and
some of its directors and officers for statutory secondary market liability under Canadian securities law, and common-
law negligent misrepresentation. To prove many of the claims against Voyager Digital Ltd. in that suit, the plaintiffs
must first establish the underlying liability of the named directors and officers, and then establish that Voyager Digital
Ltd. is vicariously liable for their alleged wrongdoing. On August 10, 2022, the Debtors filed a complaint and
commenced an adversary proceeding in the Bankruptcy Court to extend the automatic stay, or alternatively, enjoin
prosecution of the Canadian Class Action.38 On August 11, 2022, the Ontario Superior Court of Justice denied the
proposed Canadian Class Action plaintiff’s motion seeking appointment of an equity committee and funding of
representative counsel in the Canadian foreign recognition proceeding.39

                             (b)      Voyager Digital Holdings, Inc. v. Robertson, et al.

         On December 24, 2021, a putative class-action complaint was filed against two of the Debtors, Voyager
Digital Ltd. and Voyager Digital, LLC, in the United States District Court for the Southern District of Florida,
captioned Cassidy et al. v. Voyager Digital Ltd. et al. The named plaintiff was a Voyager customer. His complaint,
which is publicly available, generally alleged that “Voyager’s practices were deceptive, illegal and were the sale of
unregistered securities,” Cassidy v. Voyager, 1:21-cv-24441-CMA (S.D. Fla. Apr. 28, 2022) (Am. Compl. ¶ 5, ECF
No. 46). Cassidy asserted causes of action under federal and state securities law, and violations of consumer-
protection claims under New Jersey and Florida law.

          Cassidy was litigated for six months prior to the Petition Date. The defendants filed a motion to dismiss the
case, and also a motion to compel arbitration of the case. Those motions were pending on the Petition Date. Upon
the Petition Date, the Debtors filed a suggestion of bankruptcy on the docket in Cassidy, and the District Court
administratively closed the case.

           After the Cassidy court administratively closed the case, the same lawyers who represent the Cassidy
plaintiffs filed another putative-class-action proceeding in the United States District Court for the Southern District of
Florida, this time naming Mark Cuban (owner of the Dallas Mavericks), Dallas Basketball Limited, d/b/a Dallas
Mavericks, and Stephen Ehrlich, the Debtors’ CEO and co-founder, as defendants. This action is captioned Robertson
et al. v. Cuban et al., No. 1:22-cv-22538-RKA (S.D. Fla. Aug. 10, 2022). The plaintiffs are also Voyager customers
and, as proposed class representatives, assert claims against Mr. Ehrlich, Mr. Cuban, and the Dallas Mavericks, for
allegedly aiding and abetting Voyager’s alleged fraud claimed in the Cassidy action; aiding and abetting breach of
fiduciary duty; civil conspiracy; and alleged violation of several states’ consumer-protection and securities laws. The
Robertson Complaint repeats the allegations made in Cassidy and explicitly claims that Cassidy “specifically alleged
in detail … how Defendants Mark Cuban and Stephen Ehrlich were key players who personally reached out to
investors, individually and through [defendant] Dallas Mavericks, to induce them to invest in the Deceptive Voyager
Platform.” Counsel representing the Plaintiffs in Robertson have advised that they intend to amend their complaint,
but have not yet provided an amended complaint or described which claims they may attempt to pursue.

        Accordingly, on August 10, 2022, the Debtors filed a complaint and commenced an adversary proceeding in
the Bankruptcy Court to extend the automatic stay, or alternatively, enjoin prosecution of the Robertson action.40 The



37   De Sousa v. Voyager Digital Ltd., et al., No. CV-22-00683699-00CP (Ontario Superior Court of Justice).

38   Voyager Digital Holdings, Inc. v. De Sousa, et al., Adv. Pro. No 22-01133 (MEW).

39   In re Voyager Digital Ltd., No. CV-22-00683820-00CL (Ontario Superior Court of Justice).

40   Voyager Digital Holdings, Inc. v. Robertson, et al., Adv. Pro. No 22-01138 (MEW).




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Robertson adversary proceeding is pending before the Bankruptcy Court and a hearing is set on the matter for October
19, 2022.

         The Debtors do not believe that either Cassidy or Robertson have merit, but Voyager customers may be
within the putative class definition provided in each of the filed complaints. To the extent Cassidy or Robertson assert
“direct” claims by individual customers against non-Debtors, such claims are not released by the proposed Plan and
Confirmation Order unless Contributing Claimants elect on their ballots or opt-in forms to contribute such claims to
the Wind-Down Entity, in which case such claims would be subject to the release and exculpation provisions of the
Plan to the extent they may be brought against Released Parties or Exculpated Parties. To the extent Cassidy or
Robertson assert derivative claims, or otherwise assert claims owned by the Debtors and/or the estates, they are
released in and/or treated by the proposed Plan.

         The Debtors do not believe that any pursuit of Cassidy or Robertson would have a material impact on creditor
recoveries. But it is unclear what impact, if any, attempts to pursue the Cassidy or Robertson cases following
confirmation of the Plan may have on the Wind-Down Debtors, creditors, or third parties. Creditors should obtain
their own legal advice if they have questions concerning the viability of these matters (or lack thereof), likelihood of
success, or potential impact on their long-term interests.

                            (c)       Giacobbe v. Voyager Digital Holdings, Inc. et al.

         On September 1, 2022, Jon Giacobbe filed a complaint and commenced an adversary proceeding in the
Bankruptcy Court alleging that the Debtors have a nondischargeable debt pursuant to section 523(a)(2)(A) of the
Bankruptcy Code for money obtained by false pretenses, false representations, or actual fraud.41 The Giacobbe
adversary proceeding is pending before the Bankruptcy Court and a pretrial conference is scheduled for November
29, 2022. The Debtors’ response to the complaint is due on October 17, 2022 pursuant to the Stipulation and Order
(1) Extending the Debtor Defendants’ Time to Respond to the Complaint and Related Deadlines and (2) Adjourning
the Pre-Trial Conference SINE DIE (Adv. Pro. 22-01145 (MWE) [Docket No. 4]. On October 14, 2022, the Debtors
filed a motion to dismiss the Giacobbe Complaint [Docket Nos. 7, 8].

                            (d)       Voyager Digital Holdings, Inc. v. Adam Lavine and Shingo Lavine

         On September 27, 2022, the Debtors filed a complaint and commenced an adversary proceeding in the
Bankruptcy Court to extend the automatic stay, or alternatively, enjoin the Lavines from terminating the Debtors’
access to and use of the Ethos.io DNS servers that they have used for years.42 On September 30, 2022, the Lavines
and the Debtors jointly agreed to a stipulation and agreed order, which fully resolved the matter, and was subsequently
entered by the Bankruptcy Court [Docket No. 11].

         I.        The Coinify Sale.

         Coinify ApS (along with its subsidiaries, collectively, “Coinify”) is a limited liability corporation organized
under the laws of Denmark that is a wholly owned subsidiary of Voyager European Holdings ApS (“Voyager
Europe”). Voyager Europe is itself a wholly owned subsidiary of Debtor Voyager Digital Ltd. Coinify is a global
cryptocurrency payment processor separate and distinct from the Voyager platform that enables buying, selling, and
accepting cryptocurrency payment in stores worldwide.

         On June 20, 2022, the Debtors engaged Moelis to assist in their exploration of available strategic alternatives,
including a sale of the Coinify business. On June 28, 2022, Ascension ApS (“Ascension”) submitted an unsolicited
offer to purchase Coinify. In the following approximately two weeks, the Debtors and Ascension engaged in
arm’s-length, robust negotiations. On July 13, 2022, Voyager Europe entered into that certain share purchase
agreement by and among Voyager Europe, as seller, and Ascension, as buyer (the “Coinify Purchase Agreement”).
The Coinify Purchase Agreement contemplated the sale to Ascension in exchange for $2 million in cash and included
an “Earn-Out” payment provision in an amount equal to 12.5% of a subsequent sale transaction of Coinify (capped at

41   Giacobbe v. Voyager Digital Holdings, Inc. et al., Adv. Pro. No 22-01145 (MEW).

42   Voyager Digital Holdings, Inc. v. Adam Lavine and Shingo Lavine, Adv. Pro. No 22-01150 (MEW).




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$15,000,000), if such sale were to be consummated by Ascension on or before the third anniversary of the Coinify
sale closing date. The Coinify Purchase Agreement also contained a standard “fiduciary out” clause that allowed the
Debtors to entertain competing offers to purchase Coinify should any such offers emerge. On July 14, 2022, the
Debtors filed a motion for entry of an order, among other things, approving the Debtors’ entry into the Coinify
Purchase Agreement [Docket No. 72] (the “Coinify Motion”).

          Following the filing of the Coinify Motion the Debtors received indications of interest from several third
parties interested in a potential purchase of Coinify. Accordingly, the Debtors adjourned the Coinify Motion while
they continued to engage with all interested third parties to achieve a transaction that maximizes the value of the
Coinify business. Following good faith, arm’s-length negotiations with all potential transaction parties and discussion
among the Board and the Debtors’ advisors, the Board determined, in its business judgment, that the offer
contemplated in the Coinify Purchase Agreement represented the most value maximizing option for the Debtors with
respect to the Coinify business. Accordingly, the Debtors scheduled a hearing to approve the Coinify Motion for
August 16, 2022. Shortly after the hearing, the Bankruptcy Court entered an order approving the Coinify Motion.

         On September 30, 2022, the Debtors received an offer letter from Ascension to convert the “Earn Out”
provision of the Coinify Purchase Agreement into a one-time cash payment of $250,000. Ultimately, the Debtors
denied the offer because they believe that the “Earn Out” is worth substantially more than the offer received.

         J.       The Key Employee Retention Plan.

          On August 2, 2022, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Approving the Debtors’
Key Employee Retention Plan and (II) Granting Related Relief [Docket No. 212] (the “KERP Motion” and the plan
set forth therein, the “KERP”), seeking approval of a key employee retention program.

         The proposed KERP provides for payment of cash retention awards to 38 of the Debtors’ non-insider
employees who perform essential tasks for the Debtors, including accounting, cash and digital asset management, IT
infrastructure, legal, human resources, and other critical functions (each, a “KERP Participant”). KERP Participants
possess deep institutional knowledge of the Debtors’ operations, the cryptocurrency industry generally, or both. Some
KERP Participants maintain critical relationships with counterparties that are essential to the Debtors’ business.
Further, many KERP Participants are long-tenured employees that developed or helped to build the Debtors’ platform.
The KERP prevents the attrition of the KERP Participants and, by extension, the need to incur significant operational
and financial costs to source and hire new employees.

        Following a hearing on August 24, 2022, the Bankruptcy Court entered an order approving the KERP Motion
[Docket No. 345].

         K.       Canadian Recognition Proceeding.

          On July 12, 2022, the Debtors sought and were granted an Initial Recognition Order and a Supplemental
Order by Madam Justice Kimmel of the Ontario Superior Court of Justice (Commercial List) (the “Canadian Court”)
pursuant to a proceeding commended under Part IV of the Companies’ Creditors Arrangement Act, R.S.C. 1985, c.
C-36 (the “CCAA Recognition Proceedings”). Among other things, the Initial Recognition Order (as amended and
restated on August 5, 2022) and the Supplemental Order: (i) recognized the Chapter 11 case of Voyager Digital Ltd.
as a foreign main proceeding; (ii) recognized Voyager Digital Ltd. as the Foreign Representative of its Chapter 11
case in Canada; (iii) recognized and gave effect in Canada to certain first-day orders granted by the Bankruptcy Court
in Voyager Digital Ltd.’s Chapter 11 case; (iv) granted a stay of proceedings in Canada in respect of Voyager Digital
Ltd., its property and business, and its directors and officers; (v) prohibited the commencement of any proceedings
against Voyager Digital Ltd. in Canada absent further order of the Canadian Court; and (vi) appointed Alvarez &
Marsal Canada Inc. as the Information Officer in respect of the CCAA Recognition Proceedings. On August 11, 2022,
the Canadian Court recognized and gave effect in Canada to certain further orders of the Bankruptcy Court made in
Voyager Digital Ltd.’s Chapter 11 case.

         L.       The Unwind Motion.

         On September 19, 2022, the Debtors filed the Debtors’ Motion Seeking Entry of an Order (I) Authorizing the
Debtors to Return Collateral and (II) Granting Related Relief [Docket No. 402] (the “Unwind Motion”). The Unwind


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Motion seeks entry of an order authorizing the Debtors to return collateral held on account of certain loans made by
Debtor Voyager Digital, LLC and non-Debtor HTC Trading Inc. to Alameda Research Ltd. (the “Alameda Loan”), as
part of and upon Alameda’s return of lent cryptocurrency back to the Debtors. On September 28, 2022, the Bankruptcy
Court entered an order approving the Unwind Motion [Docket No. 470].

         M.        The Request for Appointment of an Equity Committee.

          On September 1, 2022, Shikar S. Partab, a self-identified minority shareholder and investor in Voyager
Digital Ltd., filed a letter with the Bankruptcy Court (the “Partab Letter”) requesting that the Bankruptcy Court grant
several motions, including a motion for an order directing that an equity committee “be appointed to protect minority
shareholders in Voyager Digital.” See Letter [Docket No. 373]. According to the First Amended Verified Statement
Pursuant to Bankruptcy Rule 2019, Mr. Partab joined an ad hoc group of Equity Interest Holders [Docket No. 482].
On September 30, 2022, David Stephenson, a self-identified minority shareholder and investor in Voyager Digital
Ltd., filed a letter with the Bankruptcy Court in support of the Partab Letter and the relief sought therein, including
the appointment of an equity committee [Docket No. 491]. On October 3, 2022, the United States Trustee filed the
Statement of the United States Trustee Regarding Motion for Entry of an Order Directing the United States Trustee
to Appoint an Official Equity Committee noting the legal and statutory framework for appointment of an equity
committee and declining to take a position of the appointment of an equity committee in the Debtors’ chapter 11 cases.
The Debtors intend to object to the request sought in the Partab Letter. Pursuant to the Notice of Adjournment, the
hearing on the Partab Letter is set for November 15, 2022. [Docket No. 444, 500].

         N.        The Post-Petition Sale Process.

         On July 14, 2022, Moelis distributed a letter to prospective buyers with key information regarding the
Debtors’ marketing process (the “Process Letter”). Among other things, the Process Letter requested that all parties
interested in purchasing the Company submit a non-binding indication of interest (an “Indication of Interest”) by no
later than 12:00 p.m., prevailing Eastern Time, on Friday, July 29, 2022 (the “IOI Deadline”), and set forth the
minimum requirements that any Indication of Interest must meet in order to be considered by the Company.

        On July 21, 2022, the Debtors filed the Bidding Procedures Motion. The Bidding Procedures Motion was
approved by the Bankruptcy Court on August 5, 2022.

         The Bidding Procedures established an open process for the solicitation, receipt, and evaluation of Bids for
the Debtors’ equity and/or assets pursuant to section 363 of the Bankruptcy Code or Confirmation of a Plan. The
Bidding Procedures complemented and continued the Prepetition Marketing Process described in greater detail in
Article II herein. The timeline set forth in the Bidding Procedures was calculated to balance the need to provide
adequate notice to parties in interest and potential bidders with the need to run an expeditious and efficient sale process.
Ultimately, the Bidding Procedures provided the Debtors with a clear and fair process to ascertain interest in the
Debtors’ assets and facilitate a sale of the Debtors if a value-maximizing bid was received.

          As of the Bid Deadline (as defined in the Bidding Procedures), the Debtors had received multiple bids with
varying structures and terms. On September 13, 2022, the Debtors commenced the Auction in accordance with the
Bidding Procedures. The Auction spanned two weeks and featured multiple rounds of bids. The Debtors and their
advisors, in consultation with the Committee and its advisors, scrutinized each bid closely, analyzing (a) the assets
sought to be purchased, (b) the total expected deal consideration, (c) the certainty of each bidder’s ability to close a
transaction and the timing thereof (including any anticipated delays to closing and the cost to the Debtors of such
delays), (d) the expected net benefit to the estates, including recoveries to customers, and (e) other criteria considered
by the Debtors in their reasonable, good-faith business judgment. Importantly, the Debtors also analyzed whether
each bid would provide greater value to the Debtors’ stakeholders than the Standalone Plan. The Debtors consulted
closely with the Committee throughout the Auction and these chapter 11 cases more generally.

         Ultimately, the Debtors, in consultation with the Committee, determined that the Purchaser’s bid was the
highest and best bid and would provide meaningful value to the Debtors’ estates and stakeholders. On September 27,
2022, the Debtors and the Purchaser entered into the Asset Purchase Agreement. The Debtors value FTX US’s bid at
approximately $1.422 billion, comprised of (i) the value of cryptocurrency on the Voyager platform as of a date to be
determined, which, as of September 26, 2022, is estimated to be $1.311 billion, plus (ii) additional consideration which
is estimated to provide at least approximately $111 million of incremental value. Pursuant to the Asset Purchase



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Agreement, FTX US is acquiring all Avoidance Actions against Account Holders. The Debtors do not believe that
valid Avoidance Actions exist against Account Holders because any transactions with Account Holders were
completed in the ordinary course of business consistent with past practices.

          Most importantly, the FTX US bid can be effectuated quickly, provides a meaningful recovery to creditors,
and allows the Debtors to facilitate an efficient resolution of these chapter 11 cases, after which FTX US’s market-
leading, secured trading platform will enable customers to trade and store cryptocurrency. The terms of the
Purchaser’s Bid are set forth in greater detail in the Asset Purchase Agreement, attached to the Plan as Exhibit A. Due
to this comprehensive marketing process and robust Auction, the Sale provides all creditors with significantly more
value through the Sale than they would have received had the Debtors accepted FTX US’s original offer.

         On September 28, 2022, the Debtors filed the Sale Motion, which seeks approval of the Debtors’ entry into
the Asset Purchase Agreement and authority to perform its obligations under the Asset Purchase Agreement.

         O.       The Special Committee Investigation.

         As described in Article VII.D, on July 5, 2022, OpCo formally formed the Special Committee comprised of
disinterested directors Timothy Pohl and Jill Frizzley. The Special Committee was vested with the authority to, among
other things: (a) investigate any historical transactions, public reporting, or regulatory issues undertaken by OpCo
that the Special Committee deemed necessary or appropriate, and the facts and circumstances surrounding such
transactions; (b) interview and solicit information and views from management, representatives, consultants, advisors,
or any other party in connection with any historical transactions undertaken by OpCo that the Special Committee
deems necessary or appropriate; (c) request documentation and information regarding OpCo’s business, assets,
properties, liabilities and business dealings with respect to any historical transactions undertaken by Voyager that the
Special Committee deems necessary and appropriate to review; (d) perform any other activities consistent with the
matters described herein or as the Special Committee or Voyager’s board of directors otherwise deems necessary or
appropriate; and (e) conduct an independent investigation with respect to any potential estate claims and causes of
action against insiders of Voyager, including any claims arising from loans made to 3AC. Id. The Special Committee
retained the Special Committee Counsel to provide independent advice to, and act at the exclusive direction of, the
Special Committee in connection with the Special Committee’s mandate.

          During its investigation, counsel for the Special Committee sought and received information related to,
among other things: Voyager’s loans to 3AC, Alameda, Celsius and numerous other borrowers; the diligence
performed in connection with those loans; Voyager’s staking of customer cryptocurrency assets; Voyager’s regulatory
compliance; pre-petition payments to insiders and third parties; and numerous other aspects of Voyager’s business.
The Special Committee drafted and negotiated a protective order, which was later entered by the Bankruptcy Court,
to protect the confidentiality of the information sought and received. Voyager collected and provided to the Special
Committee responsive documents from its internal hard copy and electronic files, from its outside counsel, and from
various third parties (e.g., cryptocurrency custodians and exchanges). Among many other things, Voyager collected
email, Slack communications, and, in certain cases, Telegram and cell phone data—from a dozen Company
employees, including all of Voyager’s most senior officers and others. In addition to several voluminous spreadsheets
of data, Voyager produced over 12,000 documents—collectively totaling over 50,000 pages—related to, among other
things: loans between Voyager and its counterparties; the diligence performed by Voyager in connection with those
loans; internal and external communications regarding those loans; meetings of Voyager’s Risk Committee and board
of directors; detailed information regarding Voyager’s staking of customer assets; Voyager’s applications for money
transmitter licenses; audits for compliance with applicable laws and regulations; communications with Voyager’s
regulators; Voyager’s public statements; Voyager’s tax filings and financial statements; and detailed information
regarding intercompany transfers and payments to insiders. No information was withheld from the Special Committee
on privilege grounds.

         In addition to reviewing the above-referenced documents, counsel for the Special Committee also
interviewed numerous Voyager employees, including Steve Ehrlich (CEO), Gerard Hanshe (COO), Evan Psaropoulos
(CCO), Ashwin Prithipaul (CFO), Pamela Kramer (CMO), David Brosgol (General Counsel), Marshall Jensen (Head
of Corporate Development), Ryan Whooley (Head of Treasury and Trading), Jon Brosnahan (Treasurer), Brian Silard
(Treasury Team), David Brill (Deputy General Counsel), and Manisha Lalwani (in-house regulatory counsel).
Collectively, the interviews performed during the Special Committee’s investigation lasted more than 55 hours, and
covered in great detail a wide-range of topics.


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VIII.    RISK FACTORS

      BEFORE TAKING ANY ACTION WITH RESPECT TO THE PLAN, HOLDERS OF CLAIMS
AGAINST THE DEBTORS WHO ARE ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN
SHOULD READ AND CONSIDER CAREFULLY THE RISK FACTORS SET FORTH BELOW AS WELL
AS THE OTHER INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT, THE PLAN, AND
THE DOCUMENTS DELIVERED TOGETHER HEREWITH, REFERRED TO, OR INCORPORATED BY
REFERENCE INTO THIS DISCLOSURE STATEMENT, INCLUDING OTHER DOCUMENTS FILED
WITH THE BANKRUPTCY COURT IN THE CHAPTER 11 CASES. THE RISK FACTORS SHOULD NOT
BE REGARDED AS CONSTITUTING THE ONLY RISKS PRESENT IN CONNECTION WITH THE
DEBTORS’ BUSINESSES OR THE RESTRUCTURING AND CONSUMMATION OF THE PLAN. EACH
OF THE RISK FACTORS DISCUSSED IN THIS DISCLOSURE STATEMENT MAY APPLY EQUALLY
TO THE DEBTORS AND THE WIND-DOWN DEBTORS, AS APPLICABLE AND AS CONTEXT
REQUIRES.

         A.       Risks Related to the Restructuring.

          Holders of Claims should read and consider carefully the risk factors set forth below before voting to accept
or reject the Plan. Although there are many risk factors discussed below, these factors should not be regarded as
constituting the only risks present in connection with the Debtors or the Plan and its implementation.

                 1.     The Debtors Will Consider All Available Restructuring Alternatives if the Restructuring
Transactions Are Not Implemented, and Such Alternatives May Result in Lower Recoveries for Holders of Claims
Against the Debtors.

          If the Restructuring Transactions are not implemented, the Debtors will consider all other restructuring
alternatives available, which may include the filing of an alternative chapter 11 plan, conversion to chapter 7, or any
other transaction that would maximize the value of the Debtors’ estates. Any alternative restructuring proposal may
be on terms less favorable to Holders of Claims against the Debtors than the terms of the Plan as described in this
Disclosure Statement.

        Any material delay in Confirmation of the Plan, or the Chapter 11 Cases, or the threat of rejection of the Plan
by the Bankruptcy Court, would add substantial expense and uncertainty to the process.

        The uncertainty surrounding a prolonged restructuring would also have other adverse effects on the Debtors.
For example, it would also adversely affect:

         •    the Debtors’ ability to raise additional capital;

         •    the Debtors’ ability to retain key employees;

         •    the Debtors’ ability to retain account holders;

         •    the Debtors’ liquidity;

         •    how the Debtors’ business is viewed by regulators, investors, and lenders; and

         •    the Debtors’ enterprise value.

                  2.        Certain Bankruptcy Law Considerations.

          The occurrence or non-occurrence of any or all of the following contingencies, and any others, could affect
distributions available to Holders of Allowed Claims under the Plan but will not necessarily affect the validity of the
vote of the Impaired Classes to accept or reject the Plan or necessarily require a re-solicitation of the votes of Holders
of Claims in such Impaired Classes.




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                            (a)      Parties in Interest May Object to the Plan’s Classification of Claims and
Interests.

         Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity interest in a
particular class only if such claim or equity interest is substantially similar to the other claims or equity interests in
such class. As provided in the Plan and this Disclosure Statement, the Debtors are not seeking to substantively
consolidate and recoveries on account of Claims against or Interests in any Debtor shall be determined on a Debtor-
by-Debtor basis. The Debtors believe that the classification of the Claims and Interests under the Plan complies with
the requirements set forth in the Bankruptcy Code because the Debtors created Classes of Claims and Interests, each
encompassing Claims and Interests that are substantially similar to the other Claims and Interests in each such Class.
Nevertheless, there can be no assurance that the Bankruptcy Court will reach the same conclusion.

                            (b)      The Conditions Precedent to the Effective Date of the Plan May Not Occur.

        As more fully set forth in Article IX of the Plan, the Effective Date is subject to a number of conditions
precedent. If such conditions precedent are not met or waived, the Effective Date will not take place.

                            (c)      Failure to Satisfy Vote Requirements.

          If votes are received in number and amount sufficient to enable the Bankruptcy Court to confirm the Plan,
the Debtors intend to seek, as promptly as practicable thereafter, Confirmation of the Plan. In the event that sufficient
votes are not received, the Debtors may seek to confirm an alternative chapter 11 plan. There can be no assurance
that the terms of any such alternative chapter 11 plan would be similar or as favorable to the Holders of Allowed
Claims as those proposed in the Plan.

                            (d)      The Debtors May Not Be Able to Secure Confirmation of the Plan.

         Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a chapter 11 plan and
requires, among other things, a finding by the Bankruptcy Court that: (i) such plan “does not unfairly discriminate”
and is “fair and equitable” with respect to any non-accepting classes; (ii) confirmation of such plan is not likely to be
followed by a liquidation or a need for further financial reorganization unless such liquidation or reorganization is
contemplated by the plan; and (iii) the value of distributions to non-accepting holders of claims and equity interests
within a particular class under such plan will not be less than the value of distributions such holders would receive if
the debtors were liquidated under chapter 7 of the Bankruptcy Code.

         There can be no assurance that the requisite acceptances to confirm the Plan will be received. Even if the
requisite acceptances are received, there can be no assurance that the Bankruptcy Court will confirm the Plan.
A non-accepting Holder of an Allowed Claim might challenge either the adequacy of this Disclosure Statement or
whether the balloting procedures and voting results satisfy the requirements of the Bankruptcy Code or Bankruptcy
Rules. Even if the Bankruptcy Court determined that this Disclosure Statement, the balloting procedures, and voting
results were appropriate, the Bankruptcy Court could still decline to confirm the Plan if it found that any of the
statutory requirements for Confirmation had not been met. If a chapter 11 plan of reorganization is not confirmed by
the Bankruptcy Court, it is unclear whether the Debtors will be able to consummate the Sale and what, if anything,
Holders of Allowed Claims against them would ultimately receive with respect to their Claims.

         The Debtors, subject to the terms and conditions of the Plan, reserve the right to modify the terms and
conditions of the Plan as necessary for Confirmation. Any such modifications could result in less favorable treatment
of any non-accepting class of Claims, as well as any class junior to such non-accepting class, than the treatment
currently provided in the Plan. Such a less favorable treatment could include a distribution of property with a lesser
value than currently provided in the Plan or no distribution whatsoever under the Plan.

                            (e)      Nonconsensual Confirmation.

         In the event that any Impaired Class of Claims or Interests does not accept a chapter 11 plan, a bankruptcy
court may nevertheless confirm a plan at the proponents’ request if at least one Impaired Class has accepted the plan
(with such acceptance being determined without including the vote of any “insider” in such class), and, as to each
impaired class that has not accepted the plan, the bankruptcy court determines that the plan “does not discriminate



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unfairly” and is “fair and equitable” with respect to the dissenting impaired classes. The Debtors believe that the Plan
satisfies these requirements, and the Debtors will request such nonconsensual Confirmation in accordance with
subsection 1129(b) of the Bankruptcy Code. Nevertheless, there can be no assurance that the Bankruptcy Court will
reach the conclusion that the Plan satisfies the requirements of section 1129(b) of the Bankruptcy Code. In addition,
the pursuit of nonconsensual Confirmation or Consummation of the Plan may result in, among other things, increased
expenses relating to Professional Fee Claims.

                            (f)      Continued Risk After Consummation.

          Even if the Plan is consummated, the Debtors will continue to face a number of risks, including certain risks
that are beyond their control, such as increasing expenses and further industry deterioration or other changes in
economic conditions. Some of these concerns and effects typically become more acute when a case under the
Bankruptcy Code continues for a protracted period without indication of how or when the case may be completed. As
a result of these risks and others, there is no guarantee that a chapter 11 plan of reorganization reflecting the Plan will
achieve the Debtors’ stated goals.

                            (g)      Filing of a Competing Plan.

          At the outset of the Chapter 11 cases, the Bankruptcy Code provides the Debtors with the exclusive right to
propose the Plan and prohibits creditors and others from proposing a plan. The Debtors have retained the exclusive
right to propose the Plan since filing their chapter 11 petitions. If the Bankruptcy Court terminates that right, however,
or the exclusivity period expires, there could be a material adverse effect on the Debtors’ ability to achieve
Confirmation of the Plan in order to achieve the Debtors’ stated goals because creditors and others may propose a
plan.

                            (h)      The Chapter 11 Cases May Be Converted to Cases Under Chapter 7 of the
Bankruptcy Code.

         If the Bankruptcy Court finds that it would be in the best interest of creditors and/or the debtor in a chapter 11
case, the Bankruptcy Court may convert a chapter 11 bankruptcy case to a case under chapter 7 of the Bankruptcy
Code. In such event, a chapter 7 trustee would be appointed or elected to liquidate the debtors’ assets for distribution
in accordance with the priorities established by the Bankruptcy Code. The Debtors believe that liquidation under
chapter 7 would result in significantly smaller distributions being made to creditors than those provided for in a
chapter 11 plan because of (a) the likelihood that the assets would have to be sold or otherwise disposed of in a
disorderly fashion over a short period of time, (b) additional administrative expenses involved in the appointment of
a chapter 7 trustee, and (c) additional expenses and Claims, some of which would be entitled to priority, that would
be generated during the liquidation, including Claims resulting from the rejection of Unexpired Leases and other
Executory Contracts in connection with cessation of operations.

                            (i)      The Debtors May Object to the Amount or Classification of a Claim.

         Except as otherwise provided in the Plan, the Debtors reserve the right to object to the amount or classification
of any Claim under the Plan. The estimates set forth in this Disclosure Statement cannot be relied upon by any Holder
of a Claim where such Claim is subject to an objection. Any Holder of a Claim that is subject to an objection thus
may not receive its expected share of the estimated distributions described in this Disclosure Statement.

                            (j)      Risk of Non-Occurrence of the Effective Date.

         Although the Debtors believe that the Effective Date may occur quickly after the Confirmation Date, there
can be no assurance as to such timing or as to whether the Effective Date will in fact occur.

                            (k)      Contingencies Could Affect Votes of Impaired Classes to Accept or Reject
the Plan.

        The distributions available to Holders of Allowed Claims under the Plan can be affected by a variety of
contingencies, including, without limitation, whether the Bankruptcy Court orders certain Allowed Claims to be
subordinated to other Allowed Claims. The occurrence of any and all such contingencies could affect distributions



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available to Holders of Allowed Claims under the Plan but may not affect the validity of the vote taken by the Impaired
Classes to accept or reject the Plan or require any sort of revote by the Impaired Classes.

          The estimated Claims and creditor recoveries set forth in this Disclosure Statement are based on various
assumptions, and the actual Allowed amounts of Claims may significantly differ from the estimates. Should one or
more of the underlying assumptions ultimately prove to be incorrect, the actual Allowed amounts of Claims may vary
from the estimated Claims contained in this Disclosure Statement. Moreover, the Debtors cannot determine with any
certainty at this time, the number or amount of Claims that will ultimately be Allowed. Such differences may
materially and adversely affect, among other things, the percentage recoveries to Holders of Allowed Claims under
the Plan.

                           (l)       Releases, Injunctions, and Exculpations Provisions May Not Be Approved.

          Article VIII of the Plan provides for certain releases, injunctions, and exculpations, including releases by
third parties of claims that may otherwise be asserted against the Debtors, Wind-Down Debtors, or Released Parties,
as applicable. The releases, injunctions, and exculpations (including, for the avoidance of doubt, the definitions of
Released Parties, Releasing Parties, and Exculpated Parties) provided in the Plan are subject to objection by parties in
interest and may not be approved. If the releases are not approved, certain parties may not be considered Released
Parties, Releasing Parties, or Exculpated Parties, and certain Released Parties may withdraw their support for the Plan.

                 3.       The Consideration Under the Plan Does Not Reflect any Independent Valuation of
Claims against or Interests in the Debtors.

         The Debtors have not obtained or requested a fairness opinion from any banking or other firm as to the
fairness of the consideration under the Plan.

                  4.       Governmental Approvals May Not Be Granted.

          Consummation of the Restructuring Transactions may depend on obtaining approvals of certain
Governmental Units that may be necessary or advisable. Failure by any Governmental Unit to grant an approval could
prevent or impose limitations or restrictions on Consummation of the Restructuring Transactions and Confirmation of
the Plan.

         B.       Risks Related to Recoveries under the Plan.

                  1.       The Debtors Cannot Guarantee Recoveries or the Timing of Such Recoveries.

          Although the Debtors have made commercially reasonable efforts to estimate Allowed Claims and Allowed
Interests, it is possible that the actual amount of such Allowed Claims and Allowed Interests is materially different
than the Debtors’ estimates. Creditor recoveries could be materially reduced or eliminated in this instance. In addition,
the timing of actual distributions to Holders of Allowed Claims and Allowed Interests may be affected by many factors
that cannot be predicted. Therefore, the Debtors cannot guaranty the timing or amount of any recovery on an Allowed
Claim or an Allowed Interest.

                  2.       The Debtors Are Subject to the Volatility of Cryptocurrency.

          The volatility of cryptocurrency may adversely affect the fair market value to be paid by Purchaser for
Voyager’s Cryptocurrency as determined by the Asset Purchase Agreement, which could result in lower recoveries
for creditors than the Debtors’ current estimates based on the Fair Market Value as of September 26, 2022.

                  3.       The Plan Will Likely Diminish the Value of VGX.

         Given that the Debtors’ business operations will be winding down following the Effective Date and
consummation of the Sale Transaction, VGX will have no utility going forward and may have no value. Voyager will
not be able to support commitments to VGX following the Effective Date and the Purchaser is not assuming these
obligations. Purchaser has offered to purchase all VGX in the Debtors’ Estates for $10 million. Accordingly, for
purposes of estimated recoveries, the Debtors have assumed a $10 million purchase price for VGX. The Debtors



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continue to engage with third parties regarding a sale of VGX that may provide additional recovery to Holders of
Claims.

                   4.       The Tax Implications of the Debtors’ Bankruptcy and Reorganization Are Highly
Complex.

         Holders of Allowed Claims and Allowed Interests should carefully review Article XI of this Disclosure
Statement, entitled “Certain U.S. Federal Tax Consequences of the Plan,” to determine how the tax implications of
the Plan and the Chapter 11 Cases may adversely affect the Debtors.

                   5.       The Closing Conditions of the Sale Transaction May Not Be Satisfied.

         It is possible that the Debtors may not satisfy the closing conditions of the Sale Transaction. A failure to
satisfy any of the closing conditions of the Sale Transaction could prevent the Sale Transaction and the Plan from
being consummated, which could lead to the Chapter 11 Cases being converted to cases under chapter 7.

         C.        Disclosure Statement Disclaimer.

                 1.     The Financial Information Is Based on the Debtors’ Books and Records and, Unless
Otherwise Stated, No Audit Was Performed.

         In preparing this Disclosure Statement, the Debtors relied on financial data derived from their books and
records that was available at the time of such preparation. Although the Debtors have used their reasonable business
judgment to assure the accuracy of the financial information provided in this Disclosure Statement, and while the
Debtors believe that such financial information fairly reflects their financial condition, the Debtors are unable to
warrant or represent that the financial information contained in this Disclosure Statement (or any information in any
of the exhibits to the Disclosure Statement) is without inaccuracies.

                   2.       No Legal or Tax Advice Is Provided By This Disclosure Statement.

        This Disclosure Statement is not legal advice to any person or Entity. The contents of this Disclosure
Statement should not be construed as legal, business, or tax advice. Each reader should consult their own legal counsel
and accountant with regard to any legal, tax, and other matters concerning its Claim or Interest. This Disclosure
Statement may not be relied upon for any purpose other than to determine how to vote to accept or reject the Plan or
whether to object to Confirmation of the Plan.

                   3.       No Admissions Made.

          The information and statements contained in this Disclosure Statement will neither (a) constitute an
admission of any fact or liability by any Entity (including the Debtors) nor (b) be deemed evidence of the tax or other
legal effects of the Plan on the Debtors, the Wind-Down Debtors, Holders of Allowed Claims or Interests, or any other
parties in interest.

                   4.       Failure to Identify Litigation Claims or Projected Objections.

          No reliance should be placed on the fact that a particular litigation claim or projected objection to a particular
Claim or Interest is, or is not, identified in this Disclosure Statement. The Debtors may seek to investigate, file, and
prosecute Claims and may object to Claims and Interests after Confirmation and Consummation of the Plan,
irrespective of whether this Disclosure Statement identifies such Claims or objections to Claims and Interests.

                   5.       Information Was Provided by the Debtors and Was Relied Upon by the Debtors’
Advisors.

          Counsel to and other advisors retained by the Debtors have relied upon information provided by the Debtors
in connection with the preparation of this Disclosure Statement. Although counsel to and other advisors retained by
the Debtors have performed certain limited due diligence in connection with the preparation of this Disclosure
Statement and the exhibits to the Disclosure Statement, they have not independently verified the information contained
in this Disclosure Statement or the information in the exhibits to the Disclosure Statement.


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                   6.        Potential Exists for Inaccuracies, and the Debtors Have No Duty to Update.

          The statements contained in this Disclosure Statement are made by the Debtors as of the date of this
Disclosure Statement unless otherwise specified in this Disclosure Statement, and the delivery of this Disclosure
Statement after the date of this Disclosure Statement does not imply that there has not been a change in the information
set forth in this Disclosure Statement since that date. While the Debtors have used their reasonable business judgment
to ensure the accuracy of all of the information provided in this Disclosure Statement and in the Plan, the Debtors
nonetheless cannot, and do not, confirm the current accuracy of all statements appearing in this Disclosure Statement.
Furthermore, although the Debtors may subsequently update the information in this Disclosure Statement, the Debtors
have no affirmative duty to do so unless ordered to do so by the Bankruptcy Court.

                   7.        No Representations Outside This Disclosure Statement Are Authorized.

NO REPRESENTATIONS CONCERNING OR RELATING TO THE DEBTORS, THE CHAPTER 11
CASES, OR THE PLAN ARE AUTHORIZED BY THE BANKRUPTCY COURT OR THE BANKRUPTCY
CODE, OTHER THAN AS SET FORTH IN THIS DISCLOSURE STATEMENT.                ANY
REPRESENTATIONS OR INDUCEMENTS MADE TO SECURE VOTING HOLDERS’ ACCEPTANCE
OR REJECTION OF THE PLAN THAT ARE OTHER THAN AS CONTAINED IN, OR INCLUDED WITH,
THIS DISCLOSURE STATEMENT, SHOULD NOT BE RELIED UPON BY VOTING HOLDERS IN
ARRIVING AT THEIR DECISION.       VOTING HOLDERS SHOULD PROMPTLY REPORT
UNAUTHORIZED REPRESENTATIONS OR INDUCEMENTS TO COUNSEL TO THE DEBTORS AND
THE OFFICE OF THE UNITED STATES TRUSTEE FOR THE SOUTHERN DISTRICT OF NEW YORK.

         D.        Miscellaneous Risk Factors and Disclaimers.

                1.       The Debtors are Subject to an Extensive and Highly Evolving Regulatory Landscape
and Any Adverse Changes to, or Their Failure to Comply with, any Laws and Regulations Could Adversely Affect
Their Brand, Reputation, Business, Assets, Operating Results, and Financial Condition.43

          The Debtors’ business is subject to extensive laws, rules, regulations, policies, orders, determinations,
directives, treaties, and legal and regulatory interpretations and guidance in the markets in which the Debtors operate,
including those governing money transmission, financial services, banks and trust companies, securities,
broker-dealers and alternative trading systems, or ATS, commodities and commodities interests such as derivatives,
credit, cryptocurrency asset custody, exchange, and transfer, cross-border and domestic money and cryptocurrency
asset transmission, retail and commercial lending, usury, foreign currency exchange, privacy, data governance, data
protection, cybersecurity, fraud detection, retail protection, escheatment, antitrust and competition, bankruptcy, tax,
anti-bribery, economic and trade sanctions, anti-money laundering, and counter-terrorist financing, among others.
Many of these legal and regulatory regimes were adopted prior to the advent of the internet, mobile technologies,
cryptocurrency assets, and related technologies. As a result, some applicable laws and regulations do not contemplate
or address unique issues associated with the cryptocurrency economy, are subject to significant uncertainty, and vary
widely across U.S. federal, state, and local and international jurisdictions. These legal and regulatory regimes,
including the laws, rules, and regulations thereunder, evolve frequently and may be modified, interpreted, and applied
in an inconsistent manner from one jurisdiction to another and may conflict with one another. Moreover, the
complexity and evolving nature of the Debtors’ business and the significant uncertainty surrounding the regulation of
the cryptocurrency economy require the Debtors to exercise their judgment as to whether certain laws, rules, and
regulations apply to the Debtors, and it is possible that governmental bodies and regulators may disagree with their
conclusions. To the extent the Debtors have not complied with such laws, rules, and regulations, the Debtors could
be subject to significant fines, revocation of licenses (including Money Transmission Licenses as described in III.F),
limitations on their products and services, cease and desist orders in one or more states, reputational harm, and other
regulatory consequences, each of which may be significant and could adversely affect their business, operating results,
and financial condition.




43   Certain regulatory bodies have already commenced actions, which are described in Article VIII.D.2 herein.




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         Additionally, economic and trade sanctions, anti-money laundering, and anti-terrorism laws in the United
States and other jurisdictions may restrict the Debtors’ business from engaging in transactions in or relating to certain
countries, individuals, and entities. The imposition of sanctions and related restrictions by different jurisdictions have
been evolving quickly, including in response to the military conflict between Russia and Ukraine, and the ultimate
impact on global economic and commercial activity as well the financial condition and performance of the Debtors’
business and assets is difficult to predict.

                  2.       The Wind-Down Debtors May Be Adversely Affected by Potential Litigation, Including
Litigation Arising Out of the Chapter 11 Cases as well as Ongoing Regulatory Investigations.

          The Debtors are currently subject to or interested in certain legal proceedings, some of which may adversely
affect the Debtors or the Wind-Down Debtors, as applicable. In the future, the Debtors or the Wind-Down Debtors
may become parties to additional litigation, including enforcement actions brought by state banking departments with
respect to Voyager’s historical compliance with money transmission laws, which could result in significant fines. In
general, litigation can be expensive and time consuming to bring or defend against. Such litigation could result in
settlements or damages that could significantly affect recoveries to creditors in these Chapter 11 cases. It is also
possible that certain parties will commence litigation with respect to the treatment of their Claims under the Plan. It
is not possible to predict the potential litigation that the Debtors may become party to, nor the final resolution of such
litigation. The impact of any such litigation on the Debtors, however, could be material.

         On January 5, 2022, Voyager received from the U.S. Securities and Exchange Commission (“SEC”) a
subpoena requesting certain information and documents. In response, Voyager actively dialogued with and provided
the SEC staff with the requested material. The subpoena and dialogue related primarily to two issues: (1) whether the
Rewards Program feature of the Voyager Account (also referred to as the “Earn Program” or “Voyager Earn Account”)
involved a securities offering and (2) whether Voyager or any of its affiliated entities required registration under the
Investment Company Act of 1940. As a follow-up, on July 15, 2022, the SEC staff issued a second subpoena with
additional requests for information and documents relating to public statements, internal communications, and third
party communications after May 1, 2022, and certain minutes, policies and procedures, internal documentation, loan
agreements, due diligence, and June 30, 2022 financial statement information. As it does with most subpoenas, the
SEC staff included a cover letter stating, among other things, “The investigation and the subpoena do not mean that
we have concluded that your client or anyone else has violated the law. Also, the investigation does not mean that we
have a negative opinion of any person, entity or security.” Since then, Voyager has produced certain of the requested
material and continues to work to provide the SEC with the remaining responsive material. As before, Voyager
continues to dialogue with the SEC regarding the Voyager business and document and information requests.

         On July 28, 2022, the FDIC and Federal Reserve Board issued a joint letter and a joint press release regarding
potential false or misleading representations as to Voyager’s deposit insurance status, and demanded immediate
corrective action to address any false or misleading statements. While the Debtors disagree with the FDIC and Federal
Reserve Board’s position, the Debtors nonetheless took immediate steps to ensure that statements made as to the
deposit insurance status of funds held through the Voyager platform are accurate. Following receipt of Voyager’s
responses on August 1, 2022 and August 9, 2022, the FDIC and the Federal Reserve Board requested additional
information from Voyager, which Voyager is in the process of preparing.

        Separate from the matters pertaining to the FDIC and Federal Reserve Board’s letter dated July 28, 2022, the
Federal Reserve Board on September 29, 2022 requested certain information pertaining to Voyager’s operations;
Voyager is in the process of responding to such requests.

          On August 1, 2022, Voyager received from the Commodity Futures Trading Commission a letter seeking
certain information and documents from Voyager on its business, its customers and its lending activities prior to its
chapter 11 proceedings. On September 12, 2022, Voyager received a subpoena requesting the same information and
documents. Voyager is working to provide the CFTC with information that its responsive to its requests.

         In addition to these federal subpoenas, requests for information, and cease and desist orders, Voyager has
also received a number of administrative proceeding inquiries and orders from state securities regulators relating to
the Rewards Program. The states have alleged or asserted in a variety of ways that the accounts involved unregistered




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securities offerings. Below is a brief summary of Voyager’s contacts with applicable state regulators concerning the
Rewards Program.

        Alabama issued a show cause order44 on March 29, 2022, which required a response within 28 days. Alabama
extended the response deadline to January 5, 2023. On July 7, 2022, Alabama also issued a subpoena for information
on Voyager customers, board of directors materials and other information related to the chapter 11 proceedings.
Voyager has produced all of the requested materials.

        Indiana issued a cease and desist order45 on March 29, 2022. Indiana submitted a motion extending the time
by which Voyager must respond to the order and request a hearing. Voyager submitted a second and third motion
extending that deadline until October 31, 2022.

         Kentucky issued an emergency cease and desist order46 on March 29, 2022. Kentucky denied Voyager’s
request for a stay of effectiveness of the order on May 27, 2022. Kentucky’s order is still in effect. Voyager has the
option to request a hearing, but otherwise, there is no pending deadline. Voyager ceased offering Rewards to all
customers as of June 1, 2022 pursuant to the order. Separately, on July 6, 2022, Kentucky asked for information in
connection with Voyager’s Kentucky customers. Voyager produced that information on July 8, 2022.

         New Jersey issued a cease and desist order47 on March 29, 2022 with an effective date of April 29, 2022. Per
New Jersey’s communications with Voyager and an order issued on June 29, 2022, a version of the order is in effect
as of July 31, 2022. Specifically, Voyager has ceased offering Rewards to new customer accounts opted into the
Rewards Program feature and has ceased offering Rewards for new assets contributed to existing such accounts.
However, all response deadlines have been extended until October 31, 2022.

         Oklahoma issued a cease and desist order48 on March 29, 2022. At Voyager’s request, Oklahoma stayed the
effectiveness of its order multiple times, but lifted the stay on July 29, 2022. Most recently on August 1, 2022,
Oklahoma extended the deadline by which to respond to the order and request a hearing until October 31, 2022.

        South Carolina issued a cease and desist order and notice of opportunity for a hearing49 on March 29, 2022.
South Carolina stayed the effectiveness of its order and extended the applicable response deadlines multiple times.
The order went into effect on August 1, 2022, but all response deadlines have been extended until November 30, 2022.


44   Alabama’s show cause order required Voyager to show, within a certain period of time, why Voyager should not be directed
     to cease and desist from selling unregistered securities within the state.

45   Indiana’s order alleged that Voyager Rewards Accounts were securities and required Voyager to cease and desist from:
     offering and selling securities unregistered/noncompliant under Indiana securities laws/codes; accepting additional assets into
     existing Voyager Rewards Accounts; and committing any further violations of the Indiana securities laws/codes.

46   Kentucky’s order alleged that Voyager Rewards Accounts were securities and required Voyager to cease and desist from:
     soliciting or selling any security in Kentucky unregistered with the state’s Department of Financial Institutions; and engaging
     in any other activity that would otherwise violate the Kentucky securities laws.

47   New Jersey’s order alleged that Voyager Rewards Accounts were securities and required Voyager to cease and desist from:
     offering or selling unregistered/nonexempt securities; accepting additional assets into existing Rewards Accounts; and
     violating any other provisions of the state’s securities laws.

48   Oklahoma’s order alleged that Voyager Rewards Accounts were securities and required Voyager to cease and desist from:
     offering or selling such accounts to Oklahoma residents; and allowing further deposits into such existing accounts of
     Oklahoma residents.

49
     South Carolina’s order alleged that Voyager Rewards Accounts were securities and required Voyager to: cease and desist
     from transacting business in the state in violation of the states securities laws; pay a civil penalty of $2,149,800.00 if the order
     becomes effective by operation of law or, if Voyager seeks a hearing, pay a civil penalty not to exceed $10,000 for each
     violation. The notice of hearing informed Voyager of its right to request a formal hearing to contest the statements and
     allegations made therein.




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         Vermont issued a show cause order on March 29, 2022. At Voyager’s request, Vermont extended the
deadline to respond to the order multiple times. On July 13, 2022, Vermont issued a subpoena for information on
Voyager’s Vermont customers and other information related to the chapter 11 proceedings. Voyager has produced
some of the requested materials and continues to work with Vermont with the remaining responsive materials. On
September 14, 2022, Vermont issued an ex parte order to cease and desist, as well as a standstill agreement, under
which all deadlines in connection with responding to the order are suspended for 90 days.

           Washington issued a statement of charges and notice of opportunity for a hearing50 on March 29, 2022. In
response on April 15, 2022, Voyager submitted its application for an adjudicative hearing. On May 16, 2022, Voyager
and Washington confirmed their agreement, in which Voyager would waive its right to a speedy hearing but maintain
its right to request a hearing. Washington agreed to extend all applicable response deadlines until October 1, 2022.
Given that neither the Voyager Account nor Rewards Program are active, and given Voyager’s current status in the
bankruptcy proceedings, Voyager has requested an extension with respect to deadlines in connection with responding
to Washington’s order.

          Texas issued a notice of hearing51 on April 12, 2022. The hearing has been scheduled for January 25, 2023.
Prior to this hearing, both Texas and Voyager must pre-file all exhibits they intend to offer at the hearing; provide
those exhibits to each other by email; number each exhibit sequentially; paginate or bates stamp multipage documents;
and identify witnesses they intend to rely on and file witness statements accordingly.

         California issued a desist and refrain order52 on June 3, 2022. As part of a prior agreement with California,
on July 11, 2022, Voyager requested a hearing while waiving its right to have the hearing held within fifteen business
days. In exchange, California agreed that it would not petition the superior court to enforce the order on or before
July 31, 2022. Per a conversation with the state regulator on August 1, 2022, the department has no reason to go to
court to enforce the order in light of the bankruptcy proceedings and because Voyager is not currently offering
Rewards to customers. No hearing date has been set.

         Washington, D.C. issued a summary cease and desist order53 on July 26, 2022. On July 29, 2022, the D.C.
regulator agreed to an extension of the deadline by which Voyager had to submit a written answer and request for
hearing until September 30, 2022. Given that neither the Voyager Account nor Rewards Program are active, and
given Voyager’s current status in the bankruptcy proceedings, Voyager has requested an extension with respect to
deadlines in connection with responding to Washington, D.C.’s order.




50   Washington’s statement of charges notified Voyager that Washington had reason to believe Voyager had violated the state’s
     securities laws and contained a list of tentative findings of fact and conclusions of law. Based on the findings and conclusions
     alleged therein, the statement issued a notice of intent to order Voyager to cease and desist from certain activities, impose
     fines, and charge costs. The notice of opportunity of hearing informed Voyager of its right to contest the charges made against
     it at an adjudicative hearing by making a written request for hearing and filing an answer to the statement of charges.
     Alternatively, Voyager was given the option to waive the right to a hearing and instead submit a written statement to the
     Director of the Department of Financial Institutions.

51   The notice of hearing informed Voyage that a hearing would be held before an administrative law judge to determine whether
     to issue: (1) an order requiring Voyager to cease and desist from violating various provisions of the state’s securities act;
     and/or (2) a cease publication order requiring Voyager to cease from offering securities via statements that are materially
     misleading or otherwise likely to deceive the public.

52   California’s order alleged that Voyager Rewards Accounts were securities and required Voyager to desist and refrain from
     further offers and sale of unregistered/noncompliant securities within the state.

53   Washington D.C.’s summary cease and desist order alleged that Voyager Rewards Accounts were securities and required
     Voyager to cease and desist from: offering or selling such accounts within D.C., from accepting any additional assets into
     existing accounts; and from any further violations of securities laws.




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         Alaska issued a cease and desist order54 and notice of opportunity to request a hearing, on September 3, 2022.
Per the notice, Voyager has 30 days to request a hearing. Given that neither the Voyager Account nor Rewards
Program are active, and given Voyager’s current status in the bankruptcy proceedings, Voyager has requested an
extension with respect to deadlines in connection with responding to Alaska’s order.

                 3.            The Loss of Key Personnel Could Adversely Affect the Debtors’ Ability to Consummate
the Sale and Plan.

         The Debtors’ operations are dependent on a relatively small group of key management personnel and a highly
skilled employee base. The Debtors’ recent liquidity issues and the Chapter 11 Cases have created distractions and
uncertainty for key management personnel and employees. Because competition for experienced personnel in the
cryptocurrency and financial industries can be significant, the Debtors may be unable to find acceptable replacements
with comparable skills and experience and the loss of such key management personnel could adversely affect the
Debtors’ ability to consummate the Sale and the Plan.

                 4.      Certain Claims May Not Be Discharged and Could Have a Material Adverse Effect on
the Debtors’ Financial Condition.

        Section 1141(d)(3) of the Bankruptcy Code limits a debtor’s ability to discharge Claims in certain
circumstances. Any Claims not ultimately discharged through a Plan could be asserted against the Wind-Down Entity
and may have an adverse effect on the Debtors’ financial condition.

IX.        SOLICITATION AND VOTING PROCEDURES

         This Disclosure Statement, which is accompanied by a Ballot or Ballots to be used for voting on the Plan, is
being distributed to the Holders of Claims in those Classes that are entitled to vote to accept or reject the Plan. The
procedures and instructions for voting and related deadlines are set forth in the Solicitation Package.

        THE DISCUSSION OF THE SOLICITATION AND VOTING PROCESS SET FORTH IN THIS
                       DISCLOSURE STATEMENT IS ONLY A SUMMARY.

      PLEASE REFER TO THE DISCLOSURE STATEMENT ORDER ATTACHED HERETO FOR A MORE
           COMPREHENSIVE DESCRIPTION OF THE SOLICITATION AND VOTING PROCESS.

           A.        Classes Entitled to Vote on the Plan.

           The following Classes are entitled to vote to accept or reject the Plan (collectively, the “Voting Classes”):

                Class       Claim or Interest                                                            Status
                3           Account Holder Claims                                                        Impaired
                4           Alameda Loan Facility Claims                                                 Impaired
                5A          OpCo General Unsecured Claims                                                Impaired
                5B          HoldCo General Unsecured Claims                                              Impaired
                5C          TopCo General Unsecured Claims                                               Impaired

         If your Claim or Interest is not included in the Voting Classes, you are not entitled to vote and you will not
receive a Solicitation Package (as defined below). If you are a Holder of a Claim in one or more of the Voting Classes,
you should read your Ballot(s) and carefully follow the instructions included in the Ballot(s). Please use only the

54
      Alaska’s cease and desist order alleged that Voyager Rewards Accounts were securities and required Voyager to cease and
      desist from: offering or selling such accounts in Alaska; and from accepting any assets into existing accounts. Alaska assessed
      a $1,000,000 administrative penalty but acknowledged Voyager’s status in bankruptcy proceedings and noted that “so long as
      the automatic stay is in effect in [Voyager]’s bankruptcy proceedings, [Alaska] will not seek to execute or collect [the penalty]
      without first approaching the United States Bankruptcy Court . . . .”




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Ballot(s) that accompanies this Disclosure Statement or the Ballot(s) that the Debtors, or the Claims, Noticing, and
Solicitation Agent on behalf of the Debtors, otherwise provided to you. If you are a Holder of a Claim in more than
one of the Voting Classes, you will receive a Ballot for each such Claim.

         B.       Votes Required for Acceptance by a Class.

          Under the Bankruptcy Code, acceptance of a plan of reorganization by a class of claims is determined by
calculating the amount and number of allowed claims voting to accept, as a percentage of the allowed claims that have
voted. Acceptance of a plan of reorganization by a class of interests is determined by calculating the amount of
allowed interests voting to accept, as a percentage of the allowed interests that have voted. Acceptance by a class of
claims requires an affirmative vote of more than one-half in number of total allowed claims that have voted and an
affirmative vote of at least two-thirds in dollar amount of the total allowed claims that have voted. Acceptance by a
class of interests requires an affirmative vote of at least two-thirds in amount of the total allowed interests that have
voted.

         C.       Certain Factors to Be Considered Prior to Voting.

         There are a variety of factors that all Holders of Claims entitled to vote on the Plan should consider prior to
voting to accept or reject the Plan. These factors may impact recoveries under the Plan and include, among other
things:

         •    unless otherwise specifically indicated, the financial information contained in the Disclosure Statement
              has not been audited and is based on an analysis of data available at the time of the preparation of the
              Plan and the Disclosure Statement;

         •    although the Debtors believe that the Plan complies with all applicable provisions of the Bankruptcy
              Code, the Debtors can neither assure such compliance nor guarantee that the Bankruptcy Court will
              confirm the Plan;

         •    the Debtors may request Confirmation without the acceptance of all Impaired Classes in accordance with
              section 1129(b) of the Bankruptcy Code; and

         •    any delays of either Confirmation or Consummation could result in, among other things, increased
              Administrative Claims and Professional Fee Claims.

         While these factors could affect distributions available to Holders of Allowed Claims under the Plan, the
occurrence or impact of such factors will not necessarily affect the validity of the vote of the Voting Classes or
necessarily require a resolicitation of the votes of Holders of Claims in the Voting Classes.

        For a further discussion of risk factors, please refer to “Risk Factors” described in Article VIII of this
Disclosure Statement.

         D.       Classes Not Entitled To Vote on the Plan.

         Under the Bankruptcy Code, holders of claims or interests are not entitled to vote if their contractual rights
are unimpaired by the proposed plan or if they will receive no property under the plan. Accordingly, the following
Classes of Claims against and Interests in the Debtors are not entitled to vote to accept or reject the Plan:




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    Class       Claim or Interest                                       Status
    1           Secured Tax Claims                                      Unimpaired
    2           Other Priority Claims                                   Unimpaired
    6           Section 510(b) Claims                                   Impaired
    7           Intercompany Claims                                     Unimpaired / Impaired
    8           Intercompany Interests                                  Unimpaired / Impaired
    9           Existing Equity Interests                               Impaired

         E.       Solicitation Procedures.

                  1.       Claims, Noticing, and Solicitation Agent.

        The Debtors have retained Stretto to act, among other things, as Claims, Noticing, and Solicitation Agent in
connection with the solicitation of votes to accept or reject the Plan.

                  2.       Solicitation Package.

        The following materials constitute the solicitation package (the “Solicitation Package”) distributed to Holders
of Claims in the Voting Classes:

         •    a copy of the Solicitation and Voting Procedures (as defined in the Disclosure Statement Order);

         •    the applicable form of Ballot, together with detailed voting instructions and instructions on how to submit
              the Ballot;

         •    the Cover Letter (as defined in the Disclosure Statement Order);

         •    this Disclosure Statement (and exhibits thereto, including the Plan);

         •    the Disclosure Statement Order (without exhibits, except the solicitation and voting procedures);

         •    the Confirmation Hearing Notice (as defined in the Disclosure Statement Order); and

         •    such other materials as the Bankruptcy Court may direct.

                  3.       Distribution of the Solicitation Package and Plan Supplement.

         The Claims, Noticing, and Solicitation Agent shall distribute the Solicitation Package to Holders of Claims
in the Voting Classes by October 28, 2022 (the “Solicitation Launch”).

          The Solicitation Package (without Ballots, unless you are an eligible voting party) may also be obtained from
the Claims, Noticing, and Solicitation Agent by: (a) calling the Claims, Noticing, and Solicitation Agent at
(855) 473-8665 (Toll-Free) or (949) 271-6507 (International) and asking for the “Solicitation Group” or (b) emailing
the Claims, Noticing, and Solicitation Agent at voyagerinquiries@stretto.com. You may also obtain copies of any
pleadings filed with the Bankruptcy Court for free by visiting the Debtors’ restructuring website,
https://cases.stretto.com/Voyager, or the Bankruptcy Court’s website at https://www.nysb.uscourts.gov/ecf-and-
pacer-information (for a fee). Holders that have more than one option to return a Ballot should choose only one
method to return their Ballot.

          No later than seven days before the Voting Deadline, or such later date as may be approved by the Bankruptcy
Court, the Debtors intend to file the Plan Supplement. If the Plan Supplement is updated or otherwise modified, such
modified or updated documents will be made available on the Debtors’ restructuring website. The Debtors will not
serve copies of the Plan Supplement; however, parties may obtain a copy of the Plan Supplement from the Claims,
Noticing, and Solicitation Agent by: (a) calling the Claims, Noticing, and Solicitation Agent at the telephone number
set forth above; (b) visiting the Debtors’ restructuring website, https://cases.stretto.com/Voyager, or (c) emailing the
Claims, Noticing, and Solicitation Agent at voyagerinquiries@stretto.com.



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         F.       Voting Procedures

          October 19, 2022 (the “Voting Record Date”) is the date that will be used for determining which Holders of
Claims are entitled to vote to accept or reject the Plan and receive the Solicitation Package in accordance with the
solicitation procedures. Except as otherwise set forth herein, the Voting Record Date and all of the Debtors’
solicitation and voting procedures shall apply to all of the Debtors’ creditors and other parties in interest.

          In order for the Holder of a Claim in the Voting Classes to have its Ballot counted as a vote to accept or reject
the Plan, such Holder’s Ballot must be properly completed, executed, and delivered by (i) using the enclosed pre-paid,
pre-addressed return envelope or (ii) via first class mail, overnight courier, or hand delivery to Voyager Ballot
Processing, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602, so that such Holder’s Ballot is actually received
by the Claims, Noticing, and Solicitation Agent on or before the Voting Deadline on November 25, 2022, at 4:00 p.m.
(prevailing Eastern Time).

         If a Holder of a Claim in a Voting Class transfers all of such Claim to one or more parties on or after the
Voting Record Date and before the Holder has cast its vote on the Plan, such Claim Holder is automatically deemed
to have provided a voting proxy to the purchaser(s) of the Holder’s Claim, and such purchaser(s) shall be deemed to
be the Holder(s) thereof as of the Voting Record Date for purposes of voting on the Plan, provided that the purchaser
provides satisfactory confirmation of the transfer to the Claims, Noticing, and Solicitation Agent.

        If you hold Claims in more than one Voting Class under the Plan, you should receive a separate Ballot for
each Class of Claims, coded by Class number, and a set of solicitation materials.

      IF A BALLOT IS RECEIVED AFTER THE VOTING DEADLINE, IT WILL NOT BE COUNTED
UNLESS THE DEBTORS DETERMINE OTHERWISE.

      ANY BALLOT THAT IS PROPERLY EXECUTED BY THE HOLDER OF A CLAIM BUT THAT DOES
NOT CLEARLY INDICATE AN ACCEPTANCE OR REJECTION OF THE PLAN OR ANY BALLOT THAT
INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF THE PLAN WILL NOT BE COUNTED FOR
PURPOSES OF ACCEPTING OR REJECTING THE PLAN.

        EACH HOLDER OF A CLAIM MUST VOTE ALL OF ITS CLAIMS WITHIN A PARTICULAR CLASS
EITHER TO ACCEPT OR REJECT THE PLAN AND MAY NOT SPLIT SUCH VOTES. BY SIGNING AND
RETURNING A BALLOT, EACH HOLDER OF A CLAIM WILL CERTIFY TO THE BANKRUPTCY COURT
AND THE DEBTORS THAT NO OTHER BALLOTS WITH RESPECT TO SUCH CLAIM HAVE BEEN CAST
OR, IF ANY OTHER BALLOTS HAVE BEEN CAST WITH RESPECT TO SUCH CLASS OF CLAIMS, SUCH
OTHER BALLOTS INDICATED THE SAME VOTE TO ACCEPT OR REJECT THE PLAN. IF A HOLDER
CASTS MULTIPLE BALLOTS WITH RESPECT TO THE SAME CLAIM AND THOSE BALLOTS ARE IN
CONFLICT WITH EACH OTHER, SUCH BALLOTS WILL NOT BE COUNTED FOR PURPOSES OF
ACCEPTING OR REJECTING THE PLAN.

       IT IS IMPORTANT THAT THE HOLDER OF A CLAIM IN THE VOTING CLASSES FOLLOW THE
SPECIFIC INSTRUCTIONS PROVIDED ON SUCH HOLDER’S BALLOT AND THE ACCOMPANYING
INSTRUCTIONS. NO BALLOT MAY BE WITHDRAWN OR MODIFIED AFTER THE VOTING DEADLINE
WITHOUT THE DEBTORS’ PRIOR CONSENT OR PERMISSION OF THE BANKRUPTCY COURT.

         G.       Voting Tabulation.

        Unless the Debtors decide otherwise, Ballots received after the Voting Deadline may not be counted.
A Ballot will be deemed delivered only when the Claims, Noticing, and Solicitation Agent actually receives the
executed Ballot as instructed in the applicable voting instructions. No Ballot should be sent to the Debtors, the
Debtors’ agents (other than the Claims, Noticing, and Solicitation Agent) or the Debtors’ financial or legal advisors.

         The Bankruptcy Code may require the Debtors to disseminate additional solicitation materials if the Debtors
make material changes to the terms of the Plan or if the Debtors waive a material condition to Confirmation of the
Plan. In that event, the solicitation will be extended to the extent directed by the Bankruptcy Court.




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          In the event that a designation of lack of good faith is requested by a party in interest under section 1126(e)
of the Bankruptcy Code, the Bankruptcy Court will determine whether any vote to accept and/or reject the Plan cast
with respect to that Claim will be counted for purposes of determining whether the Plan has been accepted and/or
rejected.

         The Debtors will file with the Bankruptcy Court, as soon as practicable after the Voting Deadline, the voting
report prepared by the Claims, Noticing, and Solicitation Agent (the “Voting Report”). The Voting Report shall,
among other things, provide the votes received to accept or reject the Plan and Holders of Claims and Interests that
have opted into the third-party releases or Contributed Third-Party Claims, delineate every Ballot that does not
conform to the voting instructions or that contains any form of irregularity (each an “Irregular Ballot”), including
those Ballots that are late or (in whole or in material part) illegible, unidentifiable, lacking signatures or lacking
necessary information, or damaged. The Voting Report also shall indicate the Debtors’ intentions with regard to such
Irregular Ballots. Neither the Debtors nor any other Person or Entity will be under any duty to provide notification of
defects or irregularities with respect to delivered Ballots other than as provided in the Voting Report nor will any of
them incur any liability for failure to provide such notification.

         H.        Ballots Not Counted.

          No Ballot will be counted toward Confirmation if, among other things: (1) it is illegible or contains
insufficient information to permit the identification of the Holder of the Claim; (2) it was transmitted by facsimile,
email, or other electronic means not specifically approved pursuant to the Disclosure Statement Order; (3) it was cast
by an entity that is not entitled to vote on the Plan; (4) it was sent to the Debtors, the Debtors’ agents/representatives
(other than the Claims, Noticing, and Solicitation Agent), or the Debtors’ financial or legal advisors instead of the
Claims, Noticing, and Solicitation Agent; (5) it is unsigned; or (6) it is not clearly marked to either accept or reject the
Plan or is marked both to accept and reject the Plan. Please refer to the Disclosure Statement Order for additional
requirements with respect to voting to accept or reject the Plan.

      IF YOU HAVE ANY QUESTIONS ABOUT THE SOLICITATION OR VOTING PROCESS,
 PLEASE CONTACT THE CLAIMS, NOTICING, AND SOLICITATION AGENT TOLL-FREE NUMBER
                                 AT (855) 473-8665.

          ANY BALLOT RECEIVED AFTER THE VOTING DEADLINE OR OTHERWISE NOT
           IN COMPLIANCE WITH THE SOLICITATION ORDER WILL NOT BE COUNTED.

X.       CONFIRMATION OF THE PLAN

         A.        Requirements of Section 1129(a) of the Bankruptcy Code.

         Among the requirements for Confirmation are the following: (i) the Plan is accepted by all impaired Classes
of Claims and Interests or, if the Plan is rejected by an Impaired Class, at least one Impaired Class of Claims has voted
to accept the Plan and a determination that the Plan “does not discriminate unfairly” and is “fair and equitable” as to
Holders of Claims or Interests in all rejecting Impaired Classes; (ii) the Plan is feasible; and (iii) the Plan is in the
“best interests” of Holders of Impaired Claims or Interests (i.e., Holders of Class 3 Account Holder Claims, Holders
of Class 4 Alameda Loan Facility Claims, Holders of Class 5A OpCo General Unsecured Claims, Holders of Class 5B
HoldCo General Unsecured Claims, Holders of Class 5C TopCo General Unsecured Claims, Holders of Class 6
Section 510(b) Claims, and Holders of Class 9 Existing Equity Interests).

         At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan satisfies the
requirements of section 1129 of the Bankruptcy Code. The Debtors believe that the Plan satisfies or will satisfy all of
the necessary requirements of chapter 11 of the Bankruptcy Code. Specifically, in addition to other applicable
requirements, the Debtors believe that the Plan satisfies or will satisfy the applicable Confirmation requirements of
section 1129 of the Bankruptcy Code set forth below.




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         •    The Plan complies with the applicable provisions of the Bankruptcy Code.

         •    The Debtors, as the Plan proponents, have complied with the applicable provisions of the Bankruptcy
              Code.

         •    The Plan has been proposed in good faith and not by any means forbidden by law.

         •    Any payment made or promised under the Plan for services or for costs and expenses in, or in connection
              with, the Chapter 11 Cases, or in connection with the Plan and incident to the Chapter 11 Cases, will be
              disclosed to the Bankruptcy Court, and any such payment: (i) made before Confirmation will be
              reasonable or (ii) will be subject to the approval of the Bankruptcy Court as reasonable, if it is to be fixed
              after Confirmation.

         •    Either each Holder of an Impaired Claim against or Interest in the Debtors will accept the Plan, or each
              non-accepting Holder will receive or retain under the Plan on account of such Claim or Interest, property
              of a value, as of the Effective Date, that is not less than the amount that the Holder would receive or
              retain if the Debtors were liquidated on that date under chapter 7 of the Bankruptcy Code.

         •    Except to the extent that the Holder of a particular Claim agrees to a different treatment of its Claim, the
              Plan provides that, to the extent an Allowed Administrative Claim has not already been paid in full or
              otherwise satisfied during the Chapter 11 Cases, Allowed Administrative Claims will be paid in full on
              the Effective Date or as soon thereafter as is reasonably practicable.

         •    At least one Class of Impaired Claims will have accepted the Plan, determined without including any
              acceptance of the Plan by any insider holding a Claim in that Class.

         •    Confirmation is not likely to be followed by liquidation or the need for further financial reorganization
              of the Debtors or any successors thereto under the Plan.

         •    All fees of the type described in 28 U.S.C. § 1930, including the fees of the U.S. Trustee, will be paid as
              of the Effective Date.

          Section 1126(c) of the Bankruptcy Code provides that a class of claims has accepted a plan of reorganization
if such plan has been accepted by creditors that hold at least two-thirds in amount and more than one-half in number
of the allowed claims of such class. Section 1126(d) of the Bankruptcy Code provides that a class of interests has
accepted a plan of reorganization if such plan has been accepted by holders of such interests that hold at least two-thirds
in amount of the allowed interests of such class.

         B.        Best Interests of Creditors—Liquidation Analysis.

          Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires that a bankruptcy
court find, as a condition to confirmation, that a chapter 11 plan provides, with respect to each class, that each holder
of a claim or an interest in such class either (i) has accepted the plan or (ii) will receive or retain under the plan property
of a value, as of the effective date of the plan, that is not less than the amount that such holder would receive or retain
if the debtors liquidated under chapter 7 of the Bankruptcy Code.

         To demonstrate compliance with the “best interests” test, the Debtors, with the assistance of their advisors,
prepared the Liquidation Analysis, attached hereto as Exhibit B, showing that the value of the distributions provided
to Holders of Allowed Claims and Interests under the Plan would be the same or greater than under a hypothetical
chapter 7 liquidation. As reflected in the Liquidation Analysis, the Debtors believe that liquidation of the Debtors’
business under chapter 7 of the Bankruptcy Code would result in substantial diminution in the value to be realized by
Holders of Allowed Claims or Interests as compared to distributions contemplated under the Plan. Consequently, the
Debtors and their management believe that Confirmation of the Plan will provide a substantially greater return to
Holders of Allowed Claims or Interests than would a liquidation under chapter 7 of the Bankruptcy Code.

          In a typical chapter 7 case, a trustee is elected or appointed to liquidate a debtor’s assets and to make
distributions to creditors in accordance with the priorities established in the Bankruptcy Code. Generally, secured



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creditors are paid first from the proceeds of sales of their collateral. If any assets remain in the bankruptcy estate after
satisfaction of secured creditors’ claims from their collateral, administrative expenses are next to be paid. Unsecured
creditors are paid from any remaining sale proceeds, according to their respective priorities. Unsecured creditors with
the same priority share in proportion to the amount of their allowed claims in relationship to the total amount of
allowed claims held by all unsecured creditors with the same priority. Finally, interest holders receive the balance
that remains, if any, after all creditors are paid.

          All or substantially all of the assets of the Debtors’ business will have been liquidated through the Sale
Transaction and the Plan effects a wind down of the Debtors’ remaining assets not otherwise acquired in the Sale
Transaction. Although a chapter 7 liquidation would achieve the same goal, the Debtors believe that the Plan provides
a greater recovery to Holders of Allowed Claims than would a chapter 7 liquidation.

         The liquidation of the Debtors’ assets in chapter 7 would result in substantially less value than the proceeds
of the Sale Transaction to FTX US. Notably, in the context of a chapter 7 liquidation, the Debtors would not receive
the upfront cash payment, the earn-out, and other Sale Transaction proceeds that provide significantly greater value
to Holders of Account Holder Claims and OpCo General Unsecured Claims than in a chapter 7 liquidation scenario.
Moreover, the proceeds of the sale of the Debtors’ Cryptocurrency would likely be less in a fire sale liquidation than
in an orderly sale under the Plan.

         Liquidating the Debtors’ Estates under the Plan likely provides Holders of Allowed Claims with a larger,
more timely recovery in part because of the expenses that would be incurred in a chapter 7 liquidation, including the
potential added time (thereby reducing the present value of any recovery for Holders) and expense incurred by the
chapter 7 trustee and any retained professionals in familiarizing themselves with the Chapter 11 Cases and the Debtors’
Cryptocurrency. See, e.g., 11 U.S.C. § 326(a) (providing for compensation of a chapter 7 trustee); 11 U.S.C. 503(b)(2)
(providing administrative expense status for compensation and expenses of a chapter 7 trustee and such trustee’s
professionals). Additionally, the Debtors’ Estates would continue to be obligated to pay all unpaid expenses incurred
by the Debtors during the Chapter 11 Cases (such as compensation for Professionals), which may constitute Allowed
Claims in any chapter 7 case.

         The conversion to chapter 7 would also require entry of a new bar date. See Fed. R. Bankr. P. 1019(2);
3002(c). Thus, the amount of Claims ultimately filed and Allowed against the Debtors could materially increase,
thereby further reducing creditor recoveries versus those available under the Plan.

         In light of the foregoing, the Debtors submit that a chapter 7 liquidation would result in reduced sale proceeds
and recoveries, increased expenses, delayed distributions, and the prospect of additional claims that were not asserted
in the Chapter 11 Cases. Accordingly, the Debtors believe that distributions under the Plan would provide Holders of
Claims and Interests with the same or greater recovery than under a hypothetical chapter 7 liquidation.

         C.        Feasibility.

         Section 1129(a)(11) of the Bankruptcy Code requires that confirmation of a chapter 11 plan is not likely to
be followed by the liquidation, or the need for further financial reorganization of the debtor, or any successor to the
debtor (unless such liquidation or reorganization is proposed in such plan of reorganization).

         The Plan provides for the liquidation and distribution of the Debtors’ assets. Accordingly, the Debtors
believe that all Plan obligations will be satisfied without the need for further reorganization of the Debtors.

         D.        Acceptance by Impaired Classes.

         The Bankruptcy Code requires that, except as described in the following section, each impaired class of
claims or interests must accept a plan in order for it to be confirmed. A class that is not “impaired” under a plan is
deemed to have accepted the plan and, therefore, solicitation of acceptances with respect to the class is not required.
A class is “impaired” unless the plan: (i) leaves unaltered the legal, equitable, and contractual rights to which the
claim or the interest entitles the holder of the claim or interest; (ii) cures any default, reinstates the original terms of
such obligation, compensates the holder for certain damages or losses, as applicable, and does not otherwise alter the
legal, equitable, or contractual rights to which such claim or interest entitles the holder of such claim or interest; or
(c) provides that, on the consummation date, the holder of such claim or equity interest receives cash equal to the



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allowed amount of that claim or, with respect to any equity interest, any fixed liquidation preference to which the
holder of such equity interest is entitled or any fixed price at which the debtor may redeem the security.

          Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by a class of impaired claims as
acceptance by holders of at least two-thirds in dollar amount and more than one-half in number of allowed claims in
that class, counting only those claims that actually voted to accept or to reject the plan. Thus, a class of claims will
have voted to accept the plan only if two-thirds in amount and a majority in number of creditors actually voting cast
their ballots in favor of acceptance. For a class of impaired interests to accept a plan, section 1126(d) of the
Bankruptcy Code requires acceptance by interest holders that hold at least two-thirds in amount of the allowed interests
of such class, counting only those interests that actually voted to accept or reject the plan. Thus, a class of interests
will have voted to accept the plan only if two-thirds in amount actually voting cast their ballots in favor of acceptance.

         E.       Confirmation without Acceptance by All Impaired Classes.

         Section 1129(b) of the Bankruptcy Code allows a bankruptcy court to confirm a plan even if all impaired
classes have not accepted the plan, provided that the plan has been accepted by at least one impaired class of claims.
Pursuant to section 1129(b) of the Bankruptcy Code, notwithstanding an impaired class rejection or deemed rejection
of the plan, the plan will be confirmed, at the plan proponent’s request, in a procedure commonly known as
“cramdown” so long as the plan does not “discriminate unfairly” and is “fair and equitable” with respect to each class
of claims or interests that is impaired under, and has not accepted, the plan. Notably, the Alameda Loan Facility
Claims are Impaired under the Plan and the Alameda Loan Facility Claims are being contractually conveyed to OpCo
pursuant to the Asset Purchase Agreement. OpCo is entitled to any recovery on account of the Alameda Loan Facility
Claims under the Plan. The treatment of Class 4 Alameda Loan Facility Claims is contractually settled pursuant to
the Asset Purchase Agreement.

           If any Impaired Class of Claims or Interests rejects the Plan, including Classes of Claims or Interests deemed
to reject the Plan, the Debtors will request Confirmation of the Plan, as it may be modified from time to time, utilizing
the “cramdown” provision under section 1129(b) of the Bankruptcy Code. The Debtors reserve the right to modify
the Plan in accordance with Article X of the Plan to the extent, if any, that Confirmation pursuant to section 1129(b)
of the Bankruptcy Code requires modification, including by modifying the treatment applicable to a Class of Claims
to render such Class of Claims Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules
or to withdraw the Plan as to such Debtor. Class 3 Account Holder Claims and Class 5A OpCo General Unsecured
Claims are treated the same under the Plan, Class 5B HoldCo General Unsecured Claims and Class 5C TopCo General
Unsecured Claims will receive the recovery available at HoldCo or TopCo, as applicable, and the Holder of the Class
4 Alameda Loan Facility Claims has agreed to settle such claim through the Asset Purchase Agreement. Therefore,
the Plan does not discriminate unfairly.

          The Debtors believe that the Plan and the treatment of all Classes of Claims and Interests under the Plan
satisfy the requirements for cramdown and the Debtors will be prepared to meet their burden to establish that the Plan
can be Confirmed pursuant to section 1129(b) of the Bankruptcy Code as part of Confirmation of the Plan.

                  1.        No Unfair Discrimination.

          The “unfair discrimination” test applies with respect to classes of claim or interests that are of equal priority
but are receiving different treatment under a proposed plan. The test does not require that the treatment be the same
or equivalent, but that the treatment be “fair.” In general, bankruptcy courts consider whether a plan discriminates
unfairly in its treatment of classes of claims of equal rank (e.g., classes of the same legal character). Bankruptcy courts
will take into account a number of factors in determining whether a plan discriminates unfairly. Under certain
circumstances, a proposed plan may treat two classes of unsecured creditors differently without unfairly discriminating
against either class.

                  2.        Fair and Equitable Test.

         The “fair and equitable” test applies to classes of different priority and status (e.g., secured versus unsecured)
and includes the general requirement that no class of claims receive more than 100 percent of the amount of the
allowed claims in such class. As to each non-accepting class and as set forth below, the test sets different standards
depending on the type of claims or interests in such class. The Debtors believe that the Plan satisfies the “fair and



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equitable” requirement, notwithstanding the fact that certain Classes are deemed to reject the Plan. There is no Class
receiving more than a 100 percent recovery and no junior Class is receiving a distribution under the Plan until all
senior Classes have received a 100 percent recovery or agreed to receive a different treatment under the Plan.

                             (a)      Unsecured Claims.

         The condition that a plan be “fair and equitable” to a non-accepting class of unsecured claims includes the
requirement that either: (i) the plan provides that each holder of a claim of such class receive or retain on account of
such claim property of a value, as of the effective date, equal to the allowed amount of such claim; or (ii) the holder
of any claim or any interest that is junior to the claims of such class will not receive or retain any property under the
plan on account of such junior claim or junior interest, subject to certain exceptions.

                             (b)      Interests.

         The condition that a plan be “fair and equitable” to a non-accepting class of interests, includes the
requirements that either: (i) the plan provides that each holder of an interest in that class receives or retains under the
plan on account of that interest property of a value, as of the effective date, equal to the greater of: (a) the allowed
amount of any fixed liquidation preference to which such holder is entitled; (b) any fixed redemption price to which
such holder is entitled; or (c) the value of such interest; or (ii) the holder of any interest that is junior to the interests
of such class will not receive or retain any property under the plan on account of such junior interest.

XI.      CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

         A.        Introduction.

         The following discussion is an overview of certain U.S. federal income tax consequences of the
consummation of the Plan to the Debtors, the Wind-Down Debtors, and to Holders entitled to vote to accept or reject
the Plan. This overview is based on the U.S. Internal Revenue Code of 1986, as amended (“IRC”), the U.S. Treasury
Regulations promulgated thereunder (the “Treasury Regulations”), judicial authorities, published administrative
positions of the U.S. Internal Revenue Service (the “IRS”), and other applicable authorities (collectively, “Applicable
Tax Law”), all as in effect on the date of this Disclosure Statement and all of which are subject to change or differing
interpretations, possibly with retroactive effect.

         The application of Applicable Tax Law to numerous material aspects of the transactions contemplated by the
Plan, and to cryptocurrency in general, is subject to an unusually high level of uncertainty. No opinion of counsel has
been or will be obtained and the Debtors have not requested, and do not expect to seek, a ruling or determination from
the IRS as to any of the tax consequences of the Plan. No portion of this discussion is binding upon the IRS or the
courts, and no assurance can be given that the IRS would not assert, or that a court would not sustain, a different
position than any position that the Debtors or Wind-Down Debtors take.

      ALL HOLDERS OF CLAIMS AND INTERESTS ARE URGED, IN THE STRONGEST TERMS
POSSIBLE, TO CONSULT WITH THEIR TAX ADVISORS AS TO THE PARTICULAR TAX
CONSEQUENCES TO THEM OF THE TRANSACTIONS CONTEMPLATED BY THE PLAN. THIS
DISCUSSION DOES NOT CONSTITUTE TAX OR LEGAL ADVICE TO HOLDERS OF CLAIMS OR
INTERESTS.

          This discussion does not purport to address all aspects of U.S. federal income taxation that may be relevant
to certain Holders in light of their individual circumstances. This discussion also does not address tax issues with
respect to such Holders that are subject to special treatment under the U.S. federal income tax laws (including, for
example, accrual-method U.S. Holders (as defined below) that prepare an “applicable financial statement” (as defined
in Section 451 of the IRC), banks, mutual funds, governmental authorities or agencies, pass-through entities, beneficial
owners of pass-through entities, subchapter S corporations, dealers and traders in securities, insurance companies,
financial institutions, tax-exempt organizations, controlled foreign corporations, passive foreign investment
companies, U.S. Holders (as defined below) whose functional currency is not the U.S. dollar, U.S. expatriates, broker-
dealers, small business investment companies, Persons who are related to the Debtors within the meaning of the IRC,
Purchaser (including, for the avoidance of doubt, in Purchaser’s capacity as a Holder of Interests in the Debtors),



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Persons liable for alternative minimum tax, Persons (other than, if applicable, the Debtors) using a mark-to-market
method of accounting, Holders who are themselves in bankruptcy, real estate investment companies and regulated
investment companies and those holding, or who will hold, consideration received pursuant to the Plan as part of a
hedge, straddle, conversion, or other integrated transaction). No aspect of state, local, non-income, or non-U.S.
taxation is addressed (including, for the avoidance of doubt, the application of Canadian tax law to Holders or to the
Debtors, which issues are under further review). Furthermore, this preliminary overview assumes that a Holder holds
only Claims or Interests in a single Class and, except as set forth below, holds such Claims or Interests only as “capital
assets” (within the meaning of section 1221 of the IRC). This preliminary overview also assumes that the various
debt and other arrangements to which the Debtors and Wind-Down Debtors are or will be a party will be respected
for U.S. federal income tax purposes in accordance with their form, and, to the extent relevant, that the Claims
constitute interests in the Debtors “solely as a creditor” for purposes of section 897 of the IRC. This preliminary
overview does not discuss differences in tax consequences to Holders that act or receive consideration in a capacity
other than any other Holder of a Claim or Interest of the same Class or Classes, and the tax consequences for such
Holders may differ materially from that described below. The U.S. federal income tax consequences of the
implementation of the Plan to the Debtors, Wind-Down Debtors, and Holders of Claims and Interests described below
also may vary depending on the ultimate nature of any Restructuring Transactions that the Debtors and/or Wind-Down
Debtors engage in. This discussion does not address the U.S. federal income tax consequences to Holders (a) whose
Claims are Unimpaired or otherwise entitled to payment in full under the Plan, or (b) that are deemed to reject the
Plan.

          For purposes of this discussion, a “U.S. Holder” is a Holder of a Claim or Interest that for U.S. federal income
tax purposes is: (1) an individual who is a citizen or resident of the United States; (2) a corporation (or other entity
treated as a corporation for U.S. federal income tax purposes) created or organized under the laws of the United States,
any state thereof or the District of Columbia; (3) an estate the income of which is subject to U.S. federal income
taxation regardless of the source of such income; or (4) a trust (a) if a court within the United States is able to exercise
primary jurisdiction over the trust’s administration and one or more United States persons (within the meaning of
section 7701(a)(30) of the IRC) has authority to control all substantial decisions of the trust or (b) that has a valid
election in effect under applicable Treasury Regulations to be treated as a United States person (within the meaning
of section 7701(a)(30) of the IRC). For purposes of this discussion, a “Non-U.S. Holder” is any Holder that is neither
a U.S. Holder nor a partnership (or other entity treated as a partnership or other pass-through entity for U.S. federal
income tax purposes).

          If a partnership (or other entity treated as a partnership or other pass-through entity for U.S. federal income
tax purposes) is a Holder, the tax treatment of a partner (or other beneficial owner) generally will depend upon the
status of the partner (or other beneficial owner) and the activities of the partner (or other beneficial owner) and the
entity. Partnerships (or other pass-through entities) and partners (or other beneficial owners) of partnerships (or other
pass-through entities) that are Holders are urged to consult their own respective tax advisors regarding the U.S. federal
income tax consequences of the Plan.

          The below discussion assumes that the Debtors obtained tax ownership of cryptocurrency deposits when
customers made such deposits. The Debtors believe that position is the right one based on, among other things, the
fact that the Debtors had the right to transfer, rehypothecate, and otherwise deal in deposited cryptocurrency. If the
Debtors were determined to not have tax ownership of the cryptocurrency, the consequences of the Plan to Holders of
Claims and the Debtors would vary significantly from the discussion below.

      ACCORDINGLY, THE FOLLOWING DISCUSSION OF CERTAIN U.S. FEDERAL INCOME TAX
CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A SUBSTITUTE FOR
CAREFUL TAX PLANNING AND ADVICE BASED UPON THE INDIVIDUAL CIRCUMSTANCES
PERTAINING TO A HOLDER. THIS DISCUSSION DOES NOT CONSTITUTE TAX OR LEGAL ADVICE
TO HOLDERS OF CLAIMS OR INTERESTS.

         B.        Certain U.S. Federal Income Tax Consequences of the Plan to the Debtors.

         The Plan is being structured as a taxable sale of certain assets of the Debtors (the “Taxable Transaction”)
and, potentially, a deemed “in-kind” distribution of cryptocurrency to customers in satisfaction of Claims related to
deposits of such cryptocurrency (the “In-Kind Distribution”). As a result and in connection therewith, the Debtors


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will realize gain or loss in an amount equal to the difference between the value of the consideration received by the
Debtors (including, for this purpose, assumption of liabilities) and the Debtors’ tax basis in such assets. Gain will be
reduced by the amount of tax attributes (if any) available for use by the Debtors, and any remaining gain will be
recognized by the Debtors and result in a cash tax obligation. Amounts subject to the In-Kind Distribution may be
treated as a non-taxable transaction with respect to the underlying cryptocurrency, combined with incurrence of
income or cancellation of indebtedness income related to any difference between the value of what customers receive
in exchange for their Claims and the amount of their Claims (determined without regard to “dollarization” of such
Claims).

          Thus, the U.S. federal income tax consequences of the Taxable Transaction to the Debtors will in large part
be a function of the Debtors’ tax basis in their assets that the Debtors transfer or are deemed to have transferred,
including the Debtors’ cryptocurrency. There is generally no direct guidance under Applicable Tax Law on how to
treat a customer’s transfer of cryptocurrency to a business like the Debtors’ (and as a result there is significant (and
unusual) uncertainty with respect to the Debtors’ tax basis in such cryptocurrency) or the transferee’s utilization of
the transferred cryptocurrency (for example, and without limitation, holding it and doing nothing more, lending it,
staking it, selling it, or using it in a short sale). Accordingly, there is significant uncertainty with respect to the tax
consequences of the Taxable Transaction to the Debtors.

          It is possible that the IRS or a court could disagree with the Debtors’ determination of their basis in their
assets, including the Debtors’ cryptocurrency. Any such disagreement could lead to a redetermination of the Debtors’
basis in their assets and a resultant increase in the Debtors’ tax liability from the Taxable Transaction, potentially in a
way that has a materially adverse impact on the Debtors. The Debtors, together with their advisors, continue to study
this issue.

         Because the Plan is being structured as a taxable transaction, the Debtors’ tax attributes (if any) will not
survive the implementation of the Plan. Accordingly, the rules regarding cancellation of indebtedness income are
generally inapplicable and the rules regarding section 382 of the IRC are inapplicable and, in each case, not discussed
further.

        The Debtors continue to evaluate how “dollarization” of Claims as of the Effective Date may modify the
above analysis, either with respect to the implementation of the Plan itself or with respect to any administrative tax
period more generally. The Debtors currently cannot say with certainty that there will not be material administrative
income tax liabilities that must be satisfied under the Plan.

         C.        Certain U.S. Federal Income Tax Consequences of the Plan to U.S. Holders55 of Allowed
                   Claims Entitled to Vote.

                   1.       Taxable Transaction.

                        (a)     U.S. Federal Income Tax Consequences to Certain U.S. Holders of Allowed
Class 3 Claims (Account Holder Claims)

         Each Holder of an Allowed Account Holder Claim will receive in full and final satisfaction, compromise,
settlement, release, and discharge of such Allowed Account Holder Claim: (i) its Pro Rata share of Transferred
Cryptocurrency Value, in Cryptocurrency or Cash as provided in the Customer Migration Protocol; (ii) its Pro Rata
share of Distributable OpCo Cash; and (iii) to effectuate distributions from the Wind-Down Entity if there is a Wind-
Down Trust, its Pro Rata share of the Wind-Down Trust Units (if any) on account of any recovery of Wind-Down
Trust Assets attributable to OpCo; provided that any distributions from a Wind-Down Debtor or on account of Wind-
Down Trust Units shall only be made following payment in full of Allowed Administrative Claims, Allowed Priority
Tax Claims, Allowed Secured Tax Claims, and Allowed Other Priority Claims.



55   Based on the Debtors’ understanding of the residence of Holders, the Debtors do not discuss any U.S. federal income tax
     consequences of the consummation of the Plan to Non-U.S.-Holders.




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         There is a material risk that U.S. Holders of Account Holder Claims will have a taxable event in connection
with the consummation of the Plan or the “dollarization” of Clams (or separate taxable events for both events). This
is the case even though the Taxable Transaction contemplates the migration of customers to an acquiring
cryptocurrency platform. To the extent any taxable event occurs, tax liability would be based on the difference
between the Holder’s tax basis in its Claim compared to the value it receives in respect of such Claim, with such gain
or loss generally being capital in nature.

           The tax treatment of Holders under the Plan depends significantly on the tax treatment of customer deposits
in the first instance. There is uncertainty with respect to whether deposits are taxable when they occur, but the Debtors
generally expect that most customers have taken the position that the act of depositing cryptocurrency with the Debtors
is not a taxable event. While there is substantial theoretical debate regarding that position, it is a position that has
some level of support in the idea that the exchange of cryptocurrency for a contractual right to the return of such
cryptocurrency is not a transaction that results in a realization event under section 1001 of the IRC because it does not
involve an exchange of property “differing materially either in kind or in extent.” Such position relies, among other
things, on caselaw that pre-dates the enactment of section 1058 of the IRC and analogies to the treatment afforded to
securities lending under section 1058. On the other hand, there is also support for the position that the initial deposit
of cryptocurrency is a taxable event because of various provisions in the Terms of Use that narrow a customer’s rights
with respect to the deposited cryptocurrency (in particular, provisions related to the Debtors’ ability to not support
“airdropped” cryptocurrency or cryptocurrency issued pursuant to a “hard fork”).

         To the extent an initial deposit of cryptocurrency was not taxable, there is an argument that the same position
could be taken with respect to the return by the Debtors of cryptocurrency to customers, because the exchange of the
contractual right to the return of such cryptocurrency for the underlying cryptocurrency is itself not an exchange of
property “differing materially either in kind or in extent.” However, under principles that typically apply to determine
whether obligations have been meaningfully modified, including principles under section 1.1001-3 of the Treasury
Regulations (which are not directly applicable here, but are informative), a transaction that involves an exchange of a
contractual right owed by the Debtors for a contractual right owed by a different party is highly likely to be treated as
taxable. The Debtors believe it would be supportable for Holders to take the position that, pursuant to the
consummation of the Plan whereby customers may migrate to Purchaser’s platform (as further described in the
Customer Migration Protocol), (a) the Debtors are deemed to transfer cryptocurrency in kind in a non-taxable
transaction; and, immediately thereafter, (b) Holders are deemed to re-deposit cryptocurrency to the new entity, again,
in a non-taxable or a partially non-taxable transaction. The Debtors also continue to study whether this argument,
when combined with a general “bifurcation” approach that separates the recovery Holders receive into cryptocurrency
and non-cryptocurrency components, may permit Holders to take the position that, in the context of a Taxable
Transaction, Holders retain their cryptocurrency positions in a tax-free manner, even if the receipt of other
consideration constitutes a taxable exchange. The Debtors emphasize that these positions are unclear.

          The ability to take the position that an In-Kind Distribution is not taxable to Holders is subject to increased
risk as a result of the “dollarization” of Claims. As noted above, it may be the case that “dollarization” resulted, or
will result, in a taxable event to customers, either as of the Petition Date or as of the Confirmation Date. If such a
taxable event were determined to have occurred, it would be because the contract to receive particular cryptocurrency
was modified, as a result of dollarization, to have an economic “cap.” In light of this, it is unclear whether the argument
described above that supports tax-free treatment of an In-Kind Distribution could still apply. Such a “capped” contract
arguably “differ[s] materially either in kind or in extent” from the underlying cryptocurrency. However, the Debtors
also believe it would be reasonable to assert that this is not a material enough change to underlying entitlements to
cause tax events, either because of dollarization in the first instance or to the extent of an In-Kind Distribution.

         The Debtors emphasize in the strongest possible terms that the law applicable to deposits and
withdrawals of cryptocurrency from the Debtors, “dollarization,” and the consummation of the Plan is subject
to extreme uncertainty. There is effectively no “controlling” authority on any of these issues. Accordingly,
there is a material risk that the positions described above may not be sustained. The concept of a non-taxable
in-kind distribution referred to above rests in large part on the theory that the property that the Debtors would
distribute in-kind to a Holder would be in respect of an obligation that does not differ “materially either in
kind or in extent” from the obligation that arose when the Holder deposited property with the Debtors. Given
the structure of the Plan, and in particular the way in which the Debtors have valued Claims as of the Petition
Date, there is a significant risk that the Claim that a Holder has against the Debtors as of the Petition Date is



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with respect to property that differs “materially either in kind or in extent” from the property that the Holder
previously deposited with the Debtors, such that the Debtors would be distributing property in respect of an
obligation that differs “materially either in kind or in extent” from the one that existed when the Holder
deposited property with the Debtors (and thus tax-free in-kind treatment would likely be unavailable).

          Very generally, to the extent a transaction is taxable to a Holder (which, for the avoidance of doubt, would
include any Holder who receives only Cash under the Plan), each such U.S. Holder would recognize gain or loss in
an amount equal to the difference between the fair market value of the consideration (be it Cash, Cryptocurrency,
and/or Wind-Down Trust Units) received under the Plan and such U.S. Holder’s adjusted tax basis in the Claim
exchanged therefor. The character of any such gain or loss as capital or ordinary would be determined by a number
of factors including the tax status of the U.S. Holder, whether the Claim constituted a capital asset in the hands of the
U.S. Holder, and whether and to what extent the U.S. Holder had previously claimed a bad-debt deduction with respect
to its Claim. If any such recognized gain or loss were capital in nature, it generally would be long-term capital gain
if the U.S. Holder held its Claim for more than one year at the time of the exchange. Such Holder’s tax basis in the
Wind-Down Trust Units and any Cryptocurrency received in a taxable exchange should equal the fair market value
of such property as of the Effective Date, and such Holder’s holding period in any such consideration should begin on
the day after the Effective Date.

         A U.S. Holder should not recognize gain or loss in connection with any distribution from a Wind-Down
Debtor (if any) until such Wind-Down Debtor makes such distribution.

          As noted repeatedly herein, nothing in this disclosure constitutes tax or legal advice to Holders. However,
the Debtors wish to highlight one area of tax consideration that has been the subject of significant speculation in online
resources and similar. The above language indicates that customers may be able to take a loss in connection with the
consummation of the Plan. The Debtors generally expect such loss would arise when the Plan is consummated, and
not before. There has been significant speculation in various sources with respect to whether a customer can take a
loss, potentially under section 166 of the Tax Code (related to bad debts, including non-business bad debts). There
are significant timing limitations on the ability to claim a loss under section 166 of the Tax Code. In particular, other
than with respect to certain types of taxpayers that can take partial bad debt deductions in connection with a “charge-
off” under section 166(a)(2) of the Tax Code, most taxpayers can only take a deduction under 166 when a debt has
become entirely worthless. As set forth in the Plan, the Debtors do not believe customer claims will ever be entirely
worthless, as all transactions under contemplation by the Debtors contemplate that there will be some form of recovery
received by customers in respect of their claims. Accordingly, the Debtors are of the view that the overwhelming
majority of customers are not able to take a section 166 loss with respect to their claims prior to the consummation of
the Plan. However, in the event “dollarization” of Claims results in a taxable event to customers, customers likely
can claim a loss in connection with such “dollarization.”

                            (b)       U.S. Federal Income Tax Consequences to Certain U.S. Holders of Allowed
Class 4 Claims

          All rights, titles, and interests in the Alameda Loan Facility Claims shall be transferred to OpCo, and shall
subsequently be cancelled, released, discharged and extinguished as of the Effective Date, and will be of no further
force or effect, and Holders of Alameda Loan Facility Claims will not receive any distribution on account of such
Alameda Loan Facility Claims. The treatment of Class 4 Alameda Loan Facility Claims is contractually settled
pursuant to the Asset Purchase Agreement, pursuant to which its transfer to OpCo is treated as consideration paid by
Purchaser for the taxable purchase of the Acquired Assets. As such, U.S. Holders of Allowed Class 4 Claims may
recognize gain or loss on the disposition of the Alameda Loan Facility Claims in an amount equal to the difference
between their basis in such Claim and the fair market value thereof. The tax consequences to Purchaser and its
Affiliates of its acquisition of the Acquired Assets is not further discussed in this discussion.

                            (c)      U.S. Federal Income Tax Consequences to Certain U.S. Holders of Allowed
Class 5A Claims

         Each Holder of an Allowed OpCo General Unsecured Claim will receive in full and final satisfaction,
compromise, settlement, release, and discharge of such Allowed OpCo General Unsecured Claim: (i) its Pro Rata
share of Transferred Cryptocurrency Value, in Cryptocurrency or Cash as provided in the Customer Migration
Protocol; (ii) its Pro Rata share of Distributable OpCo Cash; and (iii) to effectuate distributions from the Wind-Down


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Entity if there is a Wind-Down Trust, its Pro Rata share of the Wind-Down Trust Units (if any) on account of any
recovery of Wind-Down Trust Assets attributable to OpCo; provided that any distributions from a Wind-Down Debtor
or on account of Wind-Down Trust Units shall only be made following payment in full of Allowed Administrative
Claims, Allowed Priority Tax Claims, Allowed Secured Tax Claims, and Allowed Other Priority Claims.

         Each such U.S. Holder should recognize gain or loss in an amount equal to the difference between the fair
market value of the consideration (be it Cash, Cryptocurrency, and/or Wind-Down Trust Units) received under the
Plan and such U.S. Holder’s adjusted tax basis in the Claim exchanged therefor. The character of any such gain or
loss as capital or ordinary would be determined by a number of factors including the tax status of the U.S. Holder,
whether the Claim constituted a capital asset in the hands of the U.S. Holder, and whether and to what extent the U.S.
Holder had previously claimed a bad-debt deduction with respect to its Claim. If any such recognized gain or loss
were capital in nature, it generally would be long-term capital gain if the U.S. Holder held its Claim for more than one
year at the time of the exchange. Such Holder’s tax basis in the Wind-Down Trust Units and any Cryptocurrency
received in a taxable exchange should equal the fair market value of such property as of the Effective Date, and such
Holder’s holding period in any such consideration should begin on the day after the Effective Date.

         A U.S. Holder should not recognize gain or loss in connection with any distribution from a Wind-Down
Debtor (if any) until such Wind-Down Debtor makes such distribution.

        The foregoing assumes that no Allowed Class 5A Claim is in respect of Cryptocurrency deposited with the
Debtors. If any such Allowed Class 5A Claim were in respect of Cryptocurrency deposited with the Debtors, the
considerations described in “U.S. Federal Income Tax Consequences to Certain U.S. Holders of Allowed Class 3
Claims (Account Holder Claims)” would apply.

                           (d)      U.S. Federal Income Tax Consequences to Certain U.S. Holders of Allowed
Class 5B and 5C Claims

         Each Holder of an Allowed HoldCo General Unsecured Claim will receive in full and final satisfaction,
compromise, settlement, release, and discharge of such Allowed HoldCo General Unsecured Claim: (i) its Pro Rata
share of Distributable HoldCo Cash; and (ii) to effectuate distributions from the Wind-Down Entity if there is a Wind-
Down Trust, its Pro Rata share of the Wind-Down Trust Units (if any) on account of any recovery of Wind-Down
Trust Assets attributable to HoldCo; provided that any distributions on account of Wind-Down Trust Units shall only
be made following payment in full of Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed Secured
Tax Claims, and Allowed Other Priority Claims.

          Similarly, each Holder of an Allowed TopCo General Unsecured Claim will receive in full and final
satisfaction, compromise, settlement, release, and discharge of such Allowed TopCo General Unsecured Claim: (i) its
Pro Rata share of Distributable TopCo Cash; and (ii) to effectuate distributions from the Wind-Down Entity if there
is a Wind-Down Trust, its Pro Rata share of the Wind-Down Trust Units (if any) on account of any recovery of Wind-
Down Trust Assets attributable to TopCo; provided that any distributions on account of Wind-Down Trust Units shall
only be made following payment in full of Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed
Secured Tax Claims, and Allowed Other Priority Claims.

          Each such U.S. Holder should recognize gain or loss in an amount equal to the difference between the fair
market value of the consideration (be it Cash and/or Wind-Down Trust Units) received under the Plan and such U.S.
Holder’s adjusted tax basis in the Claim exchanged therefor. The character of any such gain or loss as capital or
ordinary would be determined by a number of factors including the tax status of the U.S. Holder, whether the Claim
constituted a capital asset in the hands of the U.S. Holder, and whether and to what extent the U.S. Holder had
previously claimed a bad-debt deduction with respect to its Claim. If any such recognized gain or loss were capital in
nature, it generally would be long-term capital gain if the U.S. Holder held its Claim for more than one year at the
time of the exchange. Such Holder’s tax basis in the Wind-Down Trust Units received in a taxable exchange should
equal the fair market value of such property as of the Effective Date, and such Holder’s holding period in any such
consideration should begin on the day after the Effective Date.

         A U.S. Holder should not recognize gain or loss in connection with any distribution from a Wind-Down
Debtor (if any) until such Wind-Down Debtor makes such distribution.




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                            (e)      Net Investment Income Tax

          Certain U.S. Holders that are individuals, estates, or trusts are required to pay an additional 3.8 percent tax
on, among other things, gains from the sale or other disposition of capital assets. U.S. Holders that are individuals,
estates, or trusts should consult their tax advisors regarding the effect, if any, of this tax provision on their ownership
and disposition of any consideration to be received under the Plan.

                            (f)      Limitations on Use of Capital Losses

          U.S. Holders who recognize capital losses as a result of the distributions under the Plan will be subject to
limits on their use of capital losses. For non-corporate U.S. Holders, capital losses may be used to offset any capital
gains (without regard to holding periods) plus ordinary income to the extent of the lesser of (a) $3,000 ($1,500 for
married individuals filing separate returns) or (b) the excess of the capital losses over the capital gains. Non-corporate
U.S. Holders may carry over unused capital losses and apply them to capital gains and a portion of their ordinary
income for an unlimited number of years. For corporate U.S. Holders, losses from the sale or exchange of capital
assets may only be used to offset capital gains. Corporate U.S. Holders who have more capital losses than can be used
in a tax year may be allowed to carry over the excess capital losses for use in the five years following the capital loss
year, and are allowed to carry back unused capital losses to the three years preceding the capital loss year.

                 2.      Certain U.S. Federal Income Tax Consequences to U.S. Holders of Owning and
Disposing of Cryptocurrency Received Under the Plan.

          The U.S. federal income tax consequences to a U.S. Holder of owning and disposing of Cryptocurrency
received under the Plan will depend upon a variety of factors outside of the control and/or knowledge of the Debtors,
including (i) the U.S. federal income tax characterization of the relationship between such Holder and Purchaser, and
(ii) the activities that Holder and/or Purchaser pursue with respect to such Cryptocurrency on Purchaser’s platform.
U.S. Holders are urged to consult their own tax advisors regarding the proper characterization of such relationship and
the tax consequences that may result therefrom.

                  3.        The Wind-Down Entity.

         The Plan provides that on the Effective Date and thereafter if additional Wind-Down Entity Assets become
available, the Wind-Down Entity Assets shall automatically vest in the Wind-Down Entity. Thereupon, the Debtors
shall have no interest in or with respect to the Wind-Down Entity Assets or the Wind-Down Entity.

                            (a)      Liquidating Trust Treatment

          Although not free from doubt, other than with respect to any assets that are subject to potential disputed
claims of ownership or uncertain distributions, a Wind-Down Trust (if any) may be classified as a “liquidating trust”
under section 301.7701-4(d) of the Treasury Regulations and qualify as a “grantor trust” under section 671 of the Tax
Code. It may be that such treatment does not apply given the structure of the Plan. If such treatment did apply to any
assets of the Wind-Down Trust, any beneficiaries of the Wind-Down Trust would be treated as grantors and deemed
owners thereof and, for all U.S. federal income tax purposes, any beneficiaries would be treated as if they had received
a distribution of an undivided interest in the assets of the Wind-Down Trust and then contributed such undivided
interest to the Wind-Down Trust. Other than with respect to any assets of the Wind-Down Trust that are subject to
potential disputed claims of ownership or uncertain distributions, the treatment of the deemed transfer of assets to
applicable Holders of Claims prior to the contribution of such assets to the Wind-Down Trust should generally be
consistent with the treatment described above with respect to the receipt of the applicable assets directly. Other than
with respect to any assets of the Wind-Down Trust that are subject to potential disputed claims of ownership or
uncertain distributions, no entity-level tax should be imposed on the Wind-Down Trust with respect to earnings
generated by the assets held by it. Each beneficiary must report on its federal income tax return its allocable share of
income, gain, loss, deduction and credit, if any, recognized or incurred by the Wind-Down Trust, even if no
distributions are made.




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                            (b)      Disputed Ownership Fund treatment

          With respect to any of the assets of a Wind-Down Trust that are subject to potential disputed claims of
ownership or uncertain distributions, or to the extent “liquidating trust” treatment is otherwise unavailable, the Debtors
anticipate that such assets will be subject to disputed ownership fund treatment under Section 1.468B-9 of the Treasury
Regulations, that any appropriate elections with respect thereto shall be made, and that such treatment will also be
applied to the extent possible for state and local tax purposes. Under such treatment, a separate federal income tax
return shall be filed with the IRS for any such account. Any taxes (including with respect to interest, if any, earned in
the account) imposed on such account shall be paid out of the assets of the respective account (and reductions shall be
made to amounts disbursed from the account to account for the need to pay such taxes). To the extent property is not
distributed to U.S. Holders of applicable Claims on the Effective Date but, instead, is transferred to any such account,
although not free from doubt, U.S. Holders should not recognize any gain or loss with respect to such property on the
date that the property is so transferred. Instead, gain or loss should be recognized when and to the extent property is
actually distributed to such U.S. Holders.

                  4.        U.S. Information Reporting and Withholding.

        The Debtors and the Wind-Down Entity, as applicable, intend to withhold all amounts required under the
IRC with respect to distributions made under the Plan and to comply with all applicable reporting requirements of the
IRC. In general, information reporting requirements may apply to distributions or payments made to a Holder of a
Claim or Interest under the Plan, as well as future payments made with respect to consideration received under the
Plan.

         Backup withholding is not an additional tax. Any amounts withheld under the backup withholding rules may
be credited against a Holder’s U.S. federal income tax liability, and a Holder may obtain a refund of any excess
amounts withheld under the backup withholding rules by filing an appropriate claim for refund with the IRS (generally,
a U.S. federal income tax return).

         In addition, from an information reporting perspective, the Treasury Regulations generally require disclosure
by a taxpayer on its U.S. federal income tax return of certain types of transactions in which the taxpayer participated,
including, among other types of transactions, certain transactions that result in the taxpayer’s claiming a loss in excess
of specified thresholds. Holders are urged to consult their tax advisors regarding these regulations and whether the
transactions contemplated by the Plan would be subject to these regulations and require disclosure on the Holders’ tax
returns.



THE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE COMPLEX. THE
FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF U.S. FEDERAL INCOME
TAXATION THAT MAY BE RELEVANT TO A PARTICULAR HOLDER IN LIGHT OF SUCH
HOLDER’S CIRCUMSTANCES AND INCOME TAX SITUATION. ALL HOLDERS OF CLAIMS AND
INTERESTS ARE URGED, IN THE STRONGEST TERMS POSSIBLE, TO CONSULT WITH THEIR TAX
ADVISORS AS TO THE PARTICULAR TAX CONSEQUENCES TO THEM OF THE TRANSACTIONS
CONTEMPLATED BY THE PLAN, INCLUDING THE APPLICABILITY AND EFFECT OF ANY STATE,
LOCAL, OR NON-U.S. TAX LAWS AND OF ANY CHANGE IN APPLICABLE TAX LAWS. THE
FOREGOING SUMMARY DOES NOT CONSTITUTE TAX OR LEGAL ADVICE TO HOLDERS OF
CLAIMS OR INTERESTS.


                                                        *****




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XII.     RECOMMENDATION OF THE DEBTORS

          In the opinion of the Debtors, the Plan is preferable to the alternatives described in this Disclosure Statement
because it provides for a larger distribution to Holders of Allowed Claims than would otherwise result in a liquidation
under chapter 7 of the Bankruptcy Code. In addition, any alternative other than Confirmation could result in extensive
delays and increased administrative expenses resulting in smaller distributions to Holders of Allowed Claims than
proposed under the Plan. Accordingly, the Debtors recommend that Holders of Claims entitled to vote to accept or
reject the Plan support Confirmation and vote to accept the Plan.

                                                                            Voyager Digital Holdings, Inc. on behalf
                                                                            of itself and each of the other Debtors
                                                                   By:      /s/ Stephen Ehrlich
                                                                   Name:    Stephen Ehrlich
                                                                   Title:   Co-Founder and Chief Executive Officer
                                                                            Voyager Digital Ltd.




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Prepared By:

Dated: October 17, 2022            /s/ Joshua A. Sussberg
New York, New York                KIRKLAND & ELLIS LLP
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                                  Counsel to the Debtors and Debtors in Possession




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                                     Exhibit A

                                       Plan


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                                     Exhibit B

                                Liquidation Analysis



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                                      Exhibit C

                         Frequently Asked Questions & Answers



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                                    Exhibit B

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S , THE DEBTORS ARE NOT CURRENTLY SOLICITING VOTES ON A CHAPTER 11 PLAN. THIS
DISCLOSURE STATEMENT REMAINS SUBJECT TO APPROVAL BY THE BANKRUPTCY COURT.

THE DEBTORS WILL SEEK APPROVAL OF THE DISCLOSURE STATEMENT AT A HEARING ON
OCTOBER 19, 2022, OR SUCH OTHER DATE AS DETERMINED BY THE BANKRUPTCY COURT.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )       Chapter 11
                                                                         )
    VOYAGER DIGITAL HOLDINGS, INC., et al.,1                             )       Case No. 22-10943 (MEW)
                                                                         )
                                          Debtors.                       )       (Jointly Administered)
                                                                         )

                      FIRST AMENDED DISCLOSURE STATEMENT RELATING TO
             THE SECOND AMENDED JOINT PLAN OF VOYAGER DIGITAL HOLDINGS, INC. AND

             ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

Joshua A. Sussberg, P.C.
Christopher Marcus, P.C.
Christine A. Okike, P.C.
Allyson B. Smith (admitted pro hac vice)
KIRKLAND & ELLIS LLP
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1
       The debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital, Ltd. (7224); and Voyager Digital, LLC (8013). The location
       of the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.
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              IMPORTANT INFORMATION REGARDING THIS DISCLOSURE STATEMENT
                      DISCLOSURE STATEMENT, DATED OCTOBER 517, 2022

           SOLICITATION OF VOTES TO ACCEPT OR REJECT THE SECOND AMENDED
                  JOINT PLAN OF VOYAGER DIGITAL HOLDINGS, INC. AND
       ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

 YOU ARE RECEIVING THIS DOCUMENT AND THE ACCOMPANYING MATERIALS BECAUSE AS
 OF THE VOTING RECORD DATE, YOU HELD A CLAIM AGAINST THE DEBTORS IN ONE OF THE
    FOLLOWING CLASSES AND THEREFORE YOU ARE ENTITLED TO VOTE ON THE PLAN:

      VOTING CLASSES                                  NAME OF CLASS UNDER THE PLAN
             3                                               Account Holder Claims
             4                                            Alameda Loan Facility Claims
           55A                                           OpCo General Unsecured Claims
            5B                                          HoldCo General Unsecured Claims
            5C                                          TopCo General Unsecured Claims

                                         DELIVERY OF BALLOTS
 1.      Ballots must be actually received by Stretto, Inc. (“Stretto” or the “Claims, Noticing, and Solicitation
         Agent”) before the Voting Deadline (4:00 p.m., prevailing Eastern Time, on November 25, 2022).

 2.      Ballots may be returned by the following methods:

         a)   For Holders of Account Holder Claims: via electronic submission through the Claims, Noticing,
              and Solicitation Agent’s online voting portal at https://cases.stretto.com/Voyager/balloting.

         b) For Holders of Alameda Loan Facility Claims: via electronic submission through the Claims,
            Noticing,         and      Solicitation      Agent’s online     voting      portal      at
            https://cases.stretto.com/Voyager/balloting.

         c) For Holders of General Unsecured Claims: (i) via electronic submission through the Claims,
            Noticing,         and       Solicitation      Agent’s       online       voting      portal       at
            https://cases.stretto.com/Voyager/balloting; (ii) in the enclosed pre-paid, pre-addressed return
            envelope; or (ii) via first class mail, overnight courier, or hand delivery to the address set forth
            below:

                                            Voyager Ballot Processing
                                                    c/o Stretto
                                             410 Exchange, Suite 100
                                                Irvine, CA 92602


 If you have any questions on the procedures for voting on the Plan, as defined herein, please contact the Claims,
 Noticing, and Solicitation Agent by emailing voyagerinquiries@stretto.com and referencing “In re Voyager –
 Solicitation Inquiry” in the subject line, or by calling (855) 473-8665 (Toll-Free) or (949) 271-6507
 (International).
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           IMPORTANT INFORMATION ABOUT THIS DISCLOSURE STATEMENT

       THE DEBTORS ARE PROVIDING THE INFORMATION IN THIS DISCLOSURE STATEMENT
TO HOLDERS OF CLAIMS FOR PURPOSES OF SOLICITING VOTES TO ACCEPT OR REJECT THE
SECOND AMENDED JOINT PLAN OF VOYAGER DIGITAL HOLDINGS, INC. AND ITS DEBTOR
AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE. NOTHING IN THIS
DISCLOSURE STATEMENT MAY BE RELIED UPON OR USED BY ANY ENTITY FOR ANY OTHER
PURPOSE. BEFORE DECIDING WHETHER TO VOTE FOR OR AGAINST THE PLAN, EACH
HOLDER ENTITLED TO VOTE SHOULD CAREFULLY CONSIDER ALL OF THE INFORMATION IN
THIS DISCLOSURE STATEMENT, INCLUDING THE RISK FACTORS DESCRIBED IN ARTICLE VIII
HEREIN. IN THE EVENT OF ANY INCONSISTENCIES BETWEEN THE PLAN AND THE
DISCLOSURE STATEMENT, THE PLAN SHALL GOVERN.

      THE DEBTORS URGE EACH HOLDER OF A CLAIM TO CONSULT WITH ITS OWN
ADVISORS WITH RESPECT TO ANY LEGAL, FINANCIAL, SECURITIES, TAX, OR BUSINESS
ADVICE IN REVIEWING THIS DISCLOSURE STATEMENT, THE PLAN, AND THE PROPOSED
TRANSACTIONS CONTEMPLATED THEREBY. FURTHERMORE, THE BANKRUPTCY COURT’S
APPROVAL OF THE ADEQUACY OF THE INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT DOES NOT CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL OF THE PLAN.

      THIS DISCLOSURE STATEMENT CONTAINS, AMONG OTHER THINGS, SUMMARIES OF
THE PLAN, CERTAIN STATUTORY PROVISIONS, AND CERTAIN ANTICIPATED EVENTS IN THE
DEBTORS’ CHAPTER 11 CASES. ALTHOUGH THE DEBTORS BELIEVE THAT THESE SUMMARIES
ARE FAIR AND ACCURATE, THESE SUMMARIES ARE QUALIFIED IN THEIR ENTIRETY TO THE
EXTENT THAT THEY DO NOT SET FORTH THE ENTIRE TEXT OF SUCH DOCUMENTS OR
STATUTORY PROVISIONS OR EVERY DETAIL OF SUCH ANTICIPATED EVENTS. IN THE EVENT
OF ANY INCONSISTENCY OR DISCREPANCY BETWEEN A DESCRIPTION IN THIS DISCLOSURE
STATEMENT AND THE TERMS AND PROVISIONS OF THE PLAN OR ANY OTHER DOCUMENTS
INCORPORATED HEREIN BY REFERENCE, THE PLAN OR SUCH OTHER DOCUMENTS WILL
GOVERN FOR ALL PURPOSES. FACTUAL INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT HAS BEEN PROVIDED BY THE DEBTORS’ MANAGEMENT EXCEPT WHERE
OTHERWISE SPECIFICALLY NOTED. THE DEBTORS DO NOT REPRESENT OR WARRANT THAT
THE INFORMATION CONTAINED HEREIN OR ATTACHED HERETO IS WITHOUT ANY
MATERIAL INACCURACY OR OMISSION.

      IN PREPARING THIS DISCLOSURE STATEMENT, THE DEBTORS RELIED ON FINANCIAL
DATA DERIVED FROM THE DEBTORS’ BOOKS AND RECORDS AND ON VARIOUS ASSUMPTIONS
REGARDING THE DEBTORS’ BUSINESS.      WHILE THE DEBTORS BELIEVE THAT SUCH
FINANCIAL INFORMATION FAIRLY REFLECTS THE FINANCIAL CONDITION OF THE DEBTORS
AS OF THE DATE HEREOF AND THAT THE ASSUMPTIONS REGARDING FUTURE EVENTS
REFLECT REASONABLE BUSINESS JUDGMENTS, NO REPRESENTATIONS OR WARRANTIES ARE
MADE AS TO THE ACCURACY OF THE FINANCIAL INFORMATION CONTAINED HEREIN OR
ASSUMPTIONS REGARDING THE DEBTORS’ BUSINESS AND THEIR FUTURE RESULTS AND
OPERATIONS. THE DEBTORS EXPRESSLY CAUTION READERS NOT TO PLACE UNDUE
RELIANCE ON ANY FORWARD-LOOKING STATEMENTS CONTAINED HEREIN.

      THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE, AND MAY NOT BE
CONSTRUED AS, AN ADMISSION OF FACT, LIABILITY, STIPULATION, OR WAIVER. THE
DEBTORS OR ANY OTHER AUTHORIZED PARTY MAY SEEK TO INVESTIGATE, FILE, AND
PROSECUTE CLAIMS AND MAY OBJECT TO CLAIMS AFTER THE CONFIRMATION OR
EFFECTIVE DATE OF THE PLAN IRRESPECTIVE OF WHETHER THIS DISCLOSURE STATEMENT
IDENTIFIES ANY SUCH CLAIMS OR OBJECTIONS TO CLAIMS.

      THE DEBTORS ARE MAKING THE STATEMENTS AND PROVIDING THE FINANCIAL
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AS OF THE DATE HEREOF,
UNLESS OTHERWISE SPECIFICALLY NOTED. ALTHOUGH THE DEBTORS MAY SUBSEQUENTLY

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UPDATE THE INFORMATION IN THIS DISCLOSURE STATEMENT, THE DEBTORS HAVE NO
AFFIRMATIVE DUTY TO DO SO AND EXPRESSLY DISCLAIM ANY DUTY TO PUBLICLY UPDATE
ANY FORWARD-LOOKING STATEMENTS, WHETHER AS A RESULT OF NEW INFORMATION,
FUTURE EVENTS, OR OTHERWISE. HOLDERS OF CLAIMS REVIEWING THIS DISCLOSURE
STATEMENT SHOULD NOT INFER THAT, AT THE TIME OF THEIR REVIEW, THE FACTS SET
FORTH HEREIN HAVE NOT CHANGED SINCE THIS DISCLOSURE STATEMENT WAS FILED.
INFORMATION CONTAINED HEREIN IS SUBJECT TO COMPLETION, MODIFICATION, OR
AMENDMENT. THE DEBTORS RESERVE THE RIGHT TO FILE AN AMENDED OR MODIFIED
PLAN AND RELATED DISCLOSURE STATEMENT FROM TIME TO TIME, SUBJECT TO THE
TERMS OF THE PLAN.

      THE DEBTORS HAVE NOT AUTHORIZED ANY ENTITY TO GIVE ANY INFORMATION
ABOUT OR CONCERNING THE PLAN OTHER THAN THAT WHICH IS CONTAINED IN THIS
DISCLOSURE STATEMENT. THE DEBTORS HAVE NOT AUTHORIZED ANY REPRESENTATIONS
CONCERNING THE DEBTORS OR THE VALUE OF THEIR PROPERTY OTHER THAN AS SET
FORTH IN THIS DISCLOSURE STATEMENT.

      IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT AND THE EFFECTIVE DATE
OCCURS, ALL HOLDERS OF CLAIMS OR INTERESTS (INCLUDING THOSE HOLDERS OF CLAIMS
WHO DO NOT SUBMIT BALLOTS TO ACCEPT OR REJECT THE PLAN, THOSE HOLDERS OF
CLAIMS WHO VOTE TO REJECT THE PLAN, OR THOSE HOLDERS OF CLAIMS AND INTERESTS
WHO ARE NOT ENTITLED TO VOTE ON THE PLAN) WILL BE BOUND BY THE TERMS OF THE
PLAN AND THE RESTRUCTURING TRANSACTION CONTEMPLATED THEREBY.

      THE CONFIRMATION AND EFFECTIVENESS OF THE PLAN ARE SUBJECT TO CERTAIN
MATERIAL CONDITIONS PRECEDENT DESCRIBED HEREIN AND SET FORTH IN ARTICLE IX OF
THE PLAN. THERE IS NO ASSURANCE THAT THE PLAN WILL BE CONFIRMED, OR IF
CONFIRMED, THAT THE CONDITIONS REQUIRED TO BE SATISFIED FOR THE PLAN TO GO
EFFECTIVE WILL BE SATISFIED (OR WAIVED).

     YOU ARE ENCOURAGED TO READ THE PLAN AND THIS DISCLOSURE STATEMENT IN
THEIR ENTIRETY, INCLUDING ARTICLE VIII, ENTITLED “RISK FACTORS” BEFORE
SUBMITTING YOUR BALLOT TO VOTE ON THE PLAN.

     THE BANKRUPTCY COURT’S APPROVAL OF THIS DISCLOSURE STATEMENT DOES NOT
CONSTITUTE A GUARANTEE BY THE BANKRUPTCY COURT OF THE ACCURACY OR
COMPLETENESS OF THE INFORMATION CONTAINED HEREIN OR AN ENDORSEMENT BY THE
BANKRUPTCY COURT OF THE MERITS OF THE PLAN.

      SUMMARIES OF THE PLAN AND STATEMENTS MADE IN THIS DISCLOSURE STATEMENT
ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THE PLAN. THE SUMMARIES OF THE
FINANCIAL INFORMATION AND THE DOCUMENTS ANNEXED TO THIS DISCLOSURE
STATEMENT OR OTHERWISE INCORPORATED HEREIN BY REFERENCE ARE QUALIFIED IN
THEIR ENTIRETY BY REFERENCE TO THOSE DOCUMENTS. THE STATEMENTS CONTAINED IN
THIS DISCLOSURE STATEMENT ARE MADE ONLY AS OF THE DATE OF THIS DISCLOSURE
STATEMENT, AND THERE IS NO ASSURANCE THAT THE STATEMENTS CONTAINED HEREIN
WILL BE CORRECT AT ANY TIME AFTER SUCH DATE. EXCEPT AS OTHERWISE PROVIDED IN
THE PLAN OR IN ACCORDANCE WITH APPLICABLE LAW, THE DEBTORS ARE UNDER NO DUTY
TO UPDATE OR SUPPLEMENT THIS DISCLOSURE STATEMENT.

      THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS INCLUDED FOR
PURPOSES OF SOLICITING VOTES FOR THE ACCEPTANCES AND CONFIRMATION OF THE
PLAN AND MAY NOT BE RELIED ON FOR ANY OTHER PURPOSE. IN THE EVENT OF ANY
INCONSISTENCY BETWEEN THE DISCLOSURE STATEMENT AND THE PLAN, THE RELEVANT
PROVISIONS         OF         THE          PLAN         WILL         GOVERN.



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          SPECIAL NOTICE REGARDING FEDERAL AND STATE SECURITIES LAWS

NEITHER THIS DISCLOSURE STATEMENT NOR THE PLAN HAS BEEN FILED WITH THE UNITED
STATES SECURITIES AND EXCHANGE COMMISSION (THE “SEC”) OR ANY STATE AUTHORITY.
THE PLAN HAS NOT BEEN APPROVED OR DISAPPROVED BY THE SEC OR ANY STATE
SECURITIES COMMISSION, AND NEITHER THE SEC NOR ANY STATE SECURITIES
COMMISSION HAS PASSED UPON THE ACCURACY OR ADEQUACY OF THIS DISCLOSURE
STATEMENT OR THE MERITS OF THE PLAN. ANY REPRESENTATION TO THE CONTRARY IS A
CRIMINAL OFFENSE.

NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THIS DISCLOSURE STATEMENT,
NOTHING IN THIS DISCLOSURE STATEMENT CONSTITUTES A FINDING UNDER U.S. FEDERAL
SECURITIES LAWS, FOREIGN SECURITIES LAWS OR ANY STATE SECURITIES LAWS AS TO
WHETHER CRYPTOCURRENCY, INCLUDING THE VOYAGER TOKENS, OR TRANSACTIONS
INVOLVING CRYPTOCURRENCY ARE SECURITIES. THE SEC AND ITS STAFF HAVE TAKEN THE
POSITION THAT CERTAIN CRYPTOCURRENCY ASSETS AND CERTAIN TRANSACTIONS
INVOLVING CRYPTOCURRENCY ASSETS FALL WITHIN THE DEFINITION OF A “SECURITY”
UNDER THE U.S. FEDERAL SECURITIES LAWS. THE DETERMINATION AS TO WHETHER A
CRYPTOCURRENCY ASSET OR A TRANSACTION INVOLVING CRYPTOCURRENCY MAY
CONSTITUTE A “SECURITY” UNDER APPLICABLE LAWS IS A DETERMINATION FOR THE SEC,
APPLICABLE STATE AND FOREIGN REGULATORY AUTHORITIES, AND COURTS WITH PROPER
JURISDICTION.

THIS DISCLOSURE STATEMENT CONTAINS “FORWARD-LOOKING STATEMENTS” WITHIN THE
MEANING OF THE PRIVATE SECURITIES LITIGATION REFORM ACT OF 1995. READERS ARE
CAUTIONED THAT ANY FORWARD-LOOKING STATEMENTS IN THIS DISCLOSURE STATEMENT
ARE BASED ON ASSUMPTIONS THAT ARE BELIEVED TO BE REASONABLE BUT ARE SUBJECT
TO A WIDE RANGE OF RISKS, INCLUDING RISKS ASSOCIATED WITH THE FOLLOWING:

         THE OVERALL HEALTH OF THE CRYPTOCURRENCY INDUSTRY;

         POPULARITY AND RATE OF ADOPTION OF CRYPTOCURRENCIES;

         THE DEBTORS’ REGULATORY LICENSES;

         THE POTENTIAL ADOPTION OF NEW GOVERNMENTAL REGULATIONS;

         THE DEBTORS’ TECHNOLOGY        AND   ABILITY   TO   ADAPT     TO   RAPID
          TECHNOLOGICAL CHANGE;

         THE RELIABILITY, STABILITY, PERFORMANCE AND SCALABILITY OF THE
          DEBTORS’ INFRASTRUCTURE AND TECHNOLOGY;

         THE DEBTORS’ FINANCIAL CONDITION, REVENUES, CASH FLOWS, AND EXPENSES;

         THE ADEQUACY OF THE DEBTORS’ CAPITAL RESOURCES AND LIQUIDITY;

         THE INTEGRATION AND BENEFITS OF ASSET AND PROPERTY ACQUISITIONS OR
          THE EFFECTS OF ASSET AND PROPERTY ACQUISITIONS OR DISPOSITIONS ON THE
          DEBTORS’ CASH POSITION AND LEVELS OF INDEBTEDNESS;




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         GENERAL ECONOMIC AND BUSINESS CONDITIONS;

         EFFECTIVENESS OF THE DEBTORS’ RISK MANAGEMENT ACTIVITIES;

         COUNTERPARTY CREDIT RISK;

         THE OUTCOME OF PENDING AND FUTURE LITIGATION;

         EXCHANGE RATE FLUCTUATIONS AND CRYPTOCURRENCY PRICE FLUCTUATIONS;

         PLANS, OBJECTIVES, AND EXPECTATIONS;

         RISKS IN CONNECTION WITH DISPOSITIONS; AND

         RISK OF INFORMATION TECHNOLOGY OR DATA SECURITY BREACHES OR OTHER
          CYBERATTACKS.

STATEMENTS CONCERNING THESE AND OTHER MATTERS ARE NOT GUARANTEES OF THE
DEBTORS’ AND THE WIND-DOWN DEBTORS’ FUTURE PERFORMANCE. THERE ARE RISKS,
UNCERTAINTIES, AND OTHER IMPORTANT FACTORS THAT COULD CAUSE THE DEBTORS’
AND THE WIND-DOWN DEBTORS’ ACTUAL PERFORMANCE OR ACHIEVEMENTS TO BE
DIFFERENT FROM THOSE THEY MAY PROJECT, AND THE DEBTORS UNDERTAKE NO
OBLIGATION TO UPDATE THE PROJECTIONS MADE HEREIN OTHER THAN AS REQUIRED BY
APPLICABLE LAW. THESE RISKS, UNCERTAINTIES, AND FACTORS MAY INCLUDE THE
FOLLOWING:

         THE RISKS AND UNCERTAINTIES ASSOCIATED WITH THE CHAPTER 11 CASES;

         THE DEBTORS’ ABILITY TO PURSUE THEIR BUSINESS STRATEGIES DURING THE
          CHAPTER 11 CASES;

         THE DEBTORS’ ABILITY TO MAINTAIN COMPLIANCE WITH LAWS AND
          REGULATIONS OR THE INTERPRETATION OR APPLICATION OF SUCH LAWS THAT
          CURRENTLY APPLY OR MAY BECOME APPLICABLE TO THE DEBTORS’ BUSINESS
          BOTH IN THE UNITED STATES AND INTERNATIONALLY;

         CHANGES TO A PARTICULAR CRYPTOCURRENCY ASSET’S OR PRODUCT
          OFFERING’S STATUS AS A “SECURITY” IN ANY RELEVANT JURISDICTION UNDER
          RELEVANT LAWS AND REGULATIONS OR REGULATORY INTERPRETATION
          THEREOF;

         LOSS OF CRITICAL BANKING OR INSURANCE RELATIONSHIPS;

         THE DIVERSION OF MANAGEMENT’S ATTENTION AS A RESULT OF THE CHAPTER
          11 CASES;

         INCREASED LEVELS OF EMPLOYEE ATTRITION AS A RESULT OF THE CHAPTER 11
          CASES;

         CUSTOMER RESPONSES TO THE CHAPTER 11 CASES;

         THE IMPACT OF A PROTRACTED RESTRUCTURING ON THE DEBTORS’ BUSINESS;



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         THE DEBTORS’ ABILITY TO CONFIRM OR CONSUMMATE THE PLAN;

         THE DEBTORS’ INABILITY TO PREDICT THEIR LONG-TERM LIQUIDITY
          REQUIREMENTS AND THE ADEQUACY OF THEIR CAPITAL RESOURCES;

         THE AVAILABILITY OF CASH TO MAINTAIN THE DEBTORS’ OPERATIONS AND
          FUND EMERGENCE COSTS;

         RISKS ASSOCIATED WITH WEAK OR UNCERTAIN GLOBAL ECONOMIC CONDITIONS
          AND THEIR IMPACT ON DEMAND FOR DIGITAL ASSETS;

         OTHER GENERAL ECONOMIC AND POLITICAL CONDITIONS IN THE UNITED
          STATES, INCLUDING THOSE RESULTING FROM RECESSIONS, POLITICAL EVENTS,
          ACTS OR THREATS OF TERRORISM, AND MILITARY CONFLICTS;

         INDUSTRY CONDITIONS,      INCLUDING COMPETITION AND TECHNOLOGICAL
          INNOVATION;

         FLUCTUATIONS IN OPERATING COSTS;

         SHIFTS IN POPULATION AND OTHER DEMOGRAPHICS;

         LEGISLATIVE OR REGULATORY REQUIREMENTS; AND

         FLUCTUATIONS IN INTEREST RATES, EXCHANGE RATES, AND CURRENCY VALUES.

YOU ARE CAUTIONED THAT ALL FORWARD-LOOKING STATEMENTS ARE NECESSARILY
SPECULATIVE, AND THERE ARE CERTAIN RISKS AND UNCERTAINTIES THAT COULD CAUSE
ACTUAL EVENTS OR RESULTS TO DIFFER MATERIALLY FROM THOSE REFERRED TO IN SUCH
FORWARD-LOOKING STATEMENTS. THE LIQUIDATION ANALYSIS AND OTHER PROJECTIONS
AND FORWARD-LOOKING INFORMATION CONTAINED HEREIN AND ATTACHED HERETO ARE
ONLY ESTIMATES, AND THE TIMING AND AMOUNT OF ACTUAL DISTRIBUTIONS TO HOLDERS
OF ALLOWED CLAIMS, AMONG OTHER THINGS, MAY BE AFFECTED BY MANY FACTORS THAT
CANNOT BE PREDICTED. ANY ANALYSES, ESTIMATES, OR RECOVERY PROJECTIONS MAY OR
MAY NOT TURN OUT TO BE ACCURATE.

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I.        INTRODUCTION

          Voyager Digital Holdings, Inc. (along with its debtor affiliates, the “Debtors,” the “Company,”
or “Voyager”) and its debtor affiliates submit this disclosure statement (including all exhibits hereto and as may be
supplemented or amended from time to time, the “Disclosure Statement”), pursuant to section 1125 of the
Bankruptcy Code, to holders of Claims against and Interests in the Debtors in connection with the solicitation of
votes for acceptance of the Debtors’ Second Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor
Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 45396] (as supplemented or amended from
time to time, the “Plan”). A copy of the Plan is attached hereto as Exhibit A and is incorporated herein by
reference. The Plan constitutes a separate chapter 11 plan for each of the Debtors.2

      THE DEBTORS BELIEVE THAT THE COMPROMISES AND SETTLEMENTS
CONTEMPLATED BY THE PLAN ARE FAIR AND EQUITABLE, MAXIMIZE THE VALUE OF THE
DEBTORS’ ESTATES, AND MAXIMIZE RECOVERIES TO HOLDERS OF CLAIMS. THE DEBTORS
BELIEVE THE PLAN IS THE BEST AVAILABLE OPTION FOR COMPLETING THE CHAPTER 11
CASES. THE DEBTORS STRONGLY RECOMMEND THAT YOU VOTE TO ACCEPT THE PLAN.

II.       PRELIMINARY STATEMENT

         The Debtors filed these Chapter 11 Cases in response to a short-term “run on the bank” caused by the
downturn in the cryptocurrency industry generally and the default of a significant loan made to a third party. Since
the Petition Date, the Debtors worked tirelessly to identify the most value-maximizing transaction for their
customers and other creditors on an expedited timeline. Ultimately, those efforts were successful. Following a
two-week competitive auction process, the Debtors selected the bid submitted by West Realm Shires Inc. (“FTX
US” or “Purchaser”) as the winning bid. The Debtors value FTX US’s bid at approximately $1.422 billion,
comprised of (i) the value of Cryptocurrency on the Voyager platform as of a date to be determined, which, as of
September 26, 2022, is estimated to be $1.311 billion, plus (ii) additional consideration which is estimated to
provide at least approximately $111 million of incremental value. Importantly, the FTX US bid can be effectuated
quickly, provides a meaningful recovery to creditors, and allows the Debtors to facilitate an efficient resolution of
these chapter 11 cases, after which FTX US’s market-leading, secured trading platform will enable customers to
trade and store cryptocurrency.

         Under the Asset Purchase Agreement, FTX US will purchase all Cryptocurrency on the Voyager platform,
other than VGX, at fair market value as of a to be determined date. The fair market value of any Cryptocurrency
other than VGX will be calculated by Purchaser reasonably and in good faith based on market practice, available
pricing information, and mutually agreed principles. Following the sale to FTX US, Voyager will wind down and
therefore VGX will have no utility going forward. As a result, VGX may decline in value and may have no value
post-consummation of the Plan. FTX US will not be assuming Voyager’s obligations related to VGX, but has
offered to purchase all VGX in the Debtors’ Estates for a purchase price of $10 million.

          FTX US has offered to purchase all VGX in the Debtors’ Estates for a purchase price of $10 million. This
is a floor of what the Debtors will receive for VGX. The Debtors continue to work internally and with third parties
in an effort to identify a higher and better solution for VGX that is also compatible with the FTX US Asset Purchase
Agreement and are hopeful they will be able to do so. Any such alternative solution, to be acceptable, must deliver
value to the Debtors and their Estates that exceeds $10 million and must be compatible with the agreements between
the Debtors and FTX US. If the Debtors are unable to identify a higher and better solution for VGX, the Debtors




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      Capitalized terms used but not otherwise defined herein have the meaning ascribed to such terms in the Plan or Asset
      Purchase Agreement, as applicable. Additionally, this Disclosure Statement incorporates the rules of interpretation located
      in Article I of the Plan. The summary provided in this Disclosure Statement of any documents attached to this
      Disclosure Statement, including the Plan, are qualified in their entirety by reference to the Plan and the documents
      being summarized. In the event of any inconsistencies between the terms of this Disclosure Statement and the Plan,
      the Plan shall govern.




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will accept FTX US’s offer and, as a result, VGX may decline in value and may have no value post-consummation
of the Plan.

          As described further in Article IV.C.6 of this Disclosure Statement, the Debtors will effectuate the
transition of Account Holders to the FTX US platform pursuant to the Customer Migration Protocol, which will be
included in the Plan Supplement and will be filed with the Bankruptcy Court in advance of the Voting Deadline. As
a general matter, theThe Customer Migration Protocol will provide, among other things, that Purchaser will
make initial distributions toonly those Account Holders that become Transferred Creditors under the Plan into
such Transferred Creditors’ FTX Accounts (i) in Cryptocurrency if such Transferred Creditor has become a
Transferred Creditor prior to the Closing Date and Purchaser supports the Cryptocurrency maintained by such
Transferred Creditor in such Transferred Creditor’s Account, or (ii) in Cash, for the Cash portions of such initial
distributions and ifat least one Business Day prior to the Effective Date and who maintain Cryptocurrency in
their Account that is supported by FTX US will receive their initial distributions under the Plan in-kind (i.e.,
in the form of Cryptocurrency) deposited into their FTX US Accounts. If (x) Purchaser does not support the
Cryptocurrency maintained by a Transferred Creditor in such Transferred Creditor’s Account, (y) a Transferred
Creditor did not maintain Cryptocurrency in its Account, or (z) a Transferred Creditor becomes a Transferred
Creditor after the Closingsuch Ddate but before the final migration cut-off date 45 days after the Effective Date as
contemplated in the Customer Migration Protocol., such Transferred Creditor will receive their share of the initial
distribution in the form of USDC. Account Holders who do not become Transferred Customers will not be eligible
to receive any portion of the initial distribution from FTX US. All distributions to such Account Holders and all
other distributions will be made on a pro rata basis in cash from the Debtors’ Estates.

          It is anticipated that all Voyager customers will be transitioning to FTX US. In the event that a customer is
not successfully transitioned to FTX US, such customer will not be eligible for the $50 Account Credit (as discussed
below), and. Any customer that does not transition to FTX US at least one Business Day prior to the Closing Date
will not receive the Transferred Cryptocurrency Value in kind. Instead, such Holder will receive a Cash distribution
from the Debtor’s estates as and when such distributions are made pursuant to the Bankruptcy Code. Any
subsequent distributions shall be made similarly in accordance with the Customer Migration Protocol or as otherwise
provided in Article VI.C.8 of the Plan.

         Below is a chart of estimated recoveries to hypothetical Holders of Account Holder Claims.3




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    Recoveries are for illustrative purposes and may materially differ from the amount portrayed in the chart. Cryptocurrency
    dollarizedAccount Holder Claims shall be valued in U.S. dollars as of the pPetition date for illustrative purposes.
    Illustrative recovery is shown based on the estimated total fair market value of Voyager’s cryptocurrency assets based on
    20-day average coin prices as of September 29th, 2022. Actual cryptocurrency recovery will be determined by
    cryptocurrency prices during the fair market value reference period prior to the Effective Date and may vary materially from
    illustrative recoveries presented herein depending on market conditionsDate consistent with section 502(b) of the
    Bankruptcy Code.




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Account


                         Customer                                       Customer
                          Claim                                         Recovery
                                                                                                  Illustrative
                         # of Coins         7/5 Coin                    Supported    Recovery                         Recovery     # of Coins
          Coin                                            Claim ($)                               Crypto Recovery
                          Claimed             Price                     on FTX US     Type                             Value       Recovered5
                                                                                                  %4


BTC                                  0.04    $20,157.69      $907.07       Yes         BTC                   70%         $636.85            0.03
ETH                                  0.19      1,131.60       214.41       Yes         ETH                   70%          150.54            0.10
DAI                              49.19             1.00         49.17      Yes         DAI                   70%           34.53          34.52
DOGE                            978.43             0.07         65.64      Yes        DOGE                   70%           46.09         758.59
ALGO                            123.83             0.31         38.07      Yes         ALGO                  70%           26.73          79.74
LINK                                 0.29          6.31          1.83      Yes         LINK                  70%            1.28            0.17
                                                                                        U.S.
XRP                             122.38             0.33         39.79      No                                70%           27.94            N/A
                                                                                    DollarsUSDC
                                                                                        U.S.
HBAR                            130.66             0.06          8.05      No                                70%            5.65            N/A
                                                                                    DollarsUSDC
                                                                                        U.S.
BAND                             24.73             1.32         32.65      No                                70%           22.92            N/A
                                                                                    DollarsUSDC
                                                                                        U.S.
VGX                             249.05             0.24         59.32      No                                70%           41.65            N/A
                                                                                    DollarsUSDC
                                                                                        U.S.
TRAC                          1,471.96             0.19       286.88       No                                70%          201.42            N/A
                                                                                    DollarsUSDC
                                                                                        U.S.
GALA                          2,274.69             0.05       121.01       No                                70%           84.96            N/A
                                                                                    DollarsUSDC

Claim


Value Claimed                                                                                                                          $1,823.90
Proportion of Total Platform Value                                                                                                     0.0001%


Illustrative Recovery




      4
            Illustrative cryptocurrency recovery is shown based on the estimated total fair market value of Voyager’s cryptocurrency
            assets based on 20-day average coin prices as of September 29th, 2022. Actual cryptocurrency recovery will be determined
            by cryptocurrency prices during the fair market value reference period prior to the Effective Date.

      5
            Illustrative number of coins recovered based on recovery value divided by the 20-day average coin price as of September
            29, 2022. Actual cryptocurrency prices for purposes of denominating initial distributions will be determined by such
            supported cryptocurrency’s price during the fair market value reference period prior to the Effective Date.




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Crypto Recovery
  Value Recovered (In Kind)                                                                                                             $896.01
  Value Recovered (Converted to U.S. Dollars)                                                                                            384.55
Crypto Value Recovered                                                                                                                 $1,280.56
  % Crypto Recovery4                                                                                                                        70%


Other Value Recovered                                                                                                                    $32.67
% Other Recovery6                                                                                                                            2%


Total Value Recovered                                                                                                                  $1,313.23
% Total Recovery                                                                                                                           72%


              Prior to the Petition Date, Voyager operated a cryptocurrency trading platform that allowed customers to
    buy, sell, and store cryptocurrency on an easy-to-use and “accessible-to-all” platform. Using the Company’s mobile
    application, Voyager’s customers could earn rewards on the cryptocurrency assets stored on the Company’s platform
    and trade over 100 unique digital assets. Voyager’s mission since inception has been to provide customers with the
    tools to enter the cryptocurrency industry on their own terms in a way that is tailored to the needs of each customer.
    Voyager’s mobile application has been downloaded millions of times and had over 1.1 million active users as of
    July 5, 2022 (the “Petition Date”). In 2021, Voyager was one of the top ten most downloaded cryptocurrency
    mobile applications in the world.

             Recent events in the world economy roiled traditional markets and the cryptocurrency markets alike. The
    lingering effects of the COVID-19 pandemic, coupled with rampant inflation and the adverse effects of the war in
    the Ukraine on the world economy, contributed to a massive sell-off in traditional assets in early 2022. Total wealth
    in the United States declined by $5 trillion between January 2022 and May 2022. The cryptocurrency market is not
    immune to these macroeconomic trends and likewise experienced extreme market volatility in 2022. All major coins
    and cryptocurrency-focused companies experienced significant declines; in early September 2022, the aggregate
    value of the cryptocurrency market sank below $1 trillion for the first time since 2020. Several major liquidity
    events in the cryptocurrency space, including the implosion of Terra LUNA (“Luna”) (as discussed in Article VI.A.2
    of this Disclosure Statement), accelerated the onset of a “crypto winter” and an industry-wide sell-off to manage risk
    in 2022.

             InAs described in more detail in Article VI(2)(b) below, in June 2022, it became apparent that the
    Company’s loan to Three Arrows Capital (“3AC” and such loan the “3AC Loan”), a cryptocurrency hedge fund
    based in Singapore, was in jeopardy of partial or full nonpayment. The Company’s loan to 3AC was one of its
    largest outstanding loans. On June 17, 2022, 3AC announced that it had suffered heavy losses due to massive
    exposure to Luna. The Company’s management team was acutely aware that nonpayment of the loan to 3AC,
    coupled with severe industry headwinds, would strain the Company’s ability to continue operating its trading
    platform. Accordingly, the Company’s management team immediately began to explore potential strategic solutions.
    On or about June 16, 2022, theThe Company retained Kirkland & Ellis LLP (“Kirkland”) and Moelis & Company
    LLC (“Moelis”). The Company subsequently retained Berkeley Research Group (“BRG”) on June 30, 2022. The
    Company engaged in numerous discussions with a number of third parties and potential sources of new liquidity and
    ultimately obtained an unsecured loan from Alameda Ventures Ltd. (“Alameda”), a major participant in the
    cryptocurrency space. With the advice and assistance of Moelis, the Company began discussions with a host of third


    6
          Other recovery includes the estimated pro rata distribution to Account Holder Claims from (i) Voyager balance sheet cash,
          (ii) FTX US upfront cash consideration, (iii) FTX US earnout, (iv) other miscellaneous recoveries, including proceeds from
          the sale of investments and any 3AC Recovery, net of (i) payment in full of Administrative Claims, Secured Tax Claims,
          Priority Tax Claims, and Other Priority Claims and (ii) funding of the Wind-Down Reserve. Each Transferred Creditor will
          also receive the Account Credit from FTX US.

          For the purposes of the Disclosure Statement, “Account Credit” means $50 credited to each Transferred Creditor’s FTX US
          Account, subject to the terms and the conditions of the Asset Purchase Agreement.




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parties about a more long-term solution to the challenges facing the Company. Discussions with these third parties,
however, ultimately revealed that an in-court process would be necessary to develop the most value-maximizing
alternative available to the Company. Accordingly, the Debtors filed these Chapter 11 Cases on July 5, 2022.

         On the first day of these chapter 11 cases, the Debtors filed the Joint Plan of Reorganization of Voyager
Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 17] (as
amended and restated from time to time, the “Standalone Plan”). The Standalone Plan contemplated a restructuring
that could be effectuated without a sale, and served as a floor for the Debtors’ marketing process. To that end, the
Debtors, with the assistance of Moelis and their other advisors, continued their prepetition marketing efforts during
these Chapter 11 Cases to canvas the market and identify interest in a transaction with a third-party investor
(the “Marketing Process”). Shortly after commencing these chapter 11 cases, the Debtors filed the Debtors’ Motion
Seeking Entry of an Order (I) Approving the Bidding Procedures and Related Dates and Deadlines, (II) Scheduling
Hearings and Objection Deadlines with Respect to the Debtors’ Sale, Disclosure Statement, and Plan
Confirmation, and (III) Granting Related Relief [Docket No. 126] (the “Bidding Procedures Motion”), which set a
timeline for interested parties to submit bids for an acquisition of the Debtors’ assets and procedures for conducting
an auction if multiple bids were received. On August 5, 2022, the Bankruptcy Court entered the Order (I)
Approving the Bidding Procedures and Related Dates and Deadlines, (II) Scheduling Hearings and Objection
Deadlines with Respect to the Debtors’ Sale, Disclosure Statement, and Plan Confirmation, and (III) Granting
Related Relief [Docket No. 248] (the “Bidding Procedures”) which, among others, established the Bid Deadline (as
defined in the Bidding Procedures) as September 6, 2022 at 12:00 p.m., prevailing Eastern Time and set the Auction
(as defined in the Bidding Procedures) for September 13, 2022 at 10:00 a.m., prevailing Eastern Time. Throughout
the Marketing Process, the Debtors evaluated Bids received from potential transaction parties in comparison both to
other Bids received and the recoveries contemplated by the Stand-Alone Plan as it provided a critical metric in the
Debtors’ determination of their path forward.7

        On the Bid Deadline, the Debtors received a number of bids from strategic investors and, accordingly
commenced an auction on September 13, 2022, for a sale of the Debtors’ business. The two-week Auction featured
hard-fought, arms-length negotiations with each participating bidder. At the conclusion of the Auction, the Debtors,
in an exercise of their business judgment and in consultation with the Committee, determined that the final bid
submitted by the Purchaser represented the most value-maximizing transaction available to the Debtors.
Accordingly, on September 26, 2022, the Debtors announced FTX US as the winning bidder,8 and on September 27,
2022, the Debtors and the Purchaser entered into the asset purchase agreement memorializing the terms of the
winning bid (the “Asset Purchase Agreement”). [The Bankruptcy Court approved entry into the Asset Purchase
Agreement on [●], 2022.]

          The Debtors seek to effectuate the transactions contemplated by the Asset Purchase Agreement
(collectively, the “Sale Transaction”) pursuant to the Plan. The Plan, among other things:

         •   contemplates payment in full of Administrative Claims, Secured Tax Claims, Priority Tax Claims, and
             Other Priority Claims;

         •   provides for the distribution of Cryptocurrency, Cash, and any remaining assets at OpCo (including any
             recovery on account of the 3AC Claims) to Account Holders and Holders of OpCo General Unsecured
             Claims, subject to the terms of the Asset Purchase Agreement;

         •   provides for distribution of Cash and other assets at HoldCo to Holders of HoldCo General Unsecured
             Claims;

         •   provides for distribution of Cash and other assets at TopCo to Holders of TopCo General Unsecured
             Claims;



7
     Certain dates in the Bidding Procedures were amended by Docket Nos. 328, 343, 365, and 442.

8
     See Notice of Successful Bidder [Docket No. 457].




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         •    provides for any residual value at TopCo after payment in full of Account Holder Claims andTopCo
              General Unsecured Claims to be distributed to Holders of Section 510(b) Claims, if any, and Holders of
              Existing Equity Interests;

         •    consensually cancels allconveys Alameda Loan Facility Claims and any recovery on account of such
              Alameda Loan Facility Claims to OpCo pursuant to the Asset Purchase Agreement; and

         •    designates a Wind-Down Entity Trustee to wind down the Debtors’ affairs in accordance with the Plan.

         The Debtors believe that the Plan maximizes stakeholder recoveries in the Chapter 11 Cases. Accordingly,
the Debtors urge all Holders of Claims entitled to vote to accept the Plan by returning their ballots so that Stretto
actually receives such ballots by November 25, 2022, at 4:00 p.m. prevailing Eastern Time (the “Plan Voting
Deadline”). Assuming the Plan receives the requisite acceptances, the Debtors will seek the Bankruptcy Court’s
approval of the Plan at a hearing on December 6, 2022 at 11:00 a.m. (prevailing Eastern Time) (the “Confirmation
Hearing”).

III.     QUESTIONS AND ANSWERS REGARDING THIS DISCLOSURE STATEMENT AND THE
         PLAN

         A.        What is chapter 11?

          Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. In addition to
permitting debtor rehabilitation, chapter 11 promotes equality of treatment for creditors and similarly situated equity
interest holders, subject to the priority of distributions prescribed by the Bankruptcy Code.

          The commencement of a chapter 11 case creates an estate that comprises all of the legal and equitable
interests of the debtor as of the date the chapter 11 case is commenced. The Bankruptcy Code provides that the
debtor may continue to operate its business and remain in possession of its property as a “debtor in possession.”

          Consummating a plan of reorganization is the principal objective of a chapter 11 case. A bankruptcy
court’s confirmation of a plan binds the debtor, any person acquiring property under the plan, any creditor or equity
interest holder of the debtor (whether or not such creditor or equity interest holder voted to accept the plan), and any
other entity as may be ordered by the bankruptcy court. Subject to certain limited exceptions, the order issued by a
bankruptcy court confirming a plan provides for the treatment of the debtor’s liabilities in accordance with the terms
of the confirmed plan.

         B.        Why are the Debtors sending me this Disclosure Statement?

         The Debtors are seeking to obtain Bankruptcy Court approval of the Plan. Before soliciting acceptances of
the Plan, section 1125 of the Bankruptcy Code requires the Debtors to prepare a disclosure statement containing
adequate information of a kind, and in sufficient detail, to enable a hypothetical reasonable investor to make an
informed judgment regarding acceptance of the Plan and to share such disclosure statement with all holders of
claims and interests whose votes on the Plan are being solicited. This Disclosure Statement is being submitted in
accordance with these requirements.

         C.        Am I entitled to vote on the Plan?

          Your ability to vote on, and your distribution under, the Plan, if any, depends on what type of Claim or
Interest you hold. Each category of Holders of Claims or Interests, as set forth in Article III of the Plan pursuant to
section 1122(a) of the Bankruptcy Code, is referred to as a “Class.” Each Class’s respective voting status is set forth
below.

 Class   Claim or Interest                       Status
                                                                          Voting Rights
     1   Secured Tax Claims                      Unimpaired               Not Entitled to Vote (Deemed to Accept)
     2   Other Priority Claims                   Unimpaired               Not Entitled to Vote (Deemed to Accept)



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 Class        Claim or Interest                       Status
                                                                                Voting Rights
     3        Account Holder Claims                   Impaired                  Entitled to Vote
     4        Alameda Loan Facility Claims            Impaired                  Entitled to Vote
    55A       OpCo General Unsecured Claims           Impaired                  Entitled to Vote
    5B        HoldCo General Unsecured Claims         Impaired                  Entitled to Vote
    5C        TopCo General Unsecured Claims          Impaired                  Entitled to Vote
     6        Section 510(b) Claims                   Impaired                  Not Entitled to Vote (Deemed to Reject)
                                                      Unimpaired /              Not Entitled to Vote (Presumed to Accept)
     7        Intercompany Claims
                                                      Impaired
                                                      Unimpaired /              Not Entitled to Vote (Presumed to Accept)
     8        Intercompany Interests
                                                      Impaired
     9        Existing Equity Interests               Impaired                  Not Entitled to Vote (Deemed to Reject)

             D.        What will I receive from the Debtors if the Plan is consummated?

         The following chart provides a summary of the anticipated recovery to Holders of Claims and Interests
under the Plan. Any estimates of Claims and Interests in this Disclosure Statement may vary from the final amounts
allowed by the Bankruptcy Court. Your ability to receive distributions under the Plan depends upon the ability of
the Debtors to obtain Confirmation and meet the conditions necessary to consummate the Plan. Amounts in the far
right column under the heading “Liquidation Recovery” are estimates only and are based on certain assumptions
described herein and set forth in greater detail in the liquidation analysis attached hereto as Exhibit B
(the “Liquidation Analysis”).

         In a hypothetical liquidation, Holders of Account Holder Claims and General Unsecured Claims
would likely receive a significantly reduced recovery relative to what such Holders would receive under the
Plan. In the event of a liquidation, the Bankruptcy Court may appoint a trustee (the “Liquidating Trustee”) to
oversee and effectuate the liquidation of the Debtors’ assets. The Liquidating Trustee’s fees and expenses would be
paid by the Debtors and would be paid prior to any Account Holder Claims or General Unsecured Claims. Given
the novelty and complexity of the Debtors’ business and the strong likelihood that any Liquidating Trustee appointed
by the Bankruptcy Court may have minimal cryptocurrency experience, the Liquidating Trustee’s fees and expenses
and the anticipated reduction in value obtained through the monetization of cryptocurrency by the Liquidating
Trustee would likely result in Account Holders and Holders of General Unsecured Claims receiving significantly
reduced recoveries.

      THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE ESTIMATES
ONLY AND THEREFORE ARE SUBJECT TO CHANGE BASED ON, AMONG OTHER THINGS,
ALLOWED CLAIMS ARISING FROM THE REJECTION OF EXECUTORY CONTRACTS OR
UNEXPIRED LEASES AND THE RESOLUTION OF DISPUTED CLAIMS. FOR A COMPLETE
DESCRIPTION OF THE DEBTORS’ CLASSIFICATION AND TREATMENT OF CLAIMS AND
INTERESTS, REFERENCE SHOULD BE MADE TO THE ENTIRE PLAN.9




9
         The recoveries set forth below may change based upon changes in the amount of Claims that are Allowed as well as other
         factors related to the Debtors’ business operations and general economic conditions.




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                                                                                            Projected
                                                                                                              Projected
             Claim or                                                                      Amount of                        Liquidation
Class                                              Treatment                                                    Plan
             Interest                                                                    Allowed Claims                      Recovery
                                                                                                              Recovery
                                                                                            (in $mm)
                            Each Holder of an Allowed Secured Tax Claim shall                  $0.0               NA               N/A
                            receive, in full and final satisfaction of such Allowed
                            Secured Tax Claim, at the option of the Wind-Down
        Secured Tax
1                           Entity, payment in full in Cash of such Holder’s
        Claims
                            Allowed Secured Tax Claim or such other treatment
                            rendering such Holder’s Allowed Secured Tax Claim
                            Unimpaired.
                            Each Holder of an Allowed Other Priority Claim shall               $0.0               NA               N/A
                            receive, in full and final satisfaction of such Allowed
                            Other Priority Claim, at the option of the applicable
        Other Priority
2                           Debtor, payment in full in Cash of such Holder’s
        Claims
                            Allowed Other Priority Claim or such other treatment
                            rendering such Holder’s Allowed Other Priority Claim
                            Unimpaired.
                            Each Holder of an Allowed Account Holder Claim will              $1,763.9            72%          51%-60%
                            receive in full and final satisfaction, compromise,
                            settlement, release, and discharge of such Allowed
                            Account Holder Claim:
                                 (i) its Pro Rata share of Transferred
                                       Cryptocurrency Value, in Cryptocurrency or
                                       Cash as provided in the Customer Migration
                                       Protocol;
                                 (ii) the right to become a Transferred Creditor as
                                       provided in the Customer Migration Protocol;
        Account Holder           (iii) its Pro Rata share of Distributable Cash; and
3
        Claims10
                                 (iv) to effectuate distributions from the
                                       Wind-Down Entity, its Pro Rata share of the
                                       Wind-Down Trust Units, on account of any
                                       recovery of Wind-Down Trust Assets
                                       attributable to OpCo; provided that any
                                       distributions on account of Wind-Down Trust
                                       Units shall only be made following payment
                                       in full of Allowed Administrative Claims,
                                       Allowed Priority Tax Claims, Allowed
                                       Secured Tax Claims, and Allowed Other
                                       Priority Claims.
4       Alameda Loan        Pursuant to the Asset Purchase Agreement, on the                   $75.1              0%               86%
        Facility Claims     Effective Date, the Alameda Loan Facility Claims shall                            (as settled
                            be deemed Allowed, and all rights, titles, and interests                          with the
                                                                                                              Holder of
                                                                                                              Alameda
                                                                                                              Loan
                                                                                                              Facility



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             Account Holder Claims shall be valued in U.S. dollars as of the Petition Date consistent with section 502(b) of the
             Bankruptcy Code.




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                                                                                           Projected
                                                                                                             Projected
             Claim or                                                                     Amount of                        Liquidation
Class                                              Treatment                                                   Plan
             Interest                                                                   Allowed Claims                      Recovery
                                                                                                             Recovery
                                                                                           (in $mm)
                            in the Alameda Loan Facility Claims shall be                                     Claims)11
                            transferredcontractually conveyed to OpCo, and shall
                            subsequently be cancelled, released, discharged and
                            extinguished as of the Effective Date, and will be of no
                            further force or effect, and Holders ofOpCo shall be
                            entitled to any recovery on account of the Alameda
                            Loan Facility Claims will not receive any distribution
                            on account of such Alameda Loan Facility Claims.
                            The treatment of Class 4 Alameda Loan Facility
                            Claims is contractually settled pursuant to the Asset
                            Purchase Agreement.
                            Each Holder of an Allowed OpCo General Unsecured                $142.41             72%           571% -
                            Claim will receive in full and final satisfaction,                                                 640%
                            compromise, settlement, release, and discharge of such
                            Allowed OpCo General Unsecured Claim:
                                (i) its Pro Rata share of Transferred
                                      Cryptocurrency Value, in Cryptocurrency or
                                      Cash as provided in the Customer Migration
                                      Protocol;
                                (ii) the right to become a Transferred Creditor as
                                      provided in the Customer Migration Protocol;
        OpCo General            (iii) its Pro Rata share of Distributable OpCo
55A     Unsecured                     Cash; and
        Claims
                                (iv) to effectuate distributions from the
                                      Wind-Down Entity, its Pro Rata share of the
                                      Wind-Down Trust Units, on account of any
                                      recovery of Wind-Down Trust Assets
                                      attributable to OpCo; provided that any
                                      distributions on account of Wind-Down Trust
                                      Units shall only be made following payment
                                      in full of Allowed Administrative Claims,
                                      Allowed Priority Tax Claims, Allowed
                                      Secured Tax Claims, and Allowed Other
                                      Priority Claims.
5B      HoldCo General      Each Holder of an Allowed HoldCo General                          $0.0               0%          0% - 0%
        Unsecured           Unsecured Claim will receive in full and final
        Claims              satisfaction, compromise, settlement, release, and
                            discharge of such Allowed HoldCo General Unsecured
                            Claim:
                                 (i) its Pro Rata share of Distributable HoldCo




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             The Alameda Loan Facility Claims are contributed to OpCo pursuant to the terms of the Asset Purchase Agreement and
             OpCo shall be entitled to the recovery on account of the Alameda Loan Facility Claims.




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                                                                                     Projected
                                                                                                   Projected
             Claim or                                                               Amount of                  Liquidation
Class                                         Treatment                                              Plan
             Interest                                                             Allowed Claims                Recovery
                                                                                                   Recovery
                                                                                     (in $mm)
                                  Cash; and
                             (ii) to effectuate distributions from the
                                  Wind-Down Entity, its Pro Rata share of the
                                  Wind-Down Trust Units (if applicable) on
                                  account of any recovery of Wind-Down Trust
                                  Assets attributable to HoldCo; provided that
                                  any distributions on account of Wind-Down
                                  Trust Units shall only be made following
                                  payment in full of Allowed Administrative
                                  Claims, Allowed Priority Tax Claims,
                                  Allowed Secured Tax Claims, and Allowed
                                  Other Priority Claims.
                         Each Holder of an Allowed TopCo General Unsecured             $2.3           2%           2%
                         Claim will receive in full and final satisfaction,
                         compromise, settlement, release, and discharge of such
                         Allowed TopCo General Unsecured Claim:
                             (i) its Pro Rata share of Distributable TopCo
                                  Cash; and
                             (ii) to effectuate distributions from the
        TopCo General             Wind-Down Entity, its Pro Rata share of the
5C      Unsecured                 Wind-Down Trust Units (if applicable) on
        Claims                    account of any recovery of Wind-Down Trust
                                  Assets attributable to TopCo; provided that
                                  any distributions on account of Wind-Down
                                  Trust Units shall only be made following
                                  payment in full of Allowed Administrative
                                  Claims, Allowed Priority Tax Claims,
                                  Allowed Secured Tax Claims, and Allowed
                                  Other Priority Claims.
                         Each Holder of Allowed Section 510(b) Claims against          N/A           NA           NA
                         TopCo will receive, to effectuate distributions, if
                         applicable, from the Wind-Down Entity, its Pro Rata
                         share of the Wind-Down Trust Units (if applicable),
                         provided that any distributions on account of
        Section 510(b)
6                        Wind-Down Trust Units shall only be made following
        Claims
                         payment in full of all Account Holder Claims
                         andAllowed Administrative Claims, Allowed Priority
                         Tax Claims, Allowed Secured Tax Claims, Allowed
                         Other Priority Claims, and Allowed TopCo General
                         Unsecured Claims.




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                                                                                              Projected
                                                                                                                 Projected
             Claim or                                                                        Amount of                          Liquidation
Class                                               Treatment                                                      Plan
             Interest                                                                      Allowed Claims                        Recovery
                                                                                                                 Recovery
                                                                                              (in $mm)
                             On the Effective Date, all Intercompany Claims shall          $06.312                  08%          04% - 5%
                             be, at the option of the Debtors, either (a) Reinstated or
        Intercompany         (b) converted to equity, otherwise set off, settled,
7
        Claims               distributed, contributed, cancelled, or released, in each
                             case in accordance with the Restructuring Transactions
                             Memorandum.
                             On the Effective Date, all Intercompany Interests shall                 $0              0%                0%
                             be, at the option of the Debtors, either (a) Reinstated in
        Intercompany         accordance with Article III.G of the Plan or (b) set off,
8
        Interests            settled, addressed, distributed, contributed, merged,
                             cancelled, or released, in each case in accordance with
                             the Restructuring Transactions Memorandum.
                             Each Holder of Existing Equity Interests will receive,                  $0              0%                0%
                             to effectuate distributions, if applicable, from the
                             Wind-Down Entity, its Pro Rata share of the
                             Wind-Down Trust Units (if applicable), provided that
                             any distributions on account of Wind-Down Trust
        Existing Equity
9                            Units shall only be made following payment in full
        Interests
                             of all   Account     Holder    Claims     andAllowed
                             Administrative Claims, Allowed Priority Tax Claims,
                             Allowed Secured Tax Claims, Allowed Other Priority
                             Claims, and Allowed TopCo General Unsecured
                             Claims.

                 E.        What will I receive from the Debtors if I hold an Allowed Administrative Claim?

                 In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Fee
        Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of Claims and
        Interests set forth in Article III of the Plan. The chart below summarizes the various unclassified claims and
        provides the relevant section of the Plan that addresses their treatment:

             Claim                                             Description of Claim                                       Plan Section

Administrative Claims             A Claim against a Debtor for the costs and expenses of administration of the        Article II, Section A
                                  Chapter 11 Cases arising on or after the Petition Date and prior to the
                                  Effective Date pursuant to section 503(b) of the Bankruptcy Code and
                                  entitled to priority pursuant to sections 507(a)(2), 507(b), or 1114(e)(2) of




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             The recovery to Intercompany Claims reflects the assumption for purposes of the recovery analysis that the Intercompany
             Obligation by HoldCo to TopCo under the Promissory Note is a valid loan and all other Intercompany Obligations are
             capital contributions. The Intercompany Obligations and the analysis related thereto are described in greater detail in
             Article V.C.2 herein.




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                                the Bankruptcy Code, including: (a) the actual and necessary costs and
                                expenses incurred on or after the Petition Date until and including the
                                Effective Date of preserving the Estates and operating the Debtors’ business
                                and (b) Allowed Professional Fee Claims. For the avoidance of doubt, any
                                Cryptocurrency inadvertently deposited to the Debtors’ account(s) after the
                                Petition Date shall be returned in full to the sender.

                                Any Administrative Claim by a Professional for compensation for services
                                rendered or reimbursement of expenses incurred by such Professional
Professional Fee Claims                                                                                         Article II, Section B
                                through and including the Effective Date to the extent such fees and
                                expenses have not been paid pursuant to an order of the Bankruptcy Court.

                                Any Claim of a Governmental Unit against a Debtor of the kind specified in
Priority Tax Claims                                                                                             Article II, Section C
                                section 507(a)(8) of the Bankruptcy Code.


                F.        How will my Account be transitioned to FTX US?

                 The Debtors will distribute a Customer Migration Protocol providing for the transition of Account Holders
       to the FTX US platform and delivery of Plan distributions to such Holders’ FTX US Accounts that will describe the
       transition process in further detail. It is currently anticipated that all Account Holders and Holders of OpCo General
       Unsecured Claims will transition to FTX US subject to their successful completion of FTX US’s “Know Your
       Customer” process and other procedural requirements. A separate notice will be sent to all Account Holders through
       the Voyager platform once the Customer Migration Protocol has been agreed upon by the Debtors and the
       Purchaser. This notice will describe the steps that Account Holders and Holders of Allowed OpCo General
       Unsecured Claims must take to transition their accounts to FTX US. All Account Holders and Holders of Allowed
       OpCo General Unsecured Claims should review this notice as soon as it becomes available.

                G.        What if I am unable or unwilling to transition my Account to FTX US?

                We expect that virtually all Account Holders will be transitioning to FTX US. In the event that a customer
       is not successfully transitioned to FTX US, such customer will not be eligible for the $50 Account Credit, and will
       not receive the Transferred Cryptocurrency Value in kind. They will instead receive a Cash distribution from the
       Debtor’s estates as and when such distributions are made pursuant to the Bankruptcy Code.

                H.        What are the sources of Consideration and other consideration required to fund the Plan?

                 The Plan will be funded with the proceeds of the Sale Transaction, which the Debtors value at
       approximately $1.422 billion, consisting primarily of: (a) the value of all Voyager cryptocurrency as of a to be
       determined date, which, at current market prices as of September 26, 2022, is estimated to be $1.311 billion, plus (b)
       additional consideration estimated as providing at least approximately $111 million of incremental value that
       includes (i) a cash payment of $51,000,00051 million, (ii) an earn out of up to $20 million, (iii) the right of
       Transferred Creditors to receive a $50 Account Credit, (iv) a cash payment equal to the Acquired Cash, and (v) the
       transfer to the Debtors of all right, title, and interest in the Alameda Loan Facility Claims.




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           I.        Are any regulatory approvals required to consummate the Sale Transaction and confirm the
                     Plan?

           Voyager currently maintains state money transmission licenses or their equivalents (each, a “Money
Transmission License”) in seventeen (17) states,1013 and has license applications pending1114 in eighteen (18)
states.1215

          The Debtors have engaged with the state banking departments throughout the bankruptcy process and will
continue to actively do so with the goal of ensuring that the Sale Transaction and the Plan provides for compliance
by Voyager and the Purchaser, as applicable, with state money transmission laws as of the consummation of the Sale
Transaction. The state banking departments may have broad discretion as to the approvals required in connection
with the Sale Transaction, thus it is not possible to predict with certainty the scope of such approvals, whether they
will ultimately be granted, and the expected timeframes of the state banking departments’ determinations. There are
unresolved questions of law with respect to the intersection of state money transmission statutes and the Bankruptcy
Code and the answers to those questions may impact the ability of the state banking departments to require certain
approvals with respect to consummation of the Sale Transaction and confirmation of the Plan.

          As an initial matter, it is important to note that Money Transmission Licenses are not assets that can be
purchased or transferred; they are specific to the entity to which they are issued, and thus an acquisition of a licensed
entity must be conducted through a stock purchase or merger in which the licensed entity is the surviving entity for
the licenses to remain in effect.

          The Purchaser maintains money transmission licenses in most, but not all, of the states in which it operates.
Pursuant to the Asset Purchase Agreement, the Purchaser will not acquire Voyager’s Money Transmission Licenses;
rather, the Asset Purchase Agreement provides for the purchase by Purchaser of the Cryptocurrency of Voyager and
the transition of Account Holders and General Unsecured Creditors to FTX US Accounts, subject to the terms and
conditions set forth in the Asset Purchase Agreement. State banking departments may seek to limit or condition the
Purchaser’s acquisition of the Voyager assets to the extent that regulatory concerns are identified.

         Following consummation of the Sale Transaction, Voyager will take steps to (i) withdraw those money
transmission license applications that are pending with state banking departments and (ii) surrender those Money
Transmission Licenses it holds (the “Licensing Wind-Down Process”). Such Licensing Wind-Down Process will
require notice to, and in some cases approval by, those state banking departments in states where the Debtors have




1013
       The Alaska Division of Banking and Securities suspended Voyager’s license on July 6, 2022 and subsequently reversed
       such suspension on July 14, 2022. There is a risk that one or more additional state banking departments may choose to
       suspend Voyager’s Money Transmission Licenses going forward.

1114
       On July 17, 2022, the North Dakota Department of Financial Institutions notified Voyager that it required Voyager’s
       pending money transmitter license application be withdrawn on grounds that it would not approve an application with an
       active bankruptcy filing. There is a risk that one or more additional state banking departments with which Voyager has
       pending applications may impose similar restrictions on Voyager going forward.

       The Debtors have two applications pending in New York: (a) a money transmitter license application and (b) a virtual
       currency business activity license application or “Bitlicense.” Voyager Digital NY, LLC, a non-operational affiliate of the
       Debtors, filed such applications.

1215
       Voyager also maintains a registration as a “money services business” with the Financial Crimes Enforcement Network
       (“FinCEN”) pursuant to federal money transmission laws. A change in ownership of an entity registered with FinCEN
       requires notice to FinCEN following consummation of the relevant transaction, but does not require prior regulatory
       approval.




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applications pending or are licensed pursuant to the requirements set forth in each state money transmission statute
and as otherwise required by the relevant state banking departments.1316

            J.        What happens to my recovery if the Plan is not confirmed or does not go effective?

         In the event that the Plan is not confirmed or does not go effective, there is no assurance that the Debtors
will be able to consummate the Restructuring Transactions. It is possible that any alternative transaction may
provide Holders of Claims and Interests with less than they would have received pursuant to the Plan. For a more
detailed description of the consequences of an extended chapter 11 case, or of a liquidation scenario, see Art. X.B of
this Disclosure Statement, titled “Best Interests of Creditors—Liquidation Analysis” and the Liquidation Analysis
attached hereto as Exhibit B.

            K.        If the Plan provides that I get a distribution, do I get it upon Confirmation or when the Plan
                      goes effective, and what is meant by “Confirmation,” “Effective Date,” and
                      “Consummation”?

          “Confirmation” of the Plan refers to approval of the Plan by the Bankruptcy Court. Confirmation of the
Plan does not guarantee that you will receive the distribution indicated under the Plan. After Confirmation of the
Plan by the Bankruptcy Court, there are conditions that need to be satisfied or waived so that the Plan can go
effective. Initial distributions to Holders of Allowed Claims will only be made on the date the Plan becomes
effective—the “Effective Date”—or as soon as practicable thereafter, as specified in the Plan. See Article IX of the
Plan for a description of the conditions precedent to consummation of the Plan.

            L.        Is there potential litigation related to the Plan?

         Parties in interest may object to the approval of this Disclosure Statement and may object to Confirmation
of the Plan as well, which could potentially lead to litigation. See Article VIII.D.2 of this Disclosure Statement titled
“The Wind-Down Debtors May Be Adversely Affected by Potential Litigation, Including Litigation Arising Out of
the Chapter 11 Cases as well as Ongoing Regulatory Investigations.” for further discussion on this issue.

         As of the Petition Date, the Debtors were parties to certain litigation matters that arose in the ordinary
course of operating their business and could become parties to additional litigation in the future. Although the
Debtors have disputed, are disputing, or will dispute in the future the amounts asserted by such litigation
counterparties, to the extent these parties are ultimately entitled to a higher amount than is reflected in the amounts
estimated by the Debtors herein, the value of recoveries to Account Holders and Holders of General Unsecured
Claims could change, and such changes could be material.

          The Debtors may also reject Executory Contracts and Unexpired Leases, which may result in parties
asserting General Unsecured Claims for rejection damages. An increase in the estimated amount of rejection
damages claims could result in reduced recoveries for Account Holders and Holders of General Unsecured Claims.
Finally, the Debtors may object to certain Proofs of Claim, and any such objections ultimately could cause the total
amount of Allowed General Unsecured Claims to change. These changes could affect recoveries to Account
Holders and Holders of General Unsecured Claims, and such changes could be material.

            M.        Will there be releases and exculpation granted to parties in interest as part of the Plan?

        Yes, Article VIII of the Plan proposes to provide certain releases to the Released Parties and toalso
provides for exculpateion of the Exculpated Parties. The release, exculpation, and injunction provisions that are
contained in the Plan are copied in Article IV of this Disclosure Statement, entitled “Releases.”

         On the Petition Date, the board of directors of Voyager Digital, LLC voted to appoint two independent
directors to the board of Voyager Digital, LLC and to establish a special committee (“Special Committee”). The
Special Committee is comprised of the newly appointed independent directors and was established to investigate


1316
       The state approval process for the surrender of a license typically takes several months.




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certain historical transactions, including the facts and circumstances related to the Debtors’ loan to 3AC
(the “Investigation”). On August 4, 2022, the Bankruptcy Court entered an order approving the appointment of
Quinn Emmanuel Urquhart & Sullivan, LLP as legal counsel to the Special Committee (the “Special Committee
Counsel”) with the mandate to conduct the Investigation. As of the date hereof, the Investigation remains ongoing.
To the extent the Investigation concludes there are viable Claims and/or Causes of Action against certain parties,
such parties will be expressly carved out of the Released Parties and the Exculpated Parties, and such Claims and/or
Causes of Action will be retained by the Wind-Down Entity.The Special Committee’s investigation, and the
settlements reached by the Special Committee that are incorporated into the Plan, are described in more detail in
Article IV(2)(b)(i)-(ii) below. As described in Article IV(2)(b)(i)-(ii), the potential estate claims the Special
Committee identified as non-frivolous are being settled pursuant to the Plan on the terms set forth herein.

      THE RELEASES AND EXCULPATIONS IN THE PLAN ARE EXPRESSLY SUBJECT TO THE
OUTCOME OF THE INVESTIGATION, AND THE SPECIAL COMMITTEE’S RIGHTS TO OBJECT TO
SUCH PROVISIONS OR SEEK TO LIMIT THE SCOPE OF SUCH PROVISIONS.

          The Released Parties and the Exculpated Parties have made substantial and valuable contributions to the
Debtors’ chapter 11 process through, among other things, efforts to market and sell the Debtors’ assets and negotiate
and implement the Plan, which will maximize value for the benefit of all parties in interest. The Debtors’ Chief
Executive Officer, Mr. Ehrlich (“CEO”) and Chief Commercial Officer (and former Chief Financial Officer), Mr.
Psaropolous (“CCO”) are also making additional contributions to the Plan pursuant to the settlements reached with
the Special Committee. Accordingly, each of the Released Parties and the Exculpated Parties warrants the benefit of
the release and exculpation provisions.

         Based on the foregoing, theThe Debtors believe that the releases and exculpations in the Plan are necessary
and appropriate and meet the requisite legal standard promulgated by the United States Court of Appeals for the
Second Circuit. Moreover, the Debtors will present evidence at the Confirmation Hearing to demonstrate the basis
for and propriety of the release and exculpation provisions.

        ALL HOLDERS OF CLAIMS THAT (I) VOTE TO ACCEPT THE PLAN AND WHO
AFFIRMATIVELY OPT INTO THE RELEASES PROVIDED BY THE PLAN; (II) VOTE TO REJECT
THE PLAN AND WHO AFFIRMATIVELY OPT INTO THE RELEASES PROVIDED BY THE PLAN;
OR (III) ABSTAIN FROM VOTING ON THE PLAN AND AFFIRMATIVELY OPT INTO TO THE
RELEASES PROVIDED IN THE PLAN WILL BE DEEMED TO HAVE EXPRESSLY,
UNCONDITIONALLY, GENERALLY, INDIVIDUALLY, AND COLLECTIVELY RELEASED AND
DISCHARGED ALL CLAIMS AND CAUSES OF ACTION AGAINST THE RELEASED PARTIES,
INCLUDING THE DEBTORS OR THE WIND-DOWN DEBTORS, AS APPLICABLE.

         N.       What is the deadline to vote on the Plan?

         The Voting Deadline is November 25, 2022, at 4:00 p.m. (prevailing Eastern Time).

         O.       How do I vote for or against the Plan?

         Detailed instructions regarding how to vote on the Plan are contained on the ballots distributed to Holders
of Claims that are entitled to vote on the Plan. To be counted as votes to accept or reject the Plan, each ballot
(a “Ballot”) must be properly executed, completed, and delivered in accordance with the instructions provided such
that a vote cast is actually received before the Voting Deadline by Stretto. See Article IX of this Disclosure
Statement, entitled “Solicitation and Voting Procedures.”

 IF YOU HAVE ANY QUESTIONS ABOUT THE SOLICITATION OR VOTING PROCESS, PLEASE
 CONTACT THE CLAIMS, NOTICING, AND SOLICITATION AGENT. ANY BALLOT RECEIVED
 AFTER THE VOTING DEADLINE OR OTHERWISE NOT IN COMPLIANCE WITH THE VOTING
 INSTRUCTIONS WILL NOT BE COUNTED EXCEPT AS DETERMINED BY THE DEBTORS.




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         P.       Why is the Bankruptcy Court holding a Confirmation Hearing?

         Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a hearing on Confirmation
of the Plan and recognizes that any party in interest may object to Confirmation of the Plan.

         Q.       When is the Confirmation Hearing set to occur?

         The Debtors will request that the Bankruptcy Court schedule the Confirmation Hearing for Tuesday,
December 6, 2022, at 11:00 a.m. (prevailing Eastern Time). The Confirmation Hearing may be adjourned from time
to time without further notice. The Bankruptcy Court, in its discretion and prior to the Confirmation Hearing, may
put in place additional procedures governing the Confirmation Hearing. Subject to section 1127 of the Bankruptcy
Code, the Plan may be modified, if necessary, prior to, during, or as a result of the Confirmation Hearing, without
further notice to parties in interest.

         Objections to Confirmation of the Plan must be filed and served on the Debtors, and certain other parties,
by November 25, 2022, at 4:00 p.m. (prevailing Eastern Time) in accordance with the notice of the Confirmation
Hearing that accompanies this Disclosure Statement.

         The Debtors will publish the notice of the Confirmation Hearing, which will contain the deadline for
objections to the Plan and the date and time of the Confirmation Hearing, in The New York Times (national edition)
and Financial Times to provide notification to those persons who may not receive notice by mail. The Debtors may
also publish the notice of the Confirmation Hearing in such trade or other publications as the Debtors may choose.

         R.       What is the purpose of the Confirmation Hearing?

          The confirmation of a plan of reorganization by a bankruptcy court binds the debtor, any issuer of securities
under a plan of reorganization, any person acquiring property under a plan of reorganization, any creditor or equity
interest holder of a debtor, and any other person or entity as may be ordered by the bankruptcy court in accordance
with the applicable provisions of the Bankruptcy Code. Subject to certain limited exceptions, the order issued by the
bankruptcy court confirming a plan of reorganization discharges a debtor from any debt that arose before the
confirmation of such plan of reorganization and provides for the treatment of such debt in accordance with the terms
of the confirmed plan of reorganization.

         S.       What is the effect of the Plan on the Debtors’ ongoing business?

         The Debtors are liquidating under chapter 11 of the Bankruptcy Code. Following Confirmation, the Plan
will be consummated on the Effective Date. On or after the Effective Date, and unless otherwise provided in the
Plan, the Wind-Down Trustee will commence the wind down of the Wind-Down Debtors in accordance with the
terms of the Plan. Additionally, upon the Effective Date, all actions contemplated by the Plan will be deemed
authorized and approved.

         T.       What steps did the Debtors take to evaluate alternatives to a chapter 11 filing?

         As described in Article VI herein, as well as in the Declaration of Stephen Ehrlich, Chief Executive Officer
of the Debtors, in Support of Chapter 11 Petitions and First Day Motions [Docket No. 15] (the “First Day
Declaration”), prior to the Petition Date, the Debtors evaluated numerous potential alternatives, including options
relating to mergers, sales, capital raising, and consensual recapitalizations, to provide stability and requisite
capitalization to their business enterprise in light of significant market volatility.

         U.       Who do I contact if I have additional questions with respect to this Disclosure Statement or
                  the Plan?

        If you have any questions regarding this Disclosure Statement or the Plan, please contact the Claims,
Noticing, and Solicitation Agent:

         By electronic mail at:
         voyagerinquiries@stretto.com with a reference to “In re Voyager – Solicitation Inquiry” in the subject line.



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         By telephone at:
         (855) 473-8665 (Toll-Free) or (949) 271-6507 (International)

          Copies of the Plan, this Disclosure Statement, and any other publicly filed documents in these Chapter 11
Cases are available upon written request to the Debtors’ Claims, Noticing, and Solicitation Agent at the address
above or by downloading the exhibits and documents from the website of the Debtors’ Claims, Noticing, and
Solicitation Agent at http://cases.stretto.com/Voyager (free of charge) or the Bankruptcy Court’s website at
https://www.nysb.uscourts.gov/ecf-and-pacer-information (for a fee).

IV.      THE DEBTORS’ PLAN

         A.       The Plan.

        The Plan contemplates liquidating the Debtors’ business and remaining assets under chapter 11 of the
Bankruptcy Code. The Plan contemplates the following key terms, among others described herein and therein:

                       1.   General Settlement of Claims and Interests

          Pursuant to section 1123 of the Bankruptcy Code, Bankruptcy Rule 9019 (as applicable), and in
consideration for the classification, distributions, releases, and other benefits provided under the Plan, upon the
Effective Date, the provisions of the Plan shall constitute a good-faith compromise and settlement of all Claims,
Interests, Causes of Action, and controversies released, settled, compromised, or otherwise resolved pursuant to the
Plan. The Plan shall be deemed a motion to approve the good-faith compromise and settlement of all such Claims,
Interests, Causes of Action, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation
Order shall constitute the Bankruptcy Court’s approval of such compromise and settlement, as well as a finding by
the Bankruptcy Court that such settlement and compromise is fair, equitable, reasonable, and in the best interests of
the Debtors and their Estates. Subject to Article VI of the Plan, all distributions made to Holders of Allowed Claims
and Allowed Interests (as applicable) in any Class are intended to be and shall be final.

          The Debtors are working with the Committee (as defined in Article VII.C hereof) and other parties in
interest to resolve certain open issues and controversies, which may result in a settlement or settlements pursuant to
Bankruptcy Rule 9019 and may be included in the Plan. The Debtors believe that resolution of these issues or
controversies in advance of the Confirmation Hearing will facilitate closure to the Chapter 11 Cases and a more
efficient wind down of the Debtors. The Plan may be modified prior to the Confirmation Hearing to incorporate any
number of resolutions of the unresolved controversies. Any such resolution will be negotiated at arm’s-length with
the advisors representing the affected parties.

                       2.   Recoveries to Certain Holders of Claims and Interests

          The recoveries to Holders of Claims and Interests is described in Article III.D of this Disclosure Statement,
entitled “What will I receive from the Debtors if the Plan is consummated?”

                       3.   Releases

         The Plan contains certain releases, as described in Article III.M of this Disclosure Statement, entitled “Will
there be releases and exculpation granted to parties in interest as part of the Plan?” The release, exculpation, and
injunction provisions that are contained in the Plan are copied in pertinent part below.

         “Related Party” means, with respect to any Entity, in each case in its capacity as such with respect to such
         Entity, such Entity’s current and former directors, managers, officers, investment committee members,
         special committee members, equity holders (regardless of whether such interests are held directly or
         indirectly), affiliated investment funds or investment vehicles, managed accounts or funds, predecessors,
         participants, successors, assigns, subsidiaries, affiliates, partners, limited partners, general partners,
         principals, members, management companies, fund advisors or managers, employees, agents, trustees,
         advisory board members, financial advisors, attorneys, accountants, investment bankers, consultants,
         representatives, and other professionals and advisors.



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        [“Released Parties” means, collectively, in each case in its capacity as such: (a) the Debtors; (b) the
        Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Purchaser
        Parties; (e) Alameda and each of its Related Parties; (f) each of the Released Professionals; and (g) each of
        the Released Voyager Employees (subject to the limitations contained in Article IV.E and Article IV.F of
        the Plan).]

        “Released Professionals” means the following professionals retained by the Debtors, the Committee, or the
        Purchaser (as applicable): (i) Kirkland & Ellis LLP; (ii) Moelis & Company LLC; (iii) Berkeley Research
        Group, LLC; (iv) Bankruptcy Management Solutions, Inc. d/b/a Stretto; (v) Quinn Emanuel Urquhart &
        Sullivan LLP; (vi) Fasken Martineau DuMoulin LLP; (vii) Campbells Legal (BVI); (viii) McDermott Will
        & Emery LLP; (ix) FTI Consulting, Inc.; (x) Epiq Corporate Restructuring, LLC; (xi) Cassels, Brock &
        Blackwell LLP; (xii) Paul Hastings LLP; (xiii) Harney Westwood & Riegels LP (BVI); (xiv) Day Pitney
        LLP (solely in their capacity as counsel to the Debtors); (xv) Jenner & Block LLP; (xvi) Seyfarth Shaw
        LLP; (xvii) Alvarez & Marsal Holdings, LLC; (xviii) Blake, Cassels & Graydon LLP; and (xix) Sullivan &
        Cromwell LLP.

        [“Released Voyager Employees” means all directors, officers, and Persons employed by each of the
        Debtors and their Affiliates serving in such capacity on or after the Petition Date but before the Effective
        Date.] (subject to the limitations contained in Article IV.E and Article IV.F of the Plan).

        [“Releasing Parties” means, collectively, in each case in its capacity as such: (a) the Debtors; (b) the
        Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Released
        Professionals; (e) each of the Released Voyager Employees; (f) the Purchaser; (g)Alameda and each of its
        Related Parties; (g) each of the Purchaser Parties; (h) all Holders of Claims that vote to accept the Plan and
        affirmatively opt into the releases provided by the Plan; (gi) all Holders of Claims that vote to reject the
        Plan and affirmatively opt into the releases provided by the Plan; and (hj) all Holders of Claims or Interests
        that abstain from voting (or are otherwise not entitled to vote) on the Plan and affirmatively opt into the
        releases provided by the Plan.]

                          (a)      Releases by the Debtors.

         Notwithstanding anything contained in the Plan to the contrary, on and after the Effective Date, in
exchange for good and valuable consideration, the adequacy of which is hereby confirmed, each Released
Party is hereby conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by
each and all of the Debtors, the Wind-Down Debtors, and their Estates, the Wind-Down Entity, and in each
case on behalf of themselves and their respective successors, assigns, and representatives, and any and all
other Entities who may purport to assert any Cause of Action, directly or derivatively, by, through, for, or
because of, the foregoing Entities, from any and all Causes of Action, including any derivative claims,
asserted or assertable on behalf of any of the Debtors, whether known or unknown, foreseen or unforeseen,
matured or unmatured, existing or hereafter arising, in law, equity, contract, tort, or otherwise, that the
Debtors would have been legally entitled to assert in their own right (whether individually or collectively) or
on behalf of the Holder of any Claim against, or Interest in, a Debtor, based on or relating to, or in any
manner arising from, in whole or in part, the Debtors (including the management, ownership, or operation
thereof), their capital structure, the purchase, sale, or rescission of the purchase or sale of any Security of the
Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated in the Plan, the business or contractual arrangements between any Debtor and any Released Party,
the Chapter 11 Cases and related adversary proceedings, the Alameda Loan Facility, the Debtors’
out-of-court restructuring efforts, intercompany transactions between or among a Debtor and another
Debtor, the formulation, preparation, dissemination, negotiation, filing, or consummation of the Definitive
Documents, the D&O Settlement or any Restructuring Transaction, contract, instrument, release, or other
agreement or document created or entered into in connection with the Definitive Documents, the pursuit of
consummation of the Plan, the administration and implementation of the Restructuring Transactions or upon
any other act or omission, transaction, agreement, event, or other occurrence related to the Debtors taking
place on or before the Effective Date; provided that, subject to the D&O Settlement, nothing in this
sectionArticle VIII.A of the Plan shall be construed to release the Released Parties from actual fraud, willful
misconduct, or gross negligence as determined by a Final Order.



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         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
section 1123(b) of the Bankruptcy Code and Bankruptcy Rule 9019, of the releases described in Article
VIII.BA of the Plan by the Debtors, which includes by reference each of the related provisions and definitions
contained in thisthe Plan, and further, shall constitute the Bankruptcy Court’s finding that each release
described in Article VIII.BA of the Plan is: (1) in exchange for the good and valuable consideration provided
by the Released Parties; (2) a good-faith settlement and compromise of such Causes of Action; (3) in the best
interests of the Debtors and all Holders of Claims and Interests; (4) fair, equitable, and reasonable; (5) given
and made after due notice and opportunity for hearing; (6) a sound exercise of the Debtors’ business
judgment; and (7) except to the extent contemplated by Article IV.BE and Article IV.F of the Plan, a bar to
any of the Debtors or Wind-Down Debtors or their respective Estates or Wind-Down Entity asserting any
Cause of Action related thereto, of any kind, against any of the Released Parties or their property.

         Notwithstanding anything to the contrary contained herein, nothing in the Plan shall release, waive,
or otherwise limit the (i) rights, duties, or obligations of the Purchaser under the Asset Purchase Agreement
and (ii) the Non-Released D&O Claims, but such Non-Released D&O Claims shall remain subject to the
limitations contained in Article IV.E and Article IV.F of the Plan.

                         (b)      Release by Holders of Claims or Interests.

         Except as expressly set forth in the Plan, effective on the Effective Date, in exchange for good and
valuable consideration, the adequacy of which is hereby confirmed, each Released Party is hereby
conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by each and all of
the Releasing Parties, in each case on behalf of themselves and their respective successors, assigns, and
representatives, and any and all other Entities who may purport to assert any Cause of Action, from any and
all Causes of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or
hereafter arising, in law, equity, contract, tort, or otherwise, including any derivative claims asserted or
assertable on behalf of any of the Debtors, that such Entity would have been legally entitled to assert in its
own right (whether individually or collectively or on behalf of the Holder of any Claim against, or Interest in,
a Debtor or other Entity), based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof), their capital structure, the purchase,
sale, or rescission of the purchase or sale of any security of the Debtors, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the business or
contractual arrangements between any Debtor and any Released Party, the Alameda Loan Facility, the
Debtors’ out-of-court restructuring efforts, intercompany transactions between or among a Debtor and
another Debtor, the formulation, preparation, dissemination, negotiation, filing, or consummation of the
Definitive Documents, the D&O Settlement or any Restructuring Transaction, contract, instrument, release,
or other agreement or document created or entered into in connection with the Definitive Documents, the
pursuit of consummation of the Plan, the administration and implementation of the Restructuring
Transactions, or upon any other act or omission, transaction, agreement, event, or other occurrence related
to the Debtors taking place on or before the Effective Date;, provided that nothing in this sectionArticle
VIII.B of the Plan shall be construed to release the Released Parties from actual fraud, willful misconduct, or
gross negligence as determined by a Final Order.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in Article VIII.CB of the Plan, which includes by reference
each of the related provisions and definitions contained in thisthe Plan, and further, shall constitute the
Bankruptcy Court’s finding that each release described in Article VIII.CB of the Plan is: (1) in exchange for
the good and valuable consideration provided by the Released Parties; (2) a good-faith settlement and
compromise of such Causes of Action; (3) in the best interests of the Debtors and all Holders of Claims and
Interests; (4) fair, equitable, and reasonable; (5) given and made after due notice and opportunity for
hearing; (6) a sound exercise of the Debtors’ business judgment; and (7) except to the extent contemplated by
Article IV.BE and Article IV.F of the Plan, a bar to any of the Releasing Parties or the Debtors or
Wind-Down Debtors or their respective Estates or Wind-Down Entity asserting any Cause of Action related
thereto, of any kind, against any of the Released Parties or their property.




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         For the avoidance of doubt, any Contributed Third-Party Claims that Contributing Claimants elect
on their ballots or opt-in forms to contribute to the Wind-Down Entity are subject to the release and
exculpation provisions of this Plan to the extent they may be brought against Released Parties or Exculpated
Parties.

                          (c)     Exculpation

         Effective as of the Effective Date, to the fullest extent permissible under applicable law and without
affecting or limiting either the Debtor release or the third-party release, and except as otherwise specifically
provided in the Plan, no Exculpated Party shall have or incur, and each Exculpated Party is released and
exculpated from any Cause of Action for any act or omission arising on or after the Petition Date and prior to
the Effective Date in connection with, relating to, or arising out of,based on the Chapter 11 Cases, the
formulation, preparation, dissemination, negotiation or filing, or consummation of the Disclosure Statement,
the Plan, the Special Committee Investigation, any Definitive Documents, the D&O Settlement or any
Restructuring Transaction, contract, instrument, release, or other agreement or document created or entered
into in connection with the Disclosure Statement or the Plan, the filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of consummation of the Plan, the administration and implementation of the Plan,
including the issuance of Securities pursuant to the Plan, or the distribution of property under the Plan or
any other related agreement (including, for the avoidance of doubt, providing any legal opinion requested by
any Entity regarding any transaction, contract, instrument, document, or other agreement contemplated by
the Plan or the reliance by any Exculpated Party on the Plan or the Confirmation Order in lieu of such legal
opinion), except for Causes of Action related to any act or omission that is determined in a Final Order of a
court of competent jurisdiction to have constituted actual fraud, willful misconduct, or gross negligence, but
in all respects such Entities shall be entitled to reasonably rely upon the advice of counsel with respect to
their duties and responsibilities pursuant to the Plan.

         The Exculpated Parties have, and upon Consummation of the Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the solicitation of votes
and distribution of consideration pursuant to the Plan and, therefore, are not, and on account of such
distributions shall not be, liable at any time for the violation of any applicable law, rule, or regulation
governing the solicitation of acceptances or rejections of the Plan or such distributions made pursuant to the
Plan.

                          (d)     Injunction.

         Except as otherwise provided in the Plan or the Confirmation Order, all Entities who have held,
hold, or may hold Claims, Interests, Causes of Action, or liabilities that: (a) are subject to compromise and
settlement pursuant to the terms of the Plan; (b) have been released pursuant to Article VIII.BA of the Plan;
(c) have been released pursuant to Article VIII.CB of the Plan, (d) are subject to exculpation pursuant to
Article VIII.DC of the Plan, or (e) are otherwise discharged, satisfied, stayed, or terminated pursuant to the
terms of the Plan, are permanently enjoined and precluded, from and after the Effective Date, from
commencing or continuing in any manner, any action or other proceeding, including on account of any
Claims, Interests, Causes of Action, or liabilities that have been compromised or settled against the Debtors,
the Wind-Down Debtors, the Wind-Down Entity, or any Entity so released or exculpated (or the property or
estate of any Entity, directly or indirectly, so released or exculpated) on account of, or in connection with or
with respect to, any discharged, released, settled, compromised, or exculpated Claims, Interests, Causes of
Action, or liabilities.

         Upon entry of the Confirmation Order, all Holders of Claims and Interests and their respective
current and former directors, managers, officers, principals, predecessors, successors, employees, agents, and
direct and indirect Affiliates shall be enjoined from taking any actions to interfere with the implementation
or Consummation of the Plan. Each Holder of an Allowed Claim or Allowed Interest, as applicable, by
accepting, or being eligible to accept, distributions under the Plan, shall be deemed to have consented to the
injunction provisions set forth in Article VIII.ED of the Plan.




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        For more detail, see Article VIII of the Plan, entitled “Effect of Confirmation of the Plan” which is
incorporated herein by reference.

                      4.   Management Transition Plan

         Pursuant to the terms of the Plan, the Debtors shall implement the Management Transition Plan, the terms
of which shall be reasonably acceptable to Purchaser and the Committee and included in the Plan Supplement. The
Management Transition Plan shall help ensure that employees are available to provide transition services to the
Debtors to effectuate the Sale Transaction and to wind down the Debtors’ Estates.

                      5.   Non-Released D&O Claims

          Any Claims or Causes of Action held by the Debtors or their respective estates against the Debtors’ Chief
Executive Officer and/or Chief Commercial Officer that are expressly related to approval of the 3AC Loan andare
not released pursuant to the Plan (collectively, the “Non-Released D&O Claims”), and shall be assigned and
transferred to the Wind-Down Entity to be pursued, settled, or resolved by the Wind-Down Entity in accordance
with the terms of Article IV.F of this Plan and the D&O Settlement Agreements and subject to the Wind-Down
Reserve. Any claims against the D&O Liability Insurance Policies that the Debtors’ insurance transactions within
the 90 days prior to the Petition Date are avoidable under the Bankruptcy Code, applicable state law, or both (the
“Non-Released Insurance Claims”) shall be assigned and transferred to the Wind-Down Entity to be pursued, settled,
or resolved solely by the Wind-Down Entity in accordance with the terms of Article IV.F of this Plan and the D&O
Settlement Agreements and subject to the Non-Released D&O Claim Budget. The Wind-Down Entity shall be a
successor to the Debtors’ rights, title, and interest in any Non-Released D&O Claims, and Non-Released Insurance
Claims, the Wind-Down Entity shall have standing to pursue the Non-Released D&O Claims and the Non-Released
Insurance Claims in accordance with the terms of Article IV.F of this Plan and the D&O Settlement Agreements;
provided that: (i) any recovery by the Wind-Down Entity (and the beneficiaries thereof) on account of any
Non-Released D&O Claim, including in each case by way of settlement or judgment, shall be satisfied solely by and
to the extent of the proceeds of the Debtors’ available D&O Liability Insurance Policies (and/or from the D&O
Carriers directly) after payment from such D&O Liability Insurance Policies of any and all covered costs and
expenses incurred in connection with the defense of the Non-Released D&O Claims; (ii) any party, including any
trustee or any beneficiary of the Wind-Down Entity, seeking to execute, garnish, or otherwise attempt to collect on
any settlement of or judgment in the Non-Released D&O Claims shall do so solely upon available insurance
coverage from the Debtors’ available D&O Liability Insurance Policies; and (iii) no party shall (a) record any
judgment against the Chief Executive Officer or Chief Commercial Officer, or (b) otherwise attempt to collect,
directly or indirectly, from the personal assets of the Chief Executive Officer or Chief Commercial Officer with
respect to the Non-Released D&O Claims. For the avoidance of doubt, this provision does not enjoin, limit, or
impair direct claims held by third parties against the Debtors’ Chief Executive Officer or Chief Commercial Officer
(if any) other than any direct claims held by Holders of Claims or Interests that opt into the third party release in
Article VIII.B of this Plan or any Contributed Third- Party Claims that Contributing Claimants elect on their ballots
or opt-in forms to contribute to the Wind-Down Entity, all of which are subject to the release and exculpation
provisions of this Plan to the extent they may be brought against Released Parties or Exculpated Parties. Only upon
the occurrence of the earlier of (x) a release being given as part of any later settlement of the Non-Released D&O
Claims and/or the Non-Released Insurance Claims; (y) final resolution of any coverage claims asserted against the
Debtors’ available D&O Liability Insurance Policies on account of the Non-Released D&O Claims and/or the
Non-Released Insurance Claims; or (z) exhaustion of the available insurance coverage under the D&O Liability
Insurance Policies, the Non-Released D&O Claims and the Non-Released Insurance Claims shall be released and
discharged without the need for further action or Bankruptcy Court order. For the avoidance of doubt, any release of
the Non-Released D&O Claims and/or the Non-Released Insurance Claims shall not become effective until one of
the three conditions stated in the preceding sentence above has been met.

        The Debtors currently maintain $20 million in total D&O insurance coverage consisting of: (i) a $5 million
primary policy with XL Specialty Insurance Company (the “XL Primary Policy”), (ii) a $5 million excess policy
issued by Euclid Financial and Relm Insurance Ltd. (the “Euclid/Relm Excess Policy”), and (iii) a $10 million
excess policy issued again by XL Specialty Insurance Company (the “XL Excess Policy”). The Debtors’ D&O




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insurance program provides coverage to the directors and officers of Voyager and its subsidiaries and will convert to
a six-year tail period upon expiration or a change in control.

                      6.   Corporate Structure Upon Emergence

         On the Plan Effective Date, the Wind-Down Entity shall be formed for the benefit of the Wind-Down Entity
Beneficiaries, as determined by the Wind-Down Entity Agreement, to implement distributions of the Wind-Down
Entity Assets. The Wind-Down Entity shall have no objective to continue or engage in the conduct of a trade or
business, except to the extent reasonably necessary to, and consistent with, the purpose of the Wind-Down Entity.
Upon the transfer of the Wind-Down Entity Assets pursuant to the Wind-Down Entity Agreement, the Debtors shall
have no reversionary or further interest in or with respect to the Wind-Down Entity Assets. For all federal income
tax purposes, the Wind-Down Entity Beneficiaries will be treated as grantors and owners thereof, and it is intended
that the Wind-Down Entity be classified as a liquidating trust under Section 301.7701-4 of the Treasury Regulations.
Accordingly, for federal income tax purposes, the transfer of assets to the Wind-Down Entity shall be deemed to
occur as (i) a first-step transfer of the Wind-Down Entity Assets to the Holders of Secured Tax Claims, Other
Priority Claims, Account Holder Claims, or General Unsecured Claims, as applicable, and (ii) a second-step transfer
by such Holders to the Wind-Down Entity. As a result, the beneficiaries of the Wind-Down Entity shall be treated
for U.S. federal income tax purposes as the grantors and owners of their respective share of the Wind-Down Entity
Assets. The foregoing treatment shall also apply, to the extent permitted by applicable law, for state and local
income tax purposes.

         As soon as possible after the transfer of the Wind-Down Entity Assets to the Wind-Down Entity,
Wind-Down Trustee shall make a good faith valuation of the Wind-Down Entity Assets. This valuation will be
made available from time to time, as relevant for tax reporting purposes. Each of the Debtors, the Wind-Down
Trustee, and the Holders of Claims receiving interests in the Wind-Down Entity shall take consistent positions with
respect to the valuation of the Wind-Down Entity Assets, and such valuations shall be utilized for all U.S. federal
income tax purposes. The Wind-Down Entity shall file annual information tax returns with the IRS as a grantor trust
pursuant to Treasury Regulations section 1.671-4(a) that will include information concerning certain items relating
to the holding or disposition (or deemed disposition) of the Wind-Down Entity Assets (e.g., income, gain, loss,
deduction and credit). Each Wind-Down Entity Beneficiary holding a beneficial interest in the Wind-Down Entity
shall receive a copy of the information returns and must report on its federal income tax return its share of all such
items. The information provided by the Wind-Down Entity will pertain to Wind-Down Entity Beneficiaries who
receive their interests in the Wind-Down Entity in connection with the Plan.

         The Wind-Down Entity shall, in an expeditious but orderly manner, make timely distributions to the
Wind-Down Entity Beneficiaries pursuant to the Plan and the Confirmation Order and not unduly prolong its
duration. The Wind-Down Entity shall be deemed a successor in interest to the Debtors. For the avoidance of
doubt, the Wind-Down Entity shall perform no actions other than receiving and distributing the Wind-Down Entity
Assets, and not for any other purpose (including conducting any claims reconciliation).

         The Wind-Down Trustee shall be the trustee responsible for executing the purpose of the Wind-Down
Entity, which shall continue to have all of the rights and powers granted to the Wind-Down Debtors as set forth in
the Plan and applicable non-bankruptcy law. The Wind-Down Trustee shall also have the rights, powers, and
obligations set forth in the Wind-Down Entity Agreement, including standing to prosecute any claims under the
Business Interruption and Property Damage Insurance Policies.

         B.       The Sale Transaction.

         The Debtors, led by Moelis, engaged in a thorough marketing process for the sale of all or substantially all
of the Debtors’ assets in accordance with the Bidding Procedures. The Debtors’ marketing process resulted in a sale
of substantially all assets to FTX US, and is described in Article VII.J of this Disclosure Statement, entitled “The
Post-Petition Sale Process.”




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         C.       Means for Implementation of the Plan.

                       1.   Wind-Down Trustee.

          On or after the Effective Date, the authority, power, and incumbency of the persons acting as directors
and officers of the Debtors shall be deemed to have resigned, solely in their capacities as such, and the
Wind-Down Trustee shall be appointed by the Debtors as the sole director and the sole officer of the
Wind-Down Debtors and shall succeed to the powers of the Debtors’ directors and officerswill be established.
The Wind-Down Trustee shall be the sole representative of, and shall act for the Wind-Down Debtors in the
same fiduciary capacity applicable to a board of managers and officerssuccessor-in-interest to the Debtors, and
the Wind-Down Trust shall be a successor to the Debtors’ rights, title, and interest to the Wind-Down Trust Assets.
The Wind-Down Trust will conduct no business operations and will be charged with winding down the Debtors’
estates. The Wind-Down Trust shall be managed by the Wind-Down Trustee and shall be subject to a Wind-Down
Trust Oversight Committee. The Wind-Down Trust shall be administered in accordance with the terms of the
Wind-Down Trust Agreement and shall be subject to the Wind-Down Reserve and the Non-Released D&O Claim
Budget. For the avoidance of doubt, the foregoing shall not limit the authority of the Wind-Down Debtors or
the Wind-Down Trustee, as applicable, to continue to employ any former director or officer.Wind-Down Trust
shall not have any right or interest in any Cause of Action or Claim constituting an Acquired Asset.

         The Wind-Down Trustee shall have the right to retain the services of attorneys, accountants, and other
professionals that, in the discretion of the Wind-Down Trustee, are necessary to assist the Wind-Down Trustee in the
performance of his or her duties. The reasonable fees and expenses of such professionals shall be paid by the
Wind-Down Debtors, upon the monthly submission of statements to the Wind-Down Trustee. The payment of the
reasonable fees and expenses of the Wind-Down Trustee’s retained professionals shall be made in the ordinary
course of business and shall not be subject to the approval of the Bankruptcy Court.

         Prior to the Effective Date, any and all of the Debtors’ assets shall remain assets of the Estates pursuant to
section 1123(b)(3)(B) of the Bankruptcy Code and on the Effective Date the Wind-Down Trust Assets shall, subject
to the Wind-Down Trust Agreement, be transferred to and vest in the Wind-Down Trust or the Wind-Down Debtors,
as applicable. For the avoidance of doubt, to the extent not otherwise waived in writing, released, settled,
compromised, assigned or sold pursuant to a prior order or the Plan, the Wind-Down Entity specifically retains and
reserves the right to assert, after the Effective Date, any and all of the Vested Causes of Action and related rights,
whether or not asserted as of the Effective Date, and all proceeds of the foregoing, subject to the terms of the Plan,
including without limitation Article IV.E and Article IV.F.

         Pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, only the Wind-Down Trust and the Wind-Down
Trustee shall have the right to pursue or not to pursue, or, subject to the terms hereof and the Wind-Down Trust
Agreement, compromise or settle any Wind-Down Trust Assets transferred to the Wind-Down Trust. On and after
the Effective Date, the Wind-Down Trust and the Wind-Down Trustee may, without further Bankruptcy Court
approval, commence, litigate, and settle any Vested Causes of Action or Claims relating to any Wind-Down Trust
Assets transferred to the Wind-Down Trust or rights to payment or Claims that belong to the Debtors as of the
Effective Date or are instituted by the Wind-Down Trust and Wind-Down Trustee on or after the Effective Date,
except as otherwise expressly provided herein and in the Wind-Down Trust Agreement. All of the Wind-Down
Trust’s activities shall be subject to the Wind-Down Reserve and the Non-Released D&O Claim Budget. The
Wind-Down Trust shall be entitled to enforce all defenses and counterclaims to all Claims asserted against the
Debtors and their Estates, including setoff, recoupment and any rights under section 502(d) of the Bankruptcy Code.




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                      2.   Wind-Down Trustee and the Wind-Down Trust Oversight Committee Exculpation,
                           Indemnification, Insurance, and Liability Limitation.

         The Wind-Down Trustee, the Wind-Down Trust Oversight Committee, and all professionals retained by the
Wind-Down Trustee and the Wind-Down Trust Oversight Committee, each in their capacities as such, shall be
deemed exculpated and indemnified, except for fraud, willful misconduct, or gross negligence, in all respects by the
Wind-Down Debtors. The Wind-Down Trustee may obtain, on behalf of itself and the Wind-Down Trust Oversight
Committee, at the expense of the Wind-Down Debtors, commercially reasonable liability or other appropriate
insurance with respect to the indemnification obligations of the Wind-Down Debtors. The Wind-Down Trustee and
the Wind-Down Trust Oversight Committee may rely upon written information previously generated by the Debtors.

                      3.   Tax Returns.

          After the Effective Date, the Wind-Down Trustee shall complete and file all final or otherwise required
federal, state, and local tax returns for each of the Debtors and the Wind-Down Debtors, and, pursuant to section
505(b) of the Bankruptcy Code, may request an expedited determination of any unpaid tax liability of such Debtor or
its Estate for any tax incurred during the administration of such Debtor’s Chapter 11 Case, as determined under
applicable tax laws.

                      4.   Dissolution of the Wind-Down Debtors.

         Upon a certification to be Filed with the Bankruptcy Court by the Wind-Down Trustee of all distributions
having been made and completion of all its duties under the Plan and entry of a final decree closing the last of the
Chapter 11 Cases, the Wind-Down Debtors shall be deemed to be dissolved without any further action by the
Wind-Down Debtors, including the Filing of any documents with the secretary of state for the state in which the
Wind-Down Debtors is formed or any other jurisdiction. The Wind-Down Trustee, however, shall have authority to
take all necessary actions to dissolve the Wind-Down Debtors in and withdraw the Wind-Down Debtors from
applicable states.

                      5.   Statutory Committee and Cessation of Fee and Expense Payment

          On the Effective Date, any statutory committee appointed in the Chapter 11 Cases, including the
Committee, shall dissolve and members thereof shall be released and discharged from all rights and duties from or
related to the Chapter 11 Cases, except for the Filing of applications for compensation. The Wind-Down Debtors
shall no longer be responsible for paying any fees or expenses incurred by any statutory committee, including the
Committee, after the Effective Date, except in connection with any fees or expenses for services rendered prior to
the Effective Date that are Allowed by the Bankruptcy Court.

                      6.   Customer Migration Protocol

        The Transferred Cryptocurrency Value will be determined prior to the Effective Date pursuant to the Asset
Purchase Agreement.

          As a general matter, the Customer Migration Protocol will provide that Purchaser will make initial
distributions to Transferred Creditors corresponding to their Pro Rata amounts of the Transferred Cryptocurrency
Value as contemplated in the Customer Migration Protocol. Subject to the conditions set forth in the Customer
Migration Protocol, if a Transferred Creditor has become a Transferred Creditor prior to the Closingone Business
Day prior to the Effective Date and PurchaserFTX US supports the Cryptocurrency maintained by such Transferred
Creditor in such Transferred Creditor’s Account (e.g., BTC, ETH), Purchaser will credit to such Transferred
Creditor’s FTX US Account the Transferred Cryptocurrency Value in kind. Subject to the conditions set forth in the
Customer Migration Protocol, if (i) Purchaser does not support the Cryptocurrency maintained by a Transferred
Creditor in such Transferred Creditor’s Account, (ii) a Transferred Creditor did not maintain Cryptocurrency in an
Account, or (iii) a Transferred Creditor becomes a Transferred Creditor after the Closingsuch Ddate but before the
final cut-off date 45 days after the Effective Date as contemplated in the Customer Migration Protocol, Purchaser
will credit to the FTX Account of such Transferred Creditor CashUSDC in an amount equal to the Transferred
Cryptocurrency Value on a Pro Rata basis. Purchaser will also credit the Account Credit to each Transferred



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Creditor’s account, on the terms and subject to the conditions set forth in the Asset Purchase Agreement and the
Customer Migration Protocol.

         Following such initial distributions to Transferred Creditors, the remaining Cash available on account of the
sale of Cryptocurrency to Purchaser under the Asset Purchase Agreement shall be paid by Purchaser to the Debtors
and applied by the Debtors to make initial distributions of Transferred Cryptocurrency Value to Holders of Allowed
Account Holder Claims and Allowed OpCo General Unsecured Claims that did not become Transferred Creditors by
the cut-off date provided in the Customer Migration Protocol.

         Purchaser shall have no responsibility to make any distributions other than the distributions to Transferred
Creditors of their Pro Rata share of Transferred Cryptocurrency Value as contemplated by the Customer Migration
Protocol. All other distributions shall be made by the Distribution Agent (other than Purchaser) or as the
Distribution Agent (other than Purchaser) shall otherwise determine.

                      7.   Election to Contribute Third-Party Claims

          Because aggregating all Contributed Third-Party Claims may enable the pursuit and settlement of such
litigation claims in a more efficient and effective manner, each Holder of a Claim or Interest may agree, by electing
on its ballot or opt-in form, to contribute its Contributed Third-Party Claims to the Wind-Down Entity. By electing
such option on its ballot or opt-in form, each Contributing Claimant agrees that, subject to the occurrence of the
Effective Date and the formation of the Wind-Down Entity, it will be deemed, without further action, (i) to have
irrevocably contributed its Contributed Third-Party Claims to the Wind-Down Entity, and (ii) to have agreed to
execute any documents reasonably requested by the Debtors or the Wind-Down Entity to memorialize and effectuate
such contribution. For the avoidance of doubt, any Contributed Third-Party Claims that Contributing Claimants
elect on their ballots or opt-in forms to contribute to the Wind-Down Entity are subject to the release and
exculpation provisions of this Plan to the extent they may be brought against Released Parties or Exculpated Parties.

        On the Effective Date, all Contributed Third-Party Claims will be irrevocably contributed to the
Wind-Down Entity and shall thereafter be Wind-Down Trust Assets for all purposes. In the event that a Contributed
Third-Party Claim is asserted or assertible against any Released Parties under the Plan, the Wind-Down Entity
agrees not to pursue such Contributed Third-Party Claims against such Released Parties, and such Contributed
Third-Party Claim shall be deemed released under the Plan. Except as set forth in the preceding sentence, no Person
may rely on the absence of a specific reference in the Plan, the Disclosure Statement, the Confirmation Order, the
Wind-Down Trust Agreement, the Plan Supplement, or any other document as any indication that the Wind-Down
Trust will or will not pursue any and all available Contributed Third-Party Claims against such Person. The
Wind-Down Trust shall have, retain, reserve, and be entitled to assert all Contributed Third-Party Claims fully to the
same extent that the Contributing Claimants could have asserted such claims prior to the Effective Date. For the
avoidance of doubt, the Contributed Third-Party Claims shall not include the rights of any of the Contributing
Claimants to receive the distributions under the Plan on account of their Claims or Interests.

V.       THETHE DEBTORS’ BUSINESS OPERATIONS AND CAPITAL STRUCTURE

         A.       The Debtors’ Corporate Structure and History.

         Voyager was founded in 2018 by Stephen Ehrlich, Philip Eytan, Gaspard de Dreuzy, and Oscar Salazar, a
group of Wall Street and Silicon Valley entrepreneurs with extensive experience in the technology and finance
sectors. Voyager was founded to bring choice, transparency, and cost efficiency to cryptocurrency investors and was
designed to be “accessible to all” by focusing on the needs of retail customers.

         Voyager grew rapidly—in just four years, Voyager’s platform evolved from a small startup to an
industry-leading trading platform that reached a peak of 3.5 million users and over $5.9 billion of cryptocurrency




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assets held. Voyager is a public company that began trading on the Toronto Stock Exchange in 2021 under the
ticker “VOYG.”1417 A simplified version of the Debtors’ current corporate structure is as follows:




1417
       On July 6, 2022, the Toronto Stock Exchange suspended all trading in VOYG.




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         B.       The Debtors’ Assets and Operations.

        Voyager’s primary operations consist of (i) a trading platform, (ii) custodial services through which
customers earn rewards on stored cryptocurrency assets, and (iii) lending and staking programs. All of the
Company’s services are accessible through a mobile application that users can download on their smartphones and
other smart devices.

                  1.        The Trading Platform.

          Traditional trading platforms have largely focused on either retail investors or institutional investors,
tailoring features to one group at the exclusion of the other. Voyager’s founders understood that, though retail
investors do not need the full suite of services that an institutional-focused trading platform provides, retail investors
deserve a high-quality trading experience that maximizes their ability to invest in the cryptocurrency sector on an
equal playing field with other market participants.

          Voyager operates as a cryptocurrency trading platform, matching its customers with counterparties who can
facilitate the customer’s desired trade. The Company’s platform is simple and easy to use, but beneath the retail
customer-focused user interface is an institutional-grade trading platform built to provide Voyager’s customers with
high-quality trade execution across numerous digital currencies. The Company’s platform is unique as it surveys
more than a dozen exchanges and liquidity providers and executes trades through a proprietary algorithm that
evaluates the price, certainty of execution, reliability of the trading venue, and speed of execution to deliver each
customer a high-quality execution. Ultimately, Voyager’s customers know that they have access to a best-in-class
trading platform no matter how big or small their trade.

                  2.        Custodial Services.

         Digital currencies deposited by customers are stored on Voyager’s platform in omnibus wallets rather than
in individualized digital “wallets.” In exchange, Voyager customers earn rewards on deposits. Prior to the Petition
Date, rewards were primarily paid in three ways: (i) PIK Rewards, as defined below; and (ii) through the VGX
Token and the Voyager Loyalty Program, as defined below. To complement its custodial services and the Voyager
Loyalty Program, customers can sign up for the Voyager Debit Card.

         PIK Rewards. Customers who deposit certain currencies with Voyager earn payable-in-kind interest (“PIK
Rewards”) on their assets through the Voyager Earn Program, provided that such users maintain a minimum monthly
balance and keep their assets on the Company’s platform.

         Voyager Loyalty Program and VGX Token. Voyager token (“VGX” or “Voyager Token”) is a digital
currency issued and administered by the Company. VGX is primarily issued in connection with the Company’s
loyalty and rewards program (the “Voyager Loyalty Program”). Ownership of VGX entitles users to benefits on
their accounts operating through a tiered reward system. VGX is traded on the Coinbase Exchange under the ticker
“VGX.”

         The Voyager Loyalty Program is similar to retail or restaurant loyalty programs where loyal users are
rewarded for continued use of the platform. Active users on the Voyager platform can earn a variety of rewards and
incentives, including higher referral bonuses, lower transaction fees, prioritized customer support, higher PIK
Rewards rates, and access to special events and investment opportunities.

                  3.        Staking.

         Staking offers another revenue avenue for Voyager by generating passive income on coins that are staked
through staking protocols without needing to sell the underlying cryptocurrency. This process involves committing
cryptocurrency assets to a project in exchange for a set rewards rate determined by each staking protocol.




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                     4.        Voyager’s Lending Program.1518

          Prior to the Petition Date, the Debtors lent cryptocurrency deposited on its platform to third parties. Such
third parties paid the Debtors a pre-negotiated interest rate that was payable in payment-in-kind (i.e., a Bitcoin loan
accrues interest payable in Bitcoin). During these chapter 11 cases, the Debtors recalled all outstanding loans made
to third parties, with the exception of certain loans made to Galaxy Digital LLC. The Debtors expect to unwind the
loans made to Galaxy Digital LLC prior to confirmation.

                     5.        Voyager’s Investments.

         Prior to the Petition Date and in the ordinary course of business, Voyager made equity investments in
certain public and private companies primarily focused on venture capital initiatives. Such investments are in an
aggregate amount of approximately $9.7 million across 11 companies and yield varied amounts of dividends based
on the terms of such equity investments.

                     6.        Using Voyager’s Platform.

          Customers access the Company’s entire suite of services through Voyager’s mobile application
(the “Voyager App”). Customers sign up for a Voyager account on the Voyager App after digitally executing
Voyager’s customer agreement and linking their bank account or off-site cryptocurrency wallet to the platform to
facilitate the purchase of cryptocurrency or the transfer of the customer’s own cryptocurrency to the platform.

          The Company does not maintain a separate cryptocurrency wallet for each customer. Instead, all
cryptocurrency assets are commingled on an asset-by-asset basis and held in omnibus accounts in the name of
Voyager Digital, LLC. When a customer deposits crypto assets, the assets first enter Voyager’s self-custody wallet
system (such system, “Bedrock”). All deposits of crypto assets are subject to Voyager’s transaction monitoring
program that uses Chainalysis Pte. Ltd. (“Chainalysis”), a third-party vendor, to conduct blockchain review of crypto
assets transferred to the Voyager platform. If a customer’s external crypto wallet depositing crypto assets is flagged
by Chainalysis, Voyager is alerted by Chainalysis and Voyager conducts an investigation and takes appropriate
actions, up to and including restricting and offboarding the customer account. If the wallet passes Chainalysis
verification, then the relevant crypto assets are swept automatically from Bedrock for transfer to the applicable
omnibus account with a third-party custodian or self-custody solution, which Voyager controls.

           C.        The Debtors’ Capital Structure.

                     1.        The Debtors’ Debt Obligations.

         On June 22, 2022, Voyager Digital Holdings, Inc. entered into that certain agreement for the revolving
credit facility dated June 21, 2022 (the “Loan Agreement,” and such facility, the “Loan Facility”), with Alameda
Ventures Ltd. (“Alameda”) as lender, to provide a revolving credit facility of $200 million cash and USD Coin
(“USDC,” and such loans, the “Cash Loans”) and 15,000 Bitcoin (“BTC,” and such loans the “BTC Loans”)
guaranteed by Voyager Digital Ltd. As of the Petition Date, the total value of aggregate consideration available
under the Loan Facility was approximately $500 million.1619 However, Debtor Voyager Digital Holdings, Inc. was
only able to access 75 million USDC under the Loan Facility due to borrowing restrictions. The aggregate value of
the USDC outstanding is $75 million.1720

        The borrowers under the Loan Agreement can draw on the Loan Facility in U.S. dollars or USDC under the
Cash Loans or in BTC under the BTC Loans. The Loan Facility accrues interest on the outstanding principal
balance at a rate equal to five percent annually. Any accrued interest is due on December 31, 2024, the Loan

1518
       The Lending Program is described in further detail in the First Day Declaration and in Article VI(A)(2)(b) of this
       Disclosure Statement.

1619
       Assuming a Bitcoin price of $20,000.

1720
       As a stablecoin, USDC is pegged to $1 per coin.




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Facility’s maturity date. Repayment of any principal balance is required to be in the currency in which the amount
was funded (if in BTC, the repayment must be equal to the amount drawn down and outstanding at the time of
repayment).

                  2.       The Debtors’ Intercompany Obligations.

          There are six intercompany obligations owed between the Debtors (collectively, the “Intercompany
Obligations”). The Intercompany Obligations comprise four Intercompany Obligations owed by OpCo to TopCo,
one Intercompany Obligation owed by OpCo to HoldCo, and one Intercompany Obligation owed by HoldCo to
TopCo. Whether any given Intercompany Obligation is a valid intercompany loan or a capital contribution depends
on the consideration of a number of relevant factors. Based on the Debtors’ preliminary analysis, it is likely that at
least five of the six Intercompany Obligations are capital contributions because TopCo received third-party equity
investments and subsequently pushed down such investments to OpCo to fund the Debtors’ operating business. In
the event that any Intercompany Obligation owed by OpCo one the one hand to TopCo or HoldCo on the other hand
is determined to be a loan, recoveries to Account Holders and Holders of OpCo General Unsecured Claims may be
reduced. This Disclosure Statement assumes that five out of the six Intercompany Obligations between the Debtors
will be recharacterized as capital contributions and will not be entitled to Pro Rata recoveries with other Holders of
Claims at the applicable Debtor entity.

         Below is a summary of each of the Intercompany Obligations and the Debtors’ conclusions regarding
whether the Intercompany Obligations are valid loans or capital contributions.

                           (a)       Intercompany Obligations by OpCo to TopCo.

                                 i.       The Loan Agreement between Voyager Digital Ltd., as Lender, and
Voyager Digital, LLC, as Borrower, dated February 12, 2021.

         On February 12, 2021, OpCo, as borrower, entered into that certain loan agreement with TopCo, as lender,
to document the $70 million unsecured loan previously received by OpCo from TopCo (the “February 2021 Term
Loan”). The February 2021 Term Loan matures on February 12, 2024 and accrues interest at a rate equal to LIBOR
plus 8.75% annually with interest payments due quarterly. No interest payments have ever been made by OpCo to
TopCo on account of the February 2021 Term Loan. The Debtors contemplated and entered into the February 2021
Term Loan after the amount had already been funded to OpCo solely to optimize tax positions in the most efficient
manner after TopCo received third-party equity investments and subsequently pushed down such investments to
OpCo to fund the Debtors’ operating business.

         As of the Petition Date, the balance under the February 2021 Term Loan was approximately $78.9 million
(including accrued interest).

          Based on the totality of the circumstances, the Debtors believe, if litigated, that there is a high likelihood
that the February 2021 Term Loan would be determined to be a capital contribution due to (i) the lack of repayment
history, (ii) the fact that the February 2021 Term Loan was documented significantly after the amount had already
been funded to OpCo, (iii) the fact that the February 2021 Term Loan was entered into solely to optimize tax
positions, (iv) OpCo is the primary operating entity for Voyager’s entire enterprise and TopCo was providing the
necessary capital contribution to allow OpCo to operate, (v) the source of repayment was solely dependent on
OpCo’s business performance, (vi) the identity of interest between OpCo and TopCo, (vii) the absence of security
for the advance, and (viii) the absence of a sinking fund to provide for repayment. Although the February 2021 Term
Loan was formally documented, other factors, including those mentioned above, support the conclusion that the
February 2021 Term Loan is most likely to be a capital contribution.

                                 ii.     The Revolving Credit Agreement between Voyager Digital Ltd., as
Lender, and Voyager Digital, LLC, as Borrower, dated February 12, 2021.

         On February 12, 2021, OpCo, as borrower, entered into that certain revolving credit agreement with
TopCo, as lender, to document the unsecured revolving credit facility with borrowing availability of up to $17.5
million previously provided by TopCo to OpCo (the “February 2021 Revolving Loan”). The February 2021
Revolving Loan matures on February 12, 2024 and accrues interest at a rate equal to LIBOR plus 7.50% annually


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with interest payments due quarterly. No interest payments on behalf of the February 2021 Revolving Loan have
ever been made by OpCo to TopCo. The purpose of the February 2021 Revolving Loan was to provide OpCo with
access to ongoing working capital and operate the business for the enterprise. The Debtors contemplated and
entered into the February 2021 Revolving Loan after the amount had already been funded to OpCo solely to
optimize tax positions in the most efficient manner after TopCo received third-party equity investments and
subsequently pushed down such investment to OpCo to fund the Debtors’ operating business.

         As of the Petition Date, the outstanding amount under the February 2021 Revolving Loan was
approximately $1.47 million (consisting of approximately $237,975 of principal borrowings and $1.47 million of
accrued interest).

          Based on the totality of the circumstances, the Debtors believe, if litigated, that there is a high likelihood
that the February 2021 Revolving Loan obligation would be determined to be a capital contribution due to (i) the
lack of repayment history, (ii) the fact that the February 2021 Revolving Loan was documented significantly after the
amount had already been funded to OpCo, (iii) the fact that the February 2021 Revolving Loan was entered into
solely to optimize tax positions, (iv) OpCo is the primary operating entity for Voyager’s entire enterprise and TopCo
was providing the necessary capital contribution to allow OpCo to operate, (v) the source of repayment was solely
dependent on OpCo’s business performance, (vi) the identity of interest between OpCo and TopCo, (vii) the absence
of security for the advance, and (viii) the absence of a sinking fund to provide for repayment. Although the February
2021 Revolving Loan was formally documented, other factors, including those mentioned above, support the
conclusion that the February 2021 Revolving Loan is most likely to be a capital contribution.

                                   iii.       The November 2021 Intercompany Obligation between Voyager
Digital Ltd. and Voyager Digital, LLC.

         In November 2021, TopCo received a third-party equity investment in amount of $75 million and pushed
such investment down in its entirety to OpCo to fund OpCo’s working capital for purposes of its business operations.

        As of the Petition Date, the outstanding amount on this November 2021 intercompany obligation was
approximately $79.27 million (including any accrued interest).

         Based on the totality of the circumstances, the Debtors believe, if litigated, that there is a high likelihood
that the November 2021 intercompany obligation would be determined to be a capital contribution due to (i) the
absence of instruments of indebtedness, (ii) no existence of a fixed maturity date or schedule of payments, (iii) no
existence of a fixed interest rate and interest payments, (iv) the source of repayment was solely dependent on
OpCo’s business performance, (v) the identity of interest between OpCo and TopCo, (vi) the absence of security for
the advance, and (vii) the absence of a sinking fund to provide for repayment.

                                     iv.      The May 2022 Intercompany Obligation between Voyager Digital
Ltd. and Voyager Digital, LLC.

        In May 2022, TopCo received a third-party equity investment in amount of $57 million and pushed such
investment down in its entirety to OpCo to fund OpCo’s working capital for purposes of its business operations.

        As of the Petition Date, the outstanding amount on this May 2022 intercompany obligation was
approximately $57.8 million (including any accrued interest).

          Based on the totality of the circumstances, the Debtors believe, if litigated, that there is a high likelihood
that the May 2022 intercompany obligation would be a capital contribution due to (i) the absence of instruments of
indebtedness, (ii) no existence of a fixed maturity date or schedule of payments, (iii) no existence of a fixed interest
rate and interest payments, (iv) the source of repayment was solely dependent on OpCo’s business performance,
(v) the identity of interest between OpCo and TopCo, (vi) the absence of security for the advance, and (vii) the
absence of a sinking fund to provide for repayment.

                           (b)       Intercompany Obligation by OpCo to HoldCo.




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         In June 2022, HoldCo received a loan under the Alameda Loan Facility in the amount of $75 million from
Alameda for the purpose of providing funding directly to OpCo in light of the crypto industry downturn described in
Article VI.A-B of this Disclosure Statement. Accordingly, HoldCo pushed the entire investment down to OpCo to
fund OpCo’s platform.

        As of the Petition Date, the outstanding amount on this June 2022 intercompany obligation was
approximately $75 million.

          Based on the totality of the circumstances, the Debtors believe, if litigated, that there is a high likelihood
that the June 2022 intercompany obligation would be a capital contribution due to (i) the absence of instruments of
indebtedness, (ii) no existence of a fixed maturity date or schedule of payments, (iii) no existence of a fixed interest
rate and interest payments, (iv) the source of repayment was solely dependent on OpCo’s business performance,
(v) the identity of interest between OpCo and HoldCo, (vi) the absence of security for the advance, and (vii) the
absence of a sinking fund to provide for repayment.

       Alameda disputes the treatment of this Intercompany Obligation. Pursuant to the Asset Purchase
Agreement, FTX US has agreed to contractually convey the Alameda Loan Facility Claims to OpCo.

                           (c)       Intercompany Obligation by HoldCo to TopCo.

          On October 26, 2021, HoldCo, as borrower, entered into that certain promissory note with TopCo, as
lender, in the amount of $6 million (the “Promissory Note”). The Promissory Note matures on September 30, 2024
and accrues interest at a rate equal to LIBOR plus 8.75% annually with interest payments due quarterly. To date, no
interest payments on behalf of the Promissory Note have been made by HoldCo to TopCo. To comply with certain
Canadian laws, TopCo made a third-party investment into a private company and then contributed the acquired
shares of the third party company down to HoldCo. In exchange for the contribution of the third-party’s shares,
TopCo and HoldCo then entered into the Promissory Note.

        As of the Petition Date, the outstanding note amount was approximately $6.33 million (consisting of
approximately $6 million of principal borrowings and $329,943 of accrued interest).

         Based on the totality of the circumstances, the Debtors believe that, if litigated, the Promissory Note may be
determined to be a valid loan. Although the Promissory Note was entered into after the amount was already funded
to HoldCo, the fact that TopCo made a third-party equity investment into a privately-held company and then
contributed the acquired shares to HoldCo in exchange for the Promissory Note may result in the Promissory Note
being a loan.

                  3.       2. The Equity Interests in the Debtors.

         As of the Petition Date, the Debtors’ ultimate parent, Voyager Digital Ltd., has approximately 196,000,000
shares of common stock outstanding, approximately 9.49 percent of which is held by Alameda and its affiliates with
the remainder widely held by investors.

VI.      EVENTS LEADING TO THESE CHAPTER 11 CASES

         A.       Market and Industry-Specific Challenges.

                  1.       2020 and 2021 Market Conditions.

          The onset of the COVID-19 pandemic was a watershed moment in traditional markets and cryptocurrency
markets alike. Between February 12, 2020, and March 23, 2020, the Dow Jones Industrial Average lost 37 percent
of its value and the S&P 500 lost 34 percent of its value. The price of Bitcoin fell over 50 percent over the same
time period, and most other cryptocurrencies experienced similar declines.

         Fear of a lingering pandemic and its effect on the world economy drove many investors to exit the market
altogether. Voyager, however, continued to operate its trading platform through the entirety of the 2020 “COVID
Crash.” Customers were able to use the platform to trade despite extreme volatility in the markets, and interest and



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rewards were paid out to qualifying customers as well. The Company’s response to market headwinds in 2020
solidified its status as a leading cryptocurrency trading platform—between 2020 and 2022, the number of users on
the Company’s platform grew from 120,000 to over 3.5 million.

          After the COVID Crash, traditional markets and cryptocurrency markets saw a short recovery period
followed by a period of sustained growth. Central banks and governments around the world (including, in particular,
the United States Federal Reserve) enacted relief programs and adopted quantitative easing monetary policies
designed to bridge the world economy to the end of the COVID-19 pandemic. Such policies contributed to growth
in traditional markets and cryptocurrency markets, and investment into new projects in the cryptocurrency industry
skyrocketed. Between its lowest point in 2020 and its highest point in 2021, the price of Bitcoin rose by over
1,000 percent. The S&P 500 rose by nearly 100 percent over the same period.

          In traditional markets, fears of new variants of the COVID-19 virus and a potential economic contraction
drove a series of sell-offs as equity markets moved sideways through the end of 2021. In the cryptocurrency space,
strong sell-offs in “risk-on” assets, like technology and early-stage equities, led to sell-offs in the cryptocurrency
sector as investors trimmed exposure. Increased regulatory scrutiny internationally also contributed to market
pessimism, and strong spot trading from institutional investors drove most cryptocurrencies to double-digit losses
relative to all-time highs.

        Ultimately, traditional markets closed 2021 with double-digit growth. On the surface, it seemed like
markets were beginning to recover from the COVID-19 pandemic and that the lingering effects of the pandemic
would be minimal. But discussions around a potential recession in 2022 began to materialize as inflation rose along
with concerns over whether world governments could navigate a “soft landing” into a slower economic period in
2022.

         The year 2022, to date, has been marked by historic levels of volatility in the traditional markets and
cryptocurrency markets. On February 24, 2022, Russia invaded Ukraine in a major escalation of the conflict
between the two countries (the “Ukrainian War”). The Ukrainian War had a swift and profound impact on the world
economy. In an effort to weaken Russia’s ability to pursue the war, Western countries imposed a series of financial,
trade, and travel sanctions against Russia, all of which measures contributed to a rampant increase in global
commodity prices. Equity markets were roiled as well. Between January 1, 2022, and the Petition Date, the S&P
500 shed 20 percent of its value while the tech-heavy Nasdaq declined by nearly 30 percent over the same period.
Rising inflation and commodity prices contributed to investor pessimism and further sell-offs. In June 2022, market
analysts officially labeled 2022 as a bear market.

                  2.       Cryptocurrency Industry-Wide Sell-off.

        The widespread sell-off in traditional markets was mirrored in the cryptocurrency industry. All major
cryptocurrencies experienced significant declines in 2022; Bitcoin slumped 37.3 percent in June 2022 alone and was
down approximately 56 percent year-to-date as of the Petition Date. Companies in the cryptocurrency industry also
experienced significant equity declines as declining cryptocurrency prices pressured margins and investor pessimism
grew. In June 2022, the value of the aggregate cryptocurrency market slumped below $1 trillion for the first time
since January 2021. The severe distress of two industry participants—Terra and 3AC—exacerbated this
“cryptocurrency winter.” The eventual implosion of Terra and 3AC, and the resulting fallout, created the
“cryptopocalypse.”

                           (a)      The Terra Luna Collapse.

         Terra is an open-source blockchain protocol created by Terraform Labs. Similar to the Ethereum
blockchain (which issues Ether for use on its platform), Terra issued Luna, a cryptocurrency token that was used to
execute transactions on the Terra blockchain. In early May 2022, Luna traded at approximately $86 per share and
had a market capitalization of approximately $14 billion.

         Terra also issued TerraUSD (“UST”), an algorithmic stablecoin. Historically, UST traded at $1 per share.
UST maintained its “peg” to Luna via an arbitrage mechanism. If UST traded above $1, arbitrageurs bought $1
worth of Luna for $1 and exchanged Luna for one UST worth more than a dollar, netting the difference as profit. If
UST traded below $1, arbitrageurs bought one UST for less than a dollar and exchanged it for $1 worth of Luna,



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netting the difference as profit. These arbitrage trades push the price of UST back to $1 and were intended to keep
the two tokens equally scarce and limit oversupply or undersupply of either. To incentivize traders to burn Luna to
create UST, Terra allowed owners of UST to stake their UST in exchange for a 19.5 percent yield (payable in UST).

         On May 7, 2022, $2 billion of UST was unstaked and immediately sold. The sale moved UST’s per share
price down to $0.91. UST holders, already sensitive to price movements due to the sell-off in cryptocurrencies
generally, saw UST “de-peg” and rushed to unstake and sell their coins. Terra’s arbitrage trade was designed to
address this type of situation but was not designed to address a situation of this magnitude. Although traders moved
quickly to burn Luna and “arbitrage” the price of UST, traders realized that only $100 million of UST could be
burned for Luna each day. Due to high trading volume, $100 million of UST was insufficient to “re-peg” UST to
$1.

         Massive selling pressure led to a downward spiral or, as known in traditional finance, a “death spiral”:
traders redeemed UST for Luna and sold their Luna, leading to a significant decrease in the price of Luna. Then
traders attempted to “re-peg” Luna to UST by burning UST to create Luna, which in turn created an oversupply of
Luna that further exacerbated its price decline. Terra allegedly sold $2.2 billion of its Bitcoin reserves to enter the
Luna/Terra arbitrage efforts and re-peg the tokens but was unsuccessful. The per-share price of Luna fell from
$82.55 to $0.000001 in one week.

         The Terra/Luna blockchain protocol was widely viewed as a project with significant promise—Luna had
attracted significant interest from institutional investors and retail investors alike. The Luna collapse erased over
$18 billion of value and contributed to further sell-offs in the cryptocurrency sector.

                           (b)      The Making and Recalling of the Three Arrows Capital Loan and
Liquidation.

         As described above, Voyager loaned out a portion of its cryptocurrency assets to third parties. The
Voyager customer agreement expressly provides that Voyager may loan the customer’s deposited assets (which are
pooled with all other retail customers’ deposited assets) to third parties when they agree to the Voyager customer
agreement, a requirement for depositing assets with Voyager. Loans are typically made in the form of
cryptocurrency to, among other things, facilitate the counterparty’s transactions or provide the counterparty with
additional liquidity of a specific type of token.

         Accordingly, in March 2022, the Company entered into a master loan agreement with 3AC (the “3AC
Loan”). Pursuant to the 3AC Loan, the Company agreed to lend 15,250 Bitcoins and 350 million USDC to 3AC.
The 3AC Loan was callable at any time by the Company. 3AC fully drew down on the 15,250 Bitcoins and 350
million USDC.

          The collapse of Luna had a significant effect on the cryptocurrency industry. Many cryptocurrency-focused
hedge funds and other cryptocurrency companies owned Luna and incurred losses on their position after they sold.
Some participants were unable to sell their Luna shares under staking agreements or other lock-up agreements.
Those participants took a 99 percent loss on their investment if they were prohibited from selling their Luna shares
before it eventually bottomed out.

         As described above, Voyager’s business model contemplated generating revenue in several different ways,
including by lending, in their business judgment, a portion of cryptocurrency held on its platform to institutional
borrowers.

          Voyager’s lending business was described and disclosed in Voyager’s public securities filings, which stated
that “[w]e earn fees from crypto assets lending activities with institutional borrowers,” including on “an unsecured
… basis,” and that “Voyager selects which and how much of its crypto assets are available for such lending
activity.”21 Account Holders acknowledged and consented to this activity in the Customer Agreement, as follows:

21
     December 31, 2021 Voyager Digital Ltd. Management Discussion and Analysis at 8, available at
     https://sedar.com/GetFile.do?lang=EN&docClass=7&issuerNo=00005648&issuerType=03&projectNo=033384
     05&docId=5134463.



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          [P]articipants in the Rewards Program agree to allow Voyager to utilize Cryptocurrency held in
          the(ir) Account to be loaned to various third parties (each, a “Borrower”) determined at Voyager’s
          sole discretion (each, a “Loan”). Loans made to Borrowers may not be secured and the Borrowers
          may not be required to post collateral either to Voyager, or otherwise.22

         As of December 31, 2021, Voyager held approximately $5.88 billion in crypto assets on its platform.23 Of
that total, approximately $2.7 billion had been loaned to various counterparties as part of Voyager’s lending
program. At the time, the largest individual counterparty was Alameda Research, a crypto hedge fund founded by
FTX CEO Sam Bankman-Fried, which had borrowed approximately $1.6 billion and represented 61% of Voyager’s
loan book.24 These loans were made largely on an unsecured basis in exchange for market-based returns that, in
Voyager’s judgment, corresponded with acceptable risk.




22
     August 2021 Customer Agreement at 10; see also January 2022 Customer Agreement at 10 (same).

23
     Id. at 6.

24
     Id. 20-21.



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          In early 2022, Voyager was looking to diversify its available borrowers. 3AC was a well-known, prominent
participant in the crypto space.25 Between 2015 and 2020, 3AC experienced rapid growth and apparent extreme
profitability, becoming known as a “behemoth” in the industry.

          Given 3AC’s profile, Voyager sought out a relationship with the firm. On February 7, 2022, Voyager’s
then-CFO (now Chief Commercial Officer), Evan Psaropoulos, and Treasury Director Ryan Whooley had an initial
call with Tim Lo, an employee of 3AC’s over-the-counter trading affiliate. They discussed 3AC generally, including
its business objectives made it an appropriate counterparty for institutional borrowing. 3AC advised that it had
substantial interest given its size and investment philosophy. On February 11, 2022, Voyager and 3AC signed a
mutual non-disclosure agreement to permit the exchange of confidential information between the firms as they
explored a lending relationship. On February 13, 2022, 3AC provided Voyager with a statement signed by one of its
founders, Kyle Davies, containing only a single sentence stating that 3AC’s NAV as of January 1, 2022, was $3.729
billion. Unlike other substantial borrowers of Voyager’s assets, 3AC did not provide a balance sheet (audited or
unaudited). In response to Voyager’s formal due diligence questionnaire, 3AC subsequently provided a description



25
     See, e.g., The Block, “Three Arrows reports more than $1.2 billion position in Grayscale's GBTC,” January 4,
     2021,
     https://www.theblock.co/post/89928/three-arrows-reports-more-than-1-2-billion-position-in-grayscales-gbtc;
     Bloomberg, “Ex-High School Classmates Are Among the World’s Largest Crypto Holders,” May 25, 2021,
     https://www.bloomberg.com/news/articles/2021-05-25/ex-credit-suisse-traders-amass-billions-of-dollars-of-cryp
     to?utm_medium=social&utm_content=business&utm_source=twitter&cmpid=socialflow-twitter-business&utm
     _campaign=socialflow-organic#xj4y7vzkg (describing Three Arrows Capital as “among the world’s biggest
     crypto holders with a portfolio worth billions of dollars”); Sydney Morning Herald, “School Friends Started
     Their Own Firm, Now They Are Among The World’s Largest Crypto Holders,” May 27, 2021,
     https://www.smh.com.au/business/markets/school-friends-started-their-own-firm-now-they-are-among-the-world
     -s-largest-crypto-holders-20210526-p57v6b.html (describing “the extent of the firm’s influence, when Three
     Arrows reported it owned a 5.6 per cent stake in the Grayscale Bitcoin Trust, a $US22 billion fund”); Messari
     Report,        “Messari       Crypto        Thesis       For      2022,”        December       26,     2021,
     https://messari.io/pdf/messari-report-crypto-theses-for-2022.pdf (describing Three Arrows Capital founder Su
     Zhu as one of “the big guys” and noting that “Three Arrows Capital has amassed one of the largest funds in
     Asia, and boasts one of the top performing portfolios in their own right”); Bloomberg, “Fund Manager Who
     Called       End      of     Last     Crypto      Winter      Remains      Bullish,”     April   7,    2022,
     https://www.bloomberg.com/news/articles/2022-04-07/three-arrows-capital-s-su-zhu-remains-bullish-on-crypto-
     investments (noting that Three Arrows Capital’s “blockchain holdings alone are worth close to $10 billion”);
     FTX,       Crypto      Bahamas       2022      Su      Zhu     Speaker      Profile,    April   26,     2022,
     https://www.cryptobahamas.com/speakers/su-zhu-1 (describing Three Arrows Capital as “a leading investor in
     the cryptocurrency space”); Benzinga, “The Top 10 DeFi Projects To Watch In The Second Half Of 2020,” July
     30,                                                                                                     2020,
     https://www.benzinga.com/markets/cryptocurrency/20/07/16856475/the-top-10-defi-projects-to-watch-in-the-se
     cond-half-of-2020 (describing Three Arrows Capital as a “leading investor”); Benzinga, “Crypto Hedge Funds
     Bought      Bitcoin      At   ‘A     Reasonable      Level’    During    The      Dip,”   May    21,    2021,
     https://www.benzinga.com/markets/cryptocurrency/21/05/21239323/crypto-hedge-funds-bought-bitcoin-at-a-rea
     sonable-level-during-the-dip-report (reporting “advice to investors” from 3AC co-founder Kyle Davies);
     Benzinga, “This Crypto Veteran Has 3 Potential Catalysts That Could Fuel A Bitcoin Market Comeback,” May
     22,                                                                                                     2022,
     https://www.benzinga.com/markets/cryptocurrency/22/05/27339698/this-crypto-veteran-lists-potential-catalysts-
     that-could-push-bitcoin-market (describing Su Zhu as a “crypto veteran”); Benzinga, “What Does Etherium 2.0
     Have To Do With The Celsius, 3AC, And Other Insolvencies?” June 15, 2022,
     https://www.benzinga.com/markets/cryptocurrency/22/06/27724295/what-does-ethereum-2-0-have-to-do-with-t
     he-celsius-3ac-and-other-insolvencies (describing Three Arrows Capital as “a major investment firm”);
     Benzinga,      “What      Impact   Will     A Recession Have            On Crypto?” June 16, 2022,
     https://www.benzinga.com/22/06/27745465/what-impact-will-a-recession-have-on-crypto (describing Three
     Arrows Capital as “one of the biggest crypto hedge funds”).



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of its corporate structure, certificates of good standing and incorporation, and a copy of its Anti-Money Laundering
policies and controls.

          On February 28, 2022, a Voyager team, including Mr. Psaropoulos, Mr. Whooley, Treasurer Jon
Brosnahan and others had a due diligence call with Messrs. Davies and Lo of 3AC. During the call, the Voyager
team asked questions about 3AC’s business and financial position, and ascertained from Mr. Davies that 3AC: (i)
managed only its founders’ assets; (ii) was involved in limited higher risk venture capital projects, and its venture
activities involved modest sums; (iii) was largely engaged in arbitrage trading, which was delta neutral, and thematic
trading; (iv) limits its own borrowing to 1x NAV; and (v) did not own positions larger than 1-3% of circulation of
any given alt-coin, to maximize its ability to exit quickly from such volatile assets. In response to requests for
greater financial transparency, Mr. Davies explained that 3AC only provided summary NAV statements to its
lenders, and that it needed to treat all lenders the same in this regard. When pressed, Messrs. Davies and Lo
explained that 3AC previously had a bad experience with a counterparty who had been given detailed financial
information about 3AC. According to 3AC, the counterparty had mimicked its trading strategy based on holdings
information disclosed in those confidential documents, to 3AC’s detriment. Given its commercial sensitivity, 3AC
therefore only provided the net amount of total assets under management minus total liabilities, without further
details.

         The next day, on March 1, 2022, Voyager’s Risk Committee, which included certain officers and other
members of the treasury and legal teams, had a regularly scheduled meeting to discuss, among other matters,
Voyager’s lending, trading, and staking positions. During this meeting, the Risk Committee considered the merits of
entering into a new lending relationship with 3AC, as well as 3AC’s position regarding the limited amount of
financial information contained in the NAV statement. Those who participated on the due diligence call with
Voyager’s co-founder explained the rationale given by 3AC, and that this was an explanation that Voyager’s finance
team and executive leadership understood and found credible. The Risk Committee discussed the fact that 3AC
represented itself to have $3.7 billion in net asset value. Ultimately, no member of the Risk Committee objected to
entering into a lending relationship with 3AC.26 The decision to approve the 3AC Loan was ultimately made by the
CEO, Stephen Ehrlich, in consultation with Mr. Psaropoulos, as further described below.

          On March 4, 2022, Voyager entered into a master loan agreement with 3AC, pursuant to which Voyager
made several loans to 3AC between March 8, 2022 and May 5, 2022 in the aggregate amounts of 15,250 Bitcoins
and 350 million USDC. The 3AC Loan was unsecured but callable at any time by Voyager, as per the terms of six
individual term sheets governing discrete advances from time to time. After Voyager approved 3AC as a borrower
on March 1, the Risk Committee was not subsequently consulted about the size or terms of any of the advances that
comprised the 3AC Loan. In general, Mr. Whooley would receive an in-bound borrowing request from 3AC and
would discuss terms for the specific loan request with Mr. Psaropoulos. Mr. Psaropoulos would obtain Mr.
Whooley’s recommendations about the size and terms of borrowing, at times consulting with Mr. Brosnahan as to
any liquidity concerns. Mr. Psaropoulos would then discuss each advance with Mr. Ehrlich and obtain the CEO’s
official authorization prior to executing the corresponding term sheet.

         As of April 3, 2022, Voyager had assets on platform of approximately of $5.64 billion, of which $3.1
billion was on loan to third parties. At that time, approximately $935 million was on loan to 3AC, making it
Voyager’s second-largest borrower behind Alameda Research, to which Voyager had loaned approximately $1.23
billion. Approximately two months later, on June 6, 2022, the amount of Voyager’s assets on platform had




26
     While no formal vote was taken by the Risk Committee to approve 3AC as a borrower, or the sufficiency of the
     due diligence conducted, this was not the function of the Risk Committee. The Risk Committee was established
     in 2021 as a consultative body consisting of members of Voyager management from different departments. The
     Risk Committee met regularly to discuss, among other things, Voyager’s overall financial position and any
     potential borrowers that members of the finance team believed, following due diligence, to be appropriate
     counterparties. No decision-making authority was delegated to the Risk Committee, and no votes were taken by
     the members of the Risk Committee, until May 4, 2022, when a charter for the Risk Committee was finalized
     and approved.



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decreased materially (in part due to market decline and in part due to customer withdrawals) to $3.39 billion, of
which approximately 25% had been lent to 3AC, and another 25% lent to Alameda Research.

        During the approximately three-month period between the start of the parties’ lending relationship and
3AC’s default, Voyager engaged with 3AC on several occasions to monitor 3AC’s financial position, as part of
Voyager’s regular borrower outreach activity. During this period, Voyager sought and received a revised one-page
NAV statement from 3AC on March 23, 2022, again signed by 3AC co-founder Kyle Davies, stating that as of
March 1, 2022, 3AC’s NAV was $3.218 billion.

          On approximately May 9, 2022, Luna de-pegged from UST, causing many investors in the crypto space to
suffer losses. Voyager promptly reached out to its borrowers to understand the impact (if any) of Luna’s unraveling
on their respective businesses. Specifically, concerning 3AC, Voyager’s Mr. Whooley spoke to Mr. Lo on May 11,
and he and Mr. Psaropoulos had dinner with Mr. Lo on May 12. On both occasions, Mr. Lo reported that 3AC were
early investors in LUNA but had limited exposure and therefore 3AC had suffered insignificant losses. In light of
this, Voyager did not believe it needed to recall the loans to 3AC.

        On May 23, 2022, Voyager received another revised one-page NAV statement from 3AC, again signed by
3AC co-founder Kyle Davies, stating that as of May 23, 2022, 3AC’s NAV was $2.574 billion. At this point,
Voyager ceased issuing further loans to 3AC despite requests from 3AC to borrow more.

          After declining 3AC’s request for more borrowing in the second half of May, communications between
Voyager and 3AC remained relatively quiet until June 12, the day that Celsius Network LLC (“Celsius”) lowered its
gates and paused withdrawals. Upon this occurrence, Voyager reached out again to all of its borrowers to inquire
about their financial health, including 3AC. On June 13, 2022, Mr. Psaropoulos held a Zoom videoconference with
Mr. Lo during which Mr. Lo informed him that 3AC had no exposure to Celsius. The next day, on June 14, 2022,
Mr. Lo sent a text message to Mr. Psaropoulos asking for a call “asap” after Voyager had already issued its press
release that day. Mr. Psaropoulos called Mr. Lo, who advised him that Voyager should recall all of its loans to 3AC
because he was concerned that the founders of 3AC were not responding to requests for information from Mr. Lo
and other employees. Mr. Psaropoulos immediately called Mr. Ehrlich to relay this alarming statement. Within
hours, Voyager had recalled all outstanding amounts loaned to 3AC.

          On June 15, 2022, one of 3AC’s founders stated that the fund had incurred significant losses on account of
its staked Luna position and had hired legal and financial advisors to explore potential liquidity solutions. The
Company made a request for a repayment by 3AC of 25 million USDC by June 24, 2022, and subsequently
requested repayment of the entire outstanding balance of Bitcoin and USDC by June 27, 2022. 3AC did not repay
either requested amount. Accordingly,3AC did not return any of the loaned assets, and on June 274, 2022, Voyager
issued a notice of default and acceleration to 3AC for failure to make the required payments under the 3AC Loan.
On June 27, 2022, 3AC was ordered by a court in the British Virgin Islands to commence liquidation proceedings.

                                    i.        The Special Committee Investigation.

           On July 5, 2022, OpCo formally created the Special Committee consisting of newly appointed Independent
Directors Timothy Pohl and Jill Frizzley. The Special Committee was vested with the authority to, among other
things: (a) investigate any historical transactions, public reporting, or regulatory issues undertaken by OpCo that the
Special Committee deemed necessary or appropriate, and the facts and circumstances surrounding such transactions;
(b) interview and solicit information and views from management, representatives, consultants, advisors, or any
other party in connection with any historical transactions undertaken by OpCo that the Special Committee deems
necessary or appropriate; (c) request documentation and information regarding OpCo’s business, assets, properties,
liabilities and business dealings with respect to any historical transactions undertaken by Voyager that the Special
Committee deems necessary and appropriate to review; (d) perform any other activities consistent with the matters
described herein or as the Special Committee or Voyager’s board of directors otherwise deems necessary or
appropriate; and (e) conduct an independent investigation with respect to any potential estate claims and causes of
action against insiders of Voyager, including any claims arising from loans made to 3AC. The Special Committee
was also vested with sole authority to prosecute, settle, or extinguish any and all claims and causes of action arising
from the historical transactions investigated by the Special Committee. The Special Committee retained the Special




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Committee Counsel to provide independent advice to, and act at the exclusive direction of, the Special Committee in
connection with the Special Committee’s mandate.27

         On August 23, 2022, the Debtors, the Special Committee, and the UCC entered into the Common Interest
Confidentiality Stipulation and Protective Order (the “Protective Order”) pursuant to which the parties (the
“Common Interest Parties”) agreed to the protections afforded to “Confidential” and “Highly Confidential”
discovery material. Given the unique features of the Debtors’ Chapter 11 Cases, the Common Interest Parties agreed
that the attorney-client privilege and the attorney work-product doctrine would be preserved with respect to
privileged documents and information shared among counsel for the Common Interest Parties. The Bankruptcy
Court entered the Protective Order on September 13, 2022.

         During the Investigation, Special Committee Counsel sought and received information relating to, among
other things: Voyager’s loans to third parties, with a particular focus on the 3AC Loan; the diligence performed in
connection with those loans; Voyager’s Risk Committee; Voyager’s staking of customer cryptocurrency assets;
Voyager’s regulatory compliance; Voyager’s communications with the public; Voyager’s pre-petition payments to
insiders and certain third parties; and other aspects of Voyager’s business. Voyager collected and provided to the
Special Committee responsive documents from its internal hard copy and electronic files, its outside counsel, and
various third parties (e.g., cryptocurrency custodians and exchanges). Among many other things, Voyager collected
email, Slack communications, and, in certain cases, Telegram and cell phone data from a dozen Voyager employees,
including Voyager’s most senior officers and others. In addition to several voluminous spreadsheets of data,
Voyager produced more than 11,000 documents—collectively totaling more than 40,000 pages.

         In addition to reviewing the above-referenced documents, Special Committee Counsel also interviewed 12
Voyager employees, including Stephen Ehrlich (CEO), Gerard Hanshe (COO), Evan Psaropoulos (Chief
Commercial Officer), Ashwin Prithipaul (CFO), Pamela Kramer (CMO), David Brosgol (General Counsel),
Marshall Jensen (Head of Corporate Development), Ryan Whooley (Treasury Director), Jon Brosnahan (Treasurer),
Brian Silard (Treasury Team), David Brill (Deputy General Counsel), and Manisha Lalwani (in-house regulatory
counsel). Collectively, the interviews performed during the Special Committee’s Investigation lasted more than 55
hours, and covered in great detail the range of topics most relevant to the Special Committee’s Investigation.

        Throughout the Special Committee’s Investigation, Special Committee Counsel was assisted by Kirkland
and BRG. BRG also hosted information sessions specific to staking with management and UCC Counsel in order to
address questions that would make time spent during the interviews most efficient, and provided necessary
background information and financial data to Special Committee Counsel upon request.

         Following the appointment of the UCC, Special Committee Counsel coordinated with the UCC’s
professionals. Specifically, Special Committee Counsel and UCC Counsel held several meetings concerning the
Investigation and/or the status and progress of the Investigation, and Special Committee Counsel permitted the
UCC’s professionals to sit in on—and ask questions during—the Special Committee’s interviews of the witnesses
mentioned above. In light of the protections of the Protective Order, no discovery was withheld from UCC’s
counsel on the basis of attorney-client privilege.

         Throughout the course of the Investigation, Special Committee Counsel provided regular updates to
members of the Special Committee. In particular, the Special Committee Counsel held five formal videoconference
meetings with the Special Committee, during which the Special Committee Counsel updated the Special Committee
members on the status of the Investigation, including facts learned, impressions obtained, and relevant legal
documents and standards. The members of the Special Committee were engaged, and asked many questions
regarding the facts being developed and potentially applicable legal theories. These meetings were in addition to the


27
     See Docket No. 125 ¶ 7 (application to employ Quinn Emanuel as counsel to the Special Committee, with
     authority to “among other things, (a) investigate any historical transactions relating to Voyager LLC, and
     (b) investigate any estate claims and causes of action against insiders of Voyager LLC, including claims arising
     from its loan to Three Arrows Capital, and (c) perform any other activities consistent with the foregoing that the
     Special Committee or Voyager LLC’s board otherwise deems necessary or appropriate”); Docket No. 242
     (Order approving application).



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Independent Directors’ participation in several Board meetings concerning the Debtors’ general business and case
trajectory including their sale efforts.

                                    ii.      Investigation Report, Conclusions, and Proposed Settlements.

        At the conclusion of the Investigation, on October 7, 2022, Special Committee Counsel delivered to the
Special Committee its report (“Investigation Report”), setting forth, among other things, the factual record
developed over the course of the Investigation, the legal framework of potential estate causes of action, and Special
Committee Counsel’s legal conclusions and recommendations.

         The Special Committee met to discuss the contents of the Investigation Report with Special Committee
Counsel on October 10, 2022. The Special Committee found no fraud or theft by any director or officer of any of
the Debtors. The Special Committee also concluded that the estate does not have non-frivolous claims against any
Voyager director or officer other than potential claims against its CEO and CCO, related to the 3AC Loan, and that
any such claims would be difficult to prove, with any judgment being even more difficult to collect.28 The Special
Committee negotiated independent settlements with each of the CEO and CCO as set forth in the Plan, subject to
approval of the Bankruptcy Court as part of Plan confirmation. These settlements are described in the following
table:29

     Debtors Retain Rights of     Upon receipt of personal financial contributions, described below, the Debtors
     Recourse to D&O              will release further claims against the CEO and CCO personally, provided that the
     Insurance                    Debtors will retain the right to seek maximum recovery under the Debtors’ D&O
                                  Liability Insurance Policies.

     Releases and Waivers by      CEO and CCO agree to release all Causes of Action they may have against the
     the Officers against the     Estates.
     Debtors
                                  CCO further agrees to subordinate 50% of his Account Holder Claim against the
                                  Debtors until all other Holders of Account Holder Claims are paid in full.

                                  CEO and CCO further agree that, because the Debtors are in bankruptcy, the
                                  Debtors are unable to provide advancement or indemnification to CEO and CCO,
                                  and CEO’s and CCO’s recourse is limited to the Management Liability Policy,
                                  the Excess Policies, and the Side-A Policy (except as set forth below). CEO and
                                  CCO shall be entitled to receive their salary and benefits for as long as they work
                                  for the Debtors and/or the Wind-Down Entity and retain the right to assert claims
                                  for advancement and indemnification up to the limits of any available coverage in
                                  the event any of the insurers that issued the Management Liability Policy, the
                                  Excess Policy, or the Side-A Policy denies coverage to CEO and/or CCO based
                                  upon or arising out of the lack of a formal claim for indemnification.

                                  CEO and CCO further agree to subordinate any and all rights and entitlements
                                  under the Cornerstone A-Side Management Liability Insurance Policy to Voyager
                                  Digital Ltd., Policy Number ELU184179-22, to any recovery by the Debtors
                                  and/or the Wind Down Entity on account of the Debtors’ and/or Wind Down
                                  Estate’s claims for the avoidance of the premium paid for the policy. For the
                                  avoidance of doubt, should coverage continue to be available under the Side-A



28
      Mr. Psaropoulos was CFO of Voyager Digital, LLC when it made all loans to 3AC.

29
      The settlements are subject to definitive documentation and in the event the sworn financial information
      provided by either CEO or CCO to the Special Committee is materially inaccurate, the Special Committee
      reserves the right to void the D&O Settlement.



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                                  Policy following resolution of the Debtors’ and/or the Wind Down Entity’s
                                  claims for the avoidance of the premium paid for the policy (whether by judgment
                                  or settlement or otherwise), Officer shall be entitled to seek coverage under the
                                  Side-A Policy.


  Reversal of Insider Bonus       CEO agrees to the avoidance/unwinding of the transfer of $1,900,000 that CEO
  Payment                         received from the Debtors on or around February 28, 2022, with CEO paying
                                  $1,125,000 to the Debtors in cash and assigning the right, if any, to any tax
                                  refund for the balance.

  Commitment to Cooperate         CEO and CCO agree to remain at, and continue performing the responsibilities
                                  of, their position(s) with the Debtors and assist with the Debtors’ transition for at
                                  least 30 days from the date of approval of the settlement; provided that the CCO
                                  shall have no obligation to remain at his position with the Debtors beyond
                                  January 15, 2023 and the CEO shall have the right to pursue and engage in any
                                  employment opportunity, business venture, consulting arrangement, or investment
                                  that may become available.


         The theoretical loss from the 3AC Loan would be equal to the amounts remaining to be collected from 3AC
in the 3AC Liquidation Proceeding, less any amounts actually collected in those proceedings. The amounts to be
realized from the proposed settlements (approximately $1.3 million - $2 million of personal assets plus recourse to
up to $20 million of D&O insurance) are just a small fraction of such loss. Nevertheless, the Special Committee
made the decision to settle, subject to Court approval, based on the fact that the individuals do not have personal
assets available to satisfy any potential judgment even if the claims were successfully prosecuted, whereas the cost
of prosecuting would likely dissipate the available D&O insurance coverage and the assets that are being paid
through the settlement in defense costs.

          The rationale for the Special Committee’s negotiation and recommendation for the settlements is based on
the following factors, among others: the relative strength of these claims, which (if pursued) would sound in breach
of fiduciary duty premised on alleged gross negligence on the part of the officers; the challenges involved in
litigating loss causation; the costs of litigating these claims, including attorneys’ and experts’ fees; the financial
wherewithal of the officers; and the risk of depletion of substantial portions of available insurance coverage which
prioritizes the rights of the officers to utilize the insurance for defense costs. The Special Committee believes,
following due diligence and negotiations led by Special Committee Counsel, and after several additional
videoconference meetings and written exchanges with Special Committee Counsel, that the settlements embodied in
the Plan are in the best interests of the estate. The Special Committee does not believe there are viable causes of
action against insiders beyond those potential claims mentioned with respect to CEO and CCO relating to the 3AC
Loan.

         B.       The Alameda Loan.

          Once it became clearappeared that its loan to 3AC had significant exposure to the Luna crashmight be at
risk, Voyager’s management team immediately engaged in efforts to identify sources of potential liquidity to
stabilize the Company’s business and ensure that the Company remained adequately capitalized. On June 22, 2022,
the Company entered into the Alameda Loan Facility, which provided the Company with up to $200 million cash
and USDC and 15,000 Bitcoin subject to certain restrictions.

         C.       Retention of Restructuring Advisors and Initial Third-Party Outreach.

          In June 2022 the Debtors engaged Kirkland and Moelis to advise the Debtors in navigating the recent
challenges impacting the cryptocurrency industry. Beginning on or about June 20, 2022, Moelis initiated a
dual-track marketing process (the “Prepetition Marketing Process”) to solicit interest in two general deal structures:
(a) a sale transaction in which the Debtors’ entire business would be sold to either a financial sponsor or a strategic
company in the cryptocurrency industry and (b) a capital raise whereby a third party (individually or as part of a



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consortium) would provide a capital infusion into the Debtors’ business enterprise (together, a “Transaction”) to
allow the Debtors to weather the volatility in public equity markets, the decline in cryptocurrency prices, and
dislocation in the cryptocurrency industry caused, in part, by the decline of 3AC and the collapse of the Terra Luna
ecosystem, as described below. Among the deal structures considered for the financing were additional debt
facilities and the issuance of preferred equity in exchange for capital.

          To that end, Moelis reached out to 60 potential financial and strategic partners across the globe
(collectively, the “Potential Counterparties”), including domestic and international strategic cryptocurrency-related
businesses and private equity and other investment firms that currently have crypto-related investments and/or
historical experience investing in the cryptocurrency industry. By the Petition Date, over 20 of the Potential
Counterparties had entered into confidentiality agreements with the Debtors. Parties who executed a confidentiality
agreement received a copy of the Debtors’ investor presentation and access to a virtual data room containing
thousands of pages with certain information regarding the Debtors’ business operations, finances, material contracts,
tax information, and incorporation documents. In addition, parties that signed confidentiality agreements were
offered the opportunity to participate in telephone conferences with the Debtors’ management team as well as to
request additional due diligence information.

         Simultaneously with their efforts to identify a Potential Counterparty to effectuate a Transaction, the
Debtors, Moelis, and the Debtors’ other advisors began to analyze potential strategies to effectuate a stand-alone
restructuring without the participation of a third-party partner to consummate a Transaction.

         While the Debtors’ marketing efforts yielded one proposal for an out-of-court financing, the conditions
precedent to the proposal and the pro forma capital structure contemplated thereunder were not achievable, and no
other Potential Counterparty was willing to participate in an out-of-court Transaction on the timeline required.
Among other things, Potential Counterparties expressed concerns regarding current uncertainty in the cryptocurrency
market and assumed liabilities on an out-of-court basis. Potential Counterparties were similarly reticent to
participate in an out-of-court financing alone, and the Debtors determined that a group investment could not be
marshalled among other viable Potential Counterparties on the timeline required to consummate a Transaction on an
out-of-court basis.

         The Prepetition Marketing Process produced multiple preliminary proposals from parties willing to
participate in an in-court Transaction. However, as of the Petition Date, all of the preliminary offers that the Debtors
received required more time to fully develop and structure and/or were not more attractive than a potential
stand-alone restructuring.

         D.       Governance Initiatives.

          On July 5, 2022, the Debtors undertook several actions to strengthen the independence and experience of
their boards of directors: (i) the board of Voyager Digital Ltd. voted to appoint Matthew Ray as an independent
director; (ii) the board of Voyager Digital Holdings, Inc. voted to appoint Scott Vogel as an independent director;
(iii) the member of Voyager Digital, LLC (“OpCo”) appointed Stephen Ehrlich, CEO of the Voyager Digital
Holdings, Inc., as a director and Tim Pohl and Jill Frizzley as independent directors; and (iv) the board of OpCo
voted to establish the Special Committee comprised of Mr. Pohl and Ms. Frizzley and tasked the Special Committee
with, among other things, investigating the Company’s historical lending practices, including the facts and
circumstances around the 3AC Loan.

         E.       Voyager’s Decision to Commence these Chapter 11 Cases.

         As the general cryptocurrency market continued to decline, Voyager, like other peer platforms, saw a
significant uptick in customer withdrawals—some of which was legitimate—putting additional strain on the
Company’s business and risking the Company’s ability to serve customers who remained on its platform.

          On June 23, 2022, Voyager reduced its daily withdrawal maximum from $25,000 to $10,000 per user per
day. Putting a cap on withdrawals was necessary to ensure that the Company could effectuate trades for customers
on its platform who elected to keep their cryptocurrency assets with Voyager as well as to stabilize the Company’s




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business while it engaged in discussions with potential third-party sponsors. Ultimately, the initial withdrawal limits
maximized the Company’s ability to continue to provide brokerage services to its customers.1830

          The Debtors hoped that lower withdrawal limits would allow them to stabilize their business. However, as
the cryptocurrency markets continued to trend downward, the Debtors realized that further steps were required to
preserve customer assets, avoid irreparable damage to the Debtors’ business, and ensure that their trading platform
operated smoothly for all customers. Accordingly, on July 1, 2022, Voyager froze all withdrawals and trading
activity on its platform.

          Though Voyager continued to rigorously diligence all potential restructuring transactions, it became clear
that a potential strategic transaction would only emerge after the Debtors petitioned for chapter 11 relief.

VII.       EVENTS OF THE CHAPTER 11 CASES

           A.        The Stand-Alone Plan.

          On July 6, 2022, the Debtors filed the Joint Plan of Reorganization of Voyager Digital Holdings, Inc. and
Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 17]. On August 12, 2022, the
Debtors filed the First Amended Joint Plan of Reorganization of Voyager Digital Holdings, Inc. and Its Debtor
Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 287] and accompanying disclosure statement
[Docket No. 288] (the “Stand-Alone Plan Disclosure Statement”). As discussed in greater detail in Article II herein,
the Stand-Alone Plan contemplated, among other things, distributing to Holders of Account Holder Claims their pro
rata share of the New Common Stock, available Cash, Coins, the Voyager Tokens, and the 3AC Recovery, each as
defined in the Stand-Alone Plan. The Stand-Alone Plan Disclosure Statement, among other things, also made clear
that, in parallel to pursuing the Stand-Alone Plan, the Debtors were pursuing a potential transaction to sell the
Debtors to a third party either through an asset sale pursuant to section 363 of the Bankruptcy Code or an alternative
chapter 11 plan of reorganization.

           B.        First and Second Day Relief and Other Case Matters.

         On the Petition Date, the Debtors filed several motions (the “First Day Motions”) designed to facilitate the
administration of the Chapter 11 Cases and minimize disruption to the Debtors’ operations. A brief description of
each of the First Day Motions and the evidence in support thereof is set forth in the First Day Declaration.
Following hearings on July 8, 2022, and August 4, 2022 (the “Second Day Hearing”), the Bankruptcy Court entered
orders granting certain of the First Day Motions and applications on interim and final bases:

           (i)       The Joint Administration Order authorizing the Debtors to jointly administer and maintain one
                     docket for the chapter 11 cases of Voyager Digital, LLC and its Debtor affiliates [Docket No. 18];

           (ii)      The Foreign Representative Order authorizing Debtor Voyager Digital Ltd. to act as “foreign
                     representative” in a parallel insolvency case commenced in Canada under the Companies’
                     Creditors Arrangement Act [Docket No. 52];

           (iii)     The Credit Matrix Order authorizing the Debtors to (a) file a consolidated list of creditors in lieu
                     of submitting a separate mailing matrix for each Debtor, (b) file a consolidated list of the Debtors’
                     50 largest unsecured creditors in lieu of filing lists for each Debtor; and (c) redact certain personal
                     identification information [Docket No. 54];

           (iv)      The Automatic Stay Order restating and enforcing the worldwide automatic stay,
                     anti-discrimination provisions, and ipso facto protections of the Bankruptcy Code and approving
                     the form and manner of notice thereof [Docket No. 55];




1830
       Approximately 97% of customers on Voyager’s platform have less than $10,000 in their accounts.




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           (v)      The Schedules and Statements Order authorizing the Debtors to extend the deadline by which the
                    Debtors’ Schedules and Statements must be filed by 30 days [Docket No. 59];

           (vi)     Order Retaining Stretto as Noticing Agent authorizing the Debtors to retain Stretto, Inc. as
                    third-party claims and noticing agent [Docket No. 67];

           (vii)    The Wages Order authorizing the Debtors to continue paying prepetition wages and certain
                    administrative costs related thereto and continue employee benefits programs [Docket No. 233];

           (viii)   The Taxes Order authorizing the Debtors to pay certain taxes and fees that accrued or arose in the
                    ordinary course of business before the Petition Date [Docket No. 235];

           (ix)     The Interim Cash Management Orders authorizing the Debtors to continue utilizing the Debtors’
                    prepetition cash management system [Docket Nos. 53 and 237] (the “Cash Management
                    Motion”);1931

           (x)      The NOL Order approving certain notifications and procedures regarding the transfer of, and
                    declarations of worthlessness with respect to, common stock of Voyager Digital Ltd. [Docket No.
                    238];

           (xi)     The Insurance Order authorizing the Debtors to honor existing insurance obligations [Docket No.
                    239]; and

           (xii)    The Case Management Order authorizing the Debtors to set the guidelines and requirements for
                    the administration of their Chapter 11 Cases, including for scheduling purposes [Docket No. 240].

         The First Day Motions, and all orders for relief granted in the Chapter 11 Cases, can be viewed free of
charge at https://cases.stretto.com/Voyager.

         The Debtors also filed several other motions subsequent to the Petition Date to facilitate the Debtors’
restructuring efforts and ease administrative burdens. Following the Second Day Hearing, the Bankruptcy Court
entered orders granting the following relief:

           (i)      The Interim Compensation Order approving procedures for the compensation of retained
                    professionals in these Chapter 11 Cases [Docket No. 236];

           (ii)     The Ordinary Course Professionals Order approving procedures for the retention and
                    compensation of certain professionals utilized by the Debtors in the ordinary course operation of
                    their businesses [Docket No. 244]; and

           (iii)    Applications to Retain Professionals postpetition pursuant to sections 327 and 328 of the
                    Bankruptcy Code, including:

                    i.       Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the
                             Debtors and Debtors in Possession [Docket No. 234];

                    ii.      Moelis & Company LLC as Investment Banker and Capital Markets Advisor for the
                             Debtors and Debtors in Possession [Docket No. 299];




1931
       On July 15, 2022, the Debtors filed a supplement to the Cash Management Motion that sought authorization to pay
       prepetition amounts owed on their corporate credit cards issued by Brex, Inc. (the “Supplemental Cash Management
       Motion”) [Docket No. 84]. On July 25, 2022, the Bankruptcy Court entered an order granting the Supplemental Cash
       Management Motion [Docket No. 138].




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                     iii.      Berkeley Research Group, LLC as Financial Advisors for the Debtors and Debtors in
                               Possession [Docket No. 297];

                     iv.       Quinn Emanuel Urquhart & Sullivan LLP as Special Counsel to Voyager Digital, LLC
                               [Docket No. 242]; and

                     v.        Stretto, Inc. as administrative advisor [Docket No. 241].

         The foregoing professionals, among others, are each integral to the Debtors’ restructuring efforts and
ultimate emergence from chapter 11. The postpetition compensation of all of the Debtors’ professionals retained
pursuant to sections 327 and 328 of the Bankruptcy Code is subject to the approval of the Bankruptcy Court.

           C.        Appointment of Unsecured Creditors’ Committee.

          On July 19, 2022, the U.S. Trustee appointed the official committee of unsecured creditors
(the “Committee”).2032 The Debtors immediately engaged with the Committee to discuss the Debtors’ restructuring
efforts, the Plan, and Debtors’ proposed case timeline. The seven-member Committee is currently composed of the
following members: Russell G. Stewart, Jason Raznick, Brandon Mullenberg, Richard Kiss for Thincan Trust,
Christopher Moser, Byron Walker, and Melissa and Adam Freedman. The Committee selected McDermott Will &
Emery LLP as legal counsel and FTI Consulting, Inc. as financial advisor.2133

           D.        Schedules and Statements.

         On July 8, 2022, the Bankruptcy Court entered the Order (I) Extending Time to File Schedules of Assets
and Liabilities, Schedules of Current Income and Expenditures, Schedules of Executory Contracts and Unexpired
Leases, Statements of Financial Affairs, and Rule 2015.3 Financial Reports, (II) Waiving Requirements to File List
of Equity Holders, and (III) Granting Related Relief [Docket No. 59] extending the deadline by which the Debtors
were required to file their schedules of assets and liabilities and statements of financial affairs (the “Schedules and
Statements”) by an additional 30 days for a total of 44 days after the Petition Date. Accordingly, the Debtors were
required to file the Schedules and Statements by no later than August 18, 2022. This schedule provided creditors
with ample time to analyze and evaluate scheduled claims in advance of Solicitation and the General Claims Bar
Date.

         On August 18, 2022, August 19, 2022, August 22, 2022, and September 15, 2022, the Debtors filed their
Schedules and Statements [Docket Nos. 311, 312, 321, 429, and 430]. Interested parties may review the Schedules
and Statements and any amendments thereto free of charge at https://cases.stretto.com/Voyager.




2032
       See Amended Notice of Appointment of Official Committee of Unsecured Creditors [Docket No. 106].

2133
       See Docket Nos. 403 and 404.




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         E.       Bar Date Motion.

         On July 18, 2022, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Setting Bar Dates for
Submitting Proofs of Claim, (II) Approving Procedures for Submitting Proofs of Claim, and (III) Approving Notice
Thereof [Docket No. 98] (the “Bar Date Motion”). On August 8, 2022, the Bankruptcy Court entered an order
granting the relief set forth in the Bar Date Motion [Docket No. 218] (the “Bar Date Order”), which established
procedures and set deadlines for filing Proofs of Claim against the Debtors and approved the form and manner of the
bar date notice (the “Bar Date Notice”). Pursuant to the Bar Date Order and the Bar Date Notice, the last date for
certain persons and entities to file Proofs of Claim in these Chapter 11 Cases is October 3, 2022, at 5:00 p.m.
Eastern Time (the “General Claims Bar Date”) and the last date for governmental units to file Proofs of Claim in the
Debtors’ Chapter 11 Cases is January 3, 2023, at 5:00 p.m. Eastern Time. The Bar Date Notice was served on
August 3, 2022 [Docket No. 226] and published in The New York Times (national and international editions) and the
Financial Times (international edition) on August 10, 2022 [Docket No. 272].

         F.       The FBO Motion.

         On July 14, 2022, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors
to (a) Honor Customer Withdrawals from the MC FBO Accounts, (b) Liquidate Cryptocurrency From Customer
Accounts With a Negative Balance, (c) Sweep Cash Held in Third-Party Exchanges, (d) Conduct Ordinary Course
Reconciliation of Customer Accounts, and (e) Continue to Stake Cryptocurrency; and (II) Granting Related Relief
[Docket No. 73] (the “FBO Motion”). The FBO Motion sought to continue certain ordinary course practices,
including (i) honoring customer withdrawals from the “for the benefit of” accounts (the “MC FBO Accounts,”) held
at Metropolitan Commercial Bank; (ii) liquidating customer accounts that hold a negative U.S. dollar balance and
sweeping the resulting cash from third-party exchanges into the Debtors’ operating accounts; (iii) engaging in
ordinary course reconciliation practices related to customer accounts; and (iv) staking cryptocurrency.

          On July 29, 2022, the Debtors filed a supplement to the FBO Motion [Docket No. 173], which provided
additional information on the prepetition procedures for processing customer withdrawal requests from the MC FBO
Accounts, including, among other things, reconciliation of the MC FBO Accounts and funding of any deficit in the
MC FBO Accounts on account of ACH chargebacks. On July 30, 2022, Metropolitan Commercial Bank filed a
statement in support of the FBO Motion and Supplement [Docket No. 177]. On August 2, 2022, the Committee
filed a statement in support of the FBO Motion [Docket No. 193]. On August 5, 2022, the Bankruptcy Court
entered the Order (I) Authorizing the Debtors to (a) Honor Withdrawals from the MC FBO Accounts, (b) Liquidate
Cryptocurrency from Customer Accounts with a Negative Balance, (c) Sweep Cash Held in Third-Party Exchanges,
(d) Conduct Ordinary Course Reconciliation of Customer Accounts, and (e) Continue Staking Cryptocurrency; and
(II) Granting Related Relief] [Docket No. 247] (the “FBO Order”) approving the FBO Motion. The Debtors worked
closely with the Committee regarding the requested relief, and the FBO Order affords the Committee various
protections, including the requirement that the Debtors provide the Committee with written notice prior to staking or
unstaking cryptocurrency, information sufficient to evaluate staking positions, and Court oversight of staking
activities in the absence of agreement between the Committee and the Debtors. On August 11, 2022, the Debtors
began returning customer funds in the FBO Accounts. To date, the Debtors have returned approximately $245.75
million of customer funds from the FBO Accounts.

         G.       The 3AC Liquidation Proceeding.




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         On June 29, 2022, the Eastern Caribbean Supreme Court in the High Court of Justice Virgin Islands
(Commercial Division) (the “BVI Court”) entered an order appointing Russell Crumpler and Christopher Farmer of
Teneo (BVI) Limited as joint liquidators (“Joint Liquidators”) to conduct an orderly and equitable wind-down of
3AC pursuant to Part 6 of the British Virgin Islands Insolvency Act, 2003 (“BVI Insolvency Act”). The liquidation
of 3AC (the “3AC Liquidation Proceeding”) is currently pending in the BVI Court.2234 On July 1, 2022, 3AC filed a
petition with the United States Bankruptcy Court for the Southern District of New York seeking recognition of the
3AC Liquidation Proceeding as a “foreign main proceeding” pursuant to chapter 15 of the Bankruptcy Code
(the “3AC Chapter 15 Proceeding”).2335

         On July 18, 2022, in accordance with section 179 of the BVI Insolvency Act, the Joint Liquidators
established a committee of creditors to work closely with the Joint Liquidators to support the interests of all creditors
in the 3AC Liquidation Proceeding. Voyager was one of the the five creditors appointed to the committee.2436
Voyager continues to work diligently to maximize its recovery in the 3AC Liquidation Proceeding on account of the
3AC Loan (the “3AC Recovery”). As set forth in greater detail in Article III.D of this Disclosure Statement, the
3AC Recovery, if any, will be among the value distributed to Holders of Account Holder Claims and General
Unsecured Claims under the Plan.

           H.        Litigation Matters.

                     1.        Certain Non-Bankruptcy Litigation Matters

         In the ordinary course of business, the Debtors are parties to certain lawsuits, legal proceedings, collection
proceedings, and claims arising out of their business operations. The Debtors cannot predict with certainty the
outcome of these lawsuits, legal proceedings, and claims. With certain exceptions, the filing of the Chapter 11 Cases
operates as a stay with respect to the commencement or continuation of litigation against the Debtors that was or
could have been commenced before the commencement of the Chapter 11 Cases. The filing of the Chapter 11 Cases
likewise generally stays any legal proceedings commenced to obtain possession of, or to exercise control over, the
property of the Debtors’ bankruptcy estate.

          Further, the Debtors are party to various other legal proceedings (including individual, class and putative
class actions as well as federal and state governmental investigations) covering a wide range of matters and types of
claims including, but not limited to, securities laws, contracts, and trademark disputes. Such matters are subject to
uncertainty and the outcome of individual matters is not predictable.

                     2.        Certain Adversary Proceedings

                               (a)      Voyager Digital Holdings, Inc. v. De Sousa, et al.

          On July 6, 2022, a putative class-action litigation was filed in the Ontario Superior Court of Justice
(the “Canadian Class Action”).2537 The Canadian Class Action alleges claims against Debtor Voyager Digital Ltd.
and some of its directors and officers for statutory secondary market liability under Canadian securities law, and
common-law negligent misrepresentation. To prove many of the claims against Voyager Digital Ltd. in that suit, the
plaintiffs must first establish the underlying liability of the named directors and officers, and then establish that
Voyager Digital Ltd. is vicariously liable for their alleged wrongdoing. On August 10, 2022, the Debtors filed a
complaint and commenced an adversary proceeding in the Bankruptcy Court to extend the automatic stay, or



2234
       See In re Three Arrows Capital Limited, Case No. BVIHCOM2022/0119 (June 27, 2022).

2335
       See In re Three Arrows Capital, Ltd, Case No. 2210920 (Bankr. S.D.N.Y. July 1, 2022).

2436
       The other members of the 3AC creditors’ committee are Blockchain.com, CoinList, Digital Currency Group, and
       MatrixPort.

2537
       De Sousa v. Voyager Digital Ltd., et al., No. CV-22-00683699-00CP (Ontario Superior Court of Justice).




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alternatively, enjoin prosecution of the Canadian Class Action.2638 On August 11, 2022, the Ontario Superior Court
of Justice denied the proposed Canadian Class Action plaintiff’s motion seeking appointment of an equity committee
and funding of representative counsel in the Canadian foreign recognition proceeding.2739

                              (b)       Voyager Digital Holdings, Inc. v. Robertson, et al.

         On December 24, 2021, a putative class-action complaint was filed against two of the Debtors, Voyager
Digital Ltd. and Voyager Digital, LLC, in the United States District Court for the Southern District of Florida,
captioned Cassidy et al. v. Voyager Digital Ltd. et al. The named plaintiff was a Voyager customer. His complaint,
which is publicly available, generally alleged that “Voyager’s practices were deceptive, illegal and were the sale of
unregistered securities,” Cassidy v. Voyager, 1:21-cv-24441-CMA (S.D. Fla. Apr. 28, 2022) (Am. Compl. ¶ 5, ECF
No. 46). Cassidy asserted causes of action under federal and state securities law, and violations of
consumer-protection claims under New Jersey and Florida law.

          Cassidy was litigated for six months prior to the Petition Date. The defendants filed a motion to dismiss the
case, and also a motion to compel arbitration of the case. Those motions were pending on the Petition Date. Upon
the Petition Date, the Debtors filed a suggestion of bankruptcy on the docket in Cassidy, and the District Court
administratively closed the case.

          After the Cassidy court administratively closed the case, the same lawyers who represent the Cassidy
plaintiffs filed another putative-class-action proceeding in the United States District Court for the Southern District
of Florida, this time naming Mark Cuban (owner of the Dallas Mavericks), Dallas Basketball Limited, d/b/a Dallas
Mavericks, and Stephen Ehrlich, the Debtors’ CEO and co-founder, as defendants. This action is captioned
Robertson et al. v. Cuban et al., No. 1:22-cv-22538-RKA (S.D. Fla. Aug. 10, 2022). The plaintiffs are also Voyager
customers and, as proposed class representatives, assert claims against Mr. Ehrlich, Mr. Cuban, and the Dallas
Mavericks, for allegedly aiding and abetting Voyager’s alleged fraud claimed in the Cassidy action; aiding and
abetting breach of fiduciary duty; civil conspiracy; and alleged violation of several states’ consumer-protection and
securities laws. The Robertson Complaint repeats the allegations made in Cassidy and explicitly claims that Cassidy
“specifically alleged in detail … how Defendants Mark Cuban and Stephen Ehrlich were key players who personally
reached out to investors, individually and through [defendant] Dallas Mavericks, to induce them to invest in the
Deceptive Voyager Platform.” Counsel representing the Plaintiffs in Robertson have advised that they intend to
amend their complaint, but have not yet provided an amended complaint or described which claims they may attempt
to pursue.

         Accordingly, on August 10, 2022, the Debtors filed a complaint and commenced an adversary proceeding
in the Bankruptcy Court to extend the automatic stay, or alternatively, enjoin prosecution of the Robertson action.2840
The Robertson adversary proceeding is pending before the Bankruptcy Court and a hearing is set on the matter for
October 189, 2022.

          The Debtors do not believe that either Cassidy or Robertson have merit, but Voyager customers may be
within the putative class definition provided in each of the filed complaints. To the extent Cassidy or Robertson
assert “direct” claims by individual customers against non-Debtors, such claims are not released by the proposed
Plan and Confirmation Order unless Contributing Claimants elect on their ballots or opt-in forms to contribute such
claims to the Wind-Down Entity, in which case such claims would be subject to the release and exculpation
provisions of the Plan to the extent they may be brought against Released Parties or Exculpated Parties. To the
extent Cassidy or Robertson assert derivative claims, or otherwise assert claims owned by the Debtors and/or the
estates, they are released in and/or treated by the proposed Plan.




2638
       Voyager Digital Holdings, Inc. v. De Sousa, et al., Adv. Pro. No 22-01133 (MEW).

2739
       In re Voyager Digital Ltd., No. CV-22-00683820-00CL (Ontario Superior Court of Justice).

2840
       Voyager Digital Holdings, Inc. v. Robertson, et al., Adv. Pro. No 22-01138 (MEW).




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         The Debtors do not believe that any pursuit of Cassidy or Robertson would have a material impact on
creditor recoveries. But it is unclear what impact, if any, attempts to pursue the Cassidy or Robertson cases
following confirmation of the Plan may have on the Wind-Down Debtors, creditors, or third parties. Creditors
should obtain their own legal advice if they have questions concerning the viability of these matters (or lack thereof),
likelihood of success, or potential impact on their long-term interests.

                              (c)       Giacobbe v. Voyager Digital Holdings, Inc. et al.

         On September 1, 2022, Jon Giacobbe filed a complaint and commenced an adversary proceeding in the
Bankruptcy Court alleging that the Debtors have a nondischargeable debt pursuant to section 523(a)(2)(A) of the
Bankruptcy Code for money obtained by false pretenses, false representations, or actual fraud.2941 The Giacobbe
adversary proceeding is pending before the Bankruptcy Court and a pretrial conference is scheduled for November
29, 2022. The Debtors’ response to the complaint is due on October 17, 2022 pursuant to the Stipulation and Order
(1) Extending the Debtor Defendants’ Time to Respond to the Complaint and Related Deadlines and (2) Adjourning
the Pre-Trial Conference SINE DIE (Adv. Pro. 22-01145 (MWE) [Docket No. 4]. On October 14, 2022, the
Debtors filed a motion to dismiss the Giacobbe Complaint [Docket Nos. 7, 8].

                              (d)       Voyager Digital Holdings, Inc. v. Adam Lavine and Shingo Lavine

         On September 27, 2022, the Debtors filed a complaint and commenced an adversary proceeding in the
Bankruptcy Court to extend the automatic stay, or alternatively, enjoin the Lavines from terminating the Debtors’
access to and use of the Ethos.io DNS servers that they have used for years.3042 On September 30, 2022, the Lavines
and the Debtors jointly agreed to a stipulation and agreed order, which fully resolved the matter, and was
subsequently entered by the Bankruptcy Court [Docket No. 11].

           I.        The Coinify Sale.

         Coinify ApS (along with its subsidiaries, collectively, “Coinify”) is a limited liability corporation organized
under the laws of Denmark that is a wholly owned subsidiary of Voyager European Holdings ApS (“Voyager
Europe”). Voyager Europe is itself a wholly owned subsidiary of Debtor Voyager Digital Ltd. Coinify is a global
cryptocurrency payment processor separate and distinct from the Voyager platform that enables buying, selling, and
accepting cryptocurrency payment in stores worldwide.

          On June 20, 2022, the Debtors engaged Moelis to assist in their exploration of available strategic
alternatives, including a sale of the Coinify business. On June 28, 2022, Ascension ApS (“Ascension”) submitted an
unsolicited offer to purchase Coinify. In the following approximately two weeks, the Debtors and Ascension
engaged in arm’s-length, robust negotiations. On July 13, 2022, Voyager Europe entered into that certain share
purchase agreement by and among Voyager Europe, as seller, and Ascension, as buyer (the “Coinify Purchase
Agreement”). The Coinify Purchase Agreement contemplated the sale to Ascension in exchange for $2 million in
cash and included an “Earn-Out” payment provision in an amount equal to 12.5% of a subsequent sale transaction of
Coinify (capped at $15,000,000), if such sale were to be consummated by Ascension on or before the third
anniversary of the Coinify sale closing date. The Coinify Purchase Agreement also contained a standard “fiduciary
out” clause that allowed the Debtors to entertain competing offers to purchase Coinify should any such offers
emerge. On July 14, 2022, the Debtors filed a motion for entry of an order, among other things, approving the
Debtors’ entry into the Coinify Purchase Agreement [Docket No. 72] (the “Coinify Motion”).

          Following the filing of the Coinify Motion the Debtors received indications of interest from several third
parties interested in a potential purchase of Coinify. Accordingly, the Debtors adjourned the Coinify Motion while
they continued to engage with all interested third parties to achieve a transaction that maximizes the value of the
Coinify business. Following good faith, arm’s-length negotiations with all potential transaction parties and
discussion among the Board and the Debtors’ advisors, the Board determined, in its business judgment, that the offer


2941
       Giacobbe v. Voyager Digital Holdings, Inc. et al., Adv. Pro. No 22-01145 (MEW).

3042
       Voyager Digital Holdings, Inc. v. Adam Lavine and Shingo Lavine, Adv. Pro. No 22-01150 (MEW).




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contemplated in the Coinify Purchase Agreement represented the most value maximizing option for the Debtors with
respect to the Coinify business. Accordingly, the Debtors scheduled a hearing to approve the Coinify Motion for
August 16, 2022. Shortly after the hearing, the Bankruptcy Court entered an order approving the Coinify Motion.

         On September 30, 2022, the Debtors received an offer letter from Ascension to convert the “Earn Out”
provision of the Coinify Purchase Agreement into a one-time cash payment of $250,000. As of the date
hereofUltimately, the Debtors are evaluatingdenied the offer because they believe that the “Earn Out” is worth
substantially more than the offer received.

         J.       The Key Employee Retention Plan.

          On August 2, 2022, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Approving the Debtors’
Key Employee Retention Plan and (II) Granting Related Relief [Docket No. 212] (the “KERP Motion” and the plan
set forth therein, the “KERP”), seeking approval of a key employee retention program.

          The proposed KERP provides for payment of cash retention awards to 38 of the Debtors’ non-insider
employees who perform essential tasks for the Debtors, including accounting, cash and digital asset management, IT
infrastructure, legal, human resources, and other critical functions (each, a “KERP Participant”). KERP Participants
possess deep institutional knowledge of the Debtors’ operations, the cryptocurrency industry generally, or both.
Some KERP Participants maintain critical relationships with counterparties that are essential to the Debtors’
business. Further, many KERP Participants are long-tenured employees that developed or helped to build the
Debtors’ platform. The KERP prevents the attrition of the KERP Participants and, by extension, the need to incur
significant operational and financial costs to source and hire new employees.

        Following a hearing on August 24, 2022, the Bankruptcy Court entered an order approving the KERP
Motion [Docket No. 345].

         K.       Canadian Recognition Proceeding.

         On July 12, 2022, the Debtors sought and were granted an Initial Recognition Order and a Supplemental
Order by Madam Justice Kimmel of the Ontario Superior Court of Justice (Commercial List) (the “Canadian Court”)
pursuant to a proceeding commended under Part IV of the Companies’ Creditors Arrangement Act, R.S.C. 1985, c.
C-36 (the “CCAA Recognition Proceedings”). Among other things, the Initial Recognition Order (as amended and
restated on August 5, 2022) and the Supplemental Order: (i) recognized the Chapter 11 case of Voyager Digital Ltd.
as a foreign main proceeding; (ii) recognized Voyager Digital Ltd. as the Foreign Representative of its Chapter 11
case in Canada; (iii) recognized and gave effect in Canada to certain first-day orders granted by the Bankruptcy
Court in Voyager Digital Ltd.’s Chapter 11 case; (iv) granted a stay of proceedings in Canada in respect of Voyager
Digital Ltd., its property and business, and its directors and officers; (v) prohibited the commencement of any
proceedings against Voyager Digital Ltd. in Canada absent further order of the Canadian Court; and (ivvi) appointed
Alvarez & Marsal Canada Inc. as the Information Officer in respect of the CCAA Recognition Proceedings. On
August 11, 2022, the Canadian Court recognized and gave effect in Canada to certain further orders of the
Bankruptcy Court made in Voyager Digital Ltd.’s Chapter 11 case.

         L.       The Unwind Motion.

         On September 19, 2022, the Debtors filed the Debtors’ Motion Seeking Entry of an Order (I) Authorizing
the Debtors to Return Collateral and (II) Granting Related Relief [Docket No. 402] (the “Unwind Motion”). The
Unwind Motion seeks entry of an order authorizing the Debtors to return collateral held on account of certain loans
made by Debtor Voyager Digital, LLC and non-Debtor HTC Trading Inc. to Alameda Research Ltd. (the “Alameda
Loan”), as part of and upon Alameda’s return of lent cryptocurrency back to the Debtors. On September 28, 2022,
the Bankruptcy Court entered an order approving the Unwind Motion [Docket No. 470].

         M.       The Request for Appointment of an Equity Committee.

         On September 1, 2022, Shikar S. Partab, a self-identified minority shareholder and investor in Voyager
Digital Ltd., filed a letter with the Bankruptcy Court (the “Partab Letter”) requesting that the Bankruptcy Court grant
several motions, including a motion for an order directing that an equity committee “be appointed to protect minority



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shareholders in Voyager Digital.” See Letter [Docket No. 373]. According to the First Amended Verified Statement
Pursuant to Bankruptcy Rule 2019, Mr. Partab joined an ad hoc group of Equity Interest Holders [Docket No. 482].
On September 30, 2022, David Stephenson, a self-identified minority shareholder and investor in Voyager Digital
Ltd., filed a letter with the Bankruptcy Court in support of the Partab Letter and the relief sought therein, including
the appointment of an equity committee [Docket No. 491]. On October 3, 2022, the United States Trustee filed the
Statement of the United States Trustee Regarding Motion for Entry of an Order Directing the United States Trustee
to Appoint an Official Equity Committee noting the legal and statutory framework for appointment of an equity
committee and declining to take a position of the appointment of an equity committee in the Debtors’ chapter 11
cases. The Debtors intend to object to the request sought in the Partab Letter. Pursuant to the Notice of
Adjournment Re Docket No. 373, the hearing on the Partab Letter is set for OctoberNovember 195, 2022. [Docket
No. 444, 500].

         N.       The Post-Petition Sale Process.

         On July 14, 2022, Moelis distributed a letter to prospective buyers with key information regarding the
Debtors’ marketing process (the “Process Letter”). Among other things, the Process Letter requested that all parties
interested in purchasing the Company submit a non-binding indication of interest (an “Indication of Interest”) by no
later than 12:00 p.m., prevailing Eastern Time, on Friday, July 29, 2022 (the “IOI Deadline”), and set forth the
minimum requirements that any Indication of Interest must meet in order to be considered by the Company.

        On July 21, 2022, the Debtors filed the Bidding Procedures Motion. The Bidding Procedures Motion was
approved by the Bankruptcy Court on August 5, 2022.

         The Bidding Procedures established an open process for the solicitation, receipt, and evaluation of Bids for
the Debtors’ equity and/or assets pursuant to section 363 of the Bankruptcy Code or Confirmation of a Plan. The
Bidding Procedures complemented and continued the Prepetition Marketing Process described in greater detail in
Article II herein. The timeline set forth in the Bidding Procedures was calculated to balance the need to provide
adequate notice to parties in interest and potential bidders with the need to run an expeditious and efficient sale
process. Ultimately, the Bidding Procedures provided the Debtors with a clear and fair process to ascertain interest
in the Debtors’ assets and facilitate a sale of the Debtors if a value-maximizing bid was received.

         As of the Bid Deadline (as defined in the Bidding Procedures), the Debtors had received multiple bids with
varying structures and terms. On September 13, 2022, the Debtors commenced the Auction in accordance with the
Bidding Procedures. The Auction spanned two weeks and featured multiple rounds of bids. The Debtors and their
advisors, in consultation with the Committee and its advisors, scrutinized each bid closely, analyzing (a) the assets
sought to be purchased, (b) the total expected deal consideration, (c) the certainty of each bidder’s ability to close a
transaction and the timing thereof (including any anticipated delays to closing and the cost to the Debtors of such
delays), (d) the expected net benefit to the estates, including recoveries to customers, and (e) other criteria
considered by the Debtors in their reasonable, good-faith business judgment. Importantly, the Debtors also analyzed
whether each bid would provide greater value to the Debtors’ stakeholders than the Standalone Plan. The Debtors
consulted closely with the Committee throughout the Auction and these chapter 11 cases more generally.

         Ultimately, the Debtors, in consultation with the Committee, determined that the Purchaser’s bid was the
highest and best bid and would provide meaningful value to the Debtors’ estates and stakeholders. On September
27, 2022, the Debtors and the Purchaser entered into the Asset Purchase Agreement. The Debtors value FTX US’s
bid at approximately $1.422 billion, comprised of (i) the value of cryptocurrency on the Voyager platform as of a
date to be determined, which, as of September 26, 2022, is estimated to be $1.311 billion, plus (ii) additional
consideration which is estimated to provide at least approximately $111 million of incremental value. Pursuant to
the Asset Purchase Agreement, FTX US is acquiring all Avoidance Actions against Account Holders. The Debtors
do not believe that valid Avoidance Actions exist against Account Holders because any transactions with Account
Holders were completed in the ordinary course of business consistent with past practices.

         Most importantly, the FTX US bid can be effectuated quickly, provides a meaningful recovery to creditors,
and allows the Debtors to facilitate an efficient resolution of these chapter 11 cases, after which FTX US’s
market-leading, secured trading platform will enable customers to trade and store cryptocurrency. The terms of the
Purchaser’s Bid are set forth in greater detail in the Asset Purchase Agreement, attached to the Plan as Exhibit A.



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Due to this comprehensive marketing process and robust Auction, the Sale provides all creditors with significantly
more value through the Sale than they would have received had the Debtors accepted FTX US’s original offer.

         On September 28, 2022, the Debtors filed the Sale Motion, which seeks approval of the Debtors’ entry into
the Asset Purchase Agreement and authority to perform its obligations under the Asset Purchase Agreement.

         O.       The Special Committee Investigation.

          As described in Article VII.D, on July 5, 2022, OpCo formally formed the Special Committee comprised of
disinterested directors Timothy Pohl and Jill Frizzley. The Special Committee was vested with the authority to,
among other things: (a) investigate any historical transactions, public reporting, or regulatory issues undertaken by
OpCo that the Special Committee deemed necessary or appropriate, and the facts and circumstances surrounding
such transactions; (b) interview and solicit information and views from management, representatives, consultants,
advisors, or any other party in connection with any historical transactions undertaken by OpCo that the Special
Committee deems necessary or appropriate; (c) request documentation and information regarding OpCo’s business,
assets, properties, liabilities and business dealings with respect to any historical transactions undertaken by Voyager
that the Special Committee deems necessary and appropriate to review; (d) perform any other activities consistent
with the matters described herein or as the Special Committee or Voyager’s board of directors otherwise deems
necessary or appropriate; and (e) conduct an independent investigation with respect to any potential estate claims
and causes of action against insiders of Voyager, including any claims arising from loans made to 3AC. Id. The
Special Committee retained the Special Committee Counsel to provide independent advice to, and act at the
exclusive direction of, the Special Committee in connection with the Special Committee’s mandate.

         During its investigation, counsel for the Special Committee sought and received information related to,
among other things: Voyager’s loans to 3AC, Alameda, Celsius and numerous other borrowers; the diligence
performed in connection with those loans; Voyager’s staking of customer cryptocurrency assets; Voyager’s
regulatory compliance; pre-petition payments to insiders and third parties; and numerous other aspects of Voyager’s
business. The Special Committee drafted and negotiated a protective order, which was later entered by the
Bankruptcy Court, to protect the confidentiality of the information sought and received. Voyager collected and
provided to the Special Committee responsive documents from its internal hard copy and electronic files, from its
outside counsel, and from various third parties (e.g., cryptocurrency custodians and exchanges). Among many other
things, Voyager collected email, Slack communications, and, in certain cases, Telegram and cell phone data—from a
dozen Company employees, including all of Voyager’s most senior officers and others. In addition to several
voluminous spreadsheets of data, Voyager produced over 12,000 documents—collectively totaling over 50,000
pages—related to, among other things: loans between Voyager and its counterparties; the diligence performed by
Voyager in connection with those loans; internal and external communications regarding those loans; meetings of
Voyager’s Risk Committee and board of directors; detailed information regarding Voyager’s staking of customer
assets; Voyager’s applications for money transmitter licenses; audits for compliance with applicable laws and
regulations; communications with Voyager’s regulators; Voyager’s public statements; Voyager’s tax filings and
financial statements; and detailed information regarding intercompany transfers and payments to insiders. No
information was withheld from the Special Committee on privilege grounds.

         In addition to reviewing the above-referenced documents, counsel for the Special Committee also
interviewed numerous Voyager employees, including Steve Ehrlich (CEO), Gerard Hanshe (COO), Evan
Psaropoulos (CCO), Ashwin Prithipaul (CFO), Pamela Kramer (CMO), David Brosgol (General Counsel), Marshall
Jensen (Head of Corporate Development), Ryan Whooley (Head of Treasury and Trading), Jon Brosnahan
(Treasurer), Brian Silard (Treasury Team), David Brill (Deputy General Counsel), and Manisha Lalwani (in-house
regulatory counsel). Collectively, the interviews performed during the Special Committee’s investigation lasted
more than 55 hours, and covered in great detail a wide-range of topics.

VIII.    RISK FACTORS

      BEFORE TAKING ANY ACTION WITH RESPECT TO THE PLAN, HOLDERS OF CLAIMS
AGAINST THE DEBTORS WHO ARE ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN
SHOULD READ AND CONSIDER CAREFULLY THE RISK FACTORS SET FORTH BELOW AS WELL
AS THE OTHER INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT, THE PLAN, AND
THE DOCUMENTS DELIVERED TOGETHER HEREWITH, REFERRED TO, OR INCORPORATED BY


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REFERENCE INTO THIS DISCLOSURE STATEMENT, INCLUDING OTHER DOCUMENTS FILED
WITH THE BANKRUPTCY COURT IN THE CHAPTER 11 CASES. THE RISK FACTORS SHOULD
NOT BE REGARDED AS CONSTITUTING THE ONLY RISKS PRESENT IN CONNECTION WITH THE
DEBTORS’ BUSINESSES OR THE RESTRUCTURING AND CONSUMMATION OF THE PLAN. EACH
OF THE RISK FACTORS DISCUSSED IN THIS DISCLOSURE STATEMENT MAY APPLY EQUALLY
TO THE DEBTORS AND THE WIND-DOWN DEBTORS, AS APPLICABLE AND AS CONTEXT
REQUIRES.

         A.       Risks Related to the Restructuring.

          Holders of Claims should read and consider carefully the risk factors set forth below before voting to
accept or reject the Plan. Although there are many risk factors discussed below, these factors should not be regarded
as constituting the only risks present in connection with the Debtors or the Plan and its implementation.

                1.       The Debtors Will Consider All Available Restructuring Alternatives if the
Restructuring Transactions Are Not Implemented, and Such Alternatives May Result in Lower Recoveries for
Holders of Claims Against the Debtors.

          If the Restructuring Transactions are not implemented, the Debtors will consider all other restructuring
alternatives available, which may include the filing of an alternative chapter 11 plan, conversion to chapter 7, or any
other transaction that would maximize the value of the Debtors’ estates. Any alternative restructuring proposal may
be on terms less favorable to Holders of Claims against the Debtors than the terms of the Plan as described in this
Disclosure Statement.

         Any material delay in Confirmation of the Plan, or the Chapter 11 Cases, or the threat of rejection of the
Plan by the Bankruptcy Court, would add substantial expense and uncertainty to the process.

        The uncertainty surrounding a prolonged restructuring would also have other adverse effects on the
Debtors. For example, it would also adversely affect:

             the Debtors’ ability to raise additional capital;

             the Debtors’ ability to retain key employees;

             the Debtors’ ability to retain account holders;

             the Debtors’ liquidity;

             how the Debtors’ business is viewed by regulators, investors, and lenders; and

             the Debtors’ enterprise value.

                  2.        Certain Bankruptcy Law Considerations.

          The occurrence or non-occurrence of any or all of the following contingencies, and any others, could affect
distributions available to Holders of Allowed Claims under the Plan but will not necessarily affect the validity of the
vote of the Impaired Classes to accept or reject the Plan or necessarily require a re-solicitation of the votes of
Holders of Claims in such Impaired Classes.

                            (a)         Parties in Interest May Object to the Plan’s Classification of Claims and
Interests.

         Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity interest in a
particular class only if such claim or equity interest is substantially similar to the other claims or equity interests in
such class. As provided in the Plan and this Disclosure Statement, the Debtors are not seeking to substantively
consolidate and recoveries on account of Claims against or Interests in any Debtor shall be determined on a



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Debtor-by-Debtor basis. The Debtors believe that the classification of the Claims and Interests under the Plan
complies with the requirements set forth in the Bankruptcy Code because the Debtors created Classes of Claims and
Interests, each encompassing Claims and Interests that are substantially similar to the other Claims and Interests in
each such Class. Nevertheless, there can be no assurance that the Bankruptcy Court will reach the same conclusion.

                            (b)      The Conditions Precedent to the Effective Date of the Plan May Not Occur.

        As more fully set forth in Article IX of the Plan, the Effective Date is subject to a number of conditions
precedent. If such conditions precedent are not met or waived, the Effective Date will not take place.

                            (c)      Failure to Satisfy Vote Requirements.

          If votes are received in number and amount sufficient to enable the Bankruptcy Court to confirm the Plan,
the Debtors intend to seek, as promptly as practicable thereafter, Confirmation of the Plan. In the event that
sufficient votes are not received, the Debtors may seek to confirm an alternative chapter 11 plan. There can be no
assurance that the terms of any such alternative chapter 11 plan would be similar or as favorable to the Holders of
Allowed Claims as those proposed in the Plan.

                            (d)      The Debtors May Not Be Able to Secure Confirmation of the Plan.

          Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a chapter 11 plan and
requires, among other things, a finding by the Bankruptcy Court that: (i) such plan “does not unfairly discriminate”
and is “fair and equitable” with respect to any non-accepting classes; (ii) confirmation of such plan is not likely to be
followed by a liquidation or a need for further financial reorganization unless such liquidation or reorganization is
contemplated by the plan; and (iii) the value of distributions to non-accepting holders of claims and equity interests
within a particular class under such plan will not be less than the value of distributions such holders would receive if
the debtors were liquidated under chapter 7 of the Bankruptcy Code.

         There can be no assurance that the requisite acceptances to confirm the Plan will be received. Even if the
requisite acceptances are received, there can be no assurance that the Bankruptcy Court will confirm the Plan.
A non-accepting Holder of an Allowed Claim might challenge either the adequacy of this Disclosure Statement or
whether the balloting procedures and voting results satisfy the requirements of the Bankruptcy Code or Bankruptcy
Rules. Even if the Bankruptcy Court determined that this Disclosure Statement, the balloting procedures, and voting
results were appropriate, the Bankruptcy Court could still decline to confirm the Plan if it found that any of the
statutory requirements for Confirmation had not been met. If a chapter 11 plan of reorganization is not confirmed by
the Bankruptcy Court, it is unclear whether the Debtors will be able to consummate the Sale and what, if anything,
Holders of Allowed Claims against them would ultimately receive with respect to their Claims.

          The Debtors, subject to the terms and conditions of the Plan, reserve the right to modify the terms and
conditions of the Plan as necessary for Confirmation. Any such modifications could result in less favorable
treatment of any non-accepting class of Claims, as well as any class junior to such non-accepting class, than the
treatment currently provided in the Plan. Such a less favorable treatment could include a distribution of property
with a lesser value than currently provided in the Plan or no distribution whatsoever under the Plan.

                            (e)      Nonconsensual Confirmation.

         In the event that any Impaired Class of Claims or Interests does not accept a chapter 11 plan, a bankruptcy
court may nevertheless confirm a plan at the proponents’ request if at least one Impaired Class has accepted the plan
(with such acceptance being determined without including the vote of any “insider” in such class), and, as to each
impaired class that has not accepted the plan, the bankruptcy court determines that the plan “does not discriminate
unfairly” and is “fair and equitable” with respect to the dissenting impaired classes. The Debtors believe that the
Plan satisfies these requirements, and the Debtors will request such nonconsensual Confirmation in accordance with
subsection 1129(b) of the Bankruptcy Code. Nevertheless, there can be no assurance that the Bankruptcy Court will
reach the conclusion that the Plan satisfies the requirements of section 1129(b) of the Bankruptcy Code. In addition,
the pursuit of nonconsensual Confirmation or Consummation of the Plan may result in, among other things,
increased expenses relating to Professional Fee Claims.




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                           (f)       Continued Risk After Consummation.

         Even if the Plan is consummated, the Debtors will continue to face a number of risks, including certain risks
that are beyond their control, such as increasing expenses and further industry deterioration or other changes in
economic conditions. Some of these concerns and effects typically become more acute when a case under the
Bankruptcy Code continues for a protracted period without indication of how or when the case may be completed.
As a result of these risks and others, there is no guarantee that a chapter 11 plan of reorganization reflecting the Plan
will achieve the Debtors’ stated goals.

                           (g)       Filing of a Competing Plan.

         At the outset of the Chapter 11 cases, the Bankruptcy Code provides the Debtors with the exclusive right to
propose the Plan and prohibits creditors and others from proposing a plan. The Debtors have retained the exclusive
right to propose the Plan since filing their chapter 11 petitions. If the Bankruptcy Court terminates that right,
however, or the exclusivity period expires, there could be a material adverse effect on the Debtors’ ability to achieve
Confirmation of the Plan in order to achieve the Debtors’ stated goals because creditors and others may propose a
plan.

                           (h)       The Chapter 11 Cases May Be Converted to Cases Under Chapter 7 of the
Bankruptcy Code.

          If the Bankruptcy Court finds that it would be in the best interest of creditors and/or the debtor in a
chapter 11 case, the Bankruptcy Court may convert a chapter 11 bankruptcy case to a case under chapter 7 of the
Bankruptcy Code. In such event, a chapter 7 trustee would be appointed or elected to liquidate the debtors’ assets
for distribution in accordance with the priorities established by the Bankruptcy Code. The Debtors believe that
liquidation under chapter 7 would result in significantly smaller distributions being made to creditors than those
provided for in a chapter 11 plan because of (a) the likelihood that the assets would have to be sold or otherwise
disposed of in a disorderly fashion over a short period of time, (b) additional administrative expenses involved in the
appointment of a chapter 7 trustee, and (c) additional expenses and Claims, some of which would be entitled to
priority, that would be generated during the liquidation, including Claims resulting from the rejection of Unexpired
Leases and other Executory Contracts in connection with cessation of operations.

                           (i)       The Debtors May Object to the Amount or Classification of a Claim.

          Except as otherwise provided in the Plan, the Debtors reserve the right to object to the amount or
classification of any Claim under the Plan. The estimates set forth in this Disclosure Statement cannot be relied
upon by any Holder of a Claim where such Claim is subject to an objection. Any Holder of a Claim that is subject to
an objection thus may not receive its expected share of the estimated distributions described in this Disclosure
Statement.

                           (j)       Risk of Non-Occurrence of the Effective Date.

         Although the Debtors believe that the Effective Date may occur quickly after the Confirmation Date, there
can be no assurance as to such timing or as to whether the Effective Date will in fact occur.

                           (k)       Contingencies Could Affect Votes of Impaired Classes to Accept or Reject
the Plan.

         The distributions available to Holders of Allowed Claims under the Plan can be affected by a variety of
contingencies, including, without limitation, whether the Bankruptcy Court orders certain Allowed Claims to be
subordinated to other Allowed Claims. The occurrence of any and all such contingencies could affect distributions
available to Holders of Allowed Claims under the Plan but may not affect the validity of the vote taken by the
Impaired Classes to accept or reject the Plan or require any sort of revote by the Impaired Classes.

        The estimated Claims and creditor recoveries set forth in this Disclosure Statement are based on various
assumptions, and the actual Allowed amounts of Claims may significantly differ from the estimates. Should one or
more of the underlying assumptions ultimately prove to be incorrect, the actual Allowed amounts of Claims may



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vary from the estimated Claims contained in this Disclosure Statement. Moreover, the Debtors cannot determine
with any certainty at this time, the number or amount of Claims that will ultimately be Allowed. Such differences
may materially and adversely affect, among other things, the percentage recoveries to Holders of Allowed Claims
under the Plan.

                           (l)      Releases, Injunctions, and Exculpations Provisions May Not Be Approved.

          Article VIII of the Plan provides for certain releases, injunctions, and exculpations, including releases by
third parties of claims that may otherwise be asserted against the Debtors, Wind-Down Debtors, or Released Parties,
as applicable. The releases, injunctions, and exculpations (including, for the avoidance of doubt, the definitions of
Released Parties, Releasing Parties, and Exculpated Parties) provided in the Plan are subject to objection by parties
in interest and may not be approved. If the releases are not approved, certain parties may not be considered Released
Parties, Releasing Parties, or Exculpated Parties, and certain Released Parties may withdraw their support for the
Plan.

                 3.       The Consideration Under the Plan Does Not Reflect any Independent Valuation of
Claims against or Interests in the Debtors.

          The Debtors have not obtained or requested a fairness opinion from any banking or other firm as to the
fairness of the consideration under the Plan.

                  4.       Governmental Approvals May Not Be Granted.

        Consummation of the Restructuring Transactions may depend on obtaining approvals of certain
Governmental Units that may be necessary or advisable. Failure by any Governmental Unit to grant an approval
could prevent or impose limitations or restrictions on Consummation of the Restructuring Transactions and
Confirmation of the Plan.

         B.       Risks Related to Recoveries under the Plan.

                  1.       The Debtors Cannot Guarantee Recoveries or the Timing of Such Recoveries.

          Although the Debtors have made commercially reasonable efforts to estimate Allowed Claims and Allowed
Interests, it is possible that the actual amount of such Allowed Claims and Allowed Interests is materially different
than the Debtors’ estimates. Creditor recoveries could be materially reduced or eliminated in this instance. In
addition, the timing of actual distributions to Holders of Allowed Claims and Allowed Interests may be affected by
many factors that cannot be predicted. Therefore, the Debtors cannot guaranty the timing or amount of any recovery
on an Allowed Claim or an Allowed Interest.

                  2.       The Debtors Are Subject to the Volatility of Cryptocurrency.

          The volatility of cryptocurrency may adversely affect the fair market value to be paid by Purchaser for
Voyager’s Cryptocurrency as determined by the Asset Purchase Agreement, which could result in lower recoveries
for creditors than the Debtors’ current estimates based on the Fair Market Value as of September 26, 2022.

                  3.       The Plan Will Likely Diminish the Value of VGX.

         Given that the Debtors’ business operations will be winding down following the Effective Date and
consummation of the Sale Transaction, VGX will have no utility going forward and may have no value. Voyager
will not be able to supporting commitments to VGX following the Effective Date and the Purchaser is not assuming
these obligations. Purchaser has offered to purchase all VGX in the Debtors’ Estates for $10 million. Accordingly,
for purposes of estimated recoveries, the Debtors have assumed a $10 million purchase price for VGX. The Debtors
continue to engage with third parties regarding a sale of VGX that may provide additional recovery to Holders of
Claims.




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                  4.       The Tax Implications of the Debtors’ Bankruptcy and Reorganization Are Highly
Complex.

         Holders of Allowed Claims and Allowed Interests should carefully review Article XI of this Disclosure
Statement, entitled “Certain U.S. Federal Tax Consequences of the Plan,” to determine how the tax implications of
the Plan and the Chapter 11 Cases may adversely affect the Debtors.

                  5.       The Closing Conditions of the Sale Transaction May Not Be Satisfied.

          It is possible that the Debtors may not satisfy the closing conditions of the Sale Transaction. A failure to
satisfy any of the closing conditions of the Sale Transaction could prevent the Sale Transaction and the Plan from
being consummated, which could lead to the Chapter 11 Cases being converted to cases under chapter 7.

         C.       Disclosure Statement Disclaimer.

                 1.      The Financial Information Is Based on the Debtors’ Books and Records and, Unless
Otherwise Stated, No Audit Was Performed.

         In preparing this Disclosure Statement, the Debtors relied on financial data derived from their books and
records that was available at the time of such preparation. Although the Debtors have used their reasonable business
judgment to assure the accuracy of the financial information provided in this Disclosure Statement, and while the
Debtors believe that such financial information fairly reflects their financial condition, the Debtors are unable to
warrant or represent that the financial information contained in this Disclosure Statement (or any information in any
of the exhibits to the Disclosure Statement) is without inaccuracies.

                  2.       No Legal or Tax Advice Is Provided By This Disclosure Statement.

         This Disclosure Statement is not legal advice to any person or Entity. The contents of this Disclosure
Statement should not be construed as legal, business, or tax advice. Each reader should consult their own legal
counsel and accountant with regard to any legal, tax, and other matters concerning its Claim or Interest. This
Disclosure Statement may not be relied upon for any purpose other than to determine how to vote to accept or reject
the Plan or whether to object to Confirmation of the Plan.

                  3.       No Admissions Made.

         The information and statements contained in this Disclosure Statement will neither (a) constitute an
admission of any fact or liability by any Entity (including the Debtors) nor (b) be deemed evidence of the tax or
other legal effects of the Plan on the Debtors, the Wind-Down Debtors, Holders of Allowed Claims or Interests, or
any other parties in interest.

                  4.       Failure to Identify Litigation Claims or Projected Objections.

          No reliance should be placed on the fact that a particular litigation claim or projected objection to a
particular Claim or Interest is, or is not, identified in this Disclosure Statement. The Debtors may seek to
investigate, file, and prosecute Claims and may object to Claims and Interests after Confirmation and Consummation
of the Plan, irrespective of whether this Disclosure Statement identifies such Claims or objections to Claims and
Interests.

                  5.       Information Was Provided by the Debtors and Was Relied Upon by the Debtors’
Advisors.

         Counsel to and other advisors retained by the Debtors have relied upon information provided by the
Debtors in connection with the preparation of this Disclosure Statement. Although counsel to and other advisors
retained by the Debtors have performed certain limited due diligence in connection with the preparation of this
Disclosure Statement and the exhibits to the Disclosure Statement, they have not independently verified the
information contained in this Disclosure Statement or the information in the exhibits to the Disclosure Statement.




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                     6.        Potential Exists for Inaccuracies, and the Debtors Have No Duty to Update.

         The statements contained in this Disclosure Statement are made by the Debtors as of the date of this
Disclosure Statement unless otherwise specified in this Disclosure Statement, and the delivery of this Disclosure
Statement after the date of this Disclosure Statement does not imply that there has not been a change in the
information set forth in this Disclosure Statement since that date. While the Debtors have used their reasonable
business judgment to ensure the accuracy of all of the information provided in this Disclosure Statement and in the
Plan, the Debtors nonetheless cannot, and do not, confirm the current accuracy of all statements appearing in this
Disclosure Statement. Furthermore, although the Debtors may subsequently update the information in this
Disclosure Statement, the Debtors have no affirmative duty to do so unless ordered to do so by the Bankruptcy
Court.

                     7.        No Representations Outside This Disclosure Statement Are Authorized.

NO REPRESENTATIONS CONCERNING OR RELATING TO THE DEBTORS, THE CHAPTER 11
CASES, OR THE PLAN ARE AUTHORIZED BY THE BANKRUPTCY COURT OR THE BANKRUPTCY
CODE, OTHER THAN AS SET FORTH IN THIS DISCLOSURE STATEMENT.               ANY
REPRESENTATIONS OR INDUCEMENTS MADE TO SECURE VOTING HOLDERS’ ACCEPTANCE
OR REJECTION OF THE PLAN THAT ARE OTHER THAN AS CONTAINED IN, OR INCLUDED
WITH, THIS DISCLOSURE STATEMENT, SHOULD NOT BE RELIED UPON BY VOTING HOLDERS
IN ARRIVING AT THEIR DECISION.     VOTING HOLDERS SHOULD PROMPTLY REPORT
UNAUTHORIZED REPRESENTATIONS OR INDUCEMENTS TO COUNSEL TO THE DEBTORS AND
THE OFFICE OF THE UNITED STATES TRUSTEE FOR THE SOUTHERN DISTRICT OF NEW YORK.

           D.        Miscellaneous Risk Factors and Disclaimers.

                 1.      The Debtors are Subject to an Extensive and Highly Evolving Regulatory Landscape
and Any Adverse Changes to, or Their Failure to Comply with, any Laws and Regulations Could Adversely
Affect Their Brand, Reputation, Business, Assets, Operating Results, and Financial Condition.3143

          The Debtors’ business is subject to extensive laws, rules, regulations, policies, orders, determinations,
directives, treaties, and legal and regulatory interpretations and guidance in the markets in which the Debtors
operate, including those governing money transmission, financial services, banks and trust companies, securities,
broker-dealers and alternative trading systems, or ATS, commodities and commodities interests such as derivatives,
credit, cryptocurrency asset custody, exchange, and transfer, cross-border and domestic money and cryptocurrency
asset transmission, retail and commercial lending, usury, foreign currency exchange, privacy, data governance, data
protection, cybersecurity, fraud detection, retail protection, escheatment, antitrust and competition, bankruptcy, tax,
anti-bribery, economic and trade sanctions, anti-money laundering, and counter-terrorist financing, among others.
Many of these legal and regulatory regimes were adopted prior to the advent of the internet, mobile technologies,
cryptocurrency assets, and related technologies. As a result, some applicable laws and regulations do not
contemplate or address unique issues associated with the cryptocurrency economy, are subject to significant
uncertainty, and vary widely across U.S. federal, state, and local and international jurisdictions. These legal and
regulatory regimes, including the laws, rules, and regulations thereunder, evolve frequently and may be modified,
interpreted, and applied in an inconsistent manner from one jurisdiction to another and may conflict with one
another. Moreover, the complexity and evolving nature of the Debtors’ business and the significant uncertainty
surrounding the regulation of the cryptocurrency economy require the Debtors to exercise their judgment as to
whether certain laws, rules, and regulations apply to the Debtors, and it is possible that governmental bodies and
regulators may disagree with their conclusions. To the extent the Debtors have not complied with such laws, rules,
and regulations, the Debtors could be subject to significant fines, revocation of licenses (including Money
Transmission Licenses as described in III.F), limitations on their products and services, cease and desist orders in
one or more states, reputational harm, and other regulatory consequences, each of which may be significant and
could adversely affect their business, operating results, and financial condition.



3143
       Certain regulatory bodies have already commenced actions, which are described in Article VIII.D.2 herein.




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          Additionally, economic and trade sanctions, anti-money laundering, and anti-terrorism laws in the United
States and other jurisdictions may restrict the Debtors’ business from engaging in transactions in or relating to
certain countries, individuals, and entities. The imposition of sanctions and related restrictions by different
jurisdictions have been evolving quickly, including in response to the military conflict between Russia and Ukraine,
and the ultimate impact on global economic and commercial activity as well the financial condition and performance
of the Debtors’ business and assets is difficult to predict.

                  2.       The Wind-Down Debtors May Be Adversely Affected by Potential Litigation, Including
Litigation Arising Out of the Chapter 11 Cases as well as Ongoing Regulatory Investigations.

          The Debtors are currently subject to or interested in certain legal proceedings, some of which may
adversely affect the Debtors or the Wind-Down Debtors, as applicable. In the future, the Debtors or the Wind-Down
Debtors may become parties to additional litigation, including enforcement actions brought by state banking
departments with respect to Voyager’s historical compliance with money transmission laws, which could result in
significant fines. In general, litigation can be expensive and time consuming to bring or defend against. Such
litigation could result in settlements or damages that could significantly affect recoveries to creditors in these
Chapter 11 cases. It is also possible that certain parties will commence litigation with respect to the treatment of
their Claims under the Plan. It is not possible to predict the potential litigation that the Debtors may become party
to, nor the final resolution of such litigation. The impact of any such litigation on the Debtors, however, could be
material.

         On January 5, 2022, Voyager received from the U.S. Securities and Exchange Commission (“SEC”) a
subpoena requesting certain information and documents. In response, Voyager actively dialogued with and provided
the SEC staff with the requested material. The subpoena and dialogue related primarily to two issues: (1) whether
the Rewards Program feature of the Voyager Account (also referred to as the “Earn Program” or “Voyager Earn
Account”) involved a securities offering and (2) whether Voyager or any of its affiliated entities required registration
under the Investment Company Act of 1940. As a follow-up, on July 15, 2022, the SEC staff issued a second
subpoena with additional requests for information and documents relating to public statements, internal
communications, and third party communications after May 1, 2022, and certain minutes, policies and procedures,
internal documentation, loan agreements, due diligence, and June 30, 2022 financial statement information. As it
does with most subpoenas, the SEC staff included a cover letter stating, among other things, “The investigation and
the subpoena do not mean that we have concluded that your client or anyone else has violated the law. Also, the
investigation does not mean that we have a negative opinion of any person, entity or security.” Since then, Voyager
has produced certain of the requested material and continues to work to provide the SEC with the remaining
responsive material. As before, Voyager continues to dialogue with the SEC regarding the Voyager business and
document and information requests.

         On July 28, 2022, the FDIC and Federal Reserve Board issued a joint letter and a joint press release
regarding potential false or misleading representations as to Voyager’s deposit insurance status, and demanded
immediate corrective action to address any false or misleading statements. While the Debtors disagree with the
FDIC and Federal Reserve Board’s position, the Debtors nonetheless took immediate steps to ensure that statements
made as to the deposit insurance status of funds held through the Voyager platform are accurate. Following receipt
of Voyager’s responses on August 1, 2022 and August 9, 2022, the FDIC and the Federal Reserve Board requested
additional information from Voyager, which Voyager is in the process of preparing.

         Separate from the matters pertaining to the FDIC and Federal Reserve Board’s letter dated July 28, 2022,
the Federal Reserve Board on September 29, 2022 requested certain information pertaining to Voyager’s operations;
Voyager is in the process of responding to such requests.

          On August 1, 2022, Voyager received from the Commodity Futures Trading Commission a letter seeking
certain information and documents from Voyager on its business, its customers and its lending activities prior to its
chapter 11 proceedings. On September 12, 2022, Voyager received a subpoena requesting the same information and
documents. Voyager is working to provide the CFTC with information that its responsive to its requests.

         In addition to these federal subpoenas, requests for information, and cease and desist orders, Voyager has
also received a number of administrative proceeding inquiries and orders from state securities regulators relating to



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the Rewards Program. The states have alleged or asserted in a variety of ways that the accounts involved
unregistered securities offerings. Below is a brief summary of Voyager’s contacts with applicable state regulators
concerning the Rewards Program.

         Alabama issued a show cause order3244 on March 29, 2022, which required a response within 28 days.
Alabama extended the response deadline to January 5, 2023. On July 7, 2022, Alabama also issued a subpoena for
information on Voyager customers, board of directors materials and other information related to the chapter 11
proceedings. Voyager has produced all of the requested materials.

        Indiana issued a cease and desist order3345 on March 29, 2022. Indiana submitted a motion extending the
time by which Voyager must respond to the order and request a hearing. Voyager submitted a second and third
motion extending that deadline until October 31, 2022.

         Kentucky issued an emergency cease and desist order3446 on March 29, 2022. Kentucky denied Voyager’s
request for a stay of effectiveness of the order on May 27, 2022. Kentucky’s order is still in effect. Voyager has the
option to request a hearing, but otherwise, there is no pending deadline. Voyager ceased offering Rewards to all
customers as of June 1, 2022 pursuant to the order. Separately, on July 6, 2022, Kentucky asked for information in
connection with Voyager’s Kentucky customers. Voyager produced that information on July 8, 2022.

          New Jersey issued a cease and desist order3547 on March 29, 2022 with an effective date of April 29, 2022.
Per New Jersey’s communications with Voyager and an order issued on June 29, 2022, a version of the order is in
effect as of July 31, 2022. Specifically, Voyager has ceased offering Rewards to new customer accounts opted into
the Rewards Program feature and has ceased offering Rewards for new assets contributed to existing such accounts.
However, all response deadlines have been extended until October 31, 2022.

         Oklahoma issued a cease and desist order3648 on March 29, 2022. At Voyager’s request, Oklahoma stayed
the effectiveness of its order multiple times, but lifted the stay on July 29, 2022. Most recently on August 1, 2022,
Oklahoma extended the deadline by which to respond to the order and request a hearing until October 31, 2022.

       South Carolina issued a cease and desist order and notice of opportunity for a hearing3749 on March 29,
2022. South Carolina stayed the effectiveness of its order and extended the applicable response deadlines multiple


3244
       Alabama’s show cause order required Voyager to show, within a certain period of time, why Voyager should not be
       directed to cease and desist from selling unregistered securities within the state.

3345
       Indiana’s order alleged that Voyager Rewards Accounts were securities and required Voyager to cease and desist from:
       offering and selling securities unregistered/noncompliant under Indiana securities laws/codes; accepting additional assets
       into existing Voyager Rewards Accounts; and committing any further violations of the Indiana securities laws/codes.

3446
       Kentucky’s order alleged that Voyager Rewards Accounts were securities and required Voyager to cease and desist from:
       soliciting or selling any security in Kentucky unregistered with the state’s Department of Financial Institutions; and
       engaging in any other activity that would otherwise violate the Kentucky securities laws.

3547
       New Jersey’s order alleged that Voyager Rewards Accounts were securities and required Voyager to cease and desist from:
       offering or selling unregistered/nonexempt securities; accepting additional assets into existing Rewards Accounts; and
       violating any other provisions of the state’s securities laws.

3648
       Oklahoma’s order alleged that Voyager Rewards Accounts were securities and required Voyager to cease and desist from:
       offering or selling such accounts to Oklahoma residents; and allowing further deposits into such existing accounts of
       Oklahoma residents.

3749
       South Carolina’s order alleged that Voyager Rewards Accounts were securities and required Voyager to: cease and desist
       from transacting business in the state in violation of the states securities laws; pay a civil penalty of $2,149,800.00 if the
       order becomes effective by operation of law or, if Voyager seeks a hearing, pay a civil penalty not to exceed $10,000 for
       each violation. The notice of hearing informed Voyager of its right to request a formal hearing to contest the statements and
       allegations made therein.




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times. The order went into effect on August 1, 2022, but all response deadlines have been extended until November
30, 2022.

         Vermont issued a show cause order on March 29, 2022. At Voyager’s request, Vermont extended the
deadline to respond to the order multiple times. On July 13, 2022, Vermont issued a subpoena for information on
Voyager’s Vermont customers and other information related to the chapter 11 proceedings. Voyager has produced
some of the requested materials and continues to work with Vermont with the remaining responsive materials. On
September 14, 2022, Vermont issued an ex parte order to cease and desist, as well as a standstill agreement, under
which all deadlines in connection with responding to the order are suspended for 90 days.

          Washington issued a statement of charges and notice of opportunity for a hearing3850 on March 29, 2022.
In response on April 15, 2022, Voyager submitted its application for an adjudicative hearing. On May 16, 2022,
Voyager and Washington confirmed their agreement, in which Voyager would waive its right to a speedy hearing but
maintain its right to request a hearing. Washington agreed to extend all applicable response deadlines until October
1, 2022. Given that neither the Voyager Account nor Rewards Program are active, and given Voyager’s current
status in the bankruptcy proceedings, Voyager has requested an extension with respect to deadlines in connection
with responding to Washington’s order.

         Texas issued a notice of hearing3951 on April 12, 2022. The hearing has been scheduled for January 25,
2023. Prior to this hearing, both Texas and Voyager must pre-file all exhibits they intend to offer at the hearing;
provide those exhibits to each other by email; number each exhibit sequentially; paginate or bates stamp multipage
documents; and identify witnesses they intend to rely on and file witness statements accordingly.

         California issued a desist and refrain order4052 on June 3, 2022. As part of a prior agreement with
California, on July 11, 2022, Voyager requested a hearing while waiving its right to have the hearing held within
fifteen business days. In exchange, California agreed that it would not petition the superior court to enforce the
order on or before July 31, 2022. Per a conversation with the state regulator on August 1, 2022, the department has
no reason to go to court to enforce the order in light of the bankruptcy proceedings and because Voyager is not
currently offering Rewards to customers. No hearing date has been set.

         Washington, D.C. issued a summary cease and desist order4153 on July 26, 2022. On July 29, 2022, the
D.C. regulator agreed to an extension of the deadline by which Voyager had to submit a written answer and request
for hearing until September 30, 2022. Given that neither the Voyager Account nor Rewards Program are active, and
given Voyager’s current status in the bankruptcy proceedings, Voyager has requested an extension with respect to
deadlines in connection with responding to Washington, D.C.’s order.



3850
       Washington’s statement of charges notified Voyager that Washington had reason to believe Voyager had violated the state’s
       securities laws and contained a list of tentative findings of fact and conclusions of law. Based on the findings and
       conclusions alleged therein, the statement issued a notice of intent to order Voyager to cease and desist from certain
       activities, impose fines, and charge costs. The notice of opportunity of hearing informed Voyager of its right to contest the
       charges made against it at an adjudicative hearing by making a written request for hearing and filing an answer to the
       statement of charges. Alternatively, Voyager was given the option to waive the right to a hearing and instead submit a
       written statement to the Director of the Department of Financial Institutions.

3951
       The notice of hearing informed Voyage that a hearing would be held before an administrative law judge to determine
       whether to issue: (1) an order requiring Voyager to cease and desist from violating various provisions of the state’s
       securities act; and/or (2) a cease publication order requiring Voyager to cease from offering securities via statements that are
       materially misleading or otherwise likely to deceive the public.

4052
       California’s order alleged that Voyager Rewards Accounts were securities and required Voyager to desist and refrain from
       further offers and sale of unregistered/noncompliant securities within the state.

4153
       Washington D.C.’s summary cease and desist order alleged that Voyager Rewards Accounts were securities and required
       Voyager to cease and desist from: offering or selling such accounts within D.C., from accepting any additional assets into
       existing accounts; and from any further violations of securities laws.




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         Alaska issued a cease and desist order4254 and notice of opportunity to request a hearing, on September 3,
2022. Per the notice, Voyager has 30 days to request a hearing. Given that neither the Voyager Account nor
Rewards Program are active, and given Voyager’s current status in the bankruptcy proceedings, Voyager has
requested an extension with respect to deadlines in connection with responding to Alaska’s order.

                 3.            The Loss of Key Personnel Could Adversely Affect the Debtors’ Ability to Consummate
the Sale and Plan.

          The Debtors’ operations are dependent on a relatively small group of key management personnel and a
highly skilled employee base. The Debtors’ recent liquidity issues and the Chapter 11 Cases have created
distractions and uncertainty for key management personnel and employees. Because competition for experienced
personnel in the cryptocurrency and financial industries can be significant, the Debtors may be unable to find
acceptable replacements with comparable skills and experience and the loss of such key management personnel
could adversely affect the Debtors’ ability to consummate the Sale and the Plan.

                 4.      Certain Claims May Not Be Discharged and Could Have a Material Adverse Effect on
the Debtors’ Financial Condition.

          The Bankruptcy Code provides that the confirmation of a plan of reorganization discharges a debtor from
substantially all debts arising prior to confirmation. With few exceptions, all Claims that arise prior to the Debtors’
filing of their chapter 11 petitions or before Confirmation of the Plan (a) would be subject to compromise and/or
treatment under the Plan and/or (b) would be discharged in accordance with the terms of the Plan. Any Claims not
ultimately discharged through a Plan could be asserted against the wind-down entity and may have an adverse effect
on the Debtors’ financial condition.

         Section 1141(d)(3) of the Bankruptcy Code limits a debtor’s ability to discharge Claims in certain
circumstances. Any Claims not ultimately discharged through a Plan could be asserted against the Wind-Down
Entity and may have an adverse effect on the Debtors’ financial condition.

IX.        SOLICITATION AND VOTING PROCEDURES

         This Disclosure Statement, which is accompanied by a Ballot or Ballots to be used for voting on the Plan, is
being distributed to the Holders of Claims in those Classes that are entitled to vote to accept or reject the Plan. The
procedures and instructions for voting and related deadlines are set forth in the Solicitation Package.

         THE DISCUSSION OF THE SOLICITATION AND VOTING PROCESS SET FORTH IN THIS
                        DISCLOSURE STATEMENT IS ONLY A SUMMARY.

       PLEASE REFER TO THE DISCLOSURE STATEMENT ORDER ATTACHED HERETO FOR A MORE
            COMPREHENSIVE DESCRIPTION OF THE SOLICITATION AND VOTING PROCESS.

           A.        Classes Entitled to Vote on the Plan.

           The following Classes are entitled to vote to accept or reject the Plan (collectively, the “Voting Classes”):

                Class       Claim or Interest                                                      Status
                3           Account Holder Claims                                                  Impaired
                4           Alameda Loan Facility Claims                                           Impaired


4254
       Alaska’s cease and desist order alleged that Voyager Rewards Accounts were securities and required Voyager to cease and
       desist from: offering or selling such accounts in Alaska; and from accepting any assets into existing accounts. Alaska
       assessed a $1,000,000 administrative penalty but acknowledged Voyager’s status in bankruptcy proceedings and noted that
       “so long as the automatic stay is in effect in [Voyager]’s bankruptcy proceedings, [Alaska] will not seek to execute or
       collect [the penalty] without first approaching the United States Bankruptcy Court . . . .”




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              55A        OpCo General Unsecured Claims                                        Impaired
              5B         HoldCo General Unsecured Claims                                      Impaired
              5C         TopCo General Unsecured Claims                                       Impaired

         If your Claim or Interest is not included in the Voting Classes, you are not entitled to vote and you will not
receive a Solicitation Package (as defined below). If you are a Holder of a Claim in one or more of the Voting
Classes, you should read your Ballot(s) and carefully follow the instructions included in the Ballot(s). Please use
only the Ballot(s) that accompanies this Disclosure Statement or the Ballot(s) that the Debtors, or the Claims,
Noticing, and Solicitation Agent on behalf of the Debtors, otherwise provided to you. If you are a Holder of a Claim
in more than one of the Voting Classes, you will receive a Ballot for each such Claim.

         B.         Votes Required for Acceptance by a Class.

          Under the Bankruptcy Code, acceptance of a plan of reorganization by a class of claims is determined by
calculating the amount and number of allowed claims voting to accept, as a percentage of the allowed claims that
have voted. Acceptance of a plan of reorganization by a class of interests is determined by calculating the amount of
allowed interests voting to accept, as a percentage of the allowed interests that have voted. Acceptance by a class of
claims requires an affirmative vote of more than one-half in number of total allowed claims that have voted and an
affirmative vote of at least two-thirds in dollar amount of the total allowed claims that have voted. Acceptance by a
class of interests requires an affirmative vote of at least two-thirds in amount of the total allowed interests that have
voted.

         C.         Certain Factors to Be Considered Prior to Voting.

         There are a variety of factors that all Holders of Claims entitled to vote on the Plan should consider prior to
voting to accept or reject the Plan. These factors may impact recoveries under the Plan and include, among other
things:

             unless otherwise specifically indicated, the financial information contained in the Disclosure Statement
              has not been audited and is based on an analysis of data available at the time of the preparation of the
              Plan and the Disclosure Statement;

             although the Debtors believe that the Plan complies with all applicable provisions of the Bankruptcy
              Code, the Debtors can neither assure such compliance nor guarantee that the Bankruptcy Court will
              confirm the Plan;

             the Debtors may request Confirmation without the acceptance of all Impaired Classes in accordance
              with section 1129(b) of the Bankruptcy Code; and

             any delays of either Confirmation or Consummation could result in, among other things, increased
              Administrative Claims and Professional Fee Claims.

         While these factors could affect distributions available to Holders of Allowed Claims under the Plan, the
occurrence or impact of such factors will not necessarily affect the validity of the vote of the Voting Classes or
necessarily require a resolicitation of the votes of Holders of Claims in the Voting Classes.

        For a further discussion of risk factors, please refer to “Risk Factors” described in Article VIII of this
Disclosure Statement.

         D.         Classes Not Entitled To Vote on the Plan.

         Under the Bankruptcy Code, holders of claims or interests are not entitled to vote if their contractual rights
are unimpaired by the proposed plan or if they will receive no property under the plan. Accordingly, the following
Classes of Claims against and Interests in the Debtors are not entitled to vote to accept or reject the Plan:

     Class      Claim or Interest                                       Status



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     1          Secured Tax Claims                                     Unimpaired
     2          Other Priority Claims                                  Unimpaired
     6          Section 510(b) Claims                                  Impaired
     7          Intercompany Claims                                    Unimpaired / Impaired
     8          Intercompany Interests                                 Unimpaired / Impaired
     9          Existing Equity Interests                              Impaired

         E.       Solicitation Procedures.

                  1.       Claims, Noticing, and Solicitation Agent.

        The Debtors have retained Stretto to act, among other things, as Claims, Noticing, and Solicitation Agent in
connection with the solicitation of votes to accept or reject the Plan.

                  2.       Solicitation Package.

        The following materials constitute the solicitation package (the “Solicitation Package”) distributed to
Holders of Claims in the Voting Classes:

             a copy of the Solicitation and Voting Procedures (as defined in the Disclosure Statement Order);

             the applicable form of Ballot, together with detailed voting instructions and instructions on how to
              submit the Ballot;

             the Cover Letter (as defined in the Disclosure Statement Order);

             this Disclosure Statement (and exhibits thereto, including the Plan);

             the Disclosure Statement Order (without exhibits, except the solicitation and voting procedures);

             the Confirmation Hearing Notice (as defined in the Disclosure Statement Order); and

             such other materials as the Bankruptcy Court may direct.

                  3.       Distribution of the Solicitation Package and Plan Supplement.

         The Claims, Noticing, and Solicitation Agent shall distribute the Solicitation Package to Holders of Claims
in the Voting Classes by October 28, 2022 (the “Solicitation Launch”).

          The Solicitation Package (without Ballots, unless you are an eligible voting party) may also be obtained
from the Claims, Noticing, and Solicitation Agent by: (a) calling the Claims, Noticing, and Solicitation Agent at
(855) 473-8665 (Toll-Free) or (949) 271-6507 (International) and asking for the “Solicitation Group” or
(b) emailing the Claims, Noticing, and Solicitation Agent at voyagerinquiries@stretto.com. You may also obtain
copies of any pleadings filed with the Bankruptcy Court for free by visiting the Debtors’ restructuring website,
https://cases.stretto.com/Voyager,       or         the        Bankruptcy         Court’s        website         at
https://www.nysb.uscourts.gov/ecf-and-pacer-information (for a fee). Holders that have more than one option to
return a Ballot should choose only one method to return their Ballot.

         No later than seven days before the Voting Deadline, or such later date as may be approved by the
Bankruptcy Court, the Debtors intend to file the Plan Supplement. If the Plan Supplement is updated or otherwise
modified, such modified or updated documents will be made available on the Debtors’ restructuring website. The
Debtors will not serve copies of the Plan Supplement; however, parties may obtain a copy of the Plan Supplement
from the Claims, Noticing, and Solicitation Agent by: (a) calling the Claims, Noticing, and Solicitation Agent at the
telephone number set forth above; (b) visiting the Debtors’ restructuring website, https://cases.stretto.com/Voyager,
or (c) emailing the Claims, Noticing, and Solicitation Agent at voyagerinquiries@stretto.com.




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         F.       Voting Procedures

          October 19, 2022 (the “Voting Record Date”) is the date that will be used for determining which Holders of
Claims are entitled to vote to accept or reject the Plan and receive the Solicitation Package in accordance with the
solicitation procedures. Except as otherwise set forth herein, the Voting Record Date and all of the Debtors’
solicitation and voting procedures shall apply to all of the Debtors’ creditors and other parties in interest.

          In order for the Holder of a Claim in the Voting Classes to have its Ballot counted as a vote to accept or
reject the Plan, such Holder’s Ballot must be properly completed, executed, and delivered by (i) using the enclosed
pre-paid, pre-addressed return envelope or (ii) via first class mail, overnight courier, or hand delivery to Voyager
Ballot Processing, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602, so that such Holder’s Ballot is actually
received by the Claims, Noticing, and Solicitation Agent on or before the Voting Deadline on November 25, 2022,
at 4:00 p.m. (prevailing Eastern Time).

         If a Holder of a Claim in a Voting Class transfers all of such Claim to one or more parties on or after the
Voting Record Date and before the Holder has cast its vote on the Plan, such Claim Holder is automatically deemed
to have provided a voting proxy to the purchaser(s) of the Holder’s Claim, and such purchaser(s) shall be deemed to
be the Holder(s) thereof as of the Voting Record Date for purposes of voting on the Plan, provided that the
purchaser provides satisfactory confirmation of the transfer to the Claims, Noticing, and Solicitation Agent.

        If you hold Claims in more than one Voting Class under the Plan, you should receive a separate Ballot for
each Class of Claims, coded by Class number, and a set of solicitation materials.

      IF A BALLOT IS RECEIVED AFTER THE VOTING DEADLINE, IT WILL NOT BE COUNTED
UNLESS THE DEBTORS DETERMINE OTHERWISE.

      ANY BALLOT THAT IS PROPERLY EXECUTED BY THE HOLDER OF A CLAIM BUT THAT
DOES NOT CLEARLY INDICATE AN ACCEPTANCE OR REJECTION OF THE PLAN OR ANY BALLOT
THAT INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF THE PLAN WILL NOT BE
COUNTED FOR PURPOSES OF ACCEPTING OR REJECTING THE PLAN.

        EACH HOLDER OF A CLAIM MUST VOTE ALL OF ITS CLAIMS WITHIN A PARTICULAR CLASS
EITHER TO ACCEPT OR REJECT THE PLAN AND MAY NOT SPLIT SUCH VOTES. BY SIGNING AND
RETURNING A BALLOT, EACH HOLDER OF A CLAIM WILL CERTIFY TO THE BANKRUPTCY COURT
AND THE DEBTORS THAT NO OTHER BALLOTS WITH RESPECT TO SUCH CLAIM HAVE BEEN CAST
OR, IF ANY OTHER BALLOTS HAVE BEEN CAST WITH RESPECT TO SUCH CLASS OF CLAIMS, SUCH
OTHER BALLOTS INDICATED THE SAME VOTE TO ACCEPT OR REJECT THE PLAN. IF A HOLDER
CASTS MULTIPLE BALLOTS WITH RESPECT TO THE SAME CLAIM AND THOSE BALLOTS ARE IN
CONFLICT WITH EACH OTHER, SUCH BALLOTS WILL NOT BE COUNTED FOR PURPOSES OF
ACCEPTING OR REJECTING THE PLAN.

       IT IS IMPORTANT THAT THE HOLDER OF A CLAIM IN THE VOTING CLASSES FOLLOW THE
SPECIFIC INSTRUCTIONS PROVIDED ON SUCH HOLDER’S BALLOT AND THE ACCOMPANYING
INSTRUCTIONS. NO BALLOT MAY BE WITHDRAWN OR MODIFIED AFTER THE VOTING DEADLINE
WITHOUT THE DEBTORS’ PRIOR CONSENT OR PERMISSION OF THE BANKRUPTCY COURT.

         G.       Voting Tabulation.

        Unless the Debtors decide otherwise, Ballots received after the Voting Deadline may not be counted.
A Ballot will be deemed delivered only when the Claims, Noticing, and Solicitation Agent actually receives the
executed Ballot as instructed in the applicable voting instructions. No Ballot should be sent to the Debtors, the
Debtors’ agents (other than the Claims, Noticing, and Solicitation Agent) or the Debtors’ financial or legal advisors.

         The Bankruptcy Code may require the Debtors to disseminate additional solicitation materials if the
Debtors make material changes to the terms of the Plan or if the Debtors waive a material condition to Confirmation
of the Plan. In that event, the solicitation will be extended to the extent directed by the Bankruptcy Court.




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          In the event that a designation of lack of good faith is requested by a party in interest under section 1126(e)
of the Bankruptcy Code, the Bankruptcy Court will determine whether any vote to accept and/or reject the Plan cast
with respect to that Claim will be counted for purposes of determining whether the Plan has been accepted and/or
rejected.

          The Debtors will file with the Bankruptcy Court, as soon as practicable after the Voting Deadline, the
voting report prepared by the Claims, Noticing, and Solicitation Agent (the “Voting Report”). The Voting Report
shall, among other things, provide the votes received to accept or reject the Plan and Holders of Claims and Interests
that have opted into the third-party releases or Contributed Third-Party Claims, delineate every Ballot that does not
conform to the voting instructions or that contains any form of irregularity (each an “Irregular Ballot”), including
those Ballots that are late or (in whole or in material part) illegible, unidentifiable, lacking signatures or lacking
necessary information, or damaged. The Voting Report also shall indicate the Debtors’ intentions with regard to
such Irregular Ballots. Neither the Debtors nor any other Person or Entity will be under any duty to provide
notification of defects or irregularities with respect to delivered Ballots other than as provided in the Voting Report
nor will any of them incur any liability for failure to provide such notification.

         H.        Ballots Not Counted.

          No Ballot will be counted toward Confirmation if, among other things: (1) it is illegible or contains
insufficient information to permit the identification of the Holder of the Claim; (2) it was transmitted by facsimile,
email, or other electronic means not specifically approved pursuant to the Disclosure Statement Order; (3) it was
cast by an entity that is not entitled to vote on the Plan; (4) it was sent to the Debtors, the Debtors’
agents/representatives (other than the Claims, Noticing, and Solicitation Agent), or the Debtors’ financial or legal
advisors instead of the Claims, Noticing, and Solicitation Agent; (5) it is unsigned; or (6) it is not clearly marked to
either accept or reject the Plan or is marked both to accept and reject the Plan. Please refer to the Disclosure
Statement Order for additional requirements with respect to voting to accept or reject the Plan.

      IF YOU HAVE ANY QUESTIONS ABOUT THE SOLICITATION OR VOTING PROCESS,
 PLEASE CONTACT THE CLAIMS, NOTICING, AND SOLICITATION AGENT TOLL-FREE NUMBER
                                 AT (855) 473-8665.

           ANY BALLOT RECEIVED AFTER THE VOTING DEADLINE OR OTHERWISE NOT
            IN COMPLIANCE WITH THE SOLICITATION ORDER WILL NOT BE COUNTED.

X.       CONFIRMATION OF THE PLAN

         A.        Requirements of Section 1129(a) of the Bankruptcy Code.

         Among the requirements for Confirmation are the following: (i) the Plan is accepted by all impaired
Classes of Claims and Interests or, if the Plan is rejected by an Impaired Class, at least one Impaired Class of Claims
has voted to accept the Plan and a determination that the Plan “does not discriminate unfairly” and is “fair and
equitable” as to Holders of Claims or Interests in all rejecting Impaired Classes; (ii) the Plan is feasible; and (iii) the
Plan is in the “best interests” of Holders of Impaired Claims or Interests (i.e., Holders of Class 3 Account Holder
Claims, Holders of Class 4 Alameda Loan Facility Claims, Holders of Class 55A OpCo General Unsecured Claims,
Holders of Class 5B HoldCo General Unsecured Claims, Holders of Class 5C TopCo General Unsecured Claims,
Holders of Class 6 Section 510(b) Claims, and Holders of Class 9 Existing Equity Interests).

         At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan satisfies the
requirements of section 1129 of the Bankruptcy Code. The Debtors believe that the Plan satisfies or will satisfy all
of the necessary requirements of chapter 11 of the Bankruptcy Code. Specifically, in addition to other applicable
requirements, the Debtors believe that the Plan satisfies or will satisfy the applicable Confirmation requirements of
section 1129 of the Bankruptcy Code set forth below.




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             The Plan complies with the applicable provisions of the Bankruptcy Code.

             The Debtors, as the Plan proponents, have complied with the applicable provisions of the Bankruptcy
              Code.

             The Plan has been proposed in good faith and not by any means forbidden by law.

             Any payment made or promised under the Plan for services or for costs and expenses in, or in
              connection with, the Chapter 11 Cases, or in connection with the Plan and incident to the Chapter 11
              Cases, will be disclosed to the Bankruptcy Court, and any such payment: (i) made before Confirmation
              will be reasonable or (ii) will be subject to the approval of the Bankruptcy Court as reasonable, if it is
              to be fixed after Confirmation.

             Either each Holder of an Impaired Claim against or Interest in the Debtors will accept the Plan, or each
              non-accepting Holder will receive or retain under the Plan on account of such Claim or Interest,
              property of a value, as of the Effective Date, that is not less than the amount that the Holder would
              receive or retain if the Debtors were liquidated on that date under chapter 7 of the Bankruptcy Code.

             Except to the extent that the Holder of a particular Claim agrees to a different treatment of its Claim,
              the Plan provides that, to the extent an Allowed Administrative Claim has not already been paid in full
              or otherwise satisfied during the Chapter 11 Cases, Allowed Administrative Claims will be paid in full
              on the Effective Date or as soon thereafter as is reasonably practicable.

             At least one Class of Impaired Claims will have accepted the Plan, determined without including any
              acceptance of the Plan by any insider holding a Claim in that Class.

             Confirmation is not likely to be followed by liquidation or the need for further financial reorganization
              of the Debtors or any successors thereto under the Plan.

             All fees of the type described in 28 U.S.C. § 1930, including the fees of the U.S. Trustee, will be paid
              as of the Effective Date.

          Section 1126(c) of the Bankruptcy Code provides that a class of claims has accepted a plan of
reorganization if such plan has been accepted by creditors that hold at least two-thirds in amount and more than
one-half in number of the allowed claims of such class. Section 1126(d) of the Bankruptcy Code provides that a
class of interests has accepted a plan of reorganization if such plan has been accepted by holders of such interests
that hold at least two-thirds in amount of the allowed interests of such class.

         B.       Best Interests of Creditors—Liquidation Analysis.

         Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires that a bankruptcy
court find, as a condition to confirmation, that a chapter 11 plan provides, with respect to each class, that each holder
of a claim or an interest in such class either (i) has accepted the plan or (ii) will receive or retain under the plan
property of a value, as of the effective date of the plan, that is not less than the amount that such holder would
receive or retain if the debtors liquidated under chapter 7 of the Bankruptcy Code.

         To demonstrate compliance with the “best interests” test, the Debtors, with the assistance of their advisors,
prepared the Liquidation Analysis, attached hereto as Exhibit B, showing that the value of the distributions provided
to Holders of Allowed Claims and Interests under the Plan would be the same or greater than under a hypothetical
chapter 7 liquidation. As reflected in the Liquidation Analysis, the Debtors believe that liquidation of the Debtors’
business under chapter 7 of the Bankruptcy Code would result in substantial diminution in the value to be realized by
Holders of Allowed Claims or Interests as compared to distributions contemplated under the Plan. Consequently,
the Debtors and their management believe that Confirmation of the Plan will provide a substantially greater return to
Holders of Allowed Claims or Interests than would a liquidation under chapter 7 of the Bankruptcy Code.

          In a typical chapter 7 case, a trustee is elected or appointed to liquidate a debtor’s assets and to make
distributions to creditors in accordance with the priorities established in the Bankruptcy Code. Generally, secured


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creditors are paid first from the proceeds of sales of their collateral. If any assets remain in the bankruptcy estate
after satisfaction of secured creditors’ claims from their collateral, administrative expenses are next to be paid.
Unsecured creditors are paid from any remaining sale proceeds, according to their respective priorities. Unsecured
creditors with the same priority share in proportion to the amount of their allowed claims in relationship to the total
amount of allowed claims held by all unsecured creditors with the same priority. Finally, interest holders receive the
balance that remains, if any, after all creditors are paid.

         All or substantially all of the assets of the Debtors’ business will have been liquidated through the Sale
Transaction and the Plan effects a wind down of the Debtors’ remaining assets not otherwise acquired in the Sale
Transaction. Although a chapter 7 liquidation would achieve the same goal, the Debtors believe that the Plan
provides a greater recovery to Holders of Allowed Claims than would a chapter 7 liquidation.

         The liquidation of the Debtors’ assets in chapter 7 would result in substantially less value than the proceeds
of the Sale Transaction to FTX US. Notably, in the context of a chapter 7 liquidation, the Debtors would not receive
the upfront cash payment, the earn-out, and other Sale Transaction proceeds that provide significantly greater value
to Holders of Account Holder Claims and OpCo General Unsecured Claims than in a chapter 7 liquidation scenario.
Moreover, the proceeds of the sale of the Debtors’ Cryptocurrency would likely be less in a fire sale liquidation than
in an orderly sale under the Plan.

          Liquidating the Debtors’ Estates under the Plan likely provides Holders of Allowed Claims with a larger,
more timely recovery in part because of the expenses that would be incurred in a chapter 7 liquidation, including the
potential added time (thereby reducing the present value of any recovery for Holders) and expense incurred by the
chapter 7 trustee and any retained professionals in familiarizing themselves with the Chapter 11 Cases and the
Debtors’ Cryptocurrency. See, e.g., 11 U.S.C. § 326(a) (providing for compensation of a chapter 7 trustee); 11
U.S.C. 503(b)(2) (providing administrative expense status for compensation and expenses of a chapter 7 trustee and
such trustee’s professionals). Additionally, the Debtors’ Estates would continue to be obligated to pay all unpaid
expenses incurred by the Debtors during the Chapter 11 Cases (such as compensation for Professionals), which may
constitute Allowed Claims in any chapter 7 case. The sale proceeds would likely be less in a fire sale liquidation
than in a liquidation under the Plan.

         The conversion to chapter 7 would also require entry of a new bar date. See Fed. R. Bankr. P. 1019(2);
3002(c). Thus, the amount of Claims ultimately filed and Allowed against the Debtors could materially increase,
thereby further reducing creditor recoveries versus those available under the Plan.

          In light of the foregoing, the Debtors submit that a chapter 7 liquidation would result in reduced sale
proceeds and recoveries, increased expenses, delayed distributions, and the prospect of additional claims that were
not asserted in the Chapter 11 Cases. Accordingly, the Debtors believe that distributions under the Plan would
provide Holders of Claims and Interests with the same or greater recovery than under a hypothetical chapter 7
liquidation.

         C.        Feasibility.

         Section 1129(a)(11) of the Bankruptcy Code requires that confirmation of a chapter 11 plan is not likely to
be followed by the liquidation, or the need for further financial reorganization of the debtor, or any successor to the
debtor (unless such liquidation or reorganization is proposed in such plan of reorganization).

         The Plan provides for the liquidation and distribution of the Debtors’ assets. Accordingly, the Debtors
believe that all Plan obligations will be satisfied without the need for further reorganization of the Debtors.

         D.        Acceptance by Impaired Classes.

         The Bankruptcy Code requires that, except as described in the following section, each impaired class of
claims or interests must accept a plan in order for it to be confirmed. A class that is not “impaired” under a plan is
deemed to have accepted the plan and, therefore, solicitation of acceptances with respect to the class is not required.
A class is “impaired” unless the plan: (i) leaves unaltered the legal, equitable, and contractual rights to which the
claim or the interest entitles the holder of the claim or interest; (ii) cures any default, reinstates the original terms of
such obligation, compensates the holder for certain damages or losses, as applicable, and does not otherwise alter the



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legal, equitable, or contractual rights to which such claim or interest entitles the holder of such claim or interest; or
(c) provides that, on the consummation date, the holder of such claim or equity interest receives cash equal to the
allowed amount of that claim or, with respect to any equity interest, any fixed liquidation preference to which the
holder of such equity interest is entitled or any fixed price at which the debtor may redeem the security.

          Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by a class of impaired claims as
acceptance by holders of at least two-thirds in dollar amount and more than one-half in number of allowed claims in
that class, counting only those claims that actually voted to accept or to reject the plan. Thus, a class of claims will
have voted to accept the plan only if two-thirds in amount and a majority in number of creditors actually voting cast
their ballots in favor of acceptance. For a class of impaired interests to accept a plan, section 1126(d) of the
Bankruptcy Code requires acceptance by interest holders that hold at least two-thirds in amount of the allowed
interests of such class, counting only those interests that actually voted to accept or reject the plan. Thus, a class of
interests will have voted to accept the plan only if two-thirds in amount actually voting cast their ballots in favor of
acceptance.

         E.        Confirmation without Acceptance by All Impaired Classes.

         Section 1129(b) of the Bankruptcy Code allows a bankruptcy court to confirm a plan even if all impaired
classes have not accepted the plan, provided that the plan has been accepted by at least one impaired class of claims.
Pursuant to section 1129(b) of the Bankruptcy Code, notwithstanding an impaired class rejection or deemed
rejection of the plan, the plan will be confirmed, at the plan proponent’s request, in a procedure commonly known as
“cramdown” so long as the plan does not “discriminate unfairly” and is “fair and equitable” with respect to each
class of claims or interests that is impaired under, and has not accepted, the plan. Notably, the Alameda Loan
Facility Claims are Impaired under the Plan and the Alameda Loan Facility Claims are being contractually conveyed
to OpCo pursuant to the Asset Purchase Agreement. OpCo is entitled to any recovery on account of the Alameda
Loan Facility Claims under the Plan. The treatment of Class 4 Alameda Loan Facility Claims is contractually settled
pursuant to the Asset Purchase Agreement.

          If any Impaired Class of Claims or Interests rejects the Plan, including Classes of Claims or Interests
deemed to reject the Plan, the Debtors will request Confirmation of the Plan, as it may be modified from time to
time, utilizing the “cramdown” provision under section 1129(b) of the Bankruptcy Code. The Debtors reserve the
right to modify the Plan in accordance with Article X of the Plan to the extent, if any, that Confirmation pursuant to
section 1129(b) of the Bankruptcy Code requires modification, including by modifying the treatment applicable to a
Class of Claims to render such Class of Claims Unimpaired to the extent permitted by the Bankruptcy Code and the
Bankruptcy Rules or to withdraw the Plan as to such Debtor. Class 3 Account Holder Claims and Class 55A OpCo
General Unsecured Claims are treated the same under the Plan, Class 5B HoldCo General Unsecured Claims and
Class 5C TopCo General Unsecured Claims will receive the recovery available at HoldCo or TopCo, as applicable,
and the Holders of the Class 4 Alameda Loan Facility Claims has agreed to settle such claim through the Asset
Purchase Agreement. Therefore, the Plan does not discriminate unfairly.

          The Debtors believe that the Plan and the treatment of all Classes of Claims and Interests under the Plan
satisfy the requirements for cramdown and the Debtors will be prepared to meet their burden to establish that the
Plan can be Confirmed pursuant to section 1129(b) of the Bankruptcy Code as part of Confirmation of the Plan.

                   1.       No Unfair Discrimination.

          The “unfair discrimination” test applies with respect to classes of claim or interests that are of equal priority
but are receiving different treatment under a proposed plan. The test does not require that the treatment be the same
or equivalent, but that the treatment be “fair.” In general, bankruptcy courts consider whether a plan discriminates
unfairly in its treatment of classes of claims of equal rank (e.g., classes of the same legal character). Bankruptcy
courts will take into account a number of factors in determining whether a plan discriminates unfairly. Under certain
circumstances, a proposed plan may treat two classes of unsecured creditors differently without unfairly
discriminating against either class.




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                   2.       Fair and Equitable Test.

          The “fair and equitable” test applies to classes of different priority and status (e.g., secured versus
unsecured) and includes the general requirement that no class of claims receive more than 100 percent of the amount
of the allowed claims in such class. As to each non-accepting class and as set forth below, the test sets different
standards depending on the type of claims or interests in such class. The Debtors believe that the Plan satisfies the
“fair and equitable” requirement, notwithstanding the fact that certain Classes are deemed to reject the Plan. There
is no Class receiving more than a 100 percent recovery and no junior Class is receiving a distribution under the Plan
until all senior Classes have received a 100 percent recovery or agreed to receive a different treatment under the
Plan.

                            (a)       Unsecured Claims.

         The condition that a plan be “fair and equitable” to a non-accepting class of unsecured claims includes the
requirement that either: (i) the plan provides that each holder of a claim of such class receive or retain on account of
such claim property of a value, as of the effective date, equal to the allowed amount of such claim; or (ii) the holder
of any claim or any interest that is junior to the claims of such class will not receive or retain any property under the
plan on account of such junior claim or junior interest, subject to certain exceptions.

                            (b)       Interests.

          The condition that a plan be “fair and equitable” to a non-accepting class of interests, includes the
requirements that either: (i) the plan provides that each holder of an interest in that class receives or retains under
the plan on account of that interest property of a value, as of the effective date, equal to the greater of:
(a) the allowed amount of any fixed liquidation preference to which such holder is entitled; (b) any fixed redemption
price to which such holder is entitled; or (c) the value of such interest; or (ii) the holder of any interest that is junior
to the interests of such class will not receive or retain any property under the plan on account of such junior interest.

XI.      CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

         A.        Introduction.

          The following discussion is an overview of certain U.S. federal income tax consequences of the
consummation of the Plan to the Debtors, the Wind-Down Debtors, and to Holders entitled to vote to accept or
reject the Plan. This overview is based on the U.S. Internal Revenue Code of 1986, as amended (“IRC”), the U.S.
Treasury Regulations promulgated thereunder (the “Treasury Regulations”), judicial authorities, published
administrative positions of the U.S. Internal Revenue Service (the “IRS”), and other applicable authorities
(collectively, “Applicable Tax Law”), all as in effect on the date of this Disclosure Statement and all of which are
subject to change or differing interpretations, possibly with retroactive effect.

          The application of Applicable Tax Law to numerous material aspects of the transactions contemplated by
the Plan, and to cryptocurrency in general, is subject to an unusually high level of uncertainty. No opinion of
counsel has been or will be obtained and the Debtors have not requested, and do not expect to seek, a ruling or
determination from the IRS as to any of the tax consequences of the Plan. No portion of this discussion is binding
upon the IRS or the courts, and no assurance can be given that the IRS would not assert, or that a court would not
sustain, a different position than any position that the Debtors or Wind-Down Debtors take.

      ALL HOLDERS OF CLAIMS AND INTERESTS ARE URGED, IN THE STRONGEST TERMS
POSSIBLE, TO CONSULT WITH THEIR TAX ADVISORS AS TO THE PARTICULAR TAX
CONSEQUENCES TO THEM OF THE TRANSACTIONS CONTEMPLATED BY THE PLAN. THIS
DISCUSSION DOES NOT CONSTITUTE TAX OR LEGAL ADVICE TO HOLDERS OF CLAIMS OR
INTERESTS.

          This discussion does not purport to address all aspects of U.S. federal income taxation that may be relevant
to certain Holders in light of their individual circumstances. This discussion also does not address tax issues with
respect to such Holders that are subject to special treatment under the U.S. federal income tax laws (including, for



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example, accrual-method U.S. Holders (as defined below) that prepare an “applicable financial statement” (as
defined in Section 451 of the IRC), banks, mutual funds, governmental authorities or agencies, pass-through entities,
beneficial owners of pass-through entities, subchapter S corporations, dealers and traders in securities, insurance
companies, financial institutions, tax-exempt organizations, controlled foreign corporations, passive foreign
investment companies, U.S. Holders (as defined below) whose functional currency is not the U.S. dollar, U.S.
expatriates, broker-dealers, small business investment companies, Persons who are related to the Debtors within the
meaning of the IRC, Purchaser (including, for the avoidance of doubt, in Purchaser’s capacity as a Holder of
Interests in the Debtors), Persons liable for alternative minimum tax, Persons (other than, if applicable, the Debtors)
using a mark-to-market method of accounting, Holders who are themselves in bankruptcy, real estate investment
companies and regulated investment companies and those holding, or who will hold, consideration received pursuant
to the Plan as part of a hedge, straddle, conversion, or other integrated transaction). No aspect of state, local,
non-income, or non-U.S. taxation is addressed (including, for the avoidance of doubt, the application of Canadian
tax law to Holders or to the Debtors, which issues are under further review). Furthermore, this preliminary overview
assumes that a Holder holds only Claims or Interests in a single Class and, except as set forth below, holds such
Claims or Interests only as “capital assets” (within the meaning of section 1221 of the IRC). This preliminary
overview also assumes that the various debt and other arrangements to which the Debtors and Wind-Down Debtors
are or will be a party will be respected for U.S. federal income tax purposes in accordance with their form, and, to
the extent relevant, that the Claims constitute interests in the Debtors “solely as a creditor” for purposes of section
897 of the IRC. This preliminary overview does not discuss differences in tax consequences to Holders that act or
receive consideration in a capacity other than any other Holder of a Claim or Interest of the same Class or Classes,
and the tax consequences for such Holders may differ materially from that described below. The U.S. federal
income tax consequences of the implementation of the Plan to the Debtors, Wind-Down Debtors, and Holders of
Claims and Interests described below also may vary depending on the ultimate nature of any Restructuring
Transactions that the Debtors and/or Wind-Down Debtors engage in. This discussion does not address the U.S.
federal income tax consequences to Holders (a) whose Claims are Unimpaired or otherwise entitled to payment in
full under the Plan, or (b) that are deemed to reject the Plan.

          For purposes of this discussion, a “U.S. Holder” is a Holder of a Claim or Interest that for U.S. federal
income tax purposes is: (1) an individual who is a citizen or resident of the United States; (2) a corporation (or other
entity treated as a corporation for U.S. federal income tax purposes) created or organized under the laws of the
United States, any state thereof or the District of Columbia; (3) an estate the income of which is subject to U.S.
federal income taxation regardless of the source of such income; or (4) a trust (a) if a court within the United States
is able to exercise primary jurisdiction over the trust’s administration and one or more United States persons (within
the meaning of section 7701(a)(30) of the IRC) has authority to control all substantial decisions of the trust or
(b) that has a valid election in effect under applicable Treasury Regulations to be treated as a United States person
(within the meaning of section 7701(a)(30) of the IRC). For purposes of this discussion, a “Non-U.S. Holder” is any
Holder that is neither a U.S. Holder nor a partnership (or other entity treated as a partnership or other pass-through
entity for U.S. federal income tax purposes).

          If a partnership (or other entity treated as a partnership or other pass-through entity for U.S. federal income
tax purposes) is a Holder, the tax treatment of a partner (or other beneficial owner) generally will depend upon the
status of the partner (or other beneficial owner) and the activities of the partner (or other beneficial owner) and the
entity. Partnerships (or other pass-through entities) and partners (or other beneficial owners) of partnerships (or
other pass-through entities) that are Holders are urged to consult their own respective tax advisors regarding the U.S.
federal income tax consequences of the Plan.

          The below discussion assumes that the Debtors obtained tax ownership of cryptocurrency deposits when
customers made such deposits. The Debtors believe that position is the right one based on, among other things, the
fact that the Debtors had the right to transfer, rehypothecate, and otherwise deal in deposited cryptocurrency. If the
Debtors were determined to not have tax ownership of the cryptocurrency, the consequences of the Plan to Holders
of Claims and the Debtors would vary significantly from the discussion below.

      ACCORDINGLY, THE FOLLOWING DISCUSSION OF CERTAIN U.S. FEDERAL INCOME
TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A SUBSTITUTE
FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON THE INDIVIDUAL CIRCUMSTANCES



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PERTAINING TO A HOLDER. THIS DISCUSSION DOES NOT CONSTITUTE TAX OR LEGAL
ADVICE TO HOLDERS OF CLAIMS OR INTERESTS.

         B.        Certain U.S. Federal Income Tax Consequences of the Plan to the Debtors.

          The Plan is being structured as a taxable sale of certain assets of the Debtors (the “Taxable Transaction”)
and, potentially, a deemed “in-kind” distribution of cryptocurrency to customers in satisfaction of Claims related to
deposits of such cryptocurrency (the “In-Kind Distribution”). As a result and in connection therewith, the Debtors
will realize gain or loss in an amount equal to the difference between the value of the consideration received by the
Debtors (including, for this purpose, assumption of liabilities) and the Debtors’ tax basis in such assets. Gain will be
reduced by the amount of tax attributes (if any) available for use by the Debtors, and any remaining gain will be
recognized by the Debtors and result in a cash tax obligation. Amounts subject to the In-Kind Distribution may be
treated as a non-taxable transaction with respect to the underlying cryptocurrency, combined with incurrence of
income or cancellation of indebtedness income related to any difference between the value of what customers
receive in exchange for their Claims and the amount of their Claims (determined without regard to “dollarization” of
such Claims).

          Thus, the U.S. federal income tax consequences of the Taxable Transaction to the Debtors will in large part
be a function of the Debtors’ tax basis in their assets that the Debtors transfer or are deemed to have transferred,
including the Debtors’ cryptocurrency. There is generally no direct guidance under Applicable Tax Law on how to
treat a customer’s transfer of cryptocurrency to a business like the Debtors’ (and as a result there is significant (and
unusual) uncertainty with respect to the Debtors’ tax basis in such cryptocurrency) or the transferee’s utilization of
the transferred cryptocurrency (for example, and without limitation, holding it and doing nothing more, lending it,
staking it, selling it, or using it in a short sale). Accordingly, there is significant uncertainty with respect to the tax
consequences of the Taxable Transaction to the Debtors.

          It is possible that the IRS or a court could disagree with the Debtors’ determination of their basis in their
assets, including the Debtors’ cryptocurrency. Any such disagreement could lead to a redetermination of the
Debtors’ basis in their assets and a resultant increase in the Debtors’ tax liability from the Taxable Transaction,
potentially in a way that has a materially adverse impact on the Debtors. The Debtors, together with their advisors,
continue to study this issue.

         Because the Plan is being structured as a taxable transaction, the Debtors’ tax attributes (if any) will not
survive the implementation of the Plan. Accordingly, the rules regarding cancellation of indebtedness income are
generally inapplicable and the rules regarding section 382 of the IRC are inapplicable and, in each case, not
discussed further.

        The Debtors continue to evaluate how “dollarization” of Claims as of the Effective Date may modify the
above analysis, either with respect to the implementation of the Plan itself or with respect to any administrative tax
period more generally. The Debtors currently cannot say with certainty that there will not be material administrative
income tax liabilities that must be satisfied under the Plan.




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           C.        Certain U.S. Federal Income Tax Consequences of the Plan to U.S. Holders4355 of Allowed
                     Claims Entitled to Vote.

                     1.        Taxable Transaction.

                        (a)     U.S. Federal Income Tax Consequences to Certain U.S. Holders of Allowed
Class 3 Claims (Account Holder Claims) and Class 5 Claims (General Unsecured Claims)

         Each Holder of an Allowed Account Holder Claim will receive in full and final satisfaction, compromise,
settlement, release, and discharge of such Allowed Account Holder Claim: (i) its Pro Rata share of Transferred
Cryptocurrency Value, in Cryptocurrency or Cash as provided in the Customer Migration Protocol; (ii) its Pro Rata
share of Distributable OpCo Cash; and (iii) to effectuate distributions from the Wind-Down Entity if there is a
Wind-Down Trust, its Pro Rata share of the Wind-Down Trust Units, (if any) on account of any recovery of
Wind-Down Trust Assets attributable to OpCo; provided that any distributions from a Wind-Down Debtor or on
account of Wind-Down Trust Units shall only be made following payment in full of Allowed Administrative Claims,
Allowed Priority Tax Claims, Allowed Secured Tax Claims, and Allowed Other Priority Claims.

           Similarly, each Holder of an Allowed General Unsecured Claim will receive in full and final satisfaction,
compromise, settlement, release, and discharge of such Allowed General Unsecured Claim: (i) its Pro Rata share of
all Transferred Cryptocurrency Value in Cryptocurrency or Cash as provided in the Customer Migration Protocol;
(ii) its Pro Rata share of Distributable Cash; and (iii) to effectuate distributions from the Wind-Down Entity, its Pro
Rata share of the Wind-Down Trust Units, provided that any distributions on account of Wind-Down Trust Units
shall only be made following payment in full of Allowed Administrative Claims, Allowed Priority Tax Claims,
Allowed Secured Tax Claims, and Allowed Other Priority Claims.

         There is a material risk that U.S. Holders of Account Holder Claims and General Unsecured Claims will
have a taxable event in connection with the consummation of the Plan or the “dollarization” of Clams (or separate
taxable events for both events). This is the case even though the Taxable Transaction contemplates the migration of
customers to an acquiring cryptocurrency platform. To the extent any taxable event occurs, tax liability would be
based on the difference between the Holder’s tax basis in its Claim compared to the value it receives in respect of
such Claim, with such gain or loss generally being capital in nature.

          The tax treatment of Holders under the Plan depends significantly on the tax treatment of customer deposits
in the first instance. There is uncertainty with respect to whether deposits are taxable when they occur, but the
Debtors generally expect that most customers have taken the position that the act of depositing cryptocurrency with
the Debtors is not a taxable event. While there is substantial theoretical debate regarding that position, it is a
position that has some level of support in the idea that the exchange of cryptocurrency for a contractual right to the
return of such cryptocurrency is not a transaction that results in a realization event under section 1001 of the IRC
because it does not involve an exchange of property “differing materially either in kind or in extent.” Such position
relies, among other things, on caselaw that pre-dates the enactment of section 1058 of the IRC and analogies to the
treatment afforded to securities lending under section 1058. On the other hand, there is also support for the position
that the initial deposit of cryptocurrency is a taxable event because of various provisions in the Terms of Use that
narrow a customer’s rights with respect to the deposited cryptocurrency (in particular, provisions related to the
Debtors’ ability to not support “airdropped” cryptocurrency or cryptocurrency issued pursuant to a “hard fork”).

         To the extent an initial deposit of cryptocurrency was not taxable, there is an argument that the same
position could be taken with respect to the return by the Debtors of cryptocurrency to customers, because the
exchange of the contractual right to the return of such cryptocurrency for the underlying cryptocurrency is itself not
an exchange of property “differing materially either in kind or in extent.” However, under principles that typically
apply to determine whether obligations have been meaningfully modified, including principles under section
1.1001-3 of the Treasury Regulations (which are not directly applicable here, but are informative), a transaction that
involves an exchange of a contractual right owed by the Debtors for a contractual right owed by a different party is


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       Based on the Debtors’ understanding of the residence of Holders, the Debtors do not discuss any U.S. federal income tax
       consequences of the consummation of the Plan to Non-U.S.-Holders.




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highly likely to be treated as taxable. The Debtors believe it would be supportable for Holders to take the position
that, pursuant to the consummation of the Plan whereby customers may migrate to Purchaser’s platform (as further
described in the Customer Migration Protocol), (a) the Debtors are deemed to transfer cryptocurrency in kind in a
non-taxable transaction; and, immediately thereafter, (b) Holders are deemed to re-deposit cryptocurrency to the new
entity, again, in a non-taxable or a partially non-taxable transaction. The Debtors also continue to study whether this
argument, when combined with a general “bifurcation” approach that separates the recovery Holders receive into
cryptocurrency and non-cryptocurrency components, may permit Holders to take the position that, in the context of a
Taxable Transaction, Holders retain their cryptocurrency positions in a tax-free manner, even if the receipt of other
consideration constitutes a taxable exchange. The Debtors emphasize that these positions are unclear.

          The ability to take the position that an In-Kind Distribution is not taxable to Holders is subject to increased
risk as a result of the “dollarization” of Claims. As noted above, it may be the case that “dollarization” resulted, or
will result, in a taxable event to customers, either as of the Petition Date or as of the Confirmation Date. If such a
taxable event were determined to have occurred, it would be because the contract to receive particular
cryptocurrency was modified, as a result of dollarization, to have an economic “cap.” In light of this, it is unclear
whether the argument described above that supports tax-free treatment of an In-Kind Distribution could still apply.
Such a “capped” contract arguably “differ[s] materially either in kind or in extent” from the underlying
cryptocurrency. However, the Debtors also believe it would be reasonable to assert that this is not a material enough
change to underlying entitlements to cause tax events, either because of dollarization in the first instance or to the
extent of an In-Kind Distribution.

         The Debtors emphasize in the strongest possible terms that the law applicable to deposits and
withdrawals of cryptocurrency from the Debtors, “dollarization,” and the consummation of the Plan is
subject to extreme uncertainty. There is effectively no “controlling” authority on any of these issues.
Accordingly, there is a material risk that the positions described above may not be sustained. The concept of
a non-taxable in-kind distribution referred to above rests in large part on the theory that the property that
the Debtors would distribute in-kind to a Holder would be in respect of an obligation that does not differ
“materially either in kind or in extent” from the obligation that arose when the Holder deposited property
with the Debtors. Given the structure of the Plan, and in particular the way in which the Debtors have
valued Claims as of the Petition Date, there is a significant risk that the Claim that a Holder has against the
Debtors as of the Petition Date is with respect to property that differs “materially either in kind or in extent”
from the property that the Holder previously deposited with the Debtors, such that the Debtors would be
distributing property in respect of an obligation that differs “materially either in kind or in extent” from the
one that existed when the Holder deposited property with the Debtors (and thus tax-free in-kind treatment
would likely be unavailable).

          Very generally, to the extent a transaction is taxable to a Holder (which, for the avoidance of doubt, would
include any Holder who receives only Cash under the Plan), each such U.S. Holder would recognize gain or loss in
an amount equal to the difference between the fair market value of the consideration (be it Cash, Cryptocurrency,
and/or Wind-Down Trust Units) received under the Plan and such U.S. Holder’s adjusted tax basis in the Claim
exchanged therefor. The character of any such gain or loss as capital or ordinary would be determined by a number
of factors including the tax status of the U.S. Holder, whether the Claim constituted a capital asset in the hands of the
U.S. Holder, and whether and to what extent the U.S. Holder had previously claimed a bad-debt deduction with
respect to its Claim. If any such recognized gain or loss were capital in nature, it generally would be long-term
capital gain if the U.S. Holder held its Claim for more than one year at the time of the exchange. Such Holder’s tax
basis in the Wind-Down Trust Units and any Cryptocurrency received in a taxable exchange should equal the fair
market value of such property as of the Effective Date, and such Holder’s holding period in any such consideration
should begin on the day after the Effective Date.

         A U.S. Holder should not recognize gain or loss in connection with any distribution from a Wind-Down
Debtor (if any) until such Wind-Down Debtor makes such distribution.

         As noted repeatedly herein, nothing in this disclosure constitutes tax or legal advice to Holders. However,
the Debtors wish to highlight one area of tax consideration that has been the subject of significant speculation in
online resources and similar. The above language indicates that customers may be able to take a loss in connection
with the consummation of the Plan. The Debtors generally expect such loss would arise when the Plan is



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consummated, and not before. There has been significant speculation in various sources with respect to whether a
customer can take a loss, potentially under section 166 of the Tax Code (related to bad debts, including non-business
bad debts). There are significant timing limitations on the ability to claim a loss under section 166 of the Tax Code.
In particular, other than with respect to certain types of taxpayers that can take partial bad debt deductions in
connection with a “charge-off” under section 166(a)(2) of the Tax Code, most taxpayers can only take a deduction
under 166 when a debt has become entirely worthless. As set forth in the Plan, the Debtors do not believe customer
claims will ever be entirely worthless, as all transactions under contemplation by the Debtors contemplate that there
will be some form of recovery received by customers in respect of their claims. Accordingly, the Debtors are of the
view that the overwhelming majority of customers are not able to take a section 166 loss with respect to their claims
prior to the consummation of the Plan. However, in the event “dollarization” of Claims results in a taxable event to
customers, customers likely can claim a loss in connection with such “dollarization.”

                           (b)       U.S. Federal Income Tax Consequences to Certain U.S. Holders of Allowed
Class 4 Claims

          All rights, titles, and interests in the Alameda Loan Facility Claims shall be transferred to OpCo, and shall
subsequently be cancelled, released, discharged and extinguished as of the Effective Date, and will be of no further
force or effect, and Holders of Alameda Loan Facility Claims will not receive any distribution on account of such
Alameda Loan Facility Claims. The treatment of Class 4 Alameda Loan Facility Claims is contractually settled
pursuant to the Asset Purchase Agreement, pursuant to which its transfer to OpCo is treated as consideration paid by
Purchaser for the taxable purchase of the Acquired Assets. As such, U.S. Holders of Allowed Class 4 Claims may
recognize gain or loss on the disposition of the Alameda Loan Facility Claims in an amount equal to the difference
between their basis in such Claim and the fair market value thereof. The tax consequences to Purchaser and its
Affiliates of its acquisition of the Acquired Assets is not further discussed in this discussion.

                           (c)      U.S. Federal Income Tax Consequences to Certain U.S. Holders of Allowed
Class 5A Claims

         Each Holder of an Allowed OpCo General Unsecured Claim will receive in full and final satisfaction,
compromise, settlement, release, and discharge of such Allowed OpCo General Unsecured Claim: (i) its Pro Rata
share of Transferred Cryptocurrency Value, in Cryptocurrency or Cash as provided in the Customer Migration
Protocol; (ii) its Pro Rata share of Distributable OpCo Cash; and (iii) to effectuate distributions from the
Wind-Down Entity if there is a Wind-Down Trust, its Pro Rata share of the Wind-Down Trust Units (if any) on
account of any recovery of Wind-Down Trust Assets attributable to OpCo; provided that any distributions from a
Wind-Down Debtor or on account of Wind-Down Trust Units shall only be made following payment in full of
Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed Secured Tax Claims, and Allowed Other
Priority Claims.

         Each such U.S. Holder should recognize gain or loss in an amount equal to the difference between the fair
market value of the consideration (be it Cash, Cryptocurrency, and/or Wind-Down Trust Units) received under the
Plan and such U.S. Holder’s adjusted tax basis in the Claim exchanged therefor. The character of any such gain or
loss as capital or ordinary would be determined by a number of factors including the tax status of the U.S. Holder,
whether the Claim constituted a capital asset in the hands of the U.S. Holder, and whether and to what extent the
U.S. Holder had previously claimed a bad-debt deduction with respect to its Claim. If any such recognized gain or
loss were capital in nature, it generally would be long-term capital gain if the U.S. Holder held its Claim for more
than one year at the time of the exchange. Such Holder’s tax basis in the Wind-Down Trust Units and any
Cryptocurrency received in a taxable exchange should equal the fair market value of such property as of the
Effective Date, and such Holder’s holding period in any such consideration should begin on the day after the
Effective Date.

         A U.S. Holder should not recognize gain or loss in connection with any distribution from a Wind-Down
Debtor (if any) until such Wind-Down Debtor makes such distribution.

        The foregoing assumes that no Allowed Class 5A Claim is in respect of Cryptocurrency deposited with the
Debtors. If any such Allowed Class 5A Claim were in respect of Cryptocurrency deposited with the Debtors, the




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considerations described in “U.S. Federal Income Tax Consequences to Certain U.S. Holders of Allowed Class 3
Claims (Account Holder Claims)” would apply.

                            (d)       U.S. Federal Income Tax Consequences to Certain U.S. Holders of Allowed
Class 5B and 5C Claims

         Each Holder of an Allowed HoldCo General Unsecured Claim will receive in full and final satisfaction,
compromise, settlement, release, and discharge of such Allowed HoldCo General Unsecured Claim: (i) its Pro Rata
share of Distributable HoldCo Cash; and (ii) to effectuate distributions from the Wind-Down Entity if there is a
Wind-Down Trust, its Pro Rata share of the Wind-Down Trust Units (if any) on account of any recovery of
Wind-Down Trust Assets attributable to HoldCo; provided that any distributions on account of Wind-Down Trust
Units shall only be made following payment in full of Allowed Administrative Claims, Allowed Priority Tax Claims,
Allowed Secured Tax Claims, and Allowed Other Priority Claims.

           Similarly, each Holder of an Allowed TopCo General Unsecured Claim will receive in full and final
satisfaction, compromise, settlement, release, and discharge of such Allowed TopCo General Unsecured Claim:
(i) its Pro Rata share of Distributable TopCo Cash; and (ii) to effectuate distributions from the Wind-Down Entity if
there is a Wind-Down Trust, its Pro Rata share of the Wind-Down Trust Units (if any) on account of any recovery of
Wind-Down Trust Assets attributable to TopCo; provided that any distributions on account of Wind-Down Trust
Units shall only be made following payment in full of Allowed Administrative Claims, Allowed Priority Tax Claims,
Allowed Secured Tax Claims, and Allowed Other Priority Claims.

         Each such U.S. Holder should recognize gain or loss in an amount equal to the difference between the fair
market value of the consideration (be it Cash and/or Wind-Down Trust Units) received under the Plan and such U.S.
Holder’s adjusted tax basis in the Claim exchanged therefor. The character of any such gain or loss as capital or
ordinary would be determined by a number of factors including the tax status of the U.S. Holder, whether the Claim
constituted a capital asset in the hands of the U.S. Holder, and whether and to what extent the U.S. Holder had
previously claimed a bad-debt deduction with respect to its Claim. If any such recognized gain or loss were capital
in nature, it generally would be long-term capital gain if the U.S. Holder held its Claim for more than one year at the
time of the exchange. Such Holder’s tax basis in the Wind-Down Trust Units received in a taxable exchange should
equal the fair market value of such property as of the Effective Date, and such Holder’s holding period in any such
consideration should begin on the day after the Effective Date.

         A U.S. Holder should not recognize gain or loss in connection with any distribution from a Wind-Down
Debtor (if any) until such Wind-Down Debtor makes such distribution.

                            (e)       (c) Net Investment Income Tax

          Certain U.S. Holders that are individuals, estates, or trusts are required to pay an additional 3.8 percent tax
on, among other things, gains from the sale or other disposition of capital assets. U.S. Holders that are individuals,
estates, or trusts should consult their tax advisors regarding the effect, if any, of this tax provision on their ownership
and disposition of any consideration to be received under the Plan.

                            (f)       (d) Limitations on Use of Capital Losses

          U.S. Holders who recognize capital losses as a result of the distributions under the Plan will be subject to
limits on their use of capital losses. For non-corporate U.S. Holders, capital losses may be used to offset any capital
gains (without regard to holding periods) plus ordinary income to the extent of the lesser of (a) $3,000 ($1,500 for
married individuals filing separate returns) or (b) the excess of the capital losses over the capital gains.
Non-corporate U.S. Holders may carry over unused capital losses and apply them to capital gains and a portion of
their ordinary income for an unlimited number of years. For corporate U.S. Holders, losses from the sale or
exchange of capital assets may only be used to offset capital gains. Corporate U.S. Holders who have more capital
losses than can be used in a tax year may be allowed to carry over the excess capital losses for use in the five years
following the capital loss year, and are allowed to carry back unused capital losses to the three years preceding the
capital loss year.




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                 2.      Certain U.S. Federal Income Tax Consequences to U.S. Holders of Owning and
Disposing of Cryptocurrency Received Under the Plan.

         The U.S. federal income tax consequences to a U.S. Holder of owning and disposing of Cryptocurrency
received under the Plan will depend upon a variety of factors outside of the control and/or knowledge of the
Debtors, including (i) the U.S. federal income tax characterization of the relationship between such Holder and
Purchaser, and (ii) the activities that Holder and/or Purchaser pursue with respect to such Cryptocurrency on
Purchaser’s platform. U.S. Holders are urged to consult their own tax advisors regarding the proper characterization
of such relationship and the tax consequences that may result therefrom.

                  3.       The Wind-Down Entity.

         The Plan provides that on the Effective Date and thereafter if additional Wind-Down Entity Assets become
available, the Wind-Down Entity Assets shall automatically vest in the Wind-Down Entity. Thereupon, the Debtors
shall have no interest in or with respect to the Wind-Down Entity Assets or the Wind-Down Entity.

                           (a)       Liquidating Trust Treatment

          Although not free from doubt, other than with respect to any assets that are subject to potential disputed
claims of ownership or uncertain distributions, thea Wind-Down Trust (if any) may be classified as a “liquidating
trust” under section 301.7701-4(d) of the Treasury Regulations and qualify as a “grantor trust” under section 671 of
the Tax Code. It may be that such treatment does not apply given the structure of the Plan. If such treatment did
apply to any assets of the Wind-Down Trust, any beneficiaries of the Wind-Down Trust would be treated as grantors
and deemed owners thereof and, for all U.S. federal income tax purposes, any beneficiaries would be treated as if
they had received a distribution of an undivided interest in the assets of the Wind-Down Trust and then contributed
such undivided interest to the Wind-Down Trust. Other than with respect to any assets of the Wind-Down Trust that
are subject to potential disputed claims of ownership or uncertain distributions, the treatment of the deemed transfer
of assets to applicable Holders of Claims prior to the contribution of such assets to the Wind-Down Trust should
generally be consistent with the treatment described above with respect to the receipt of the applicable assets
directly. Other than with respect to any assets of the Wind-Down Trust that are subject to potential disputed claims
of ownership or uncertain distributions, no entity-level tax should be imposed on the Wind-Down Trust with respect
to earnings generated by the assets held by it. Each beneficiary must report on its federal income tax return its
allocable share of income, gain, loss, deduction and credit, if any, recognized or incurred by the Wind-Down Trust,
even if no distributions are made.

                           (b)       Disputed Ownership Fund treatment

          With respect to any of the assets of thea Wind-Down EntityTrust that are subject to potential disputed
claims of ownership or uncertain distributions, or to the extent “liquidating trust” treatment is otherwise unavailable,
the Debtors anticipate that such assets will be subject to disputed ownership fund treatment under Section 1.468B-9
of the Treasury Regulations, that any appropriate elections with respect thereto shall be made, and that such
treatment will also be applied to the extent possible for state and local tax purposes. Under such treatment, a
separate federal income tax return shall be filed with the IRS for any such account. Any taxes (including with
respect to interest, if any, earned in the account) imposed on such account shall be paid out of the assets of the
respective account (and reductions shall be made to amounts disbursed from the account to account for the need to
pay such taxes). To the extent property is not distributed to U.S. Holders of applicable Claims on the Effective Date
but, instead, is transferred to any such account, although not free from doubt, U.S. Holders should not recognize any
gain or loss with respect to such property on the date that the property is so transferred. Instead, gain or loss should
be recognized when and to the extent property is actually distributed to such U.S. Holders.

                  4.       U.S. Information Reporting and Withholding.

         The Debtors and the Wind-Down Entity, as applicable, intend to withhold all amounts required under the
IRC with respect to distributions made under the Plan and to comply with all applicable reporting requirements of
the IRC. In general, information reporting requirements may apply to distributions or payments made to a Holder of




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a Claim or Interest under the Plan, as well as future payments made with respect to consideration received under the
Plan.

         Backup withholding is not an additional tax. Any amounts withheld under the backup withholding rules
may be credited against a Holder’s U.S. federal income tax liability, and a Holder may obtain a refund of any excess
amounts withheld under the backup withholding rules by filing an appropriate claim for refund with the IRS
(generally, a U.S. federal income tax return).

          In addition, from an information reporting perspective, the Treasury Regulations generally require
disclosure by a taxpayer on its U.S. federal income tax return of certain types of transactions in which the taxpayer
participated, including, among other types of transactions, certain transactions that result in the taxpayer’s claiming a
loss in excess of specified thresholds. Holders are urged to consult their tax advisors regarding these regulations and
whether the transactions contemplated by the Plan would be subject to these regulations and require disclosure on
the Holders’ tax returns.



THE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE COMPLEX. THE
FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF U.S. FEDERAL INCOME
TAXATION THAT MAY BE RELEVANT TO A PARTICULAR HOLDER IN LIGHT OF SUCH
HOLDER’S CIRCUMSTANCES AND INCOME TAX SITUATION. ALL HOLDERS OF CLAIMS AND
INTERESTS ARE URGED, IN THE STRONGEST TERMS POSSIBLE, TO CONSULT WITH THEIR
TAX ADVISORS AS TO THE PARTICULAR TAX CONSEQUENCES TO THEM OF THE
TRANSACTIONS CONTEMPLATED BY THE PLAN, INCLUDING THE APPLICABILITY AND
EFFECT OF ANY STATE, LOCAL, OR NON-U.S. TAX LAWS AND OF ANY CHANGE IN APPLICABLE
TAX LAWS. THE FOREGOING SUMMARY DOES NOT CONSTITUTE TAX OR LEGAL ADVICE TO
HOLDERS OF CLAIMS OR INTERESTS.


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XII.     RECOMMENDATION OF THE DEBTORS

          In the opinion of the Debtors, the Plan is preferable to the alternatives described in this Disclosure
Statement because it provides for a larger distribution to Holders of Allowed Claims than would otherwise result in a
liquidation under chapter 7 of the Bankruptcy Code. In addition, any alternative other than Confirmation could
result in extensive delays and increased administrative expenses resulting in smaller distributions to Holders of
Allowed Claims than proposed under the Plan. Accordingly, the Debtors recommend that Holders of Claims entitled
to vote to accept or reject the Plan support Confirmation and vote to accept the Plan.

                                                                         Voyager Digital Holdings, Inc. on behalf
                                                                         of itself and each of the other Debtors
                                                                By:      /s/ Stephen Ehrlich
                                                                Name:    Stephen Ehrlich
                                                                Title:   Co-Founder and Chief Executive Officer
                                                                         Voyager Digital Ltd.




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Prepared By:

Dated: October 517, 2022           /s/ Joshua A. Sussberg
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                                      Exhibit A

                                        Plan


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                                     Exhibit B

                                Liquidation Analysis



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                                      Exhibit C

                         Frequently Asked Questions & Answers



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